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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                              Chapter 11

    MATTRESS FIRM, INC., et al.,1                                       Case No. 18-12241 (CSS)

                                Debtors.                                (Jointly Administered)

                                                                        Ref. Docket Nos. 42, 51, 52 and 58


                                             AFFIDAVIT OF SERVICE
STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

KONSTANTINA HAIDOPOULOS, being duly sworn, deposes and says:

1. I am employed as a Senior Noticing Coordinator by Epiq Corporate Restructuring, LLC,
   located at 777 Third Avenue, New York, New York 10017. I am over the age of eighteen
   years and am not a party to the above-captioned action.

2. On October 5, 2018, I caused to be served the:

      a. “Notice of Conference on October 5, 2018 at 12:30 P.M. (ET),” dated October 5, 2018
         [Docket No. 42], (the “Conference Notice”),

      b. “Notice of Hearing to Consider First Day Pleadings,” dated October 5, 2018 [Docket No.
         51], (the “Hearing Notice”),

      c. “Agenda for First Day Hearing and Index of First Day Pleadings,” dated October 5, 2018
         [Docket No. 52], (the “Agenda”), and




1
  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address
is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which
are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification
numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing and claims
agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.



T:\Clients\MATTFIRM\Affidavits\1st Day Hrg, Agenda, Ntc of Emer Hrg, Emer Hrg Ord_DI_42, 51, 52, 58_10-5-18.docx
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     d. “Emergency Order Authorizing (A) the Debtors’ Limited Use of Cash Collateral, (B) the
        Limited Continued Use of the Debtors’ Cash Management System and Existing Bank
        Accounts, (C) the Payment of Certain Prepetition Employee Obligations, and (D) the
        Debtors to Honor their Customer Programs on a Limited Basis, Pending First Day
        Hearing,” dated October 5, 2018 [Docket No. 58] (the “Emergency Order”),

     by causing true and correct copies of the:

             i.     Conference Notice, Hearing Notice, Agenda and Emergency Order, to be
                    enclosed securely in separate postage pre-paid envelopes and delivered via
                    overnight mail to those parties listed on the annexed Exhibit A,

            ii.     Hearing Notice and Agenda, to be enclosed securely in separate postage pre-paid
                    envelopes and delivered via overnight mail to those parties listed on the annexed
                    Exhibit B

           iii.     Conference Notice, Hearing Notice, Agenda and Emergency Order, to be
                    delivered via electronic mail to those parties listed on the annexed Exhibit C,

           iv.      Hearing Notice and Agenda, to be delivered via electronic mail to those parties
                    listed on the annexed Exhibit D,

            v.      Conference Notice, Hearing Notice, Agenda and Emergency Order, to be
                    delivered via facsimile to those parties listed on the annexed Exhibit E, and

           vi.      Hearing Notice and Agenda, to be delivered via facsimile to those parties listed on
                    the annexed Exhibit F.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”
                                                                                 /s/ Konstantina Haidopoulos
                                                                                 Konstantina Haidopoulos

 Sworn to before me this
 8th day of October, 2018
 /s/ Panagiota Manatakis
 Notary Public, State of New York
 No. 01MA6221096
 Qualified in Queens County
 Commission Expires April 26, 2018




T:\Clients\MATTFIRM\Affidavits\1st Day Hrg, Agenda, Ntc of Emer Hrg, Emer Hrg Ord_DI_42, 51, 52, 58_10-5-18.docx
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                    EXHIBIT A
                                              Mattress Firm, Inc.
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Claim Name                            Address Information
ADVANCED COMFORT TECHNOLOGIES INC     ATTN: CHIEF FINANCIAL OFFICER DBA INTELLIBED 3676 W CALIFORNIA AVE, STE D-100
                                      SALT LAKE CITY UT 84104
ASHBY & GEDDES, P.A.                  ATTN: WILLIAM BOWDEN 500 DELAWARE AVENUE, 8TH FLOOR WILIMGTON DE 19801
BALLARD SPAHR LLP                     COUNSEL TO HCP III EAGLE LLC ATTN: DAVID L. POLLACK, ESQUIRE 51ST FLOOR -
                                      MELLON BANK CENTER
BALLARD SPAHR LLP                     COUNSEL TO HCP III EAGLE LLC ATTN: DAVID L POLLACK ESQ 1735 MARKET STREET
                                      PHILADELPHIA PA 19103
BALLARD SPAHR LLP                     COUNSEL TO BIT INVESTMENT ATTN: MATTHEW G. SUMMERS, ESQ. LAUREL D. ROGLEN,
                                      ESQ., CHANTELLE D. MCCLAMB, ESQ. 919 N. MARKET STREET, 11TH FLOOR WILMINTON DE
                                      19801-3034
BALLARD SPAHR LLP                     COUNSEL TO WEITZMAN ATTN: LESLIE C. HEILMAN ESQ., LAUREL D. ROGLEN, ESQ.,
                                      CHANTELLE D. MCLAMB, ESQ. 919 N. MARKET STREET, 11TH FLOOR WILMINGTON DE
                                      19801-3034
BALLARHD SPAHR LLP                    COUNSEL TO WEITZMAN ATN: DAVID L. POLLACK, ESQUIRE 51ST FLOOR - MELLON BANK
                                      CENTER 1735 MARKET STREET PHILADELPHIA PA 19103
CLASSIC BRANDS LLC                    C/O DENISE ZIPPELLI 8214 WELLMOOR COURT JESSUP MD 20794
CLEAR LINK TECHNOLOGIES LLC           ATTN: CHIEF FINANCIAL OFFICER 5202 W DOUGLAS CORRIGAN WAY STE 300 SALT LAKE
                                      CITY UT 84116
CORSICANA BEDDING INC                 ATTN: CHIEF FINANCIAL OFFICER PO BOX 1050 CORSICANA TX 75151
CORSICANA BEDDING INC                 ATTN: CHIEF FINANCIAL OFFICER 1420 W MOCKINGBIRD LN DALLAS TX 75247
CVB INC DBA MALOUF                    ATTN: CHIEF FINANCIAL OFFICER 1525 W 2960 S LOGAN UT 84321
DELAWARE SECRETARY OF STATE           DIVISIONS OF CORPORATIONS, TAX DIVISION 401 FEDERAL ST, STE 4 P.O. BOX 898
                                      DOVER DE 19903
DELAWARE SECRETARY OF TREASURY        ATTN: OFFICE, MANAGING AGENT OF GENERAL AGENT 820 SILVERLAKE BLVD, SUITE 100
                                      DOVER DE 19904
ELITE FOAM INC                        ATTN: CHIEF FINANCIAL OFFICER WELLS FARGO LOCKBOX 603397 1525 WEST WT HARRIS
                                      BLVD CHARLOTTE NC 28260
ELITE FOAM INC                        ATTN: CHIEF FINANCIAL OFFICER 76 SPRAYBERRY RD NEWNAN GA 30263
FABRITECH 2000 LLC                    TRADING AS FABRITEC INTERNATIONAL ATTN: CHIEF FINANCIAL OFFICER 11 STEWART
                                      PLACE FAIRFIELD NJ 07004
FABRITECH 2000 LLC                    TRADING AS FABRITEC INTERNATIONAL ATTN: CHIEF FINANCIAL OFFICER 8145 HOLTON
                                      DR, STE 110 FLORENCE NY 41042
FELDERSTEIN FITZGERALD WILLOUGHBY &   (COUNSEL TO THE MCCLATCHY COMPANY COMPANY) ATTN: PAUL J. PASCUZZI 400 CAPITOL
PASCUZZI LLP                          MALL, SUITE 1750 SACRAMENTO CA 95814
GOODWAY GROUP INC                     ATTN: CHIEF FINANCIAL OFFICER PENTHOUSE STE AT THE PAVILION 261 OLD YORK RD,
                                      STE 930 JENKINTOWN PA 19046
GOODWAY GROUP INC                     ATTN: CHIEF FINANCIAL OFFICER PO BOX 826955 PHILADELPHIA PA 19182-6955
INFINITY MASSAGE CHAIRS               ATTN: CHIEF FINANCIAL OFFICER 72 STARD RD UNIT 2 SEABROOK NH 03874
INTERNAL REVENUE SERVICE              CENTRALIZED INSOLVENCY OPERATION P.O. BOX 7346 PHILADELPHIA PA 19101-7346
KINGSDOWN INC                         ATTN: CHIEF FINANCIAL OFFICER PO BOX 388 MEBANE NC 27302
KINGSDOWN INC                         ATTN: CHIEF FINANCIAL OFFICER 126 WEST HOLT ST MEBANE NC 27302-0392
LANE & NACH                           COUNSEL TO DE RITO TALKING STICK SOUTH, LLC ATTN: ADAM B. NACH 2001 E.
                                      CAMPBELL ST #103 PHOEXIX AZ 85016
LANE & NACH, P.C.                     COUNSEL TO: DERITO TALKING STICK SOUTH, LLC
LATHAM & WATKINS LLP                  ATTN: ADAM GOLDBERG 885 THIRD AVENUE NEW YORK NY 10022-4834
LEGGETT & PLATT, INC.                 ATTN: CHIEF FINANCIAL OFFICER 161 PROCTOR LANE LEXINGTON NC 27292
LEGGETT & PLATT, INC.                 ATTN: CHIEF FINANCIAL OFFICER 1 LEGGETT RD CARTHAGE MI 64836
LINKLATERS LLP                        COUNSEL FOR STEINHOFF INTERNATIONAL HOLDINGS N.V. ATTN: AMY EDGY AND
                                      CHRISTOPHER HUNKER 1345 AVENUE OF THE AMERICAS NEW YORK NY 10105
LINKLATERS LLP                        (COUNSEL TO STEINHOFF INTERNATIONAL HOLDINGS NV) ATTN: ROBERT TRUST &
                                      CHRISTOPHER HUNKER 1345 AVENUE OF THE AMERICAS NEW YORK NY 10105
LINKLATERS LLP                        (COUNSEL TO STEINHOFF INTERNATIONAL HOLDINGS NV) ATTN: AMY EDGY 601 THIRTEENTH



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Claim Name                             Address Information
LINKLATERS LLP                         ST NW STE 400 SOUTH WASHINGTON DC 20005
LONDON LUXURY LLC                      ATTN: CHIEF FINANCIAL OFFICER 270 N AVE 3RD FL NEW ROCHELLE NY 10801
MANTUA MFG CO                          ATTN: CHIEF FINANCIAL OFFICER 31050 DIAMOND PKWY GLENWILLOW OH 44139
MANTUA MFG CO                          ATTN: CHIEF FINANCIAL OFFICER 7900 NORTHFIELD RD WALTON HILLS OH 44146-5525
METRO TECH SERVICE CORP                ATTN: CHIEF FINANCIAL OFFICER 1827 WALDEN OFFICE SQ STE 304 SCHAUMBURG IL
                                       60173
MICROSOFT ONLINE INC                   ATTN: CHIEF FINANCIAL OFFICER PO BOX 847543 DALLAS TX 75284-7543
MORGAN LEWIS & BOCKIUS LLP             (COUNSEL TO CITIZENS BANK) ATTN: JULIA FROST-DAVIES, MARC R LEDUC, LAURA
                                       MCCARTHY ONE FEDERAL ST BOSTON MA 02110
MORGAN, LEWIS & BOCKIUS LLP            ATTN: MARC R. LEDUC ONE FEDERAL STREET BOSTON MA 02110-1726
MORRIS, NICHOLS, ARSHT & TUNNELL LLP   (COUNSEL TO STEINHOFF INTERNATIONAL HOLDINGS NV) ATTN: DEREK C ABBOTT, ANDREW
                                       R REMMING AND JOSEPH C BARSALONA II 1201 MARKET ST 16TH FL PO BOX 1347
                                       WILMINGTON DE 19899-1347
N.J. MALIN & ASSOCIATES LLC            ATTN: JACK CAIN 15870 MIDWAY RD ADDISON TX 75001
NEST INTERNATIONAL                     ATTN: CHIEF FINANCIAL OFFICER 822 KLEMM AVE GLOUCESTER CITY NJ 08030
NEST INTERNATIONAL                     ATTN: CHIEF FINANCIAL OFFICER 550 CRESCENT BLVD GLOUCESTER CITY NJ 08030
NIKA MILLER, ET AL.                    C/O BLUMENTHAL NORDREHAUG BHOWMIK DE BLOUW LLP 75 BROADWAY ST. #202 SAN
                                       FRANCISCO CA 94111
OFFICE OF THE UNITED STATES ATTORNEY   DISTRICT OF DELAWARE ATTN: DAVID WEISS HERCULES BUILDING 1313 N. MARKET
                                       STREET, SUITE 400 WILMINGTON DE 19801
OFFICE OF THE UNITED STATES TRUSTEE    ATTN: LINDA RICHENDERFER, ESQ. J CALEB BOGGS FEDERAL BUILDING 844 KING STREET,
                                       SUITE 2207 LOCK BOX 35 WILMINGTON DE 19801
PAUL HASTINGS LLP                      COUNSEL FOR BARCLAYS BANK PLC ATTN: ANDREW V. TENZER 200 PARK AVENUE NEW YORK
                                       NY 10166
PAUL HASTINGS LLP                      (COUNSEL TO BARCLAYS BANK PLC) ATTN: ANDREW V TENZER & MICHAEL E COMERFORD 200
                                       PARK AVE NEW YORK NY 10166
PROTECT A BED                          ATTN: CHIEF FINANCIAL OFFICER JAB DISTRIBUTORS LLC 1500 S WOLF RD WHEELING IL
                                       60090
PURPLE INNOVATION LLC                  ATTN: CHIEF FINANCIAL OFFICER 123 E 200 N ALPINE UT 84004
RICHARD, LAYTON & FINGER, P.A.,        ATTN: MARK D. COLLINS & JASON M. MADRON ONE RODNEY SQUARE 920 NORTH KING
                                       STREET WILMINGTON DE 19801
RICHARDS LAYTON & FINGER PA            (COUNSEL TO BARCLAYS BANK PLC) ATTN: MARK D COLLINS & JASON M MADRON ONE
                                       RODNEY SQUARE 920 N KING ST WILMINGTON DE 19801
RICHARDS LAYTON & FINGER PA            (COUNSEL TO CITIZENS BANK) ATTN: MARK D COLLINS, JASON M MADRON ONE RODNEY
                                       SQUARE 920 N KING ST WILMINGTON DE 19801
SECURITIES & EXCHANGE COMMISSION       NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR 200 VESEY
                                       STREET, SUITE 400 NEW YORK NY 10281-1022
SECURITIES & EXCHANGE COMMISSION       100 F STREET, NE WASHINGTON DC 20549
SERTA MATTRESS COMPANY                 ATTN: JOHNNY NGUYEN ONE CONCOURSE PKWY NE 800 ATLANAT GA 30328
SERTA MATTRESS COMPANY                 ATTN: JOHNNY NGUYEN 2600 FORBS AVE HOFFMAN ESTATES IL 60192
SIMMONS MANUFACTURING CO LLC           ATTN: JOHNNY NGUYEN ONE CONCOURSE PKWY NE 800 SANDY SPRINGS GA 30328
SINOMAX USA INC                        ATTN: CHIEF FINANCIAL OFFICER 2901 WILCREST DR STE 100 HOUSTON TX 77042
SLALOM LLC                             ATTN: CHIEF FINANCIAL OFFICER DBA SLALOM CONSULTING 821 2ND AVE STE 1900
                                       SEATTLE WA 98104
SPRING AIR COMPANY                     ATTN: CHIEF FINANCIAL OFFICER 70 EVERETT AVE STE 507 CHELSEA MA 02150
STARCOM MEDIAVEST GROUP                ATTN: ARLENE DESOUSA F/B/O SPARK FOUNDRY PO BOX 1528 LONG ISLAND CITY NY
                                       11101-0528
STARCOM MEDIAVEST GROUP                ATTN: ARLENE DESOUSA F/B/O SPARK FOUNDRY 35 W WACKER DR CHICAGO IL 60601
STARK & STARK PC                       (COUNSEL TO RAMCO PROPERTIES TRUST, LEVIN MANAGEMENT CORP & PHILLIPS EDISON &
                                       CO) ATTN: THOMAS S ONDER, ESQ & JOSEPH H LEMKIN, ESQ PO BOX 5315 PRINCETON NJ
                                       08543
STRONG INDUSTRIES INC                  ATTN: CHIEF FINANCIAL OFFICER PO BOX 108 NORTHUMBERLAND PA 17857


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Claim Name                          Address Information
STRONG INDUSTRIES INC               ATTN: CHIEF FINANCIAL OFFICER 13617 RALPH CULVER RD HOUSTON TX 77086
U.S. DEPARTMENT OF JUSTICE          ATTN: ELLEN W. SLIGHTS, ESQ. ASSISTANT US ATTY 1007 ORANGE STREET, SUITE 700
                                    P.O. BOX 2046 WILMINGTON DE 19899
U.S. DEPARTMENT OF JUSTICE          950 PENNSYLVANIA AVENUE, NW WASHINGTON DC 20530-0001
VALASSIS DIRECT MAIL INC.           ATTN: CHIEF FINANCIAL OFFICER ONE TARGETING CENTRE WINDSOR CT 06095-2639
VALASSIS DIRECT MAIL INC.           ATTN: CHIEF FINANCIAL OFFICER 719975 VICTOR PARKWAY LOS ANGELES CA 90074-0179
VISA JP MORGAN                      ATTN: CHIEF FINANCIAL OFFICER 2200 ROSS AVE. DALLAS TX 75201
VISIONET SYSTEMS INC                ATTN: CHIEF FINANCIAL OFFICER 4 CEDARBROOK DR BUILDING B CRANBURY NJ
                                    08512-3641




                             Total Creditor count 73




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                                                 Mattress Firm, Inc.
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Claim Name                               Address Information
ASHBY & GEDDES, P.A.                     COUNSEL TO BACKSTOP GROUP ATTN:WILLIAM P. BOWDEN, ESQ., KAREN B. SKOMORUCHA
                                         OWENS, ESQ. F. TROUPE MICKLER 500 DELAWARE AVENUE, 8TH FLOOR WILMINGTON DE
                                         19899
BALLARD SPAHR LLP                        COUNSEL TO FEDERAL REALTY ATTN: DAVID L. POLLACK, ESQUIRE 1735 MARKET STREET
                                         PHILADELPHIA 19103
BALLARD SPAHR LLP                        COUNSEL TO FEDERAL REALTY, ATTN: MATTHEW SUMMERS, ESQ. LESLIE C. HEILMAN, ESQ
                                         LAUREL D ROGLEN, ESQ CHANTELL D. MCCLAMB 919 N. MARKET STREET, 11TH FLOOR
                                         WILMINGTON DE 19801
BALLARD SPAHR LLP                        COUNSEL TO NELLIS, ATTN: MATTHEW G. SUMMERS, ESQ. LESLIE C. HEILMAN, ESQ
                                         LAUREL D ROGLEN, ESQ CHANTELL D. MCCLAMB 919 N. MARKET STREET, 11TH FLOOR
                                         WILMINGTON DE 19801
EQYINVEST OWNER II, LTD LLP              C/O TIMOTHY T. MITCHELL RASHTI AND M ITCHELL, ATTORNEYS AT LAW 4422 RIDGESIDE
                                         DRIVE DALLAS TX 75244
JACKSON WALKER L.L.P.                    COUNSEL TO EASTGROUP ATTN: MICHAEL S. HELD VIENNA F. ANAYA 2323 ROSS AVENUE,
                                         SUITE 600 DALLAS TX 75201
LATHAM & WATKINS LLP                     COUNSEL TO BACKSTOP GROUP ATTN: MITCHELL A. SEIDER, ESQ. ADAM J. G ESQ HUGH
                                         KEENAN MURTAGH, ESQ. MARC A. ZE ESQ, ADAM S. KASSNER, ESQ NEW YORK NY
                                         10022-4834
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP   COUNSEL TO CYPRESS FAIRBANKS MONTGOMERY CYPRESS FAIRBANKS ATTN: JON P DILLMAN
                                         PO BOX 3064 HOUSTON TX




                               Total Creditor count 8




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NACH LANE & NACH, P.C.
COUNSEL TO DERITO TALKING STICK SOUTH
ATTN: ADAM B.
2001 E. CAMPBELL ST., #103
PHOENIX, AZ 85016


LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
COUNSEL TO CYPRESS FAIRBANKS MONTGOMERY COUNTY CYPRESS
FAIRBANKS
ATTN: JON P DILLMAN
PO BOX 3064
HOUSTON TX
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VISIONET SYSTEMS INC                                CVB INC DBA MALOUF
ATTN: CHIEF FINANCIAL OFFICER                       ATTN: CHIEF FINANCIAL OFFICER
4 CEDARBROOK DR                                     1525 W 2960 S
BUILDING B                                          LOGAN, UT 84321
CRANBURY, NJ 08512-364




GOODWAY GROUP INC                                   SERTA MATTRESS COMPANY
ATTN: CHIEF FINANCIAL OFFICER                       ATTN: JOHNNY NGUYEN
PO BOX 826955                                       2600 FORBS AVE
PHILADELPHIA, PA 19182-695                          HOFFMAN ESTATES, IL 60192




SINOMAX USA INC                                     STARCOM MEDIAVEST GROUP
ATTN: CHIEF FINANCIAL OFFICER                       ATTN: ARLENE DESOUSA
2901 WILCREST DR STE 100                            F/B/O SPARK FOUNDRY
HOUSTON, TX 77042                                   35 W WACKER DR
                                                    CHICAGO, IL 60601




VALASSIS DIRECT MAIL INC.
ATTN: CHIEF FINANCIAL OFFICER
719975 VICTOR PARKWAY
LOS ANGELES, CA 90074-017




                                                      
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Claim Name                            Address Information
BANK OF AMERICA, N.A.                 ATTN: MATTHEW PRATT 2000 CLAYTON ROAD BUILDING D - 6TH FLOOR CONCORD CA
                                      94520-2425
BANK OF HAWAII CORP.                  ATTN: KRISTEL NEWLAND 130 MERCHANT STREET FLOOR 16 HONOLULU HI 96813
BANK OF HAWAII CORP.                  ATTN: ROD PEROFF 130 MERCHANT STREET FLOOR 16 HONOLULU HI 96813
BANK OF HAWAII CORP.                  ATTN: NAOMI MASUDA 130 MERCHANT STREET FLOOR 16 HONOLULU HI 96813
BANK OF HAWAII CORP.                  ATTN: SCOTT TABER 130 MERCHANT STREET FLOOR 16 HONOLULU HI 96813
BARCLAYS                              ATTN: JOE JORDAN 745 SEVENTH AVENUE NEW YORK NY 10019
BARCLAYS                              ATTN: ERIK HOFFMAN 700 PRIDES CROSSING 2ND FLOOR NEWARK DE 19713
CITIZENS COMMERCIAL BANK              ATTN: LISA FINN 3475 PIEDMONT ROAD SUITE 1260 ATLANTA GA 30305
CITIZENS COMMERCIAL BANK              ATTN: CAROLYN TAYLOR 3475 PIEDMONT ROAD SUITE 1260 ATLANTA GA 30305
JPMORGAN CHASE BANK, N.A.             ATTN: DANIEL MARSHEK 10 SOUTH DEARBORN ST CHICAGO IL 60603
JPMORGAN CHASE BANK, N.A.             ATTN: GRETCHEN TURNEY 2200 ROSS AVE. DALLAS TX 75201
JPMORGAN CHASE BANK, N.A.             ATTN: SUSHMA CHARANIA 712 MAIN ST 8TH FLOOR HOUSTON TX 77002
PNC BANK N.A.                         ATTN: JUDY FERRELL 101 NORTH POINTE BOULEVARD MAIL STOP U1-U023-03-1 LANCASTER
                                      PA 17601
REGIONS BANK                          ATTN: NANCY KNIGHT 3773 RICHMOND AVE STE 1000 HOUSTON TX 77046
TD BANK, N.A.                         ATTN: JENNIFER SPANN 324 S. SERVICE ROAD 4TH FLOOR MELVILLE NY 11747
TD BANK, N.A.                         ATTN: KEN TRETTER 324 S. SERVICE ROAD 4TH FLOOR MELVILLE NY 11747
TD BANK, N.A.                         ATTN: ROBERT EHRLICH 324 S. SERVICE ROAD 4TH FLOOR MELVILLE NY 11747
TD BANK, N.A.                         ATTN: LISA M. KOEHL 6000 ATRIUM WAY MOUNT LAUREL NJ 08054
WELLS FARGO BANK, N.A.                301 SOUTH TYRON ST., 7TH FLOOR ATTN: DACA TEAM CHARLOTTE NC 28282-1915
WELLS FARGO BANK, N.A.                ATTN: SUSAN SUTTON 920 N LAKELINE CEDAR PARK TX 78613
WELLS FARGO BANK, N.A.                ATTN: CHERRIEE DUGAN 1305 W 23RD ST FLOOR 1 TEMPE AZ 85282
WELLS FARGO BANK, N.A.                ATTN: MIKE O'BRIEN 333 S GRAND AVE 10TH FLOOR, SUITE 1000 LOS ANGELES CA 90071
WELLS FARGO BANK, N.A.                ATTN: KEN JUNI 1655 GRANT STREET 3RD FLOOR CONCORD CA 94520




                               Total Creditor count 23




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Claim Name                               Address Information
BARCLAYS BANK PLC,                       AS TERM LOAN ADMIN AGENT 745 7TH AVENUE NEW YORK NY 10019
BARCLAYS BANK PLC, AS ABL ADMIN AGENT    745 7TH AVENUE NEW YORK NY 10019
BARCLAYS BANK PLC, AS COLLATERAL AGENT   745 7TH AVENUE NEW YORK NY 10019
BCB COMMUNITY BANK                       595 AVENUE C BAYONNE NJ 07002
CAPTIVE FINANCE SOLUTIONS LLC            120 E LAKE STREET #207 SANDPOINT ID 83864
CISCO SYSTEMS CAPITAL CORPORATION        170 W TASMAN DRIVE MS SJ13-3 SAN JOSE CA 95134
CROWN CREDIT COMPANY                     40 S WASHINGTON STREET NEW BREMEN OH 45869
DELL FINANCIAL SERVICES LLC              MAIL STOP-PS2DF-23 ONE DELL WAY ROUND ROCK TX 78682
HYG FINANCIAL SERVICES INC               PO BOX 35701 BILLINGS MT 59107
IBM CREDIT LLC                           1 NORTH CASTLE DRIVE ARMONK NY 10504
NMHG FINANCIAL SERVICES INC              10 RIVERVIEW DRIVE DANBURY CT 06810
NMHG FINANCIAL SERVICES INC              PO BOX 35701 BILLINGS MT 59107-5701
RAYMOND LEASING CORPORATION              CORPORATE HEADQUARTERS PO BOX 130 GREENE NY 13778
STEINHOFF INTERNATIONAL HOLDINGS NV      HERENGRACHT 466 AMSTERDAM 1017 NETHERLANDS
TD BANK, NA                              324 SOUTH SERVICE ROAD 3RD FLOOR MELVILLE NY 11747
TD BANK, NA                              AS SUCCESSOR BY MERGER TO COMMERCE BANK, NA 1701 ROUTE 70 EAST CHERRY HILL NJ
                                         08034
TEXAS AVENUE CROSSING LP                 4635 SOUTHWEST FREEWAY SUITE 950 HOUSTON TX 77027
US BANK EQUIPMENT FINANCE, A DIVISION    OF US BANK NATIONAL ASSOCIATION 1310 MADRID STREET MARSHALL MN 56258
VESTAR CPT TEMPE MARKETPLACE LLC         2425 EAST CAMELBANK ROAD SUITE 750 PHOENIX AZ 85016
WELLS FARGO FINANCIAL LEASING INC        800 WALNUT STREET MAC N0005-044 DES MOINES IA 50309




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Claim Name                             Address Information
WELLS FARGO MERCHANT SERVICES          ATTN: SUSAN SUTTON 920 N LAKELINE CEDAR PARK TX 78613
WELLS FARGO MERCHANT SERVICES          ATTN: KENNETH JUNI 1655 GRANT STREET, 3RD FLOOR CONCORD CA 94520




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     FORTIVA FINANCIAL, LLC                           TIDEWATER FINANCE COMPANY
       ATTN: JOE FERGUSON                              TIDEWATER CREDIT SERVICES
 5 CONCOURSE PARKWAY, SUITE 300                              P.O. BOX 13306
        ATLANTA, GA 30328                               CHESAPEAKE, VA 23325-3306




         BANK OF MISSOURI                            GENESIS FS CARD SERVICES, INC.
    916 NORTH KINGS HIGHWAY                                   P.O. BOX 4477
       PERRYVILLE, MO 63775                            BEAVERTON, OR 97076-4477




       SYNCHRONY BANK                                 TIDEWATER FINANCE COMPANY
         P.O. BOX 105972                             ATTN: CHIEF OPERATING OFFICER
     ATLANTA, GA 30348-5972                              6520 INDIAN RIVER ROAD
                                                        VIRGINIA BEACH, VA 23464




         SYNCHRONY BANK                              GENESIS FS CARD SERVICES, INC.
    ATTN: ANTHONY FOSTER, SVP                          ATTN: FRETCHEN STROHLEIN
   170 ELECTION DRIVE, SUITE 125                   15220 NW GREENBRIER PKWY, STE. 200
          DRAPER, UT 84020                                BEAVERTON, OR 97006




  GENESIS FS CARD SERVICES, INC.
           ATTN: LEGAL
15220 NW GREEBBRIER PKWY, STE. 200
       BEAVERTON, OT 97006
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                    EXHIBIT B
                                                 Mattress Firm, Inc.
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Claim Name                               Address Information
ACE AMERICAN INSURANCE COMPANY           436 WALNUT STREET PHILADELPHIA PA 19105
ALLIED WORLD                             199 WATER STREET 24TH FLOOR NEW YORK NY 10038
ASCENT                                   10-12 EASTCHEAP LONDON EC3M 1AJ UNITED KINGDOM
AXIS INSURANCE COMPANY                   11680 GREAT OAKS WAY SUITE 500 ALPHARETTA GA 30022
BEAZLEY INSURANCE COMPANY, INC.          1270 AVENUE OF THE AMERICAS SUITE 1200 NEW YORK NY 10020
EVEREST INDEMNITY INSURANCE COMPANY      C/O AMWINS BROKERAGE OF NEW JERSEY, INC. 105 FIELDCREST AVE SUITE 200 EDISON
                                         NJ 08837
GENERALI INSURANCE COMPANY               55 MARK LANE LONDON EC3R 7NE UNITED KINGDOM
GREAT AMERICAN INSURANCE CO. OF NY       11325 N. COMMUNITY HOUSE RD. SUITE 200 CHARLOTTLE NC 28277
ILLINOIS UNION INSURANCE COMPANY         PO BOX 1000 436 WALNUT ST - WA 07A PHILADELPHIA PA 19106
INDIAN HARBOR INSURANCE CO.              C/O EDGEWOOD PARTNERS INSURANCE CENTER 295 MADISON AVE. 38TH FLOOR NEW YORK NY
                                         10017
JOHN HANCOCK LIFE INSURANCE COMPANY      C/O CRUMP INS SERV INC 4135 NORTH FRONT ST. HARRISBURG PA 17110
LIBERTY INSURANCE UNDERWRITERS INC.      55 WATER ST. NEW YORK NY 10041
NORFOLK REINSURANCE COMPANY LTD.         C/O STERLING & STERLING LLC 135 CROSSWAYS PARK DRIVE WOODBURY NY 11797
OHIO BUREAU OF WORKERS COMPENSATION      PO BOX 89492 CLEVELAND OH 44101-6492
QBE                                      1 GENERAL DRIVE SUN PRAIRIE WI 53596
SCIEMUS                                  C/O OCCAM UNDERWRITING 52 CORNHILL LONDON EC3V 3PD UNITED KINGDOM
SWISS RE                                 175 KING STREET ARMONK NY 10504
US SPECIALTY INSURANCE CO.               37 RADIO CIRCLE DRIVE MOUNT KISCO NY 10549
WASHINGTON STATE DEPARTMENT OF LABOR     AND INDUSTRIES 525 E. COLLEGE WAY SUITE H MOUNT VERNON WA 98273
XL SPECIALTY INSURANCE CO.               70 SEAVIEW AVENUE SEAVIEW HOUSE STAMFORD CT 06902
ZURICH AMERICAN INSURANCE COMPANY        1299 ZURICH WAY SCHAUMBURG IL 60196-1056




                                  Total Creditor count 21




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Claim Name                         Address Information
ENGIE RESOURCES                    P.O. BOX 9001025 LOUISVILLE KY 40290-1025
ENGIE RESOURCES                    1990 POST OAK BLVD STE 1900 HOUSTON TX 77056-3831
NRG ADVISORY SERVICES LLC          ATTN: ACCOUNTING 4433 GENESEE ST STE 401 BUFFALO NY 14225




                            Total Creditor count 3




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Claim Name                               Address Information
ADA COUNTY TREASURER/TAX                 ATTN: PROPERTY TAX DEPT. PO BOX 2868 BOISE ID 83701
ADAMS                                    ATTN: PROPERTY TAX DEPT. 4430 S ADAMS COUNTY PKWY STE W2000B BRIGHTON CO
                                         80601-8212
AIKEN COUNTY                             ATTN: PROPERTY TAX DEPT. PO BOX 919 AIKEN SC 29802-0919
ALABAMA DEPARTMENT OF REVENUE            ATTN: BUSINESS LICENSE DEPT. PO BOX 327431 MONTGOMERY AL 36132-7431
ALABAMA DEPARTMENT OF REVENUE            ATTN: SALES & USE TAX DEPT. PO BOX 327431 MONTGOMERY AL 36132-7431
ALABAMA DEPARTMENT OF REVENUE            ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 327740 MONTGOMERY AL 36132-7740
ALABAMA DEPARTMENT OF REVENUE            ATTN: FRANCHISE TAX DEPT. P O BOX 322790 MONTGOMERY AL 36132-7790
ALABAMA DEPARTMENT OF REVENUE            ATTN: INCOME TAX DEPT. P O BOX 322790 MONTGOMERY AL 36132-7790
ALABAMA DEPT OF REVENUE                  INDIVIDUAL & CORPORATE TAX DIVISION 50 N RIPLEY ST MONTGOMERY AL 36104
ALACHUA COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. 5830 NW 34TH BLVD GAINESVILLE FL 32653-2115
ALAMANCE                                 ATTN: PROPERTY TAX DEPT. 118 W HARDEN ST GRAHAM NC 27253
ALAMEDA COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. 1221 OAK ST OAKLAND CA 94612-4285
ALASKA DEPT OF REVENUE                   550 W 7TH AVE STE 500 ANCHORAGE AK 99501-3555
ALASKA DEPT OF REVENUE                   PO BOX 110420 JUNEAU AK 99811-0420
ALATAX                                   ATTN: SALES & USE TAX DEPT. 50 NORTH RIPLEY STREET MONTGOMERY AL 36104
ALBEMARLE                                ATTN: PROPERTY TAX DEPT. P.O. BOX 190 ALBEMARLE NC 28002
ALEXANDRIA                               ATTN: PROPERTY TAX DEPT. P.O. BOX 1925 LAKE CHARLES LA 70602-1925
ANDERSON                                 ATTN: PROPERTY TAX DEPT. 601 S MAIN ST ANDERSON SC 29624
ANDOVER                                  ATTN: PROPERTY TAX DEPT. PO BOX 99 ANDOVER MA 01810
ANGELINA                                 ATTN: PROPERTY TAX DEPT. PO BOX 1344 LUFKIN TX 75902-1344
ANNE ARUNDEL COUNTY                      ATTN: PROPERTY TAX DEPT. PO BOX 427 ANNAPOLIS MD 21404-0427
ANSONIA                                  ATTN: PROPERTY TAX DEPT. PO BOX 253 ANSONIA CT 06401
AR. DEPT OF FINANCE AND ADMINISTRATION   OFFICE OF STATE REVENUE ADMIN. 1509 W 7TH ST LITTLE ROCK AR 72201
ARAPAHOE COUNTY TREASURER                ATTN: PROPERTY TAX DEPT. 5334 S PRINCE ST LITTLETON CO 80120-1136
ARIZONA DEPARTMENT OF REVENUE            ATTN: BUSINESS LICENSE DEPT. PO BOX 29032 PHOENIX AZ 85038-9032
ARIZONA DEPARTMENT OF REVENUE            ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 29032 PHOENIX AZ 85038-9032
ARIZONA DEPARTMENT OF REVENUE            ATTN: SALES & USE TAX DEPT. P.O. BOX 29085 PHOENIX AZ 85038-9085
ARIZONA DEPT OF REVENUE                  1600 W. MONROE PHOENIX AZ 85007-2650
ARLINGTON COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. PO BOX 1757 MERRIFIELD VA 22116-1757
ASCENSION PARISH-SALES TAX AUTHORITY     ATTN: PROPERTY TAX DEPT. PO BOX 118 GONZALES LA 70707
ASCENSION PARISH-SALES TAX AUTHORITY     ATTN: SALES & USE TAX DEPT. P. O. BOX 1718 GONZALES LA 70707
ASOTIN                                   ATTN: PROPERTY TAX DEPT. PO BOX 99 ASOTIN WA 99402
ATTLEBORO                                ATTN: PROPERTY TAX DEPT. PO BOX 844514 BOSTON MA 02284-4514
AUGUSTA                                  ATTN: PROPERTY TAX DEPT. 16 CONY ST AUGUSTA ME 04330
AVON                                     ATTN: PROPERTY TAX DEPT. PO BOX 611 MEDFORD MA 02155-0007
BALDWIN COUNTY SALES & USE TAX DEPT      ATTN: PROPERTY TAX DEPT. PO BOX 189 ROBERTSDALE AL 36567
BALDWIN COUNTY SALES & USE TAX DEPT      ATTN: SALES & USE TAX DEPT. PO BOX 189 ROBERTSDALE AL 36567
BANGOR                                   ATTN: PROPERTY TAX DEPT. 73 HARLOW ST BANGOR ME 04401
BARNSTABLE                               ATTN: PROPERTY TAX DEPT. PO BOX 742 READING MA 01867-0405
BARROW COUNTY                            ATTN: PROPERTY TAX DEPT. 30 N BROAD ST WINDER GA 30680
BARTHOLOMEW COUNTY TREASURER             ATTN: PROPERTY TAX DEPT. PO BOX 1986 COLUMBUS IN 47202
BARTOW                                   ATTN: PROPERTY TAX DEPT. PO BOX 1069 BARTOW FL 33831
BASTROP                                  ATTN: PROPERTY TAX DEPT. PO BOX 579 BASTROP TX 78602
BAY                                      ATTN: PROPERTY TAX DEPT. 860 W. 11TH ST. PANAMA CITY FL 32401
BELOIT                                   ATTN: PROPERTY TAX DEPT. 2400 SPRINGBROOK CT BELOIT WI 53511
BENTON                                   ATTN: PROPERTY TAX DEPT. P.O. BOX 964 CORVALLIS OR 97339
BERKELEY                                 ATTN: PROPERTY TAX DEPT. 1947 CENTER ST BERKELEY CA 94704
BEVERLY                                  ATTN: PROPERTY TAX DEPT. P.O. BOX 178 MEDFORD MA 02155-0002



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Claim Name                               Address Information
BEXAR COUNTY CHIEF ASSESSOR-COLLECTOR    ATTN: PROPERTY TAX DEPT. P.O. BOX 2903 SAN ANTONIO TX 78299-2903
BIDDEFORD                                ATTN: PROPERTY TAX DEPT. PO BOX 0235 BRATTLEBORO VT 05302-0235
BILLERICA                                ATTN: PROPERTY TAX DEPT. 365 BOSTON RD BILLERICA MA 01810
BLOUNT                                   ATTN: PROPERTY TAX DEPT. 347 COURT ST. COURTHOUSE MARYVILLE TN 37804-5906
BOONE COUNTY COLLECTOR                   ATTN: INCOME TAX DEPT. 801 EAST WALNUT RM 118 COLUMBIA MO 65201-4890
BOONE COUNTY COLLECTOR                   ATTN: PROPERTY TAX DEPT. 801 EAST WALNUT RM 118 COLUMBIA MO 65201-4890
BOSSIER CITY - PARISH                    ATTN: SALES & USE TAX DEPT. P.O. BOX 71313 BOSSIER CITY LA 71171-1313
BOSTON                                   ATTN: PROPERTY TAX DEPT. P.O. BOX 9715 BOSTON MA 02114
BOULDER                                  ATTN: PROPERTY TAX DEPT. P.O. BOX 791 BOULDER CO 80302
BRADLEY                                  ATTN: PROPERTY TAX DEPT. 155 NORTH OCOEE ST RM 104 CLEVELAND TN 37311-5068
BRATTLEBORO                              ATTN: PROPERTY TAX DEPT. 230 MAIN ST STE 109 BRATTLEBORO VT 05301
BRAZORIA COUNTY TAX ASSESSOR-COLLECTOR   ATTN: PROPERTY TAX DEPT. P O BOX 1586 LAKE JACKSON TX 77566
BRAZOS COUNTY CHIEF APPRAISER            ATTN: PROPERTY TAX DEPT. 4151 COUNTY PARK CT BRYAN TX 77802-1430
BREVARD COUNTY                           ATTN: PROPERTY TAX DEPT. P.O .BOX 2500 TITUSVILLE FL 32781-2500
BRIDGEPORT                               ATTN: PROPERTY TAX DEPT. 325 CONGRESS ST BRIDGEPORT CT 06604
BRISTOL                                  ATTN: PROPERTY TAX DEPT. 497 CUMBERLAND ST BRISTOL VA 24201
BROOKFIELD                               ATTN: PROPERTY TAX DEPT. P.O. BOX 1296 BROOKFIELD WI 53008-1296
BROOKFIELD CITY                          ATTN: PROPERTY TAX DEPT. P.O. BOX 1296 BROOKFIELD WI 53008-1296
BROOKLINE                                ATTN: PROPERTY TAX DEPT. 333 WASHINGTON ST 1ST FL ROOM 104 BROOKLINE MA 02445
BROWARD COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. 115 S ANDREWS ROOM A-100 FORT LAUDERDALE FL 33301
BROWN COUNTY TREASURER                   ATTN: PROPERTY TAX DEPT. P.O. BOX 23600 GREEN BAY WI 54305-3600
BRUNSWICK                                ATTN: PROPERTY TAX DEPT. PO BOX 550 BRUNSWICK GA 31521-0550
BUCHANAN                                 ATTN: PROPERTY TAX DEPT. P.O. BOX 6782 COLUMBIA SC 29260-6782
BURKE                                    ATTN: PROPERTY TAX DEPT. P.O. BOX 219 MORGANTON NC 28680
BURLINGTON                               ATTN: PROPERTY TAX DEPT. 833 S SPRUCE ST BURLINGTON WA 98233
BURNET                                   ATTN: PROPERTY TAX DEPT. PO BOX 908 BURNET TX 78611
BUTTE COUNTY                             ATTN: PROPERTY TAX DEPT. 25 COUNTY CTR DR STE 125 OROVILLE CA 95965
CABARRUS                                 ATTN: PROPERTY TAX DEPT. P.O. BOX 707 CONCORD NC 28026-0707
CACHE                                    ATTN: PROPERTY TAX DEPT. 179 N MAIN STE 205 LOGAN UT 84321
CALCASIEU PARISH TAX COLLECTOR           ATTN: PROPERTY TAX DEPT. P.O. DRAWER 2050 LAKE CHARLES LA 70602
CALCASIEU PARISH TAX COLLECTOR           ATTN: SALES & USE TAX DEPT. P.O. DRAWER 2050 LAKE CHARLES LA 70602
CALIFORNIA BOARD OF EQUALIZATION         ATTN: FRANCHISE TAX DEPT. P.O. BOX 942879 SACRAMENTO CA 94250-5873
CALIFORNIA BOARD OF EQUALIZATION         ATTN: INCOME TAX DEPT. P.O. BOX 942879 SACRAMENTO CA 94250-5873
CALIFORNIA BOARD OF EQUALIZATION         ATTN: BUSINESS LICENSE DEPT. P.O. BOX 942879 SACRAMENTO CA 94279-0056
CALIFORNIA BOARD OF EQUALIZATION         ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 942879 SACRAMENTO CA 94279-0056
CALIFORNIA BOARD OF EQUALIZATION         ATTN: SALES & USE TAX DEPT. P.O. BOX 942879 SACRAMENTO CA 94279-7070
CALIFORNIA BOARD OF EQUALIZATION         450 N ST PO BOX 942879 SACRAMENTO CA 95814
CALIFORNIA DEPT OF TAX & FEE ADM         ATTN: ENVIRONMENTAL FEE DEPT. 450 N STREET SACRAMENTO CA 94279
CALIFORNIA FRANCHISE TAX BOARD           300 S SPRING ST STE 5704 LOS ANGELES CA 90013-1265
CALIFORNIA FRANCHISE TAX BOARD           7575 METROPOLITAN DR STE 201 SAN DIEGO CA 92108-4421
CALIFORNIA FRANCHISE TAX BOARD           600 W SANTA ANA BLVD STE 300 SANTA ANA CA 92701-4543
CALIFORNIA FRANCHISE TAX BOARD           121 SPEAR ST STE 400 SAN FRANCISCO CA 94105-1584
CALIFORNIA FRANCHISE TAX BOARD           PO BOX 942867 SACRAMENTO CA 94257
CALIFORNIA FRANCHISE TAX BOARD           1515 CLAY ST STE 305 OAKLAND CA 94612-1445
CALIFORNIA FRANCHISE TAX BOARD           BANKRUPTCY SECTION MS A340 PO BOX 2952 SACRAMENTO CA 95812-2952
CALIFORNIA FRANCHISE TAX BOARD           3321 POWER INN RD STE 250 SACRAMENTO CA 95826-3893
CALVERT                                  ATTN: PROPERTY TAX DEPT. P.O BOX 2909 PRINCE FREDERICK MD 20678
CAMBRIDGE                                ATTN: PROPERTY TAX DEPT. P.O. BOX 399142 CAMBRIDGE MA 02139
CAMPBELL                                 ATTN: PROPERTY TAX DEPT. P.O. BOX 72958 NEWPORT KY 41072



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                                             Mattress Firm, Inc.
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Claim Name                           Address Information
CAMPBELL COUNTY                      ATTN: INCOME TAX DEPT. P.O. BOX 72958 NEWPORT KY 41072
CANADIAN                             ATTN: PROPERTY TAX DEPT. 201 N CHOCTAW AVE STE 4 EL RENO OK 73036-2607
CANTON                               ATTN: PROPERTY TAX DEPT. 151 ELIZABETH ST CANTON GA 30114
CANYON                               ATTN: PROPERTY TAX DEPT. P.O. BOX 730 CALDWELL ID 83606
CAROLINE                             ATTN: PROPERTY TAX DEPT. P.O. BOX 458 DENTON MD 21629
CARROLL                              ATTN: PROPERTY TAX DEPT. 423 COLLEGE ST ROOM 401 CARROLLTON GA 30117-0338
CARTERET                             ATTN: PROPERTY TAX DEPT. 302 COURTHOUSE SQUARE BEAUFORT NC 28516
CASS                                 ATTN: PROPERTY TAX DEPT. 2725 CANTRELL RD HARRISONVILLE MO 64701-4004
CATAWBA COUNTY TAX COLLECTOR         ATTN: PROPERTY TAX DEPT. P.O. BOX 368 NEWTON NC 28658-0368
CATOOSA                              ATTN: PROPERTY TAX DEPT. 796 LAFAYETTE ST RINGGOLD GA 30736
CHAMBERS                             ATTN: PROPERTY TAX DEPT. PO BOX 519 ANAHUAC TX 77514-0519
CHARLESTON COUNTY                    ATTN: PROPERTY TAX DEPT. 4045 BRIDGE VIEW DRIVE NORTH CHARLESTON SC 29405-7464
CHARLOTTE                            ATTN: PROPERTY TAX DEPT. P.O. BOX 31032 CHARLOTTE NC 28231-1032
CHEROKEE COUNTY TAX COMMISSIONER     ATTN: PROPERTY TAX DEPT. 2780 MARIETTA HWY CANTON GA 30114
CHESTERFIELD COUNTY                  ATTN: PROPERTY TAX DEPT. P.O. BOX 124 CHESTERFIELD VA 23832-0908
CHICOPEE                             ATTN: PROPERTY TAX DEPT. P.O. BOX 1570 SPRINGFIELD MA 01101-1570
CHRISTIAN                            ATTN: PROPERTY TAX DEPT. 216 W 7TH ST HOPKINSVILLE KY 42240
CITRUS                               ATTN: PROPERTY TAX DEPT. 210 N APOPKA AVE 100 INVERNESS FL 34450
CITY & COUNTY OF BROOMFIELD          ATTN: PROPERTY TAX DEPT. P.O. BOX 407 BROOMFIELD CO 80038
CITY & COUNTY OF DENVER              ATTN: PROPERTY TAX DEPT. 201 W COFLAX AVE DEPT 403 DENVER CO 80202-5329
CITY AND COUNTY OF BROOMFIELD        ATTN: SALES & USE TAX DEPT. P.O. BOX 810067 DENVER CO 80281-0067
CITY OF ALABASTER                    ATTN: SALES & USE TAX DEPT. P.O. BOX 830525 BIRMINGHAM AL 35283
CITY OF ANNISTON                     ATTN: SALES & USE TAX DEPT. P.O. BOX 2168 ANNISTON AL 36202
CITY OF ARLINGTON                    ATTN: PROPERTY TAX DEPT. P.O. BOX 90231 ARLINGTON TX 76004-3231
CITY OF ARVADA                       ATTN: SALES & USE TAX DEPT. P.O. BOX 8101 ARVADA CO 80001
CITY OF ASPEN                        ATTN: SALES & USE TAX DEPT. P.O. BOX 912513 DENVER CO 80291
CITY OF AUBURN                       ATTN: PROPERTY TAX DEPT. 144 TICHNER AVE 6 AUBURN AL 36830
CITY OF AUBURN                       ATTN: SALES & USE TAX DEPT. 144 TICHNER AVE 6 AUBURN AL 36830
CITY OF AURORA                       ATTN: SALES & USE TAX DEPT. 15151 E ALAMEDA PKY 1100 AURORA CO 80012
CITY OF AVON                         ATTN: SALES & USE TAX DEPT. P.O. BOX 611 MEDFORD MA 02155-0007
CITY OF BIRMINGHAM                   ATTN: SALES & USE TAX DEPT. P.O. BOX 830638 BIRMINGHAM AL 35283-0638
CITY OF BLACK HAWK                   ATTN: SALES & USE TAX DEPT. P.O. BOX 68 BLACK HAWK CO 80422
CITY OF BOSSIER CITY                 ATTN: PROPERTY TAX DEPT. P.O. BOX 5399 BOSSIER CITY LA 71171-5399
CITY OF BOULDER                      ATTN: SALES & USE TAX DEPT. P.O. BOX 791 BOULDER CO 80302
CITY OF BRECKENRIDGE                 ATTN: SALES & USE TAX DEPT. P.O. BOX 8629 BRECKENRIDGE CO 80424
CITY OF BRIGHTON                     ATTN: SALES & USE TAX DEPT. 500 SO. 4TH AVE BRIGHTON CO 80601
CITY OF CANON CITY                   ATTN: SALES & USE TAX DEPT. P.O. BOX 17946 DENVER CO 80217-0946
CITY OF CAPE GIRARDEAU               ATTN: PROPERTY TAX DEPT. PO BOX 617 CAPE GIRARDEAU MO 63702
CITY OF CARBONDALE                   ATTN: SALES & USE TAX DEPT. 511 COLORADO AVE CARBONDALE CO 81623-4001
CITY OF CENTENNIAL                   ATTN: SALES & USE TAX DEPT. P.O. BOX 17383 DENVER CO 80217
CITY OF CENTRAL CITY                 ATTN: SALES & USE TAX DEPT. P.O. BOX 249 CENTRAL CITY CO 80427
CITY OF CHERRY HILLS VILLAGE         ATTN: SALES & USE TAX DEPT. 2450 E QUINCY AVE CHERRY HILLS VILLAGE CO
                                     80113-4955
CITY OF CHESAPEAKE                   ATTN: PROPERTY TAX DEPT. P.O. BOX 15285 CHESAPEAKE VA 23328-5285
CITY OF CHICAGO                      ATTN: SALES & USE TAX DEPT. 8108 INNOVATION WAY CHICAGO IL 60682
CITY OF COLUMBIA                     ATTN: PROPERTY TAX DEPT. P.O. BOX 7997 COLUMBIA SC 29202-7997
CITY OF COMMERCE CITY                ATTN: SALES & USE TAX DEPT. 5291 E 60TH AVE COMMERCE CITY CO 80022
CITY OF CRESTED BUTTE                ATTN: SALES & USE TAX DEPT. P.O. BOX 39 CRESTED BUTTE CO 81224
CITY OF DACONO                       ATTN: SALES & USE TAX DEPT. 512 CHERRY ST P.O. BOX 186 DACONO CO 80514



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Claim Name                           Address Information
CITY OF DANBURY TAX COLLECTOR        ATTN: PROPERTY TAX DEPT. P.O. BOX 237 DANBURY CT 06813
CITY OF DAPHNE                       ATTN: SALES & USE TAX DEPT. P.O. BOX 1047 DAPHNE AL 36526-1047
CITY OF DECATUR                      ATTN: SALES & USE TAX DEPT. P.O. BOX 830525 BIRMINGHAM AL 35283
CITY OF DELTA                        ATTN: SALES & USE TAX DEPT. P.O. BOX 19 DELTA CO 81416-0019
CITY OF DONNELLY                     ATTN: SALES & USE TAX DEPT. P.O. BOX 725 DONNELLY ID 83615-0725
CITY OF DRIGGS                       ATTN: SALES & USE TAX DEPT. P.O. BOX 48 DRIGGS ID 83422-0048
CITY OF DURANGO                      ATTN: SALES & USE TAX DEPT. 949 E SECOND AVE DURANGO CO 81301
CITY OF EDGEWATER                    ATTN: SALES & USE TAX DEPT. 2401 SHERIDAN BLVD EDGEWATER CO 80214-1329
CITY OF ENGLEWOOD                    ATTN: SALES & USE TAX DEPT. P.O. BOX 2900 ENGLEWOOD CO 80150
CITY OF EVANS                        ATTN: SALES & USE TAX DEPT. 1100 37TH STREET EVANS CO 80620
CITY OF FALKVILLE                    ATTN: SALES & USE TAX DEPT. P.O. BOX 407 FALKVILLE AL 35622
CITY OF FEDERAL HEIGHTS              ATTN: SALES & USE TAX DEPT. 2380 W 90TH AVE FEDERAL HEIGHTS CO 80260
CITY OF FLORENCE                     ATTN: INCOME TAX DEPT. P.O. BOX 1327 FLORENCE KY 41022-1327
CITY OF FLORENCE                     ATTN: PROPERTY TAX DEPT. P.O. BOX 1327 FLORENCE KY 41022-1327
CITY OF FORT COLLINS                 ATTN: SALES & USE TAX DEPT. P.O. BOX 1580 FORT COLLINS CO 80522-1580
CITY OF FRISCO                       ATTN: SALES & USE TAX DEPT. P.O. BOX 2730 FRISCO TX 75034
CITY OF GLENDALE                     ATTN: PROPERTY TAX DEPT. 5850 W GLENDALE AVE GLENDALE AZ 85301-2563
CITY OF GLENDALE                     ATTN: SALES & USE TAX DEPT. 5850 W GLENDALE AVE GLENDALE AZ 85301-2563
CITY OF GLENWOOD SPRINGS             ATTN: SALES & USE TAX DEPT. P.O. BOX 458 GLENWOOD SPRINGS CO 81602
CITY OF GOLDEN                       ATTN: SALES & USE TAX DEPT. P.O. BOX 5885 DENVER CO 80217
CITY OF GRAND JUNCTION               ATTN: SALES & USE TAX DEPT. 250 NORTH 5TH ST GRAND JUNCTION CO 81501-2668
CITY OF GREELEY                      ATTN: SALES & USE TAX DEPT. 1000 10TH ST GREELEY CO 80631
CITY OF GREENVILLE                   ATTN: PROPERTY TAX DEPT. P.O. BOX 2207 GREENVILLE SC 29602
CITY OF GREENWOOD VILLAGE            ATTN: SALES & USE TAX DEPT. P.O. BOX 910841 DENVER CO 80274
CITY OF GULF SHORES                  ATTN: SALES & USE TAX DEPT. P.O. BOX 4089 GULF SHORES AL 36547-4089
CITY OF GUNNISON                     ATTN: SALES & USE TAX DEPT. P.O. BOX 239 GUNNISON CO 81230-0239
CITY OF GYPSUM                       ATTN: SALES & USE TAX DEPT. P.O. BOX 130 GYPSUM CO 81637
CITY OF HAMILTON                     ATTN: PROPERTY TAX DEPT. 345 HIGH STREET SUITE 410 HAMILTON OH 45011
CITY OF HARTSELLE                    ATTN: SALES & USE TAX DEPT. 200 SPARKMAN ST NW HARTSELLE AL 35640
CITY OF HELENA                       ATTN: SALES & USE TAX DEPT. 816 HWY 52E HELENA AL 35080
CITY OF HENDERSON                    ATTN: PROPERTY TAX DEPT. 240 WATER STREETP.O. BOX 95050 HENDERSON NV 89009
CITY OF HOLYOKE                      ATTN: PROPERTY TAX DEPT. P.O. BOX 4135 WOBURN MA 01888-4135
CITY OF HOOVER                       ATTN: SALES & USE TAX DEPT. P O BOX 11407 HOOVER AL 35246-0144
CITY OF HUEYTOWN                     ATTN: SALES & USE TAX DEPT. P.O BOX 3650 HUEYTOWN AL 35023
CITY OF HUNTSVILLE                   ATTN: SALES & USE TAX DEPT. P.O. BOX 308 HUNTSVILLE AL 35804
CITY OF IRONDALE                     ATTN: SALES & USE TAX DEPT. P.O. BOX 100188 IRONDALE AL 35210
CITY OF JASPER                       ATTN: SALES & USE TAX DEPT. P.O. BOX 1589 JASPER AL 35502
CITY OF KETCHUM                      ATTN: SALES & USE TAX DEPT. P.O. BOX 2315 KETCHUM ID 83340
CITY OF LA JUNTA                     ATTN: SALES & USE TAX DEPT. P.O. BOX 489 LA JUNTA CO 81050
CITY OF LAFAYETTE                    ATTN: SALES & USE TAX DEPT. P.O. BOX 1688 LAFAYETTE IN 47902-1688
CITY OF LAKE CHARLES                 ATTN: PROPERTY TAX DEPT. P.O. BOX 3706 LAKE CHARLES LA 70602-3706
CITY OF LAKEWOOD                     ATTN: SALES & USE TAX DEPT. 6000 MAIN STREET SW LAKEWOOD WA 98499-5027
CITY OF LAMAR                        ATTN: SALES & USE TAX DEPT. 102 E PARMENTER ST LAMAR CO 81052
CITY OF LANCASTER                    ATTN: PROPERTY TAX DEPT. P.O. BOX 729 LANCASTER SC 29721-0729
CITY OF LANCASTER                    ATTN: PROPERTY TAX DEPT. P.O. BOX 128 LANCASTER OH 43130
CITY OF LARKSPUR                     ATTN: SALES & USE TAX DEPT. 438 E SHAW AVE BOX 367 FRESNO CA 93710
CITY OF LAVA HOT SPRINGS             ATTN: SALES & USE TAX DEPT. P.O. BOX 187 LAVA HOT SPRINGS ID 83246
CITY OF LEEDS                        ATTN: SALES & USE TAX DEPT. 1040 PARK DR LEEDS AL 35094
CITY OF LITTLETON                    ATTN: SALES & USE TAX DEPT. 2255 W BERRY AVE LITTLETON CO 80120



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Claim Name                           Address Information
CITY OF LONGMONT                     ATTN: SALES & USE TAX DEPT. 350 KIMBARK ST LONGMONT CO 80501
CITY OF LOUISVILLE                   ATTN: SALES & USE TAX DEPT. 749 MAIN ST LOUISVILLE CO 80027
CITY OF LOVELAND                     ATTN: SALES & USE TAX DEPT. P.O. BOX 3500 LOVELAND CO 80539-3500
CITY OF MADISON                      ATTN: SALES & USE TAX DEPT. P.O. BOX 99 MADISON AL 35758
CITY OF MANCHESTER                   ATTN: PROPERTY TAX DEPT. ONE CITY HALL PLAZA MANCHESTER NH 03101
CITY OF MCCALL                       ATTN: SALES & USE TAX DEPT. 216 E PARK ST MCCALL ID 83638
CITY OF MESA                         ATTN: PROPERTY TAX DEPT. P O BOX 16350 MESA AZ 85211-6350
CITY OF MONTGOMERY                   ATTN: SALES & USE TAX DEPT. PO BOX 1111 MONTGOMERY AL 36101
CITY OF MONTROSE                     ATTN: SALES & USE TAX DEPT. PO BOX 790 MONTROSE CO 81402-0790
CITY OF MOORE                        ATTN: PROPERTY TAX DEPT. P.O. BOX 6830 MOORE OK 73153-0830
CITY OF MOUNTAIN BROOK               ATTN: SALES & USE TAX DEPT. 56 CHURCH ST MOUNTAIN BROOK AL 35213
CITY OF MOUNTAIN VILLAGE             ATTN: SALES & USE TAX DEPT. 455 MTN VILLAGE BLVD A MTN VILLAGE CO 81435-9459
CITY OF NEWTON                       ATTN: PROPERTY TAX DEPT. PO BOX 9137 NEWTON MA 02460-9137
CITY OF NORFOLK                      ATTN: PROPERTY TAX DEPT. 100 BROOKE AVE STE 400 NORFOLK VA 23510
CITY OF NORTHGLENN                   ATTN: SALES & USE TAX DEPT. PO BOX 5305 DENVER CO 80217-5305
CITY OF NORTHPORT                    ATTN: SALES & USE TAX DEPT. PO BOX 569 NORTHPORT AL 35476
CITY OF ORANGE BEACH                 ATTN: SALES & USE TAX DEPT. PO BOX 1159 ORANGE BEACH AL 36561
CITY OF OSHKOSH                      ATTN: PROPERTY TAX DEPT. P.O. BOX 1128 OSHKOSH WI 54903-1128
CITY OF PARKER                       ATTN: SALES & USE TAX DEPT. 20120 E. MAINSTREET PARKER CITY CO 80138
CITY OF PEABODY                      ATTN: PROPERTY TAX DEPT. PO BOX 3047 PEABODY MA 01961-3047
CITY OF PELHAM                       ATTN: SALES & USE TAX DEPT. PO BOX 1238 PELHAM AL 35124
CITY OF PELL CITY                    ATTN: SALES & USE TAX DEPT. 1905 FIRST AVE NORTH PELL CITY AL 35125
CITY OF PIEDMONT                     ATTN: SALES & USE TAX DEPT. PO BOX 112 PIEDMONT AL 36272
CITY OF PRATTVILLE                   ATTN: SALES & USE TAX DEPT. PO BOX 680190 PRATTVILLE AL 36068
CITY OF PRICEVILLE                   ATTN: SALES & USE TAX DEPT. 242 MARCO DR PRICEVILLE AL 35603-5459
CITY OF PUEBLO                       ATTN: SALES & USE TAX DEPT. PO BOX 1427 PUEBLO CO 81002-1427
CITY OF RIDGWAY                      ATTN: SALES & USE TAX DEPT. PO BOX 10 RIDGWAY CO 81432-0010
CITY OF RIFLE                        ATTN: SALES & USE TAX DEPT. PO BOX 1908 RIFLE CO 81650
CITY OF ROANOKE                      ATTN: PROPERTY TAX DEPT. 215 CHURCH AVE SW RM 251 ROANOKE VA 24011
CITY OF ROANOKE                      ATTN: PROPERTY TAX DEPT. PO BOX 20409 ROANOKE VA 24018
CITY OF ROBERTSDALE                  ATTN: SALES & USE TAX DEPT. PO BOX 429 ROBERTSDALE AL 36567-0429
CITY OF SANDPOINT                    ATTN: SALES & USE TAX DEPT. 1123 LAKE ST SANDPOINT ID 83864-1714
CITY OF SHERIDAN                     ATTN: SALES & USE TAX DEPT. PO BOX 173301 DENVER CO 80217-3301
CITY OF SNOWMASS VILLAGE             ATTN: SALES & USE TAX DEPT. PO BOX 5010 SNOWMASS VILLAGE CO 81615
CITY OF SOUTH PORTLAND               ATTN: PROPERTY TAX DEPT. PO BOX 6700 LEWISTON ME 04243-6700
CITY OF SPARTANBURG                  ATTN: PROPERTY TAX DEPT. PO DRAWER 1749 SPARTANBURG SC 29304
CITY OF SPOKANE                      ATTN: PROPERTY TAX DEPT. 808 W SPOKANE FALLS BLVD SPOKANE WA 99256-0001
CITY OF STEAMBOAT SPRINGS            ATTN: SALES & USE TAX DEPT. PO BOX 772869 STEAMBOAT SPRINGS CO 80477-2869
CITY OF SUN VALLEY                   ATTN: SALES & USE TAX DEPT. PO BOX 416 SUN VALLEY ID 83353
CITY OF TELLURIDE                    ATTN: SALES & USE TAX DEPT. P.O. BOX 397 TELLURIDE CO 81435
CITY OF THORNTON                     ATTN: SALES & USE TAX DEPT. 9500 CIVIC CENTER DR DENVER CO 80229
CITY OF TIMNATH                      ATTN: SALES & USE TAX DEPT. PO BOX 29048 PHOENIX AZ 85038-9048
CITY OF TRINITY                      ATTN: SALES & USE TAX DEPT. 35 PRESTON DR TRINITY AL 35673
CITY OF TUSCALOOSA                   ATTN: PROPERTY TAX DEPT. PO BOX 2089 TUSCALOOSA AL 35403
CITY OF TUSCALOOSA                   ATTN: SALES & USE TAX DEPT. PO BOX 2089 TUSCALOOSA AL 35403
CITY OF VAIL                         ATTN: SALES & USE TAX DEPT. 75 S FRONTAGE RD VAIL CO 81657
CITY OF VICTOR                       ATTN: SALES & USE TAX DEPT. PO BOX 122 VICTOR ID 83455-0122
CITY OF VIRGINIA BEACH TREASURER     ATTN: BUSINESS LICENSE DEPT. 2401 COURTHOUSE DR VIRGINIA BEACH VA 23456-9002
CITY OF VIRGINIA BEACH TREASURER     ATTN: PROPERTY TAX DEPT. 2401 COURTHOUSE DR VIRGINIA BEACH VA 23456-9002



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Claim Name                           Address Information
CITY OF WAUWATOSA                    ATTN: PROPERTY TAX DEPT. BIN 360 MILWAUKEE WI 53288-0360
CITY OF WEAVER                       ATTN: SALES & USE TAX DEPT. CITY OF WEAVER P. O. BOX 934668 ATLANTA GA
                                     31193-4668
CITY OF WESTMINSTER                  ATTN: SALES & USE TAX DEPT. PO BOX 17107 DENVER CO 80217-7107
CITY OF WHEAT RIDGE                  ATTN: SALES & USE TAX DEPT. PO BOX 912758 DENVER CO 80291-2758
CITY OF WINDSOR                      ATTN: SALES & USE TAX DEPT. 275 BROAD ST WINDSOR CT 06095
CITY OF WINTER PARK                  ATTN: SALES & USE TAX DEPT. P.O. BOX 1986 WINTER PARK FL 32790-1986
CITY OF WOODLAND PARK                ATTN: SALES & USE TAX DEPT. 300 FIRST STREET WOODLAND CA 95695
CLACKAMAS COUNTY TAX COLLECTOR       ATTN: PROPERTY TAX DEPT. PO BOX 6100 PORTLAND OR 97228-6100
CLALLAM                              ATTN: PROPERTY TAX DEPT. 223 E 4TH ST STE 3 PORT ANGELES WA 98362-3000
CLARK COUNTY ASSESSOR                ATTN: PROPERTY TAX DEPT. 500 S. GRAND CENTRAL PKWY, 2ND FLOOR P O BOX 551401
                                     LAS VEGAS NV 89155-1425
CLARK COUNTY BUSINESS LICENSE        ATTN: PROPERTY TAX DEPT. 500 S. GRAND CENTRAL PKWY, 2ND FLOOR P O BOX 551401
                                     LAS VEGAS NV 89155-1425
CLARK COUNTY BUSINESS LICENSE        ATTN: PROPERTY TAX DEPT. 500 S GRAND CENTRAL PKWY 3RD FL PO BOX 551810 LAS
                                     VEGAS NV 89155-1810
CLARK COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. P O BOX 5000 VANCOUVER WA 98666
CLARKE COUNTY TAX COMMISSIONER       ATTN: PROPERTY TAX DEPT. P O BOX 1768 ATHENS GA 30603
CLATSOP                              ATTN: PROPERTY TAX DEPT. 820 EXCHANGE STE 210 ASTORIA OR 97103
CLAY                                 ATTN: PROPERTY TAX DEPT. 11 S WATER LIBERTY MO 64068
CLAYTON                              ATTN: PROPERTY TAX DEPT. 10 NORTH BEMISTON AVE CLAYTON MO 63105
CLEVELAND                            ATTN: PROPERTY TAX DEPT. P.O. BOX 1519 CLEVELAND TN 37364-1519
CLINTON CITY CORP                    ATTN: PROPERTY TAX DEPT. 2267 NORTH 1500 WEST CLINTON UT 84015
COBB                                 ATTN: PROPERTY TAX DEPT. 736 WHITLOCK AVENUE MARIETTA GA 30064
COBB COUNTY                          ATTN: PROPERTY TAX DEPT. P.O BOX 649 MARIETTA GA 30061-0649
COBB COUNTY TAX COMMISSIONER         ATTN: PROPERTY TAX DEPT. P.O. BOX 100127 MARIETTA GA 30061-7027
COCHISE                              ATTN: PROPERTY TAX DEPT. PO BOX 1778 BISBEE AZ 85603-2778
COCONINO COUNTY TREASURER            ATTN: PROPERTY TAX DEPT. 110 E CHERRY AVE FLAGSTAFF AZ 86001-4627
COFFEE                               ATTN: PROPERTY TAX DEPT. 1327 MCARTHUR ST STE 1 MANCHESTER TN 37355
COLE                                 ATTN: PROPERTY TAX DEPT. 311 E. HIGH ST. JEFFERSON CITY MO 65101
COLLIER COUNTY TAX COLLECTOR         ATTN: PROPERTY TAX DEPT. 2800 N HORSESHOE DR NAPLES FL 34104
COLLIN COUNTY                        ATTN: PROPERTY TAX DEPT. PO BOX 8046 MC KINNEY TX 75070
COLONIAL HEIGHTS                     ATTN: PROPERTY TAX DEPT. 201 JAMES AVE PO BOX 3401 COLONIAL HEIGHTS VA 23834
COLORADO CITY OF COLORADO SPRINGS    ATTN: SALES & USE TAX DEPT. DEPARTMENT 2408 DENVER CO 80256
COLORADO CITY OF LONE TREE           ATTN: SALES & USE TAX DEPT. PO BOX 911882 DENVER CO 80291
COLORADO DEPARTMENT OF REVENUE       ATTN: BUSINESS LICENSE DEPT. 1375 SHERMAN ST DENVER CO 80261-0013
COLORADO DEPARTMENT OF REVENUE       ATTN: SALES & USE TAX DEPT. 1375 SHERMAN ST DENVER CO 80261-0013
COLORADO DEPARTMENT OF REVENUE       ATTN: UNCLAIMED PROPERTY DEPT. 1375 SHERMAN ST DENVER CO 80261-0013
COLORADO DEPT OF REVENUE             PO BOX 17087 DENVER CO 80217-0087
COLORADO DEPT OF REVENUE             1375 SHERMAN ST DENVER CO 80261
COLUMBUS COUNTY                      C/O TAX ADMINISTRATION 125 WASHINGTON ST. SUITE A WHITEVILLE NC 28472-3315
COMAL COUNTY TAX OFFICE              ATTN: PROPERTY TAX DEPT. P.O. BOX 659480 SAN ANTONIO TX 78265-9480
COMANCHE                             ATTN: PROPERTY TAX DEPT. 315 SW 5TH STREET ROOM 300 LAWTON OK 73501
COMMONWEALTH OF MASSACHUSETTS        ATTN: UNCLAIMED PROPERTY DEPT. 1 ASHBURTON PLACE 12TH FLOOR BOSTON MA 02108
COMMONWEALTH OF PENNSYLVANIA         ATTN: BUSINESS LICENSE DEPT. PO BOX 280413 HARRISBURG PA 17128-0413
COMMONWEALTH OF PENNSYLVANIA         ATTN: SALES & USE TAX DEPT. PO BOX 280413 HARRISBURG PA 17128-0413
COMMONWEALTH OF PENNSYLVANIA         ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 280413 HARRISBURG PA 17128-0413
COMMONWEALTH OF VIRGINIA             ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 2478 RICHMOND VA 23218-2478
COMPTROLLER OF MARYLAND              ATTN: BUSINESS LICENSE DEPT. 110 CARROLL ST ANNAPOLIS MD 21411-0001
COMPTROLLER OF MARYLAND              ATTN: SALES & USE TAX DEPT. 110 CARROLL ST ANNAPOLIS MD 21411-0001


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Claim Name                             Address Information
COMPTROLLER OF MARYLAND                ATTN: UNCLAIMED PROPERTY DEPT. 110 CARROLL ST ANNAPOLIS MD 21411-0001
CONNECTICUT DEPT OF REVENUE SERVICES   OPERATIONS DIVISION - INCOME TAX TEAMS 450 COLUMBUS BLVD., STE 1 HARTFORD CT
                                       06103-5032
CONNECTICUT DEPT OF REVENUE SERVICES   25 SIGOURNEY ST, SUITE 2 HARTFORD CT 06106-5032
CONTRA COSTA COUNTY TAX COLLECTOR      ATTN: PROPERTY TAX DEPT. PO BOX 7002 SAN FRANCISCO CA 94120-7002
CORYELL                                ATTN: PROPERTY TAX DEPT. PO BOX 6 GATESVILLE TX 76528-0006
COUNTY OF CULLMAN                      ATTN: SALES & USE TAX DEPT. PO BOX 2220 CULLMAN AL 35056-2220
COUNTY OF DEKALB                       ATTN: SALES & USE TAX DEPT. PO BOX 105942 ATLANTA GA 30348-5942
COUNTY OF LOUDOUN                      ATTN: PROPERTY TAX DEPT. PO BOX 1000 LEESBURG VA 20177-1000
COUNTY OF MORGAN                       ATTN: SALES & USE TAX DEPT. PO BOX 696 DECATUR AL 35602
COUNTY OF SAINT CLAIR                  ATTN: SALES & USE TAX DEPT. P O BOX 23980 BELLEVILLE IL 62223
COUNTY OF VOLUSIA                      ATTN: PROPERTY TAX DEPT. PO BOX 23237 TAMPA FL 33623-2237
COWETA COUNTY TAX COMMISSIONER         ATTN: PROPERTY TAX DEPT. P O BOX 195 NEWNAN GA 30264-0195
COWLITZ                                ATTN: PROPERTY TAX DEPT. 207 FOURTH AVE N ROOM 202 KELSO WA 98626-4192
CRAIGHEAD COUNTY TAX COLLECTOR         ATTN: PROPERTY TAX DEPT. 511 UNION ST STE 107 JONESBORO AR 72401-2863
CRANSTON                               ATTN: PROPERTY TAX DEPT. 869 PARK AVENUE CRANSTON RI 02910
CRAVEN COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. 226 POLLOCK ST NEW BERN NC 28560-4981
CRESTVIEW HILLS                        ATTN: INCOME TAX DEPT. 3825 EDWARDS RD STE 200 CINCINNATI OH 45209
CROMWELL TAX COLLECTOR                 TAX DEPARTMENT 41 WEST ST CROMWELL CT 06416
CUDAHY                                 ATTN: PROPERTY TAX DEPT. PO BOX 100510 CUDAHY WI 53110-6108
CULLMAN                                ATTN: PROPERTY TAX DEPT. PO BOX 2220 CULLMAN AL 35056-2220
CULPEPER                               ATTN: PROPERTY TAX DEPT. 400 S MAIN ST STE 105 CULPEPER VA 22701
CUMBERLAND                             ATTN: PROPERTY TAX DEPT. PO BOX 538313 ATLANTA GA 30353-8313
DALLAS COUNTY                          ATTN: PROPERTY TAX DEPT. P O BOX 139066 DALLAS TX 75313-9066
DANVILLE                               ATTN: PROPERTY TAX DEPT. PO BOX 480 DANVILLE VA 24543
DARE                                   ATTN: PROPERTY TAX DEPT. PO BOX 1000 MANTEO NC 27954-1000
DAVIESS                                ATTN: PROPERTY TAX DEPT. 212 ST ANN ST OWENSBORO KY 42303-4146
DAVIS                                  ATTN: PROPERTY TAX DEPT. 23 RUSSELL BLVD DAVIS CA 95616
DAWSON COUNTY                          ATTN: PROPERTY TAX DEPT. 25 JUSTICE WAY STE 2322 DAWSONVILLE GA 30534
DEDHAM MUNICIPAL TAX COLLECTOR         ATTN: PROPERTY TAX DEPT. PO BOX 4103 WOBURN MA 01888-4103
DEKALB                                 ATTN: PROPERTY TAX DEPT. PO BOX 105942 ATLANTA GA 30348-5942
DELAWARE                               ATTN: FRANCHISE TAX DEPT. PO BOX 1886 MEDIA PA 19063-8886
DELAWARE                               ATTN: BUSINESS LICENSE DEPT. 100 W MAIN ST ROOM 102 MUNCIE IN 47305-2881
DELAWARE DIVISION OF REVENUE           820 N FRENCH ST WILMINGTON DE 19801
DELAWARE DIVISION OF REVENUE           ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 8750 WILMINGTON DE 19899-8750
DELAWARE DIVISION OF REVENUE           540 S DUPONT HIGHWAY DOVER DE 19901
DELAWARE DIVISION OF REVENUE           20653 DUPONT BLVD STE 2 GEORGETOWN DE 19947
DELTA CHTR TWNSHP                      ATTN: PROPERTY TAX DEPT. 7710 W SAGINAW HWY LANSING MI 48917-9712
DENTON                                 ATTN: PROPERTY TAX DEPT. P.O. BOX 660150 DALLAS TX 75266-0150
DENVER                                 ATTN: PROPERTY TAX DEPT. PO BOX 173343 DENVER CO 80217-3343
DEPARTMENT OF STATE LANDS (DSL)        ATTN: UNCLAIMED PROPERTY DEPT. 775 SUMMER ST. NE, SUITE 100 SALEM OR
                                       97301-1279
DESCHUTES COUNTY TAX COLLECTOR         ATTN: PROPERTY TAX DEPT. 1300 NW WALL ST STE 200 BEND OR 97703
DESOTO COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. 365 LOSHER STREET HERNANDO MS 38632
DICKSON                                ATTN: PROPERTY TAX DEPT. 600 E WALNUT ST DICKSON TN 37055
DISTRICT OF COLUMBIA                   1101 4TH STREET, SW SUITE 270 WASHINGTON DC 20024
DISTRICT OF COLUMBIA                   ATTN: UNCLAIMED PROPERTY DEPT. 1101 4TH ST SW 270 WASHINGTON DC 20024
DISTRICT OF COLUMBIA                   OFFICE OF TAX AND REVENUE ATTN: SALES & USE TAX DEPT. 1101 4TH ST SW 270
                                       WASHINGTON DC 20024
DORCHESTER                             ATTN: PROPERTY TAX DEPT. PO BOX 63058 CHARLOTTE NC 28263


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DOUGHERTY                              ATTN: PROPERTY TAX DEPT. 240 PINE AVE STE 100 PO BOX 1827 ALBANY GA 31702-1827
DOUGLAS COUNTY TAX COLLECTOR           ATTN: PROPERTY TAX DEPT. P.O. BOX 1177 DOUGLASVILLE GA 30133
DURHAM                                 ATTN: PROPERTY TAX DEPT. 101 CITY HALL PLAZA DURHAM NC 27701
DUVAL COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. 231 E. FORSYTH ST ROOM 130 JACKSONVILLE FL 32202-3370
EAGLE                                  ATTN: PROPERTY TAX DEPT. PO BOX 479 EAGLE CO 81631
EAST HAVEN                             ATTN: PROPERTY TAX DEPT. PO BOX 120306 EAST HAVEN CT 06512-0306
EAST LONGMEADOW                        ATTN: PROPERTY TAX DEPT. PO BOX 4826 SPRINGFIELD MA 01101-4826
EAST LYME                              ATTN: PROPERTY TAX DEPT. PO BOX 150488 HARTFORD CT 06115-0488
EAST WINDSOR                           ATTN: PROPERTY TAX DEPT. 11 RYE STREET BROAD BROOK CT 06016
ECTOR                                  ATTN: PROPERTY TAX DEPT. 1301 E 8TH ST ODESSA TX 79761-4722
EL PASO COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. PO BOX 2018 COLORADO SPRINGS CO 80901-2018
ELKHART                                ATTN: PROPERTY TAX DEPT. PO BOX 116 GOSHEN IN 46527-0116
ELLIS                                  ATTN: PROPERTY TAX DEPT. P.O. BOX 188 WAXAHACHIE TX 75168-0188
ELMORE                                 ATTN: PROPERTY TAX DEPT. PO BOX 280 WETUMPKA AL 36092
ENFIELD                                ATTN: PROPERTY TAX DEPT. PO BOX 10007 LEWISTON ME 04243-9434
ESCAMBIA COUNTY TAX COLLECTOR          ATTN: PROPERTY TAX DEPT. PO BOX 1312 PENSACOLA FL 32591
ETOWAH                                 ATTN: PROPERTY TAX DEPT. PO BOX 187 GADSDEN AL 35902
FAIRFAX CITY                           ATTN: PROPERTY TAX DEPT. 10455 ARMSTRONG ST FAIRFAX VA 22030
FAIRFAX COUNTY                         ATTN: PROPERTY TAX DEPT. 12099 GOVERNMENT CENTER PKWY 3RD FLOOR FAIRFAX VA
                                       22035
FAIRFIELD                              ATTN: PROPERTY TAX DEPT. PO BOX 638 FAIRFIELD CT 06824
FAIRHAVEN                              ATTN: PROPERTY TAX DEPT. 40 CENTER STREET FAIRHAVEN MA 02719
FALL RIVER                             ATTN: PROPERTY TAX DEPT. PO BOX 844515 BOSTON MA 02284
FALLS CHURCH                           ATTN: PROPERTY TAX DEPT. 300 PARK AVE STE 103E FALLS CHURCH VA 22046
FALMOUTH                               ATTN: PROPERTY TAX DEPT. PO BOX 783 READING MA 01867-0406
FAULKNER                               ATTN: PROPERTY TAX DEPT. 806 FAULKNER ST CONWAY AR 72034
FAYETTE COUNTY                         ATTN: PROPERTY TAX DEPT. 140 STONEWALL AVE W STE 101 FAYETTEVILLE GA 30214
FL CITY OF SARASOTA                    ATTN: PROPERTY TAX DEPT. 1565 1ST ST 2ND FLR ANNEX BLDG SARASOTA FL 34236
FL CITY OF WEST PALM BEACH             ATTN: PROPERTY TAX DEPT. PO BOX 3977 WEST PALM BEACH FL 33402
FLORIDA DEPARTMENT OF REVENUE          ATTN: BUSINESS LICENSE DEPT. 5050 W TENNESSEE ST TALLAHASSEE FL 32399-0128
FLORIDA DEPARTMENT OF REVENUE          ATTN: INCOME TAX DEPT. 5050 W TENNESSEE ST TALLAHASSEE FL 32399-0128
FLORIDA DEPARTMENT OF REVENUE          ATTN: SALES & USE TAX DEPT. 5050 W TENNESSEE ST TALLAHASSEE FL 32399-0128
FLORIDA DEPARTMENT OF REVENUE          ATTN: TAX DEPT. 5050 W TENNESSEE ST TALLAHASSEE FL 32399-0128
FLORIDA DEPARTMENT OF REVENUE          ATTN: UNCLAIMED PROPERTY DEPT. 5050 W TENNESSEE ST TALLAHASSEE FL 32399-0128
FLORIDA DEPT OF REVENUE                5050 W TENNESSEE ST TALLAHASSEE FL 32399-0100
FLOYD                                  ATTN: PROPERTY TAX DEPT. PO BOX 26 ROME GA 30162
FOND DU LAC                            ATTN: PROPERTY TAX DEPT. PO BOX 830 FOND DU LAC WI 54936-0830
FOND DU LAC TOWN                       ATTN: PROPERTY TAX DEPT. N6297 TOWNLINE RD FOND DU LAC WI 54937
FORSYTH COUNTY BUSINESS LICENSE        ATTN: PROPERTY TAX DEPT. 110 E MAIN ST 100 CUMMING GA 30040
FORT BEND COUNTY TAX ASSESSOR-COLLECTOR ATTN: PROPERTY TAX DEPT. P O BOX 1028 SUGARLAND TX 77487-1028
FOXBOROUGH                             ATTN: PROPERTY TAX DEPT. 40 SOUTH STREET FOXBORO MA 02035
FRANKFORT                              ATTN: INCOME TAX DEPT. 501 HIGH STREET FRANKFORT KY 40601
FRANKLIN                               ATTN: PROPERTY TAX DEPT. 9229 W LOOMIS RD FRANKLIN WI 53132
FREDERICK                              ATTN: PROPERTY TAX DEPT. 12 E. CHURCH ST. ST. FREDERICK MD 21701
FREDERICKSBURG                         ATTN: PROPERTY TAX DEPT. PO BOX 967 FREDERICKSBURG VA 22404-0967
FREDERICKSBURG                         ATTN: PROPERTY TAX DEPT. 126 W MAIN ST FREDERICKSBURG TX 78624
FRESNO COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. PO BOX 1192 FRESNO CA 93715-1192
FULTON COUNTY TAX COMMISSIONER         ATTN: PROPERTY TAX DEPT. P.O. BOX 105052 ATLANTA GA 30348-5052
GALVESTON                              ATTN: PROPERTY TAX DEPT. 722 MOODY GALVESTON TX 77550



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Claim Name                             Address Information
GARLAND INDEPENDENT SCHOOL DISTRICT    ATTN: PROPERTY TAX DEPT. P.O. BOX 461508 GARLAND TX 75046-1508
GASTON                                 ATTN: PROPERTY TAX DEPT. P O BOX 580326 CHARLOTTE NC 28258-0326
GEORGIA DEPARTMENT OF REVENUE          ATTN: BUSINESS LICENSE DEPT. 1800 CENTURY BLVD NE 15107 ATLANTA GA 30345
GEORGIA DEPARTMENT OF REVENUE          ATTN: SALES & USE TAX DEPT. 1800 CENTURY BLVD NE 15107 ATLANTA GA 30345
GEORGIA DEPARTMENT OF REVENUE          ATTN: UNCLAIMED PROPERTY DEPT. 4125 WELCOME ALL RD STE 701 ATLANTA GA 30349
GEORGIA DEPT OF REVENUE                314 EAST MAIN STREET SUITE 150 CARTERSVILLE GA 30120
GEORGIA DEPT OF REVENUE                1800 CENTURY CENTER BLVD., N.E. ATLANTA GA 30345-3205
GEORGIA DEPT OF REVENUE                528 BORAD ST SE GAINESVILLE GA 30501-3728
GEORGIA DEPT OF REVENUE                610 RONALD REAGAN DRIVE BUILDING G-1 EVANS GA 30809
GEORGIA DEPT OF REVENUE                1000 TOWNE CENTER BLVD BUILDING 900, SUITE A POOLER GA 31322
GILLESPIE                              ATTN: PROPERTY TAX DEPT. 101 W MAIN ST UNIT 11 FREDERICKSBURG TX 78624
GLASTONBURY                            ATTN: PROPERTY TAX DEPT. PO BOX 376 GLASTONBURY CT 06033-0376
GLOUCESTER                             ATTN: PROPERTY TAX DEPT. 6489 MAIN STREET GLOUCESTER VA 23061-6102
GLYNN                                  ATTN: PROPERTY TAX DEPT. 1725 REYNOLDS ST STE 200 BRUNSWICK GA 31520-6436
GRAND CHUTE                            ATTN: PROPERTY TAX DEPT. 1900 GRAND CHUTE BLVD GRAND CHUTE WI 54913-9613
GRANT                                  ATTN: PROPERTY TAX DEPT. 101 NORTHWEST A ST GRANTS PASS OR 97526
GRAYSON                                ATTN: PROPERTY TAX DEPT. P.O. BOX 2107 SHERMAN TX 75091-2107
GREAT BARRINGTON                       ATTN: PROPERTY TAX DEPT. 334 MAIN STREET GREAT BARRINGTON MA 01230
GREENE COUNTY                          ATTN: PROPERTY TAX DEPT. 940 N BOONVILLE AVE SPRINGFIELD MO 65802
GREENFIELD                             ATTN: PROPERTY TAX DEPT. 14 COURT SQUARE GREENFIELD MA 01301-3585
GREENWOOD                              ATTN: PROPERTY TAX DEPT. 528 MONUMENT ST R-101 GREENWOOD SC 29646
GREGG COUNTY TAX ASSESSOR- COLLECTOR   ATTN: PROPERTY TAX DEPT. PO BOX 1431 LONGVIEW TX 75606-1431
GROTON                                 ATTN: PROPERTY TAX DEPT. PO BOX 981061 BOSTON MA 02298-1061
GUADALUPE                              ATTN: PROPERTY TAX DEPT. 307 W COURT ST STE 102 SEGUIN TX 78155-5745
GUILFORD TOWN TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. 31 PARK ST GUILFORD CT 06437
GWINNETT COUNTY TAX COMMISSIONER       ATTN: PROPERTY TAX DEPT. P.O. BOX 372 LAWRENCEVILLE GA 30046-0372
HADLEY                                 ATTN: PROPERTY TAX DEPT. 100 MIDDLE ST. HADLEY MA 01035
HALIFAX                                ATTN: PROPERTY TAX DEPT. PO BOX 68 HALIFAX NC 27839-0068
HALL                                   ATTN: PROPERTY TAX DEPT. P O BOX 1579 GAINESVILLE GA 30503
HAMBLEN                                ATTN: PROPERTY TAX DEPT. PO BOX 423 MORRISTOWN TN 37815-0423
HAMDEN                                 ATTN: PROPERTY TAX DEPT. 2750 DIXWELL AVE HAMDEN CT 06518
HAMILTON COUNTY TRUSTEE -TN            ATTN: PROPERTY TAX DEPT. 625 GEORGIA AVE 201 CHATTANOOGA TN 37402
HAMPTON CITY TREASURER                 ATTN: PROPERTY TAX DEPT. PO BOX 3800 HAMPTON VA 23663-3800
HANOVER                                ATTN: PROPERTY TAX DEPT. PO BOX 17461 BALTIMORE MD 21297-1461
HARDIN                                 ATTN: PROPERTY TAX DEPT. 150 N PROVIDENT WAY STE 101 ELIZABETHTOWN KY 42701
HARFORD COUNTY                         ATTN: PROPERTY TAX DEPT. PO BOX 64069 BALTIMORE MD 21264-4069
HARRIS COUNTY TAX ASSESSOR-COLLECTOR   ATTN: PROPERTY TAX DEPT. P.O. BOX 3547 HOUSTON TX 77253
HARRISON COUNTY TAX COLLECTOR          ATTN: PROPERTY TAX DEPT. PO BOX 1270 GULFPORT MS 39502
HARRISONBURG                           ATTN: PROPERTY TAX DEPT. 409 S MAIN ST HARRISONBURG VA 22801
HARWICH                                ATTN: PROPERTY TAX DEPT. PO BOX 802 READING MA 01867-0406
HAWAII DEPT OF TAXATION                75 AUPUNI STREET 101 HILO HI 96720-4245
HAWAII DEPT OF TAXATION                P.O. BOX 275 KAUNAKAKAI HI 96748
HAWAII DEPT OF TAXATION                3060 EIWA STREET 105 LIHUE HI 96766-1889
HAWAII DEPT OF TAXATION                54 S. HIGH STREET 208 WAILUKU HI 96793-2198
HAWAII DEPT OF TAXATION                PO BOX 259 HONOLULU HI 96809-0259
HAWAII STATE TAX COLLECTOR             ATTN: BUSINESS LICENSE DEPT. PO BOX 1425 HONOLULU HI 96806-1425
HAWAII STATE TAX COLLECTOR             ATTN: SALES & USE TAX DEPT. PO BOX 1425 HONOLULU HI 96806-1425
HAWAII STATE TAX COLLECTOR             ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 259 HONOLULU HI 96809
HAYS COUNTY                            ATTN: PROPERTY TAX DEPT. 712 S. STAGECOACH TRAIL SAN MARCOS TX 78666-6073



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Claim Name                           Address Information
HAYWOOD COUNTY TAX COLLECTION        ATTN: PROPERTY TAX DEPT. PO BOX 63040 CHARLOTTE NC 28263
HENDERSON                            ATTN: PROPERTY TAX DEPT. 200 N GROVE ST STE 66 HENDERSONVILLE NC 28792-5027
HENDRICKS COUNTY TREASURER           ATTN: PROPERTY TAX DEPT. PO BOX 2027 INDIANAPOLIS IN 46206-2027
HENRICO                              ATTN: PROPERTY TAX DEPT. PO BOX 3369 RICHMOND VA 23228-9769
HENRY COUNTY TAX COMMISSIONER        ATTN: PROPERTY TAX DEPT. 140 HENRY PARKWAY MCDONOUGH GA 30253
HERNANDO                             ATTN: PROPERTY TAX DEPT. 201 HOWELL AVENUE, SUITE 300 BROOKSVILLE FL
                                     34601-2892
HIGHLANDS                            ATTN: PROPERTY TAX DEPT. 540 S COMMERCE AVE SEBRING FL 33870-3867
HILLSBOROUGH COUNTY TAX COLLECTOR    ATTN: PROPERTY TAX DEPT. PO BOX 30012 TAMPA FL 33630-3012
HOOD COUNTY APPRAISAL DISTRICT       ATTN: PROPERTY TAX DEPT. PO BOX 819 GRANBURY TX 76048-0819
HOPKINSVILLE                         ATTN: INCOME TAX DEPT. PO BOX 707 HOPKINSVILLE KY 42241
HORRY COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. P.O. BOX 1275 CONWAY SC 29528
HOWARD COUNTY                        ATTN: PROPERTY TAX DEPT. PO BOX 3370 ELLICOTT CITY MD 21041
IDAHO STATE TAX COMMISSION           611 WILSON AVE STE 5704 POCATELLO ID 83201
IDAHO STATE TAX COMMISSION           440 FALLS AVE TWIN FALLS ID 83301
IDAHO STATE TAX COMMISSION           150 SHOUP AVE STE 16 IDAHO FALLS ID 83402
IDAHO STATE TAX COMMISSION           1118 F ST PO BOX 1014 LEWISTON ID 83501
IDAHO STATE TAX COMMISSION           ATTN: SALES & USE TAX DEPT. PO BOX 76 BOISE ID 83707
IDAHO STATE TAX COMMISSION           ATTN: BUSINESS LICENSE DEPT. PO BOX 36 BOISE ID 83722
IDAHO STATE TAX COMMISSION           ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 36 BOISE ID 83722
IDAHO STATE TAX COMMISSION           800 PARK BLVD., PLAZA IV BOISE ID 83722-0410
IDAHO STATE TAX COMMISSION           1910 NORTHWEST BLVD STE 100 COEUR DALENE ID 83814
ILLINOIS DEPARTMENT OF REVENUE       ATTN: BUSINESS LICENSE DEPT. P.O. BOX 19045 SPRINGFIELD IL 62794-9045
ILLINOIS DEPARTMENT OF REVENUE       ATTN: FRANCHISE TAX DEPT. P.O. BOX 19045 SPRINGFIELD IL 62794-9045
ILLINOIS DEPARTMENT OF REVENUE       ATTN: SALES & USE TAX DEPT. P.O. BOX 19045 SPRINGFIELD IL 62794-9045
ILLINOIS DEPARTMENT OF REVENUE       ATTN: TAX DEPT. P.O. BOX 19045 SPRINGFIELD IL 62794-9045
ILLINOIS DEPARTMENT OF REVENUE       ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 19045 SPRINGFIELD IL 62794-9045
ILLINOIS DEPT OF REVENUE             MAINE N REGIONAL BLDG 9511 HARRISON AVE DES PLAINES IL 60016-1563
ILLINOIS DEPT OF REVENUE             JAMES R. THOMPSON CTR - CONCOURSE LVL 100 W RANDOLPH ST CHICAGO IL 60601-3274
ILLINOIS DEPT OF REVENUE             200 S WYMAN ST ROCKFORD IL 61101
ILLINOIS DEPT OF REVENUE             15 EXECUTIVE DR STE 2 FAIRVIEW HEIGHTS IL 62208-1331
ILLINOIS DEPT OF REVENUE             WILLARD ICE BLDG 101 W JEFFERSON ST. SPRINGFIELD IL 62702
ILLINOIS DEPT OF REVENUE             2309 W MAIN ST STE 114 MARION IL 62959-1196
INDIAN RIVER COUNTY UTILITIES        ATTN: PROPERTY TAX DEPT. 1801 27TH ST VERO BEACH FL 32960
INDIANA DEPARTMENT OF REVENUE        ATTN: BUSINESS LICENSE DEPT. P.O. BOX 7226 INDIANAPOLIS IN 46207-7226
INDIANA DEPARTMENT OF REVENUE        ATTN: INCOME TAX DEPT. P.O. BOX 7226 INDIANAPOLIS IN 46207-7226
INDIANA DEPARTMENT OF REVENUE        ATTN: SALES & USE TAX DEPT. P.O. BOX 7226 INDIANAPOLIS IN 46207-7226
INDIANA DEPARTMENT OF REVENUE        ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 7226 INDIANAPOLIS IN 46207-7226
INDIANA DEPT OF REVENUE              1415 MAGNAVOX WAY STE 100 FT WAYNE IN 46804
INDIANA DEPT OF REVENUE              3640 N BRIARWOOD LN STE 5 MUNCIE IN 47304
INDIANA DEPT OF REVENUE              100 N SENATE IGCN RM N105 INDIANAPOLIS IN 46204
INDIANA DEPT OF REVENUE              1411 E 85TH AVE MERRILLVILLE IN 46410
INDIANA DEPT OF REVENUE              105 E JEFFERSON BLVD STE 350 SOUTH BEND IN 46601
INDIANA DEPT OF REVENUE              117 E SUPERIOR ST KOKOMO IN 46901
INDIANA DEPT OF REVENUE              1200 MADISON ST STE E CLARKSVILLE IN 47131
INDIANA DEPT OF REVENUE              3520 TWO MILE HOUSE RD COLUMBUS IN 47201
INDIANA DEPT OF REVENUE              414 LANDMARK AVE BLOOMINGTON IN 47403
INDIANA DEPT OF REVENUE              500 S GREEN RIVER RD STE 202, GOODWILL BLDG EVANSVILLE IN 47715
INDIANA DEPT OF REVENUE              30 N 8TH ST 3RD FL TERRE HAUTE IN 47807



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INDIANA DEPT OF REVENUE                  100 EXECUTIVE DR STE B LAFAYETTE IN 47905
IOWA DEPT OF REVENUE                     ADMINISTRATION PO BOX 10460 DES MOINES IA 50306-0460
IOWA DEPT OF REVENUE                     ATTN: SALES & USE TAX DEPT. PO BOX 10470 DES MOINES IA 50306-0470
IOWA DEPT OF REVENUE                     BANKRUPTCY PO BOX 10471 DES MOINES IA 50306-0471
IOWA DEPT OF REVENUE                     HOOVER STATE OFFICE BUILDING 1305 E WALNUT DES MOINES IA 50319
IREDELL                                  ATTN: PROPERTY TAX DEPT. PO BOX 1027 STATESVILLE NC 28687-1027
JACKSON                                  ATTN: PROPERTY TAX DEPT. PO BOX 2508 JACKSON TN 38302
JAMES CITY COUNTY TREASURER              ATTN: PROPERTY TAX DEPT. PO BOX 283 WILLIAMSBURG VA 23187-0283
JANESVILLE                               ATTN: PROPERTY TAX DEPT. 18 N. JACKSON STREET MAIN FLOOR JANESVILLE WI 53548
JASPER                                   ATTN: PROPERTY TAX DEPT. PO BOX 1589 JASPER AL 35502
JEFFERSON                                ATTN: PROPERTY TAX DEPT. 320 E. MCCARTY ST. JEFFERSON CITY MO 65101-3193
JEFFERSON COUNTY DEPARTMENT OF REVENUE   ATTN: PROPERTY TAX DEPT. PO BOX 12207 BIRMINGHAM AL 35202-2207
JEFFERSON COUNTY TAX ASSESSOR-COLLECTOR ATTN: PROPERTY TAX DEPT. 716 RICHARD ARRINGTON JR BLVD N BIRMINGHAM AL 35203
JEFFERSON COUNTY TAX COLLECTOR           ATTN: SALES & USE TAX DEPT. PO BOX 2112 BEAUMONT TX 77704
-BIRMINGH
JOHNSON COUNTY TREASURER                 ATTN: PROPERTY TAX DEPT. PO BOX 6095 INDIANAPOLIS IN 46206-6095
JOHNSTON COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. PO BOX 63037 CHARLOTTE NC 28263-3037
JOSEPHINE                                ATTN: PROPERTY TAX DEPT. PO BOX 5187 PORTLAND OR 97208-5187
KANSAS DEPARTMENT OF REVENUE             ATTN: BUSINESS LICENSE DEPT. 92781-1366 TOPEKA KS 66625-2000
KANSAS DEPARTMENT OF REVENUE             ATTN: SALES & USE TAX DEPT. C TOPEKA KS 66625-2000
KANSAS DEPT OF REVENUE                   915 SW HARRISON ST TOPEKA KS 66612-1588
KAUFMAN COUNTY TAX OFFICE                ATTN: PROPERTY TAX DEPT. PO BOX 339 KAUFMAN TX 75142-0339
KENOSHA CITY                             ATTN: PROPERTY TAX DEPT. 625 52ND ST ROOM 100 KENOSHA WI 53140
KENTON                                   ATTN: PROPERTY TAX DEPT. 303 COURT STREET SUITE 409 COVINGTON KY 41011
KENTUCKY DEPARTMENT OF REVENUE           ATTN: SALES & USE TAX DEPT. 501 HIGH STREET FRANKFORT KY 40601-2103
KENTUCKY STATE TREASURER                 ATTN: BUSINESS LICENSE DEPT. 1050 US HWY 127 S SUITE 100 FRANKFORT KY
                                         40620-0003
KENTUCKY STATE TREASURER                 ATTN: UNCLAIMED PROPERTY DEPT. 1050 US HWY 127 S SUITE 100 FRANKFORT KY
                                         40620-0003
KERN                                     ATTN: PROPERTY TAX DEPT. P.O. BOX 579 BAKERSFIELD CA 93302-0580
KILLINGLY                                ATTN: PROPERTY TAX DEPT. 172 MAIN ST KILLINGLY CT 06239
KING COUNTY TREASURY                     ATTN: PROPERTY TAX DEPT. 500 FOURTH AVE ROOM 600 SEATTLE WA 98104
KING GEORGE                              ATTN: PROPERTY TAX DEPT. 10459 COURTHOUSE DR STE 101 KING GEORGE VA 22485-3865
KINGS                                    ATTN: PROPERTY TAX DEPT. 1400 W LACEY BLVD HANFORD CA 93230-5997
KITSAP                                   ATTN: PROPERTY TAX DEPT. PO BOX 169 PORT ORCHARD WA 98366-0169
KITTITAS                                 ATTN: PROPERTY TAX DEPT. 205 W 5TH AVE STE 102 ELLENSBURG WA 98926
KNOX COUNTY TRUSTEE                      ATTN: PROPERTY TAX DEPT. PO BOX 1566 KNOXVILLE TN 37901
KOHLER                                   ATTN: PROPERTY TAX DEPT. 319 HIGHLAND DR KOHLER WI 53044-1513
KOSCIUSKO                                ATTN: PROPERTY TAX DEPT. PO BOX 1764 WARSAW IN 46581
KY CITY OF BOWLING GREEN                 ATTN: INCOME TAX DEPT. PO BOX 1410 BOWLING GREEN KY 42102-1410
LAFAYETTE                                ATTN: PROPERTY TAX DEPT. 300 N LAMAR STE 103 OXFORD MS 38655
LAFAYETTE PARISH TAX COLLECTOR           ATTN: SALES & USE TAX DEPT. P. O. BOX 3883 LAFAYETTE LA 70502
LAFAYETTE PARISH TAX COLLECTOR           ATTN: PROPERTY TAX DEPT. PO BOX 52667 LAFAYETTE LA 70505
LAKE                                     ATTN: PROPERTY TAX DEPT. P.O. BOX 327 TAVARES FL 32778
LAKE GENEVA                              ATTN: PROPERTY TAX DEPT. 626 GENEVA ST LAKE GENEVA WI 53147
LANCASTER COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. 555 S 10TH ST RM 102 LINCOLN NE 68508
LANE COUNTY TAX COLLECTOR                ATTN: PROPERTY TAX DEPT. 125 EAST 8TH AVENUE EUGENE OR 97401
LANSING CTR TOWNSHIP                     ATTN: PROPERTY TAX DEPT. 124 W MICHIGAN AVENUE LANSING MI 48933
LAPORTE COUNTY TREASURER                 ATTN: PROPERTY TAX DEPT. 555 MICHIGAN AVE STE 102 LA PORTE IN 46350
LARIMER COUNTY TREASURER                 ATTN: PROPERTY TAX DEPT. PO BOX 2336 FORT COLLINS CO 80522-2336


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Claim Name                           Address Information
LAUDERDALE                           ATTN: PROPERTY TAX DEPT. PO BOX 794 FLORENCE AL 35631
LAURENS                              ATTN: PROPERTY TAX DEPT. P.O. BOX 1049 LAURENS SC 29360
LEE                                  ATTN: PROPERTY TAX DEPT. PO BOX 1968 SANFORD NC 27331-1968
LEE COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. PO BOX 271 TUPELO MS 38802-0271
LEE COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. PO BOX 1549 FORT MYERS FL 33902
LEE COUNTY TAX COLLECTOR             ATTN: PROPERTY TAX DEPT. PO BOX 1609 FORT MYERS FL 33902
LENOIR                               ATTN: PROPERTY TAX DEPT. PO DRAWER 3289 KINSTON NC 28502
LEOMINSTER                           ATTN: PROPERTY TAX DEPT. PO BOX 457 WORCESTER MA 01613-0457
LEON COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. PO BOX 1835 TALLAHASSEE FL 32302
LEWIS COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. PO BOX 509 CHEHALIS WA 98532-0509
LEXINGTON COUNTY TREASURER           ATTN: INCOME TAX DEPT. 212 SOUTH LAKE DR STE 102 LEXINGTON SC 29072
LEXINGTON COUNTY TREASURER           ATTN: PROPERTY TAX DEPT. 212 SOUTH LAKE DR STE 102 LEXINGTON SC 29072
LINCOLN                              ATTN: PROPERTY TAX DEPT. P.O. BOX 541073 LOS ANGELES CA 90054-1073
LISBON                               ATTN: PROPERTY TAX DEPT. 1 NEWENT RD LISBON CT 06351
LIVINGSTON                           ATTN: PROPERTY TAX DEPT. 6700 COTE DE LIESSE BUREAU 300 ST LAURENT QC H4T 2B5
                                     CANADA
LLC PHILADELPHIA PREMIUM OUTLETS     ATTN: INCOME TAX DEPT. PO BOX 8409 PHILADELPHIA PA 19101-8409
LOS ANGELES COUNTY TAX COLLECTOR -   ATTN: PROPERTY TAX DEPT. 225 N HILL STREET RM 122 LOS ANGELES CA 90012
54888
LOUISIANA ACADIA PARISH              ATTN: SALES & USE TAX DEPT. P.O. DRAWER 309 CROWLEY LA 70527-0309
LOUISIANA ALLEN PARISH               ATTN: SALES & USE TAX DEPT. P.O. DRAWER 190 OBERLIN LA 70655
LOUISIANA ASSUMPTION PARISH          ATTN: SALES & USE TAX DEPT. P.O. DRAWER 920 NAPOLEONVILLE LA 70390
LOUISIANA CADDO PARISH               ATTN: PROPERTY TAX DEPT. P.O. BOX 104 SHREVEPORT LA 71161
LOUISIANA CADDO PARISH               ATTN: SALES & USE TAX DEPT. P.O. BOX 104 SHREVEPORT LA 71161
LOUISIANA CLAIBORNE PARISH           ATTN: SALES & USE TAX DEPT. P.O. BOX 600 HOMER LA 71040-0600
LOUISIANA DEPARTMENT OF REVENUE      ATTN: BUSINESS LICENSE DEPT. P O BOX 91011 BATON ROUGE LA 70821-9011
LOUISIANA DEPARTMENT OF REVENUE      ATTN: INCOME TAX DEPT. P O BOX 91011 BATON ROUGE LA 70821-9011
LOUISIANA DEPARTMENT OF REVENUE      ATTN: SALES & USE TAX DEPT. P O BOX 91011 BATON ROUGE LA 70821-9011
LOUISIANA DEPARTMENT OF REVENUE      ATTN: UNCLAIMED PROPERTY DEPT. P O BOX 91011 BATON ROUGE LA 70821-9011
LOUISIANA DEPT. OF REVENUE           617 N THIRD ST BATON ROUGE LA 70802
LOUISIANA DEPT. OF REVENUE           PO BOX 201 BATON ROUGE LA 70821
LOUISIANA EAST FELICIANA PARISH      ATTN: SALES & USE TAX DEPT. P.O. BOX 397 CLINTON LA 70722
LOUISIANA IBERIA PARISH              ATTN: SALES & USE TAX DEPT. P.O. BOX 9770 NEW IBERIA LA 70562
LOUISIANA IBERVILLE PARISH           ATTN: SALES & USE TAX DEPT. P. O. BOX 355 PLAQUEMINE LA 70765-0355
LOUISIANA JEFFERSON DAVIS PARISH     ATTN: SALES & USE TAX DEPT. P.O. BOX 1161 JENNINGS LA 70546-1161
LOUISIANA LA SALLE PARISH            ATTN: SALES & USE TAX DEPT. P.O. BOX 190 VIDALIA LA 71373
LOUISIANA LAFOURCHE PARISH           ATTN: SALES & USE TAX DEPT. P. O. BOX 997 THIBODAUX LA 70302
LOUISIANA LINCOLN PARISH             ATTN: SALES & USE TAX DEPT. P.O. BOX 863 RUSTON LA 71273
LOUISIANA LIVINGSTON PARISH          ATTN: SALES & USE TAX DEPT. P.O. BOX 1030 LIVINGSTON LA 70754
LOUISIANA RED RIVER PARISH           ATTN: SALES & USE TAX DEPT. P. O. BOX 570 COUSHATTA LA 71019
LOUISIANA SABINE PARISH              ATTN: SALES & USE TAX DEPT. P. O. BOX 249 MANY LA 71449-0249
LOUISIANA ST. LANDRY PARISH          ATTN: SALES & USE TAX DEPT. P.O. BOX 1210 OPELOUSAS LA 70571-1210
LOUISIANA ST. MARTIN PARISH          ATTN: SALES & USE TAX DEPT. P.O. BOX 1000 BREAUX BRIDGE LA 70517
LOUISIANA ST. MARY PARISH            ATTN: SALES & USE TAX DEPT. P. O. DRAWER 1279 MORGAN CITY LA 70381-1279
LOUISIANA WASHINGTON PARISH          ATTN: SALES & USE TAX DEPT. P.O. BOX 508 FRANKLINTON LA 70438
LOUISIANA WEBSTER PARISH             ATTN: SALES & USE TAX DEPT. P. O. BOX 357 MINDEN LA 71058-0357
LOUISIANA WEST BATON ROUGE PARISH    ATTN: SALES & USE TAX DEPT. P.O. BOX 86 PORT ALLEN LA 70767
LOWELL                               ATTN: PROPERTY TAX DEPT. PO BOX 969 LOWELL MA 01853
LOWNDES COUNTY TAX COMMISSIONER      ATTN: PROPERTY TAX DEPT. PO BOX 1409 VALDOSTA GA 31603



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Claim Name                            Address Information
LUBBOCK                               ATTN: PROPERTY TAX DEPT. 2109 AVE Q PO BOX 10568 LUBBOCK TX 79408-3568
MA TOWN OF SAUGUS                     ATTN: PROPERTY TAX DEPT. PO BOX 4157 WOBURN MA 01888-4157
MACON-BIBB COUNTY                     ATTN: PROPERTY TAX DEPT. 682 CHERRY ST SUITE 500 MACON GA 31201
MADISON                               ATTN: PROPERTY TAX DEPT. PO BOX 99 MADISON AL 35758
MADISON COUNTY TAX COLLECTOR          ATTN: SALES & USE TAX DEPT. 100 NORTH SIDE SQUARE RM 108 HUNTSVILLE AL
                                      35801-4820
MADISON TOWN                          ATTN: PROPERTY TAX DEPT. 2120 FISH HATCHERY RD MADISON WI 53713
MAINE REVENUE SERVICES                51 COMMERCE DRIVE AUGUSTA ME 04330
MAINE REVENUE SERVICES                ATTN: SALES & USE TAX DEPT. PO BOX 1065 AUGUSTA ME 04332
MAINE REVENUE SERVICES                ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 1065 AUGUSTA ME 04332
MAINE REVENUE SERVICES                PO BOX 9107 AUGUSTA ME 04332-9107
MANAGER OF FINANCE                    ATTN: SALES & USE TAX DEPT. PO BOX 660860 DALLAS TX 75266
MANATEE TAX COLLECTOR                 ATTN: PROPERTY TAX DEPT. P.O. BOX 25300 BRADENTON FL 34206-5300
MANCHESTER                            ATTN: PROPERTY TAX DEPT. 14318 MANCHESTER RD. MANCHESTER MO 63011
MANITOWOC CITY                        ATTN: PROPERTY TAX DEPT. 900 QUAY ST. MANITOWOC WI 54220
MANSFIELD                             ATTN: PROPERTY TAX DEPT. PO BOX 577 MANSFIELD OH 44901-0577
MARICOPA COUNTY TREASURER             ATTN: PROPERTY TAX DEPT. 301 WEST JEFFERSON ST. ROOM 100 PHOENIX AZ 85003-2199
MARIN COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. PO BOX 4220 SAN RAFAEL CA 94913
MARINETTE                             ATTN: PROPERTY TAX DEPT. 1926 HALL AVE MARINETTE WI 54143
MARION COUNTY COLLECTOR               ATTN: PROPERTY TAX DEPT. PO BOX 3416 PORTLAND OR 97208-3416
MARSHFIELD                            ATTN: PROPERTY TAX DEPT. 630 S CENTRAL AVE STE 502 MARSHFIELD WI 54449
MARTIN COUNTY TAX COLLECTOR           ATTN: PROPERTY TAX DEPT. 3485 SE WILLOUGHBY BLVD STUART FL 34994
MARTINSVILLE                          ATTN: PROPERTY TAX DEPT. PO BOX 1023 MARTINSVILLE VA 24114-1023
MARYLAND BALTIMORE COUNTY             ATTN: PROPERTY TAX DEPT. 400 WASHINGTON AVE RM 152 TOWSON MD 21204
MARYLAND BALTIMORE COUNTY             ATTN: PROPERTY TAX DEPT. PO BOX 64076 BALTO MD 21264-4076
MARYLAND OFFICE OF THE COMPTROLLER    PETER FRANCHOT, COMPTROLLER 80 CALVERT ST ANNAPOLIS MD 21404-0466
MARYLAND OFFICE OF THE COMPTROLLER    PETER FRANCHOT, COMPTROLLER PO BOX 466 ANNAPOLIS MD 21404-0466
MASSACHUSETTS                         ATTN: TAX DEPT. 14 HOPE ST GREENFIELD MA 01301
MASSACHUSETTS DEPARTMENT OF REVENUE   ATTN: BUSINESS LICENSE DEPT. PO BOX 7046 BOSTON MA 02204-7046
MASSACHUSETTS DEPARTMENT OF REVENUE   ATTN: SALES & USE TAX DEPT. PO BOX 7046 BOSTON MA 02204-7046
MASSACHUSETTS DEPT OF REVENUE         DIVISION OF LOCAL SERVICES 100 CAMBRIDGE ST, 6TH FL BOSTON MA 02114-9569
MASSACHUSETTS DEPT OF REVENUE         DIVISION OF LOCAL SERVICES PO BOX 9569 BOSTON MA 02114-9569
MATTRESS RECYCLING COUNCIL            ATTN: RECYCLING FEE DEPT. PO BOX 223594 CHANTILLY VA 20153-3594
MAURY                                 ATTN: PROPERTY TAX DEPT. ONE PUBLIC SQ COLUMBIA TN 38401
MCLENNAN COUNTY TAX OFFICE            TAX ASSESSOR COLLECTOR PO BOX 406 WACO TX 76703-0406
MECKLENBURG COUNTY TAX COLLECTOR      ATTN: PROPERTY TAX DEPT. PO BOX 31457 CHARLOTTE NC 28231-1457
MEDFORD                               ATTN: PROPERTY TAX DEPT. 411 W 8TH ST 380 MEDFORD OR 97501
MEQUON                                ATTN: PROPERTY TAX DEPT. 11333 N CEDARBURG RD 60W MEQUON WI 53092-1930
MERCED                                ATTN: PROPERTY TAX DEPT. 2222 M STREET MERCED CA 95340
MERIDEN TAX COLLECTOR                 ATTN: PROPERTY TAX DEPT. PO BOX 150431 HARTFORD CT 06115-0431
METHUEN                               ATTN: PROPERTY TAX DEPT. PO BOX 397 MEDFORD MA 02155-0004
MI CITY OF STERLING HEIGHTS           ATTN: SALES & USE TAX DEPT. PO BOX 4000 STERLING CO 80751-0400
MIAMI-DADE                            ATTN: PROPERTY TAX DEPT. 444 SW 2ND AVENUE 6TH FLOOR MIAMI FL 33130
MICHIGAN DEPARTMENT OF TREASURY       ATTN: BUSINESS LICENSE DEPT. PO BOX 30774 LANSING MI 48909-8274
MICHIGAN DEPARTMENT OF TREASURY       ATTN: SALES & USE TAX DEPT. PO BOX 30774 LANSING MI 48909-8274
MICHIGAN DEPT OF TREASURY             CUSTOMER CONTACT DIVISION, MBT UNIT PO BOX 30059 LANSING MI 48909
MIDDLETON                             ATTN: PROPERTY TAX DEPT. 1 DONHAM PLAZA MIDDLETOWN OH 45042
MIDDLETOWN                            ATTN: PROPERTY TAX DEPT. P.O. BOX 740402 CINCINNATI OH 45274-0402
MIDLAND                               ATTN: PROPERTY TAX DEPT. P.O. BOX 1647 MIDLAND MI 48641-1647



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Claim Name                               Address Information
MILTON                                   ATTN: PROPERTY TAX DEPT. 2006 HERITAGE WALK MILTON GA 30004
MILWAUKEE                                ATTN: PROPERTY TAX DEPT. PO BOX 78776 MILWAUKEE WI 53278-0776
MINNESOTA                                ATTN: BUSINESS LICENSE DEPT. PO BOX 64622 SAINT PAUL MN 55164-0622
MINNESOTA DEPARTMENT OF REVENUE          ATTN: INCOME TAX DEPT. MAIL STATION 4410 ST. PAUL MN 55146-4410
MINNESOTA DEPARTMENT OF REVENUE          ATTN: SALES & USE TAX DEPT. PO BOX 64622 SAINT PAUL MN 55164-0622
MINNESOTA DEPT OF COMMERCE               ATTN: UNCLAIMED PROPERTY DEPT. 85 7TH PLACE EAST SUITE 280 SAINT PAUL MN 55101
MINNESOTA DEPT OF REVENUE                600 N ROBERT ST. M/S 4130 SAINT PAUL MN 55164-0622
MISSISSIPPI DEPARTMENT OF REVENUE        ATTN: SALES & USE TAX DEPT. PO BOX 1033 JACKSON MS 39215-1033
MISSISSIPPI STATE TAX COMMISSION         500 CLINTON CTR DR CLINTON MS 39056
MISSISSIPPI STATE TAX COMMISSION         PO BOX 22808 JACKSON MS 39225-2808
MISSISSIPPI STATE TAX COMMISSION         ATTN: BUSINESS LICENSE DEPT. P.O. BOX 23075 JACKSON MS 39225-3075
MISSISSIPPI STATE TAX COMMISSION         ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 23075 JACKSON MS 39225-3075
MISSOURI DEPARTMENT OF REVENUE           ATTN: SALES & USE TAX DEPT. P O BOX 3020 JEFFERSON CITY MO 65105-3020
MISSOURI DEPT OF REVENUE                 HARRY S TRUMAN STATE OFFICE BLDG 301 W HIGH ST, RM 102 JEFFERSON CITY MO 65101
MISSOURI STATE TREASURER CLINT ZWEIFEL   ATTN: BUSINESS LICENSE DEPT. PO BOX 1272 JEFFERSON CITY MO 65102-1272
MISSOURI STATE TREASURER CLINT ZWEIFEL   ATTN: TAX DEPT. PO BOX 1272 JEFFERSON CITY MO 65102-1272
MISSOURI STATE TREASURER CLINT ZWEIFEL   ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 1272 JEFFERSON CITY MO 65102-1272
MOBILE COUNTY                            ATTN: PROPERTY TAX DEPT. PO DRAWER 161009 MOBILE AL 36616
MOBILE COUNTY                            ATTN: SALES & USE TAX DEPT. PO DRAWER 161009 MOBILE AL 36616
MOHAVE                                   ATTN: PROPERTY TAX DEPT. PO BOX 712 KINGMAN AZ 86402
MONROE                                   ATTN: PROPERTY TAX DEPT. P.O. BOX 69 MONROE NC 28111-0069
MONROE                                   ATTN: PROPERTY TAX DEPT. PO BOX 1129 KEY WEST FL 33041
MONTANA DEPARTMENT OF REVENUE            ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 5805 HELENA MT 59604-5805
MONTANA DEPT OF REVENUE                  SAM W MITCHELL BLDG 125 N ROBERTS, 3RD FL HELENA MT 59601
MONTANA DEPT OF REVENUE                  PO BOX 5805 HELENA MT 59604-5805
MONTEREY COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. P.O. BOX 891 SALINAS CA 93902-0891
MONTGOMERY COUNTY                        ATTN: PROPERTY TAX DEPT. 400 N SAN JACINTO CONROE TX 77301-2823
MONTGOMERY COUNTY                        ATTN: SALES & USE TAX DEPT. 400 N SAN JACINTO CONROE TX 77301-2823
MONTROSE                                 ATTN: PROPERTY TAX DEPT. PO BOX 790 MONTROSE CO 81402
MONTVILLE                                ATTN: PROPERTY TAX DEPT. PO BOX 4179 WOBURN MA 01888-4179
MORGAN                                   ATTN: PROPERTY TAX DEPT. PO BOX 696 DECATUR AL 35602
MT PLEASANT VIL-RAC                      ATTN: PROPERTY TAX DEPT. 320 W. BROADWAY MT. PLEASANT MI 48858
MULTNOMAH COUNTY COLLECTOR               ATTN: PROPERTY TAX DEPT. PO BOX 2716 PORTLAND OR 97208
MUSCOGEE COUNTY TAX COMM.                ATTN: PROPERTY TAX DEPT. PO BOX 1441 COLUMBUS GA 31902
N.D. OFFICE OF STATE TAX COMMISSIONER    600 E BLVD AVE DEPT 127 BISMARCK ND 58505-0599
NACOGDOCHES                              ATTN: PROPERTY TAX DEPT. P.O. BOX 635090 NACOGDOCHES TX 75963-5090
NAPA COUNTY TAX COLLECTOR                ATTN: PROPERTY TAX DEPT. 1195 THIRD ST STE 108 NAPA CA 94559
NASH                                     ATTN: PROPERTY TAX DEPT. 120 W WASHINGTON ST STE 2058 NASHVILLE NC 27856-1376
NASHVILLE-DAVIDSON                       ATTN: PROPERTY TAX DEPT. 700 2ND AVE SOUTH HOWARD OFFICE BUILDING SUITE 210
                                         NASHVILLE TN 37210
NASSAU                                   ATTN: PROPERTY TAX DEPT. 1194 PROSPECT AVE WESTBURY NY 11590
NASSAU COUNTY                            ATTN: TAX DEPT. 1 WEST ST. 4TH FLOOR MINEOLA NY 11501
NEBRASKA DEPARTMENT OF REVENUE           ATTN: BUSINESS LICENSE DEPT. PO BOX 98903 LINCOLN NE 68509
NEBRASKA DEPARTMENT OF REVENUE           ATTN: RECYCLING FEE DEPT. PO BOX 98903 LINCOLN NE 68509
NEBRASKA DEPARTMENT OF REVENUE           ATTN: SALES & USE TAX DEPT. PO BOX 98903 LINCOLN NE 68509
NEBRASKA DEPT OF REVENUE                 NEBRASKA STATE OFFICE BLDG 1313 FARNAM ST STE 100 OMAHA NE 68102-1836
NEBRASKA DEPT OF REVENUE                 NEBRASKA STATE OFFICE BUILDING 301 CENTENNIAL MALL S LINCOLN NE 68508
NEBRASKA DEPT OF REVENUE                 PO BOX 94818 LINCOLN NE 68509-4818
NEBRASKA DEPT OF REVENUE                 304 N 5TH ST, STE D NORFOLK NE 68701-4091



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Claim Name                               Address Information
NEBRASKA DEPT OF REVENUE                 200 S SILBER ST NORTH PLATTE NE 69101-4200
NEBRASKA DEPT OF REVENUE                 505A BROADWAY STE 800 SCOTTSBLUFF NE 69361
NEVADA DEPARTMENT OF TAXATION            ATTN: BUSINESS LICENSE DEPT. PO BOX 52609 PHOENIX AZ 85072-2609
NEVADA DEPARTMENT OF TAXATION            ATTN: COMMERCE TAX DEPT. PO BOX 52609 PHOENIX AZ 85072-2609
NEVADA DEPARTMENT OF TAXATION            ATTN: SALES & USE TAX DEPT. 555 E WASHINGTON AVE 4200 LAS VEGAS NV 89101-1070
NEVADA DEPT OF TAXATION                  2550 PASEO VERDE STE 180 HENDERSON NV 89074
NEVADA DEPT OF TAXATION                  GRANT SAWYER OFFICE BLDG 555 E WASHINGTON AVE STE 1300 LAS VEGAS NV 89101
NEVADA DEPT OF TAXATION                  4600 KIETZKE LANE BLDG L STE 235 RENO NV 89502
NEVADA DEPT OF TAXATION                  1550 COLLEGE PKWY STE 115 CARSON CITY NV 89706
NEVADA STATE TREASURER                   ATTN: UNCLAIMED PROPERTY DEPT. 555 E WASHINGTON AVE 4200 LAS VEGAS NV
                                         89101-1070
NEW BERLIN                               ATTN: PROPERTY TAX DEPT. 3805 S CASPER DR NEW BERLIN WI 53151
NEW HAMPSHIRE DEPT OF REVENUE ADMIN      109 PLEASANT ST CONCORD NH 03301
NEW HAMPSHIRE DEPT OF REVENUE ADMIN      PO BOX 457 CONCORD NH 03302-0457
NEW HANOVER COUNTY TAX OFFICE            ATTN: PROPERTY TAX DEPT. PO BOX 580070 CHARLOTTE NC 28258
NEW JERSEY DEPT OF THE TREASURY          DIVISION OF TAXATION PO BOX 002 TRENTON NJ 08625-0002
NEW JERSEY DEPT OF THE TREASURY          DIVISION OF ADMINISTRATION PO BOX 311 TRENTON NJ 08625-0211
NEW JERSEY DEPT OF THE TREASURY          DIVISION OF TAXATION BANKRUPTCY SECTION PO BOX 245 TRENTON NJ 08695-0245
NEW JERSEY DIVISION OF TAXATION          ATTN: BUSINESS LICENSE DEPT. PO BOX 214 TRENTON NJ 08625-0214
NEW JERSEY DIVISION OF TAXATION          ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 214 TRENTON NJ 08625-0214
NEW JERSEY DIVISION OF TAXATION          ATTN: INCOME TAX DEPT. PO BOX 046 TRENTON NJ 08646-0046
NEW JERSEY DIVISION OF TAXATION          ATTN: SALES & USE TAX DEPT. PO BOX 289 TRENTON NJ 08695
NEW JERSEY DIVISION OF TAXATION          ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 289 TRENTON NJ 08695
NEW MEXICO TAXATION AND REVENUE          1100 S ST FRANCIS DRIVE PO BOX 630 SANTA FE NM 87504-0630
NEW MILFORD                              ATTN: PROPERTY TAX DEPT. PO BOX 150416 HARTFORD CT 06115-0416
NEW YORK                                 ATTN: INCOME TAX DEPT. ONE CENTRE STREET 22ND FLOOR NEW YORK NY 10007
NEW YORK                                 ATTN: UNCLAIMED PROPERTY DEPT. 59 MAIDEN LANE NEW YORK NY 10038
NEW YORK                                 ATTN: BUSINESS LICENSE DEPT. PO BOX 2307 NEW YORK NY 10272
NEW YORK                                 ATTN: TAX DEPT. PO BOX 22001 ALBANY NY 12201-2001
NEW YORK                                 ATTN: UNCLAIMED PROPERTY DEPT. 110 STATE ST 2ND FLOOR ALBANY NY 12236
NEW YORK CITY                            ATTN: INCOME TAX DEPT. ONE CENTRE STREET 22ND FLOOR NEW YORK NY 10007
NEW YORK CITY                            ATTN: COMMERCIAL RENT TAX DEPT. PO BOX 3922 NEW YORK NY 10008
NEW YORK DEPT. OF FINANCE                BANKRUPTCY SECTION PO BOX 5300 ALBANY NY 12205-0300
NEW YORK DEPT. OF FINANCE                W.A. HARRIMAN CAMPUS, B8 BLDG 9 RM 449 ALBANY NY 12227
NEW YORK DEPT. OF FINANCE                W.A. HARRIMAN CAMPUS, B8 RM 700 ALBANY NY 12227
NEW YORK STATE DEPARTMENT OF TAXATION    ATTN: SALES & USE TAX DEPT. PO BOX 22001 ALBANY NY 12201-2001
AN
NEWPORT                                  ATTN: PROPERTY TAX DEPT. PO BOX 1090 NEWPORT KY 41071-0900
NEWPORT NEWS CITY TREASURER              ATTN: PROPERTY TAX DEPT. 2400 WASHINGTON AVE. NEWPORT NEWS VA 23607-4389
NEWTON                                   ATTN: PROPERTY TAX DEPT. 1113 USHER ST NW STE 101 COVINGTON GA 30014-2470
NEWTOWN                                  ATTN: PROPERTY TAX DEPT. PO BOX 5 NEWTOWN CT 06470
NEZ PERCE                                ATTN: PROPERTY TAX DEPT. PO BOX 896 LEWISTON ID 83501
NORTH CAROLINA                           ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 29525 RALEIGH NC 27626
NORTH CAROLINA                           ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 29622 RALEIGH NC 27626-0622
NORTH CAROLINA                           ATTN: BUSINESS LICENSE DEPT. PO BOX 25000 RALEIGH NC 27640-0500
NORTH CAROLINA DEPARTMENT OF REVENUE     ATTN: SALES & USE TAX DEPT. PO BOX 25000 RALEIGH NC 27640-0500
NORTH CAROLINA DEPT OF REVENUE           501 N WILMINGTON ST RALEIGH NC 27604
NORTH CAROLINA DEPT OF STATE TREASURER   ATTN: INCOME TAX DEPT. 3200 ATLANTIC AVE RALEIGH NC 27604-1668
NORTH HAVEN                              ATTN: PROPERTY TAX DEPT. PO BOX 900 HARTFORD CT 06143-0900



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                                             Mattress Firm, Inc.
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Claim Name                           Address Information
NORTH KINGSTOWN                      ATTN: PROPERTY TAX DEPT. 100 FAIRWAY DR NORTH KINGSTOWN RI 02852-5762
NORTH SMITHFIELD                     ATTN: PROPERTY TAX DEPT. PO BOX 844606 BOSTON MA 02284-4606
NORTHAMPTON                          ATTN: PROPERTY TAX DEPT. PO BOX 4121 WOBURN MA 01888-4121
NORWALK                              ATTN: PROPERTY TAX DEPT. 125 EAST AVE NORWALK CT 06851
OAK CREEK                            ATTN: PROPERTY TAX DEPT. PO BOX 27 OAK CREEK WI 53154-0027
OCONEE                               ATTN: PROPERTY TAX DEPT. PO BOX 106 WATKINSVILLE GA 30677
OCONOMOWOC CITY                      ATTN: PROPERTY TAX DEPT. PO BOX 27 OCONOMOWOC WI 53066-0027
OHIO DEPT OF TAXATION                30 E BROAD STREET 22ND FLOOR COLUMBUS OH 43215
OHIO DEPT OF TAXATION                4485 NORTHLAND RIDGE BLVD COLUMBUS OH 43229
OHIO DEPT. OF TAXATION               ATTN: COMMERCIAL ACTIVITY TAX DEPT. PO BOX 16561 COLUMBUS OH 43216-6561
OHIO DEPT. OF TAXATION               ATTN: SALES & USE TAX DEPT. PO BOX 16561 COLUMBUS OH 43216-6561
OHIO DEPT. OF TAXATION               ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 182215 COLUMBUS OH 43218
OKALOOSA COUNTY TAX COLLECTOR        ATTN: PROPERTY TAX DEPT. PO BOX 1390 NICEVILLE FL 32578
OKLAHOMA COUNTY TREASURER            ATTN: BUSINESS LICENSE DEPT. P.O. BOX 268875 OKLAHOMA CITY OK 73126-8875
OKLAHOMA COUNTY TREASURER            ATTN: PROPERTY TAX DEPT. P.O. BOX 268875 OKLAHOMA CITY OK 73126-8875
OKLAHOMA COUNTY TREASURER            ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 268875 OKLAHOMA CITY OK 73126-8875
OKLAHOMA TAX COMMISSION              ATTN: SALES & USE TAX DEPT. PO BOX 269057 OKLAHOMA CITY OK 73126
OKLAHOMA TAX COMMISSION              440 SOUTH HOUSTON 5TH FLOOR TULSA OK 74127
OKLAHOMA TAX COMMISSION              CONNORS BUILDING, CAPITAL COMPLEX 2501 NORTH LINCOLN BLVD OKLAHOMA CITY OK
                                     73914
ONSLOW                               ATTN: PROPERTY TAX DEPT. 234 NW CORRIDOR BLVD JACKSONVILLE NC 28540-5309
ORANGE                               ATTN: PROPERTY TAX DEPT. 228 S CHURCHTON ST 2ND FLOOR PO BOX 8181 HILLSBOROUGH
                                     NC 27278-8181
ORANGE COUNTY TAX COLLECTOR          ATTN: PROPERTY TAX DEPT. PO BOX 2551 ORLANDO FL 32802
ORANGE COUNTY TAX COLLECTOR          ATTN: PROPERTY TAX DEPT. PO BOX 545100 ORLANDO FL 32854-5100
OREGON                               ATTN: INCOME TAX DEPT. 955 CENTER ST SALEM OR 97301-2555
OREGON DEPARTMENT OF REVENUE         ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 14780 SALEM OR 97309-0469
OREGON DEPARTMENT OF REVENUE         ATTN: BUSINESS LICENSE DEPT. P.O. BOX 14725 SALEM OR 97309-5018
OREGON DEPT OF REVENUE               955 CENTER ST NE SALEM OR 97301
ORLEANS                              ATTN: PROPERTY TAX DEPT. 3 SOUTH MAIN ST. ALBION NY 14411
OSCEOLA                              ATTN: PROPERTY TAX DEPT. PO BOX 422105 KISSIMMEE FL 34742-2105
OUACHITA PARISH TAX COLLECTOR        ATTN: SALES & USE TAX DEPT. P.O. BOX 123 MONROE LA 71210-0123
PAR. E.B.R CITY OF BATON ROUGE       ATTN: PROPERTY TAX DEPT. P.O. BOX 2590 BATON ROUGE LA 70821-2590
PARISH OF AVOYELLES                  ATTN: SALES & USE TAX DEPT. P O BOX 806 MARKSVILLE LA 71351
PARISH OF BEAUREGARD                 ATTN: SALES & USE TAX DEPT. 214 W 2ND ST DERIDDER LA 70634
PARISH OF BIENVILLE                  ATTN: SALES & USE TAX DEPT. 2145 MILL ST RINGGOLD LA 71068
PARISH OF CALDWELL                   ATTN: SALES & USE TAX DEPT. 201 MAIN ST 3 COLUMBIA LA 71418
PARISH OF CATAHOULA                  ATTN: SALES & USE TAX DEPT. P.O. BOX 250 VIDALIA LA 71373
PARISH OF CONCORDIA                  ATTN: SALES & USE TAX DEPT. P.O. BOX 160 VIDALIA LA 71373
PARISH OF DESOTO                     ATTN: SALES & USE TAX DEPT. 365 LOSHER STREET SUITE 110 HERNANDO MS 38632
PARISH OF EAST BATON ROUGE           ATTN: SALES & USE TAX DEPT. P.O. BOX 2590 BATON ROUGE LA 70821-2590
PARISH OF EVANGELINE                 ATTN: SALES & USE TAX DEPT. P.O. BOX 927 MANSFIELD LA 71052
PARISH OF GRANT                      ATTN: SALES & USE TAX DEPT. P. O. BOX 187 COLFAX LA 71417
PARISH OF JACKSON                    ATTN: SALES & USE TAX DEPT. P. O. BOX 666 JONESBORO LA 71251-0666
PARISH OF JEFFERSON                  ATTN: SALES & USE TAX DEPT. P.O. BOX 248 GRETNA LA 70054
PARISH OF MADISON                    ATTN: SALES & USE TAX DEPT. P. O. BOX 1830 TALLULAH LA 71284-1830
PARISH OF NATCHITOCHES               ATTN: SALES & USE TAX DEPT. P.O. BOX 639 NATCHITOCHES LA 71458-0639
PARISH OF ORLEANS                    ATTN: SALES & USE TAX DEPT. 1300 PERDIDO STREET ROOM 1W15 NEW ORLEANS LA 70112
PARISH OF PLAQUEMINES                ATTN: SALES & USE TAX DEPT. 333 F. EDWARD HEBERT BLVD BUILDING 102 SUITE 345
                                     BELLE CHASSE LA 70037


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Claim Name                           Address Information
PARISH OF POINTE COUPEE              ATTN: SALES & USE TAX DEPT. P.O. BOX 290 NEW ROADS LA 70760
PARISH OF RAPIDES                    ATTN: SALES & USE TAX DEPT. 5606 COLISEUM BLVD ALEXANDRIA LA 71303
PARISH OF SAINT BERNARD              ATTN: SALES & USE TAX DEPT. P. O. BOX 168 CHALMETTE LA 70044
PARISH OF SAINT CHARLES              ATTN: SALES & USE TAX DEPT. P. O. BOX 440 HAHNVILLE LA 70057-0440
PARISH OF SAINT HELENA               ATTN: SALES & USE TAX DEPT. P. O. BOX 1205 GREENSBURG LA 70441
PARISH OF SAINT JAMES                ATTN: SALES & USE TAX DEPT. P.O. BOX 368 LUTCHER LA 70071-0368
PARISH OF SAINT JOHN THE BAPTIST     ATTN: SALES & USE TAX DEPT. P. O. BOX 2066 LAPLACE LA 70069-2066
PARISH OF SAINT TAMMANY              ATTN: SALES & USE TAX DEPT. P.O. BOX 1229 SLIDELL LA 70459
PARISH OF TERREBONNE                 ATTN: SALES & USE TAX DEPT. P.O. BOX 670 HOUMA LA 70361-0670
PARISH OF VERMILION                  ATTN: SALES & USE TAX DEPT. P.O. BOX 1508 ABBEVILLE LA 70511-1508
PARISH OF VERNON                     ATTN: SALES & USE TAX DEPT. 117 BELVIEW ROAD LEESVILLE LA 71446
PARISH OF WEST FELICIANA             ATTN: SALES & USE TAX DEPT. P. O. BOX 1910 ST. FRANCISVILLE LA 70775-1910
PARISH OF WINN                       ATTN: SALES & USE TAX DEPT. P.O. BOX 430 WINNFIELD LA 71483
PARKER                               ATTN: PROPERTY TAX DEPT. 1108 SANTA FE DR. WEATHERFORD TX 76086-5818
PASCO                                ATTN: PROPERTY TAX DEPT. PO BOX 293 PASCO WA 99301
PASQUOTANK                           ATTN: PROPERTY TAX DEPT. PO BOX 586 ELIZABETH CITY NC 27907-0586
PAULDING                             ATTN: PROPERTY TAX DEPT. 240 CONSTITUTION BLVD. ROOM 3006 DALLAS GA 30132-4614
PAYNE COUNTY TREASURER               315 W 6TH STE 101 STILLWATER OK 74074
PENNSYLVANIA DEPT OF STATE           555 UNION BLVD ALLENTOWN PA 18109-3389
PENNSYLVANIA DEPT OF STATE           STONY CREEK OFFICE CENTER 151 W MARSHALL ST SECOND FL NORRISTOWN PA 19401-4739
PENNSYLVANIA DEPT OF STATE           5TH FL STRAWBERRY SQ HARRISBURG PA 17128-0605
PENNSYLVANIA DEPT OF STATE           535 CHESTNUT ST SUNBURY PA 17801-2834
PENNSYLVANIA DEPT OF STATE           BANK TOWERS 207 WYOMING AVE SCRANTON PA 18503-1427
PENNSYLVANIA DEPT OF STATE           419 AVENUE OF THE STATES 6TH FL STE 602 CHESTER PA 19013-0451
PENNSYLVANIA DEPT OF STATE           110 N 8TH ST STE 204A PHILADELPHIA PA 19107-2412
PENNSYLVANIA DEPT OF STATE           PHILADELPHIA NORTHE DISTRICT 3240 RED LION RD PHILADELPHIA PA 19114-1109
PENNSYLVANIA DEPT OF STATE           625 CHERRY ST READING PA 19602-1186
PENNSYLVANIA DEPT OF STATE           15 W THIRD ST SECOND FL GREENSBURG PA 15601-3003
PENNSYLVANIA DEPT OF STATE           425 MAIN ST JOHNSTOWN PA 15901-1808
PENNSYLVANIA DEPT OF STATE           411 7TH AVE ROOM 420 PITTSBURGH PA 15219-1905
PENNSYLVANIA DEPT OF STATE           11 PARKWAY CTR STE 175 875 GREENTREE RD PITTSBURGH PA 15220
PENNSYLVANIA DEPT OF STATE           448 W 11TH ST ERIE PA 16501-1501
PEWAUKEE CITY                        ATTN: PROPERTY TAX DEPT. W240 N3065 PEWAUKEE ROAD PEWAUKEE WI 53072
PICKENS                              ATTN: PROPERTY TAX DEPT. PO BOX 1210 COLUMBIA SC 29202
PIERCE COUNTY BUDGET & FINANCE       ATTN: PROPERTY TAX DEPT. PO BOX 11621 TACOMA WA 98411-6621
PIMA COUNTY TREASURER                ATTN: PROPERTY TAX DEPT. PO BOX 29011 PHOENIX AZ 85038-9011
PINAL COUNTY TREASURER               P.O. BOX 729 FLORENCE AZ 85232-0729
PINELLAS COUNTY TAX COLLECTOR        ATTN: PROPERTY TAX DEPT. PO BOX 31149 TAMPA FL 33631-3149
PITT COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. PO BOX 875 GREENVILLE NC 27835-0875
PITTSFIELD                           ATTN: PROPERTY TAX DEPT. PO BOX 981063 BOSTON MA 02298-1063
PLACER COUNTY TAX COLLECTOR          2976 RICHARDSON DRIVE AUBURN CA 95603
PLAINVILLE                           ATTN: PROPERTY TAX DEPT. PO BOX 1795 PLAINVILLE MA 02762
PLATTE COUNTY TAX COLLECTOR          ATTN: PROPERTY TAX DEPT. 415 3RD ST ROOM 212 PLATTE CITY MO 64079
PLOVER                               ATTN: PROPERTY TAX DEPT. P.O. BOX 37 PLOVER WI 54467
PLYMOUTH TOWNSHIP                    ATTN: PROPERTY TAX DEPT. 700 BELVOIR RD PLYMOUTH MEETING PA 19462
POLK COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. P.O. BOX 1189 BARTOW FL 33831-1189
PORTER                               ATTN: PROPERTY TAX DEPT. PO BOX 2150 VALPARAISO IN 46384-2150
PRINCE GEORGES                       ATTN: PROPERTY TAX DEPT. 14741 GOV ODEN BOWIE DR RM 1090 UPPER MARLBORO MD
                                     20772



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Claim Name                            Address Information
PRINCE WILLIAM                        ATTN: PROPERTY TAX DEPT. PO BOX 2467 WOODBRIDGE VA 22195-2467
PROVIDENCE                            ATTN: PROPERTY TAX DEPT. 25 DORRANCE STREET PROVIDENCE RI 02903
PUEBLO                                ATTN: PROPERTY TAX DEPT. PO BOX 1427 PUEBLO CO 81002
PULASKI COUNTY TREASURER              ATTN: PROPERTY TAX DEPT. PO BOX 8101 LITTLE ROCK AR 72203
PUTNAM                                ATTN: PROPERTY TAX DEPT. 300 E SPRING ST RM 2 COOKEVILLE TN 38501
QUINCY                                ATTN: PROPERTY TAX DEPT. 730 MAINE ST QUINCY IL 62301-4053
RANDOLPH                              ATTN: PROPERTY TAX DEPT. 725 MCDOWELL RD ASHEBORO NC 27205-7370
RAPIDES                               ATTN: PROPERTY TAX DEPT. PO BOX 671 ALEXANDRIA LA 71309
RAYNHAM                               ATTN: PROPERTY TAX DEPT. PO BOX 844505 BOSTON MA 02284-4505
REVERE                                ATTN: PROPERTY TAX DEPT. 281 BROADWAY REVERE MA 02151-5027
RHODE ISLAND DIVISION OF TAXATION     ATTN: SALES & USE TAX DEPT. ONE CAPITAL HILL STE 2 PROVIDENCE RI 02908-5800
RHODE ISLAND DIVISION OF TAXATION     ONE CAPITOL HILL PROVIDENCE RI 02908-5800
RHODE ISLAND DIVISION OF TAXATION     ATTN: BUSINESS LICENSE DEPT. ONE CAPITOL HILL 36 PROVIDENCE RI 02908-5829
RHODE ISLAND DIVISION OF TAXATION     ATTN: UNCLAIMED PROPERTY DEPT. ONE CAPITOL HILL 36 PROVIDENCE RI 02908-5829
RICHLAND COUNTY TREASURY              ATTN: PROPERTY TAX DEPT. PO BOX 192 COLUMBIA SC 29202
RICHMOND                              ATTN: INCOME TAX DEPT. PO BOX 1268 RICHMOND KY 40476-1268
RICHMOND                              ATTN: PROPERTY TAX DEPT. PO BOX 1268 RICHMOND KY 40476-1268
RIDGEFIELD                            ATTN: PROPERTY TAX DEPT. PO BOX 299 RIDGEFIELD CT 06877-0299
RIVERSIDE COUNTY TREASURER            ATTN: PROPERTY TAX DEPT. PO BOX 12005 RIVERSIDE CA 92502-2205
ROBESON COUNTY TAX COLLECTOR          PO BOX 580387 CHARLOTTE NC 28258-0387
ROCKDALE                              ATTN: PROPERTY TAX DEPT. PO BOX 289 CONYERS GA 30012
ROCKWALL CENTRAL APPRAISAL DISTRICT   ATTN: PROPERTY TAX DEPT. 841 JUSTIN ROAD ROCKWALL TX 75087
ROWAN                                 ATTN: PROPERTY TAX DEPT. P O BOX 900048 RALEIGH NC 27675-9048
RUTHERFORD                            ATTN: PROPERTY TAX DEPT. 319 N MAPLE ST SUITE 121 MURFREESBORO TN 37130
RUTLAND CITY                          ATTN: PROPERTY TAX DEPT. CITY HALL PO BOX 969 RUTLAND VT 05702-0969
SACRAMENTO COUNTY                     ATTN: PROPERTY TAX DEPT. PO BOX 508 SACRAMENTO CA 95812-0508
SAINT CHARLES COUNTY COLLECTOR OF     ATTN: PROPERTY TAX DEPT. 200 N 2ND ST SAINT CHARLES MO 63301-2891
REVENU
SALINE                                ATTN: PROPERTY TAX DEPT. 215 N MAIN ST STE 3 BENTON AR 72015
SALT LAKE COUNTY ASSESSOR             ATTN: PROPERTY TAX DEPT. PO BOX 145458 SALT LAKE CITY UT 84114
SALT RIVER PIMA-MARICOPA INDIAN       TAX ADMINISTRATOR ATTN: SALES & USE TAX DEPT. TWO WATERS STE B-200 SCOTTSDALE
COMMUNIT                              AZ 85256
SAN BERNARDINO COUNTY TAX COLLECTOR   ATTN: PROPERTY TAX DEPT. 172 W THIRD ST 1ST FL SAN BERNARDINO CA 92415-0360
SAN DIEGO COUNTY TREASURER-TAX        ATTN: PROPERTY TAX DEPT. 1600 PACIFIC HWY ROOM 162 SAN DIEGO CA 92101
COLLECTOR
SAN FRANCISCO COUNTY TAX COLLECTOR    ATTN: PROPERTY TAX DEPT. P.O. BOX 7427 SAN FRANCISCO CA 94120-7427
SAN JOAQUIN COUNTY TAX COLLECTOR      ATTN: PROPERTY TAX DEPT. PO BOX 2169 STOCKTON CA 95201-2169
SAN MATEO COUNTY TAX COLLECTOR        ATTN: PROPERTY TAX DEPT. 555 COUNTY CTR 1ST FL REDWOOD CITY CA 94063
SANTA CLARA COUNTY CLERK RECORDER     ATTN: PROPERTY TAX DEPT. 70 W HEDDING ST SAN JOSE CA 95110-1767
SANTA CRUZ COUNTY TAX COLLECTOR       ATTN: PROPERTY TAX DEPT. PO BOX 1817 SANTA CRUZ CA 95061
SANTA ROSA COUNTY TAX COLLECTOR       6495 CAROLINE ST STE E MILTON FL 32570-4592
SARPY COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. 1210 GOLDEN GATE DRIVE 1120 PAPILLION NE 68046
SEMINOLE                              ATTN: PROPERTY TAX DEPT. 9199 113TH ST N SEMINOLE FL 33772
SEVIER COUNTY CLERK                   ATTN: PROPERTY TAX DEPT. 125 COURT AVE SUITE 212W SEVIERVILLE TN 37862
SEVIER COUNTY TRUSTEE                 ATTN: PROPERTY TAX DEPT. 125 COURT AVE STE 202E SEVIERVILLE TN 37862
SHASTA COUNTY TAX COLLECTOR           ATTN: PROPERTY TAX DEPT. PO BOX 991830 REDDING CA 96099-1830
SHELBY                                ATTN: PROPERTY TAX DEPT. 150 WASHINGTON AVE 200 MEMPHIS TN 38103
SHELBY COUNTY TRUSTEE                 ATTN: SALES & USE TAX DEPT. PO BOX 2751 MEMPHIS TN 38101-2751
SKAGIT                                ATTN: PROPERTY TAX DEPT. PO BOX 518 MOUNT VERNON WA 98273
SMITH COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPT. PO BOX 2011 TYLER TX 75710


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Claim Name                         Address Information
SMITHFIELD                         ATTN: PROPERTY TAX DEPT. P.O. BOX 63027 CHARLOTTE NC 28263-3027
SNOHOMISH COUNTY TREASURER         ATTN: PROPERTY TAX DEPT. PO BOX 34171 SEATTLE WA 98124-1171
SOLANO COUNTY TAX COLLECTOR        ATTN: PROPERTY TAX DEPT. 675 TEXAS STREET SUITE 1900 FAIRFIELD CA 94533
SONOMA COUNTY TAX COLLECTOR        ATTN: PROPERTY TAX DEPT. 585 FISCAL DR. ROOM 100 SANTA ROSA CA 95403
SOUTH CAROLINA                     ATTN: BUSINESS LICENSE DEPT. PO BOX 11778 COLUMBIA SC 29211-1778
SOUTH CAROLINA                     ATTN: INCOME TAX DEPT. PO BOX 11778 COLUMBIA SC 29211-1778
SOUTH CAROLINA                     ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 11778 COLUMBIA SC 29211-1778
SOUTH CAROLINA DEPT OF REVENUE     ATTN: SALES & USE TAX DEPT. PO BOX 2535 COLUMBIA SC 29202-2535
SOUTH CAROLINA DEPT OF REVENUE     300A OUTLET POINTE BOULEVARD COLUMBIA SC 29210
SOUTH DAKOTA DEPT OF REVENUE       445 E CAPITOL AVE PIERRE SD 57501
SOUTH KINGSTOWN                    ATTN: PROPERTY TAX DEPT. 180 HIGH ST WAKEFIELD RI 02879
SOUTHBURY                          ATTN: PROPERTY TAX DEPT. PO BOX 4110 WOBURN MA 01888-4110
SOUTHINGTON                        ATTN: PROPERTY TAX DEPT. PO BOX 1036 SOUTHINGTON CT 06489-1036
SPALDING                           ATTN: PROPERTY TAX DEPT. P O BOX 509 GRIFFIN GA 30224-0014
SPOTSYLVANIA COUNTY TREASURER      ATTN: PROPERTY TAX DEPT. PO BOX 9000 SPOTSYLVANIA VA 22553
SPRINGFIELD                        ATTN: PROPERTY TAX DEPT. 76 E HIGH ST SPRINGFIELD OH 45502-1214
ST JOSEPH                          ATTN: PROPERTY TAX DEPT. 1100 FREDERICK AVE SAINT JOSEPH MO 64501
ST LOUIS CITY                      ATTN: PROPERTY TAX DEPT. PO BOX 66877 SAINT LOUIS MO 63166-6877
ST LOUIS COUNTY COLLECTOR          ATTN: PROPERTY TAX DEPT. 41 S CENTRAL 8TH FL CLAYTON MO 63105
ST MARYS                           ATTN: PROPERTY TAX DEPT. 23150 LEONARD HALL DR LEONARDTOWN MD 20650-5801
ST TAMMANY                         ATTN: PROPERTY TAX DEPT. 21454 KOOP DRIVESUITE 1 A MANDEVILLE LA 70471
ST. JOHNS COUNTY TAX COLLECTOR     ATTN: PROPERTY TAX DEPT. PO BOX 9001 SAINT AUGUSTINE FL 32085-9001
ST. LUCIE                          ATTN: PROPERTY TAX DEPT. P O BOX 308 FORT PIERCE FL 34954-0308
STACS                              ATTN: SALES & USE TAX DEPT. P.O. BOX 3989 MUSCLE SHOALS AL 35662
STAFFORD                           ATTN: PROPERTY TAX DEPT. 2610 SOUTH MAIN STAFFORD TX 77477
STANISLAUS COUNTY TAX COLLECTOR    ATTN: PROPERTY TAX DEPT. PO BOX 859 MODESTO CA 95353
STANLY                             ATTN: PROPERTY TAX DEPT. 201 SOUTH SECOND ST ALBEMARLE NC 28001
STATE OF ARKANSAS                  ATTN: BUSINESS LICENSE DEPT. PO BOX 3153 LITTLE ROCK AR 72203-3153
STATE OF ARKANSAS                  ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 3153 LITTLE ROCK AR 72203-3153
STATE OF ARKANSAS                  ATTN: SALES & USE TAX DEPT. P.O. BOX 3861 LITTLE ROCK AR 72203-3861
STATE OF CONNECTICUT               ATTN: SALES & USE TAX DEPT. 25 SIGNOURNEY ST HARTFORD CT 06106
STATE OF CONNECTICUT               ATTN: BUSINESS LICENSE DEPT. PO BOX 150435 HARTFORD CT 06115-0435
STATE OF CONNECTICUT               ATTN: INCOME TAX DEPT. PO BOX 150435 HARTFORD CT 06115-0435
STATE OF CONNECTICUT               ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 150435 HARTFORD CT 06115-0435
STATE OF DELAWARE                  ATTN: PROPERTY TAX DEPT. 401 FEDERAL ST STE 4 DOVER DE 19901-3639
STATE OF MICHIGAN                  ATTN: UNCLAIMED PROPERTY DEPT. P.O. BOX 30756 LANSING MI 48909
STATE OF NEW HAMPSHIRE TREASURER   ATTN: INCOME TAX DEPT. 25 CAPITOL ST RM 205 CONCORD NH 03301-6312
STATE OF NEW HAMPSHIRE TREASURER   ATTN: UNCLAIMED PROPERTY DEPT. 25 CAPITOL ST RM 205 CONCORD NH 03301-6312
STATE OF OHIO TREASURER            ATTN: BUSINESS LICENSE DEPT. PO BOX 4009 REYNOLDSBURG OH 43068-9009
STATE OF OHIO TREASURER            ATTN: PROPERTY TAX DEPT. PO BOX 16561 COLUMBUS OH 43216-6561
STATE OF TENNESSEE                 ATTN: BUSINESS LICENSE DEPT. 500 DEADERICK STREET NASHVILLE TN 37242-0700
STATE OF TENNESSEE                 ATTN: BUSINESS TAX DEPT. 500 DEADERICK STREET NASHVILLE TN 37242-0700
STATE OF TENNESSEE                 ATTN: INCOME TAX DEPT. 500 DEADERICK STREET NASHVILLE TN 37242-0700
STATE OF TENNESSEE                 ATTN: TAX DEPT. 500 DEADERICK STREET NASHVILLE TN 37242-0700
STATE OF TENNESSEE                 ATTN: UNCLAIMED PROPERTY DEPT. 500 DEADERICK STREET NASHVILLE TN 37242-0700
STATE OF WASHINGTON                ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 34053 SEATTLE WA 98124-6781
STATE OF WASHINGTON                ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 9034 OLYMPIA WA 98507
STOUGHTON                          ATTN: PROPERTY TAX DEPT. PO BOX 763 MEDFORD MA 02155-0008
STRATFORD                          ATTN: PROPERTY TAX DEPT. PO BOX 9722 STRATFORD CT 06615



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Claim Name                              Address Information
STURBRIDGE                              ATTN: PROPERTY TAX DEPT. 308 MAIN ST STURBRIDGE MA 01566-1078
SUDBURY                                 ATTN: PROPERTY TAX DEPT. PO BOX 959 SUDBURY MA 01776-0959
SUFFOLK                                 ATTN: PROPERTY TAX DEPT. PO BOX 6100 HAUPPAUGE NY 11788-0099
SULLIVAN COUNTY TRUSTEE                 ATTN: PROPERTY TAX DEPT. PO BOX 550 BLOUNTVILLE TN 37617
SUMMIT COUNTY ASSESSOR                  ATTN: PROPERTY TAX DEPT. PO BOX 128 COALVILLE UT 84017
SUMNER COUNTY TRUSTEE                   ATTN: PROPERTY TAX DEPT. 355 BELVEDERE DR N 107 GALLATIN TN 37066-5410
SUMTER                                  ATTN: PROPERTY TAX DEPT. PO BOX 100140 COLUMBIA SC 29202
SUTTER                                  ATTN: PROPERTY TAX DEPT. PO BOX 546 YUBA CITY CA 95992
SWAMPSCOTT                              ATTN: PROPERTY TAX DEPT. 22 MONUMENT AVE SWAMPSCOTT MA 01907
TALBOT                                  ATTN: PROPERTY TAX DEPT. 11 N WASHINGTON ST STE 16 EASTON MD 21601
TANEY COUNTY COLLECTOR                  ATTN: PROPERTY TAX DEPT. PO BOX 278 FORSYTH MO 65653
TANGIPAHOA                              ATTN: PROPERTY TAX DEPT. PO BOX 942 AMITE LA 70422-0942
TANGIPAHOA PARISH TAX COLLECTOR         ATTN: SALES & USE TAX DEPT. P. O. BOX 159 AMITE LA 70422
TARRANT COUNTY TAX ASSESSOR-COLLECTOR   ATTN: PROPERTY TAX DEPT. P.O. BOX 961018 FORT WORTH TX 76161-0018
TAX APPRAISAL DISTRICT                  ATTN: PROPERTY TAX DEPT. PO BOX 390 BELTON TX 76513
TAX COLLECTOR BUNCOMBE COUNTY           ATTN: PROPERTY TAX DEPT. 94 COXE AVE ASHEVILLE NC 28801-3620
TAYLOR                                  ATTN: PROPERTY TAX DEPT. PO BOX 1800 1534 S TREADAWAY ABILENE TX 79604
TENNESSEE DEPARTMENT OF REVENUE         ATTN: SALES & USE TAX DEPT. 44 VANTAGE WAY STE 160 NASHVILLE TN 37243-8050
TENNESSEE DEPT OF REVENUE               500 DEADERICK ST ANDREW JACKSON BLDG NASHVILLE TN 37242
TERREBONNE                              ATTN: PROPERTY TAX DEPT. PO DRAWER 1670 HOUMA LA 70361-1670
TEWKSBURY                               ATTN: PROPERTY TAX DEPT. PO BOX 754 READING MA 01867
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    PO BOX 13528 CAPITOL STATION AUSTIN TX 78711-3528
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS    LYNDON B JOHNSON STATE OFFICE BLDG 111 E 17TH ST AUSTIN TX 78774
TEXAS STATE COMPTROLLER                 ATTN: BUSINESS LICENSE DEPT. 111 E 17TH ST AUSTIN TX 78774
TEXAS STATE COMPTROLLER                 ATTN: INCOME TAX DEPT. 111 E 17TH ST AUSTIN TX 78774
TEXAS STATE COMPTROLLER                 ATTN: SALES & USE TAX DEPT. 111 E 17TH ST AUSTIN TX 78774
TEXAS STATE COMPTROLLER                 ATTN: TAX DEPT. 111 E 17TH ST AUSTIN TX 78774
TEXAS STATE COMPTROLLER                 ATTN: UNCLAIMED PROPERTY DEPT. 111 E 17TH ST AUSTIN TX 78774
THOMAS                                  ATTN: PROPERTY TAX DEPT. PO BOX 2175 THOMASVILLE GA 31799
THOMASTON POLLUTION CONTROL             ATTN: PROPERTY TAX DEPT. PO BOX 299 THOMASTON ME 04861-0299
THURSTON COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. 2000 LAKERIDGE DR SW OLYMPIA WA 98502-6080
TIPPECANOE COUNTY TREASURER             ATTN: PROPERTY TAX DEPT. 20 N 3RD ST LAFAYETTE IN 47901-1205
TOLLAND                                 ATTN: PROPERTY TAX DEPT. 21 TOLLAND GREEN TOLLAND CT 06084-3028
TOM GREEN                               ATTN: PROPERTY TAX DEPT. 2302 PULLIAM ST SAN ANGELO TX 76905-5165
TOOELE                                  ATTN: PROPERTY TAX DEPT. 90 N MAIN ST TOOELE UT 84074
TOPSHAM                                 ATTN: PROPERTY TAX DEPT. 100 MAIN ST TOPSHAM ME 04086
TORRINGTON                              ATTN: PROPERTY TAX DEPT. 140 MAIN ST RM 134 TORRINGTON CT 06790
TOWN OF ACTON MA                        ATTN: PROPERTY TAX DEPT. 472 MAIN ST ACTON MA 01720-3952
TOWN OF BRAINTREE                       ATTN: PROPERTY TAX DEPT. PO BOX 859209 BRAINTREE MA 02185-9209
TOWN OF BURLINGTON                      ATTN: PROPERTY TAX DEPT. PO BOX 376 BURLINGTON MA 01803
TOWN OF BURLINGTON                      ATTN: PROPERTY TAX DEPT. P O BOX 1358 BURLINGTON NC 27216
TOWN OF CASTLE ROCK                     ATTN: SALES & USE TAX DEPT. PO BOX 17906 DENVER CO 80217
TOWN OF DANVERS                         ATTN: PROPERTY TAX DEPT. 1 SYVAN ST. DANVERS MA 01923
TOWN OF DARTMOUTH                       ATTN: PROPERTY TAX DEPT. 400 SLOCUM ROAD DARTMOUTH MA 02747
TOWN OF HINGHAM                         ATTN: PROPERTY TAX DEPT. PO BOX 4191 WOBURN MA 01888-4191
TOWN OF PLYMOUTH                        ATTN: PROPERTY TAX DEPT. PO BOX 4181 WOBURN MA 01888-4181
TOWN OF SILVERTHORNE                    ATTN: SALES & USE TAX DEPT. PO BOX 1309 SILVERTHORNE CO 80498-1309
TRAVIS COUNTY TAX A/C                   ATTN: PROPERTY TAX DEPT. P O BOX 149328 AUSTIN TX 78714-9328
TROUP                                   ATTN: PROPERTY TAX DEPT. 100 RIDLEY AVE LA GRANGE GA 30240



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                                                 Mattress Firm, Inc.
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Claim Name                               Address Information
TULARE COUNTY COLLECTOR                  ATTN: PROPERTY TAX DEPT. PO BOX 30329 LOS ANGELES CA 90030-0329
TUSCALOOSA COUNTY                        ATTN: SALES & USE TAX DEPT. 714 GREENSBORO AVE ROOM 124 TUSCALOOSA AL
                                         35401-1891
TX CITY OF HOUSTON                       ATTN: PROPERTY TAX DEPT. P.O. BOX 1560 HOUSTON TX 77251
UNION                                    ATTN: PROPERTY TAX DEPT. PO BOX 580365 CHARLOTTE NC 28258-0365
UTAH COUNTY TREASURER                    ATTN: BUSINESS LICENSE DEPT. 100 E. CENTER ST STE 1200 PROVO UT 84606-3106
UTAH COUNTY TREASURER                    ATTN: INCOME TAX DEPT. 100 E. CENTER ST STE 1200 PROVO UT 84606-3106
UTAH COUNTY TREASURER                    ATTN: PROPERTY TAX DEPT. 100 E. CENTER ST STE 1200 PROVO UT 84606-3106
UTAH COUNTY TREASURER                    ATTN: UNCLAIMED PROPERTY DEPT. 100 E. CENTER ST STE 1200 PROVO UT 84606-3106
UTAH STATE TAX COMMISSION                210 N 1950 W SALT LAKE CITY UT 84134
UTAH STATE TAX COMMISSION                ATTN: SALES & USE TAX DEPT. 210 N 1950 W SALT LAKE CITY UT 84134-0400
VANDERBURGH                              ATTN: PROPERTY TAX DEPT. P O BOX 77 EVANSVILLE IN 47701-0077
VERMONT                                  ATTN: BUSINESS LICENSE DEPT. PO BOX 547 MONTPELIER VT 05601-0547
VERMONT                                  ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 547 MONTPELIER VT 05601-0547
VERMONT DEPARTMENT OF TAXATION           ATTN: SALES & USE TAX DEPT. PO BOX 547 MONTPELIER VT 05601-0547
VERMONT DEPT OF TAXES                    133 STATE ST MONTPELIER VT 05633-1401
VIGO                                     ATTN: PROPERTY TAX DEPT. PO BOX 1466 INDIANAPOLIS IN 46206-1466
VILLAGE OF PLEASANT PRAIRIE              ATTN: PROPERTY TAX DEPT. 9915 39TH AVENUE PLEASANT PRAIRIE WI 53158
VIRGINIA CITY OF WINCHESTER              ATTN: PROPERTY TAX DEPT. PO BOX 546 WINCHESTER VA 22604
VIRGINIA DEPARTMENT OF TAXATION          ATTN: SALES & USE TAX DEPT. PO BOX 1777 RICHMOND VA 23218-1777
VIRGINIA DEPT OF TAXATION                PO BOX 1115 RICHMOND VA 23218-1115
VIRGINIA DEPT OF TAXATION                1957 WESTMORELAND STREET RICHMOND VA 23230
W.BATON ROUGE-POINTE                     ATTN: PROPERTY TAX DEPT. PO BOX 129 PORT ALLEN LA 70767-0129
WAKE                                     ATTN: PROPERTY TAX DEPT. 301 S. BROOKS ST. WAKE FOREST NC 27587
WALKER                                   ATTN: PROPERTY TAX DEPT. 4243 REMEMBRANCE RD NW WALKER MI 49534
WALTHAM                                  ATTN: PROPERTY TAX DEPT. PO BOX 540190 WALTHAM MA 02454-0190
WALTON COUNTY TAX COLLECTOR              ATTN: PROPERTY TAX DEPT. PO BOX 510 DEFUNIAK SPRINGS FL 32435-0510
WARE                                     ATTN: PROPERTY TAX DEPT. 126 MAIN ST. WARE MA 01082
WAREHAM                                  ATTN: PROPERTY TAX DEPT. PO BOX 981055 BOSTON MA 02298-1055
WARREN COUNTY SCHOOLS                    ATTN: PROPERTY TAX DEPT. PO BOX 890947 CHARLOTTE NC 28289-0947
WARWICK                                  ATTN: PROPERTY TAX DEPT. 3275 POST RD WARWICK RI 02886
WASCO                                    ATTN: PROPERTY TAX DEPT. PO BOX 6785 PORTLAND OR 97228
WASHINGTON COUNTY COLLECTOR              ATTN: BUSINESS LICENSE DEPT. 280 NORTH COLLEGE SUITE 202 FAYETTEVILLE AR
                                         72701-4279
WASHINGTON COUNTY COLLECTOR              ATTN: PROPERTY TAX DEPT. PO BOX 3587 PORTLAND OR 97208
WASHINGTON COUNTY COLLECTOR              ATTN: TAX DEPT. PO BOX 3587 PORTLAND OR 97208
WASHINGTON STATE DEPARTMENT OF REVENUE   ATTN: SALES & USE TAX DEPT. PO BOX 47477 OLYMPIA WA 98504
WASHINGTON STATE DEPT OF REVENUE         PO BOX 47476 OLYMPIA WA 98504-7476
WASHINGTON STATE DEPT OF REVENUE         PO BOX 47478 OLYMPIA WA 98504-7478
WASHOE COUNTY TREASURER                  ATTN: PROPERTY TAX DEPT. PO BOX 30039 RENO NV 89520-3039
WATAUGA                                  ATTN: PROPERTY TAX DEPT. PO BOX 986 MOUNT AIRY NC 27030-0986
WATERBURY                                ATTN: PROPERTY TAX DEPT. 235 GRAND ST. 1ST FLOOR WATERBURY CT 06702
WATERFORD TAX COLLECTOR                  ATTN: PROPERTY TAX DEPT. 15 ROPE FERRY RD WATERFORD CT 06385-2886
WAUKESHA CITY                            ATTN: PROPERTY TAX DEPT. 201 DELAFIELD ST WAUKESHA WI 53188-3693
WAUSAU CITY                              ATTN: PROPERTY TAX DEPT. PO BOX 3051 MILWAUKEE WI 53201-3051
WAYLAND                                  ATTN: PROPERTY TAX DEPT. PO BOX 655 MEDFORD MA 02155-0007
WAYNE                                    ATTN: PROPERTY TAX DEPT. PO BOX 580478 CHARLOTTE NC 28258
WAYNE                                    ATTN: PROPERTY TAX DEPT. 401 E MAIN ST RICHMOND IN 47374
WAYNESBORO                               ATTN: PROPERTY TAX DEPT. 503 WEST MAIN ST ROOM 107 WAYNESBORO VA 22980



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                                                 Mattress Firm, Inc.
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Claim Name                               Address Information
WEBER COUNTY ASSESSOR                    ATTN: PROPERTY TAX DEPT. 2380 WASHINGTON BLVD STE 380 OGDEN UT 84401
WELD                                     ATTN: PROPERTY TAX DEPT. PO BOX 458 GREELEY CO 80632-0458
WEST ALLIS                               ATTN: PROPERTY TAX DEPT. 7525 W. GREENFIELD AVE. WEST ALLIS WI 53214
WEST BEND CITY                           ATTN: PROPERTY TAX DEPT. 1115 S MAIN ST WEST BEND WI 53095-4605
WEST MILWAUKEE                           ATTN: PROPERTY TAX DEPT. 4755 WEST BELOIT ROAD WEST MILWAUKEE WI 53214
WEST SPRINGFIELD                         ATTN: PROPERTY TAX DEPT. 26 CENTRAL STREET STE. 9 WEST SPRINGFIELD MA
                                         01089-2753
WEST VIRGINIA STATE TAX DEPT             1001 LEE ST CHARLESTON WV 25301
WEST VIRGINIA STATE TAX DEPT             ATTN: BUSINESS LICENSE DEPT. PO BOX 1826 CHARLESTON WV 25327-1826
WEST VIRGINIA STATE TAX DEPT             ATTN: SALES & USE TAX DEPT. PO BOX 1826 CHARLESTON WV 25327-1826
WEST VIRGINIA STATE TAX DEPT             ATTN: UNCLAIMED PROPERTY DEPT. PO BOX 1826 CHARLESTON WV 25327-1826
WESTERLY                                 ATTN: PROPERTY TAX DEPT. PO BOX 9900 DEPT 101 PROVIDENCE RI 02940-4000
WESTFORD                                 ATTN: PROPERTY TAX DEPT. 55 MAIN STREET WESTFORD MA 01886
WESTPORT                                 ATTN: PROPERTY TAX DEPT. PO BOX 505 WESTPORT WA 98595
WETHERSFIELD                             ATTN: PROPERTY TAX DEPT. PO BOX 150452 HARTFORD CT 06115-0452
WHARTON                                  ATTN: PROPERTY TAX DEPT. PO BOX 189 WHARTON TX 77488-0189
WHATCOM COUNTY COLLECTOR                 ATTN: PROPERTY TAX DEPT. P.O. BOX 34873 SEATTLE WA 98124-1873
WHITFIELD                                ATTN: PROPERTY TAX DEPT. 205 N SELVIDGE ST - STE J DALTON GA 30720-4298
WICHITA COUNTY                           ATTN: PROPERTY TAX DEPT. PO BOX 1471 WICHITA FALLS TX 76307-1471
WICOMICO COUNTY                          ATTN: PROPERTY TAX DEPT. PO BOX 4036 SALISBURY MD 21803-4036
WILLIAMSON COUNTY TAX A/C                ATTN: PROPERTY TAX DEPT. 904 S MAIN ST GEORGETOWN TX 78626-5852
WILMINGTON                               ATTN: PROPERTY TAX DEPT. 800 NORTH FRENCH STREET WILMINGTON DE 19801
WILSON                                   ATTN: PROPERTY TAX DEPT. PO BOX 10 WILSON NC 27894
WINDSOR                                  ATTN: PROPERTY TAX DEPT. 301 WALNUT ST WINDSOR CO 80550
WISCONSIN DEPARTMENT OF REVENUE          ATTN: SALES & USE TAX DEPT. PO BOX 930208 MILWAUKEE WI 53293-0208
WISCONSIN DEPARTMENT OF REVENUE          ATTN: TAX DEPT. PO BOX 930208 MILWAUKEE WI 53293-0208
WISCONSIN DEPARTMENT OF REVENUE          ATTN: BUSINESS LICENSE DEPT. PO BOX 8960 MADISON WI 53708
WISCONSIN DEPT OF REVENUE                2135 RIMROCK RD MADISON WI 53713
WISCONSIN RAPIDS                         ATTN: PROPERTY TAX DEPT. CITY HALL 444 W GRAND AVE WISCONSIN RAPIDS WI
                                         54495-2780
WOBURN                                   ATTN: PROPERTY TAX DEPT. PO BOX 227 WOBURN MA 01801
WOONSOCKET                               ATTN: PROPERTY TAX DEPT. 169 MAIN ST PO BOX B WOONSOCKET RI 02895
WORCESTOR COUNTY                         ATTN: PROPERTY TAX DEPT. PO BOX 248 SNOW HILL MD 21863-0248
WYTHE                                    ATTN: PROPERTY TAX DEPT. 225 SOUTH 4TH ST ROOM 104 WYTHEVILLE VA 24382-2547
YAKIMA COUNTY TREASURER                  ATTN: PROPERTY TAX DEPT. PO BOX 22530 YAKIMA WA 98907-2530
YAVAPAI                                  ATTN: PROPERTY TAX DEPT. 1015 FAIR STREET PRESCOTT AZ 86305-1807
YOLO                                     ATTN: PROPERTY TAX DEPT. PO BOX 1995 WOODLAND CA 95776
YORK                                     ATTN: PROPERTY TAX DEPT. PO BOX 10 YORKTOWN VA 23690




                                  Total Creditor count 1041




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Claim Name                           Address Information
103 - WASTE PRO - FT. PIERCE         P.O. BOX 865185 ORLANDO FL 32886-5185
107 - WASTE PRO - JACKSONVILLE       P.O. BOX 865200 ORLANDO FL 32886-5200
109 - WASTE PRO - FT MYERS           P.O. BOX 865208 ORLANDO FL 32886-5208
111 - WASTE PRO - LAKE CITY          P.O. BOX 865506 ORLANDO FL 32886
115 - WASTE PRO - PALM BEACH         P.O. BOX 865217 ORLANDO FL 32886-5217
116 - WASTE PRO - PENSACOLA          P.O. BOX 865220 ORLANDO FL 32886-5220
119 - WASTE PRO - POMPANO            P.O. BOX 865228 ORLANDO FL 32886-5228
121 - WASTE PRO - CLEARWATER         P.O. BOX 865233 ORLANDO FL 32886-5233
401 - WASTE PRO - BIRMINGHAM         P.O. BOX 865256 ORLANDO FL 32886-5256
401-611 SOUTH BROAD ST HLDS LP       307 FELLOWSHIP RD STE 300 MT LAUREL NJ 08054
401-611 SOUTH BROAD ST HLDS LP       2098 WEST CHESTER PIKE STE 201 BROOMALL PA 19008
501 - WASTE PRO - ASHEVILLE          P.O. BOX 865259 ORLANDO FL 32886-5259
502 - WASTE PRO - CONCORD            P.O. BOX 865505 ORLANDO FL 32886
604 - WASTE PRO - NEW ORLEANS        P.O. BOX 865268 ORLANDO FL 32886-5268
611 - WASTE PRO - JONESBORO          31 ROMINE AVE HOXIE AR 72433
611 - WASTE PRO - JONESBORO          P.O. BOX 689 WALNUT RIDGE AR 72476-0689
613 - WASTE PRO - BATON ROUGE        P.O. BOX 865515 ORLANDO FL 32886-5515
72 ASSOCIATES LLC                    PF PASBJERG DEVELOPMENT CO PO BOX 384 SHORT HILLS NJ 07078-0384
8X8 INC                              2125 ONEL DR SAN JOSE CA 95131
ACC WATER BUSINESS                   P.O. BOX 16869 ATLANTA GA 30321-0869
ACCESS POINT                         28800 ORCHARD LAKE ROAD FARMINGTON HILLS MI 48334
ACCESS POINT                         10201 S MAINT ST HOUSTON TX 77025
ACE DISPOSAL INCORPORATED            P.O. BOX 2608 SALT LAKE CITY UT 84110
ACE DISPOSAL INCORPORATED            2274 SOUTH TECHNOLOGY DR WEST VALLEY CITY UT 84119
ACWMA - CITATION PROCESSING CENTER   P.O. BOX 7275 NEWPORT BEACH CA 92658-7275
ACWMA - CITATION PROCESSING CENTER   1537 WEBSTER ST OAKLAND CA 94612
ADAMS ELECTRIC COOPERATIVE           PO BOX 247 CAMP POINT IL 62320-0247
ADVANCE DISPOSAL CO. INC             P.O. BOX 400997 HESPERIA CA 92340-0997
ADVANCE DISPOSAL CO. INC             17105 MESA ST HESPERIA CA 92345
ADVANCED CONTAINER SERVICE INC       P.O. BOX 205 SCOTCH PLAINS NJ 07076
ADVANCED DISPOSAL                    P.O. BOX 743019 ATLANTA GA 30374-3019
ADVANCED DISPOSAL                    P.O. BOX 74008047 CHICAGO IL 60674-8047
ADVANCED DISPOSAL                    P.O. BOX 74008053 CHICAGO IL 60674-8053
AFFORDABLE MATTRESS & FURNITURE      1200 SWITZER AVE ST LOUIS MO 63147-1840
AGERA ENERGY                         P.O. BOX 20277 WACO TX 76702
AIKEN ELECTRIC COOPERATIVE INC       PO BOX 417 AIKEN SC 29802-0417
AIKEN ELECTRIC COOPERATIVE INC       2790 WAGENER ROAD AIKEN SC 29803
AKRON UTILITIES BUSINESS OFFIC       146 SOUTH HIGH ST ROOM 211 AKRON OH 44308
AKRON UTILITIES BUSINESS OFFIC       P.O. BOX 3674 AKRON OH 44309-3674
ALABAMA POWER CO                     600 18TH ST N BIRMINGHAM AL 35203
ALABAMA POWER CO                     P.O. BOX 242 BIRMINGHAM AL 35292
ALAMEDA COUNTY WATER DISTRICT        P.O. BOX 45676 SAN FRANCISCO CA 94145-0676
ALAMEDA COUNTY WATER DISTRICT        ATTN OFFICE OF THE GENERAL MANAGER 43885 S GRIMMER BLVD FREMONT CA 94538
ALAMEDA MUNICIPAL POWER              PO BOX 511427 LOS ANGELES CA 90051
ALAMEDA MUNICIPAL POWER              2000 GRAND ST ALAMEDA CA 94501
ALBANY UTILITES                      UTILITY OPERATIONS DEPT 1726 LILY POND RD ALBANY GA 31701
ALBANY UTILITES                      P.O. BOX 1788 ALBANY GA 31702-1788
ALEXANDRIA RENEW ENTERPRISES         P.O. BOX 26428 ALEXANDRIA VA 22313-6428
ALEXANDRIA RENEW ENTERPRISES         1800 LIMERICK ST ALEXANDRIA VA 22314



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ALL BRIGHT SANITATION                    1835 W UNION AVE, STE 9 ENGLEWOOD CO 80110-5565
ALL BRIGHT SANITATION                    P.O. BOX 2270 ENGLEWOOD CO 80150-2270
ALL STATES MALL SERVICES II              P.O. BOX 93717 LAS VEGAS NV 89193
ALL STATES SERVICES                      P.O. BOX 93717 LAS VEGAS NV 89193
ALL STATES SERVICES                      P.O. BOX 94258 LAS VEGAS NV 89193
ALLIANT ENERGY                           300 E SHERIDAN AVE CENTERVILLE IA 52544
ALLIANT ENERGY WPL                       P.O. BOX 3062 CEDAR RAPIDS IA 52406-3062
ALLIANT ENERGY WPL                       300 E SHERIDAN AVE CENTERVILLE IA 52544
ALPHA WASTE INDUSTRIES                   P.O. BOX 1359 WELCOME NC 27374
ALPINE TOWNSHIP SEWER DEPT               5255 ALPINE AVENUE NW COMSTOCK PARK MI 49321
ALTOONA WATER AUTHORITY                  900 CHESTNUT AVE ALTOONA PA 16603
ALTOONA WATER AUTHORITY                  P.O. BOX 3150 ALTOONA PA 16603-3150
AMEREN ILLINOIS                          P.O. BOX 88034 CHICAGO IL 60680
AMEREN MISSOURI                          P.O. BOX 88068 CHICAGO IL 60680-1068
AMEREN MISSOURI                          1901 CHOUTEAU AVE ST LOUIS MO 63104
AMERICAN DISPOSAL CO. INC - DIST. 2111   10370 CENTRAL PARK DR MANASSAS VA 20110
AMERICAN DISPOSAL CO. INC - DIST. 2111   P.O. BOX 60248 LOS ANGELES CA 90060-0248
AMERICAN ELECTRIC POWER                  1 RIVERSIDE PLAZA COLUMBUS OH 43215-2372
AMERICAN ELECTRIC POWER                  P.O. BOX 24418 CANTON OH 44701-4418
AMERICAN LIGHT & POWER                   P.O. BOX 660846 DALLAS TX 75266-0846
AMERICAN LIGHT & POWER                   15810 PARK TEN PL, STE 380 HOUSTON TX 77084
AMERICAN WATER & ENERGY SAVERS           4431 NORTH DIXIE HIGHWAY BOCA RATON FL 33431
AMERIGAS                                 PO BOX 660288 DALLAS TX 75266-0288
AMERIWASTE LEAGUE CITY                   3894 E HWY 6 ALVIN TX 77512
AMERIWASTE LEAGUE CITY                   P.O. BOX 2074 ALVIN TX 77512-2074
AMS BILLING SERVICE                      6915 15TH ST E STE 204 SARASOTA FL 34243-7203
ANDERSON CITY UTILITIES                  P.O. BOX 2100 ANDERSON IN 46018-2100
ANDERSON PROPANE SVC INC                 P.O. BOX 300 FREDERICKSBURG VA 22404
ANDERSON PROPANE SVC INC                 11905 TIDEWATER TRL FREDERICKSBURG VA 22408-7314
ANNE ARUNDEL COUNTY                      TAX COLLECTOR-OFFICE OF FINANCE 44 CALVERT ST ANNAPOLIS MD 21401
ANNE ARUNDEL COUNTY                      TAX COLLECTOR-OFFICE OF FINANCE PO BOX 427 ANNAPOLIS MD 21404-0427
AOG                                      DEPARTMENT 05-071 P.O. BOX 3488 TUPELO MS 38803-3488
APPALACHIAN POWER                        1 RIVERSIDE PLAZA COLUMBUS OH 43215
APPALACHIAN POWER                        PO BOX 24413 CANTON OH 44701-4413
APS                                      400 N 5TH ST PHOENIX AZ 85004
APS                                      P.O. BOX 2906 PHOENIX AZ 85062-2906
AQUA ILLINOIS INC                        P.O. BOX 1229 NEWARK NJ 07101-1229
AQUA NEW JERSEY                          P.O. BOX 1229 NEWARK NJ 07101-1229
AQUA NEW JERSEY                          10 BLACK FOREST RD HAMILTON NJ 08691
AQUA OH                                  P.O. BOX 1229 NEWARK NJ 07101-1229
AQUA OH                                  C/O AQUA AMERICA INC 762 W LANCASTER AVE BRYN MAWR PA 19010
AQUA PENNSYLVANIA                        P.O. BOX 1229 NEWARK NJ 07101-1229
AQUA PENNSYLVANIA                        C/O AQUA AMERICA INC 762 W LANCASTER AVE BRYN MAWR PA 19010
AQUA TEXAS                               P.O. BOX 1229 NEWARK NJ 07101-1229
AQUA TEXAS                               C/O AQUA AMERICA INC 762 W LANCASTER AVE BRYN MAWR PA 19010
AQUARION WATER CO OF CT                  P.O. BOX 10010 LEWISTON ME 04243-9427
ARC                                      PO BOX 780221 PHILADELPHIA PA 19178-0221
AREA DISPOSAL SERVICE INC                P.O. BOX 9071 PEORIA IL 61612-9071
ARLINGTON COUNTY TREASURER               ATTN: PROPERTY TAX DEPT. PO BOX 1757 MERRIFIELD VA 22116-1754



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ARLINGTON UTILITIES                  P.O. BOX 90020 ARLINGTON TX 76004-3020
ARLINGTON UTILITIES                  WATER UTILITIES 101 W ABRAM ST, 1ST FL, CITY HALL ARLINGTON TX 76010
ARROWASTE INC.                       P.O. BOX 828 JENISON MI 49429
ARTESIAN                             664 CHURCHMANS RD NEWARK DE 19702
ARTESIAN                             P.O. BOX 15069 WILMINGTON DE 19886-5069
ASHWAUBENON WATER & SEWER UTIL       P.O. BOX 187 GREEN BAY WI 54305-0187
ASOTIN COUNTY PUD 1                  P.O. BOX 605 CLARKSTON WA 99403-0605
ASPEN WASTE SYSTEMS INC.             P.O. BOX 3050 DES MOINES IA 50316
AT&T                                 P.O. BOX 105068 ATLANTA GA 30348-5068
AT&T                                 P.O. BOX 105262 ATLANTA GA 30348-5262
AT&T                                 P.O. BOX 5001 CAROL STREAM IL 60197-5001
AT&T                                 P.O. BOX 5019 CAROL STREAM IL 60197-5019
AT&T                                 P.O. BOX 5025 CAROL STREAM IL 60197-5025
AT&T                                 P.O. BOX 5080 CAROL STREAM IL 60197-5080
AT&T UVERSE                          P.O. BOX 5014 CAROL STREAM IL 60197-5014
ATLANTIC CITY ELECTRIC               P.O. BOX 13610 PHILADELPHIA PA 19101
ATLANTIC CITY ELECTRIC               500 N WAKEFIELD DR NEWARD DE 19702
ATMOS ENERGY                         P.O. BOX 790311 ST. LOUIS MO 63179-0311
ATMOS ENERGY                         THREE LINCOLN CENTRE, STE 1800 5430 LBJ FREEWAY DALLAS TX 75240
AUBURN WATER DISTRICT                75 CHURCH ST AUBURN MA 01501
AUBURN WATER DISTRICT                P.O. BOX 187 AUBURN MA 01501-0187
AUGUSTA UTILITIES DEPT               P.O. BOX 1457 AUGUSTA GA 30903-1457
AUM                                  P.O. BOX 6436 CAROL STREAM IL 60197-6436
AURORA WATER                         15151 E ALAMEDA PKWY STE 1200 AURORA CO 80012-1553
AUSTELL NATURAL GAS SYSTEM           2838 JOE JERKINS BLVD. P.O. BOX 685 AUSTELL GA 30196-8068
AVISTA                               1411 E MISSION AVE SPOKANE WA 99252-0001
BALDWIN EMC                          P.O. BOX 220 SUMMERDALE AL 36580
BALDWIN EMC                          19600 STATE HWY 59 SUMMERDALE AL 36580
BANGOR NATURAL GAS                   P.O. BOX 980 BANGOR ME 04402-0980
BANGOR WATER DISTRICT                P.O. BOX 1129 BANGOR ME 04402-1129
BASIN DISPOSAL OF PASCO              P.O. BOX 3850 PASCO WA 99302-3850
BASIN HAULAGE INC.                   57-01 FLUSHING AVE MASPETH NY 11378
BASIN HAULAGE INC.                   P.O. BOX 790058 MIDDLE VILLAGE NY 11379
BATLINER RECYCLING - SHAWNEE KS      320 N MCCORMICK AVE OKLAHOMA CITY OK 73127
BATON ROUGE WATER CO                 8755 GOODWOOD BLVD BATON ROUGE LA 70806-7916
BATON ROUGE WATER CO                 P.O. BOX 96025 BATON ROUGE LA 70896-9025
BAY DISPOSAL & RECYCLING             2224 SPRINGFIELD AVENUE NORFOLK VA 23523
BAYONNE CROSSING                     C/O CAMERON GROUP LLC 814 W GENESEE ST SKANEATELES NY 13152
BAYONNE CROSSING                     15961 COLLECTIONS CENTER DR CHICAGO IL 60693
BAYSHORE SHOPPING CTR PROP OWN       P.O. BOX 678557 DALLAS TX 75267-8557
BCWS                                 130 HIGH ST HAMILTON OH 45011
BCWS                                 P.O. BOX 742640 CINCINNATI OH 45274-2640
BCWSA                                1275 ALMSHOUSE RD WARRINGTON PA 18976
BCWSA                                P.O. BOX 3895 LANCASTER PA 17604-3895
BEACHES ENERGY SERVICES              ELEVEN NORTH THIRD STREET JACKSONVILLE BEACH FL 32250-6951
BELLEVUE CITY TREASURER              P.O. BOX 1500 HEMET CA 92546-1500
BEMERS                               210 COMMERCE STREET GLASTONBURY CT 06033
BENFIELD SANITATION SERVICE          282 SCOTTS CREEK RD STATESVILLE NC 28625
BENTON CHARTER TOWNSHIP              1725 TERRITORIAL RD STE B BENTON HARBOR MI 49022



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BENTON PUD                              2721 W 10TH AVE KENNEWICK WA 99336-0270
BERKELEY COUNTY WTR & SANITATN          P.O. BOX 580139 CHARLOTTE NC 28258-0139
BERKELEY COUNTY WTR & SANITATN          212 OAKLEY PLANTATION RD MONCKS CORNER SC 29461
BERKELEY ELECTRIC COOP INC              551 REMBERT C DENNIS BLVD PO BOX 1234 MONCKS CORNER SC 29461
BERKELEY ELECTRIC COOP INC              P.O. BOX 530812 ATLANTA GA 30353-0812
BERKSHIRE GAS CO                        115 CHESHIRE RD PITTSFIELD MA 01201
BERKSHIRE GAS CO                        P.O. BOX 9241 CHELSEA MA 02150-9241
BERMUDA WATER COMPANY                   P.O. BOX 11025 LEWISTON ME 04243-9476
BEST WAY DISPOSAL INC - BURLINGTON KY   P.O. BOX 4040 KALAMAZOO MI 49003-4040
BEST WAY DISPOSAL INC - KALAMAZOO MI    P.O. BOX 4040 KALAMAZOO MI 49003-4040
BEST WAY DISPOSAL INC - MODOC IN        P.O. BOX 421669 INDIANAPOLIS IN 46242-1669
BEST WAY DISPOSAL INC - WATERVLIET MI   P.O. BOX 4040 KALAMAZOO MI 49003-4040
BEXAR COUNTY WCID 10                    8601 MIDCROWN DR WINDCREST TX 78239
BGE                                     P.O. BOX 13070 PHILADELPHIA PA 19101-3070
BGL INC                                 6075 STATE STREET SUBURBAN GARBAGE SERV SALEM OR 97301
BIRCH                                   320 INTERSTATE NORTH PKWY SE ATLANTA GA 30339
BIRCH                                   P.O. BOX 105066 ATLANTA GA 30348-5066
BLACK HILLS ENERGY                      C/O BLACK HILLS CORP 7001 MOUNT RUSHMORE RD RAPID CITY SD 57702
BLACK HILLS ENERGY                      P.O. BOX 6001 RAPID CITY SD 57709-6001
BLACK RIVER ELECTRIC COOP               P.O. BOX 130 SUMTER SC 29151-0130
BLOSSMAN GAS & APPLIANCE                3500 ASSOCIATE DR. GREENSBORO NC 27405
BLUE MOUNTAIN WATER COOP                P.O. BOX 373 MYERSTOWN PA 17067
BLUE MOUNTAIN WATER COOP                PO BOX 373 MYERSTTOWN PA 17067
BLUE RIDGE ELEC COOP INC                734 W MAIN ST PICKENS SC 29671
BLUE RIDGE ELECTRIC COOPERATIVE INC     P.O. BOX 530812 ATLANTA GA 30353-0812
BLUEBONNET ELECTRIC COOP INC            P.O. BOX 240 GIDDINGS TX 78942-0240
BOARD OF PUBLIC WORKS                   P.O. BOX 64 GAFFNEY SC 29342
BOISE CITY UTILITY BILLING              P.O. BOX 2600 BOISE ID 83701-2600
BOISE TOWNE SQUARE LP                   C/O BROOKFIELD PROPERTIES 350 NORTH ORLEANS, STE 300 CHICAGO IL 60654-1607
BOISE TOWNE SQUARE LP                   P.O. BOX 5600 BISMARCK ND 58506-5600
BONITA SPRINGS UTILITIES INC            P.O. BOX 11689 NAPLES FL 34101-1689
BONITA SPRINGS UTILITIES INC            11900 E TERRY ST BONITA SPRINGS FL 34135
BORDENTOWN SEWERAGE AUTHORITY           P.O. BOX 396 BORDENTOWN NJ 08505
BOROUGH OF BUTLER ELECTRIC              1 ACE ROAD BUTLER NJ 07405
BOROUGH OF CHAMBERSBURG                 P.O. BOX 1009 CHAMBERSBURG PA 17201-0909
BOROUGH OF GLASSBORO                    ATTN: TAWANA BRYANT 1 SOUTH MAIN ST GLASSBORO NJ 08028-2592
BOROUGH OF HANOVER                      44 FREDERICK ST HANOVER PA 17331
BOROUGH OF KINNELON SEWER UTIL          130 KINNELON ROAD KINNELON NJ 07405
BOROUGH OF LANSDALE                     1 VINE ST, STE 201 LANSDALE PA 19446
BOROUGH OF LANSDALE                     CODE ENFORCEMENT 1 VINE ST STE 201 LANSDALE PA 19446
BOROUGH OF QUAKERTOWN                   CODE ENFORCEMENT 35 N THIRD ST QUAKERTOWN PA 18951
BOROUGH OF SOMERVILLE                   BOROUGH HALL 25 W END AVE SOMERVILLE NJ 08876
BOROUGH OF SOMERVILLE                   BUREAU OF FIRE PREVENTION 25 WEST END AVE SOMERVILLE NJ 08876
BOROUGH OF TOTOWA                       MUNICIPAL BUILDING 537 TOTOWA ROAD TOTOWA NJ 07512
BOSSIER CITY UTILITIES DEPT             P.O. BOX 5337 BOSSIER CITY LA 71171-5337
BOWLING GREEN MUNI UTILITIES            P.O. BOX 10360 BOWLING GREEN KY 42102-0360
BOWLING GREEN MUNI UTILITIES            801 CENTER ST PO BOX 10300 BOWLING GREEN KY 42102-7300
BP ENVIRONMENTAL SERVICE INC            P.O. BOX 188 CHALFONT PA 18914
BRAINTREE ELECTRIC LIGHT DEPT           P.O. BOX 859180 BRAINTREE MA 02185-9180



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BRAINTREE WATER AND SEWER              P.O. BOX 850637 BRAINTREE MA 02185-0637
BRASK MALL SERVICES I                  P.O. BOX 800335 HOUSTON TX 77280-0335
BRASK MALL SERVICES II                 P.O. BOX 55287 HOUSTON TX 77255-5287
BRICK TOWNSHIP MUA                     1551 HIGHWAY 88 WEST BRICK NJ 08724-2399
BRIDGEWATER FALLS STATION LLC          3385 PRINCETON RD FAIRFIELD TOWNSHIP OH 45011
BRIDGEWATER FALLS STATION LLC          NW 6319 P.O .BOX 1450 MINNEAPOLIS MN 55485-6319
BRIGHTRIDGE                            P.O. BOX 2058 JOHNSON CITY TN 37605-2058
BRISTOL TENNESSEE ESSENTIAL SV         P.O. BOX 549 BRISTOL TN 37621-0549
BRISTOL TENNESSEE ESSENTIAL SV         10201 S MAINT ST HOUSTON TX 77025
BRIXMOR HOLDINGS 11 SPE LLC            450 LEXINGTON AVE, 13TH FL NEW YORK NY 10017
BRIXMOR HOLDINGS 11 SPE LLC            C/O SUPER LLC P.O. BOX 74242 CLEVELAND OH 44194
BROADVIEW                              800 WESTCHESTER AVE RYE BROOK NY 10573
BROADVIEW NETWORKS                     P.O. BOX 70268 PHILADELPHIA PA 19176-0268
BRODHEAD CREEK REGIONAL AUTH           410 MILL CREEK ROAD EAST STROUDSBURG PA 18301
BROMLEY PORTSMOUTH LLC                 C/O QUINCY & CO., INC. 144 GOULD STREET, SUITE 152 ATTN: RICHARD P. QUINCY,
                                       SR., MANAGER NEEDHAM MA 02494
BRUNSWICK ELEC MEMBERSHIP CORP         MAIL PROCESSING CENTER P.O. BOX 580348 CHARLOTTE NC 28258-0348
BRUNSWICK GLYNN COUNTY JOINT           P.O. BOX 628396 ORLANDO FL 32862-8396
BRUNSWICK REGIONAL WATER & SWR         516 VILLAGE RD LELAND NC 28451
BRUNSWICK REGIONAL WATER & SWR         P.O. BOX 2230 LELAND NC 28451-2230
BUCKEYE                                4111 TALMADGE RD TOLEDO OH 43623
BUCKEYE                                P.O. BOX 10027 TOLEDO OH 43699-0027
BURGMEIERS HAULING INC                 1356 OLD SIXTH AVENUE RD ALTOONA PA 16601
BURGMEIERS HAULING INC                 P.O. BOX 929 ALTOONA PA 16603
BURLINGTON ELECTRIC DEPARTMENT         P.O. BOX 5119 BURLINGTON VT 05402-5119
BURNT MILLS                            C/O FW FOUR CORNERS P.O. BOX 824848 PHILADELPHIA PA 19182
BURRTEC WASTE & RECYCLING SVCS/5518    P.O. BOX 5518 BUENA PARK CA 90622-5518
BURRTEC WASTE & RECYCLING SVCS/5518    9890 CHERRY AVE FONTANA CA 92335
BURRTEC WASTE INDUSTRIES INC           P.O. BOX 6240 BUENA PARK CA 90622-6240
BURRTEC WASTE INDUSTRIES INC           9890 CHERRY AVE FONTANA CA 92335
BURRTEC WASTE INDUSTRIES INC. - 5938   P.O. BOX 5938 BUENA PARK CA 90622-5938
BURRTEC WASTE INDUSTRIES INC. - 5938   9890 CHERRY AVE FONTANA CA 92335
BURRTEC WASTE INDUSTRIES INC. - 6520   P.O. BOX 515136 LOS ANGELES CA 90051-5136
BURRTEC WASTE INDUSTRIES INC. - 6520   9890 CHERRY AVE FONTANA CA 92335
BVU                                    15022 LEE HIGHWAY BRISTOL VA 24202
BVU                                    P.O. BOX 8100 BRISTOL VA 24203-8100
CABLEVISION                            P.O. BOX 360111 PITTSBURGH PA 15251
CAERNARVON TOWNSHIP AUTHORITY          P.O. BOX 188 MORGANTOWN PA 19543-0188
CALIFORNIA AMERICAN WATER              P.O. BOX 7150 PASADENA CA 91109-7150
CALIFORNIA AMERICAN WATER              655 W BROADWAY, 1410 SAN DIEGO CA 92101
CALIFORNIA WATER SERVICE               P.O. BOX 51967 LOS ANGELES CA 90051-6267
CALIFORNIA WATER SERVICE               720 NORTH FIRST STREET SAN JOSE CA 95112
CALVERT COUNTY TREASURER               WATER & SEWERAGE DIVISION 175 MAIN ST PRINCE FREDERICK MD 20678
CAMDEN COUNTY MUA                      P.O. BOX 1105 BELLMAWR NJ 08099-5105
CAMDEN COUNTY MUA                      1645 FERRY AVE CAMDEN NJ 08104
CAMDEN-WYOMING SWR & WTR AUTH          P.O. BOX 405 CAMDEN-WYOMING DE 19934
CANTON CITY UTILITIES                  626 30TH ST NW CANTON OH 44709
CAPE FEAR PUBLIC UTILITY AUTHORITY     235 GOVERNMENT CENTER DR WILMINGTON NC 28403-1638
CAPITAL WASTE SERVICES                 P.O. BOX 148 COLUMBIA SC 29202



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CAPROCK WASTE - DISTRICT 5114           P.O. BOX 660177 DALLAS TX 75266-0177
CAPROCK WASTE - DISTRICT 5114           5813 E FM 40 LUBBOCK TX 79403
CAPTAIN HOOK-AUSTIN INC.                P.O. BOX 170164 AUSTIN TX 78717
CARAUSTAR RECOVERED FIBER GROUP         P.O. BOX 935010 ATLANTA GA 31193-5010
CARBONDALE WATER & SEWER                P.O. BOX 2947 CARBONDALE IL 62902-2947
CAROLINA WASTE & RECYCLING LLC          4285 PACE ST NORTH CHARLESTON SC 29405
CARROLL ELECTRIC COOP CORP              920 HWY 62 SPUR PO BOX 4000 BERRYVILLE AR 72616
CARROLL ELECTRIC COOP CORP              P.O. BOX 4000 BERRYVILLE AR 72616-4000
CARROLL-NASLUND DISPOSAL SERVICE INC.   P.O. BOX 418 LEWISTON ID 83501-0418
CARROLL-NASLUND DISPOSAL SERVICE INC.   2809 TURNING POINTE LOOP CLARKSTON WA 99403
CASCADE NATURAL GAS CORP                P.O. BOX 5600 BISMARCK ND 58506-5600
CASELLA WASTE SERVICES                  P.O. BOX 1372 WILLISTON VT 05495-1372
CASELLA WASTE SERVICES                  25 GREENS HILL LN RUTLAND VT 05701
CASELLA WASTE SYSTEMS - MAJOR ACCT SVCS P.O. BOX 1383 WILLISTON VT 05495-1383
CASEYVILLE TOWNSHIP SEWER               P.O. BOX 1900 FAIRVIEW HEIGHTS IL 62208
CATOOSA UTILITY DISTRICT AUTH           P.O. BOX 750 RINGGOLD GA 30736
CEDAR TREXLER LLC                       44 S BAYLES AVENUE, SUITE 304 PORT WASHINGTON NY 11050
CEDAR TREXLER LLC                       2350 W OREGON AVE PHILADELPHIA PA 14145-4122
CENTENNIAL UTILITIES                    200 CIVIC HEIGHTS CIRCLE CIRCLE PINES MN 55014
CENTER TOWNSHIP WATER & SANITARY AUTH   224 CENTER GRANGE ROAD ALIQUIPPA PA 15001-1498
CENTER TOWNSHIP WATER & SANTRY          224 CENTER GRANGE RD ALIQUIPPA PA 15001
CENTERPOINT ENERGY                      1111 LOUISIANA STREET HOUSTON TX 77002
CENTERPOINT ENERGY                      P.O. BOX 4583 HOUSTON TX 77210-4583
CENTRAL GEORGIA EMC                     923 S MULBERRY ST JACKSON GA 30233
CENTRAL GEORGIA EMC                     SEDC P.O. BOX 530812 ATLANTA GA 30353-0812
CENTRAL HUDSON GAS & ELEC CORP          284 SOUTH AVE POUGHKEEPSIE NY 12601
CENTRAL HUDSON GAS & ELEC CORP          284 SOUTH AVE POUGHKEEPSIE NY 12601-4839
CENTRAL KENTUCKY HAULING                604 BIZZELL DR STE 250 LEXINGTON KY 40510
CENTRAL MAINE POWER                     P.O. BOX 847810 BOSTON MA 02284-7810
CENTRAL MAINE POWER                     83 EDISON DRIVE AUGUSTA ME 04336
CENTRAL PLAINS LLC                      1860 CATASAUQUA RD BETHLEHEM PA 18018
CENTRAL PLAINS LLC                      4464 SPRING HILL DRIVE SCHNECKSVILLE PA 18078
CENTRAL TEXAS REFUSE                    P.O. BOX 18685 AUSTIN TX 78760-8685
CENTURYLINK                             P.O. BOX 1319 CHARLOTTE NC 28201-1319
CENTURYLINK                             P.O. BOX 4300 CAROL STREAM IL 60197-4300
CENTURYLINK                             100 CENTURYLINK DRIVE MONROE LA 71203
CENTURYLINK                             BUSINESS SERVICES P.O. BOX 52187 PHOENIX AZ 85072-2187
CENTURYLINK                             P.O. BOX 91155 SEATTLE WA 98111-9255
CENTURYTEL                              P.O. BOX 4300 CAROL STREAM IL 60197-4300
CENTURYTEL                              100 CENTURLINK DR MONROE LA 71203
CHAMPION ENERGY LLC                     4723 SOLUTIONS CENTER CHICAGO IL 60677-4007
CHAMPION ENERGY SERVICES LLC            1500 RANKIN RD STE 200 HOUSTON TX 77073
CHAMPION UTILITY BILLING SVCS           5671 SE CROOKED OAK AVE HOBE SOUND FL 33455
CHAMPION UTILITY BILLING SVCS           5929 SE FEDERAL HWY PMB 361 STUART FL 34997-7871
CHAMPION WASTE SERVICES LLC.            P.O. BOX 565808 DALLAS TX 75247
CHARLES COUNTY GOVERNMENT               WATER AND SEWER OPERATIONS AND MAINTENAN 5310 HAWTHORNE RD LA PLATA MD 20646
CHARLES COUNTY GOVERNMENT               P.O. BOX 1630 LA PLATA MD 20646-1630
CHARLESTON WATER SYSTEM                 P.O. BOX 568 CHARLESTON SC 29402-0568
CHARLOTTE COUNTY UTILITIES              P.O. BOX 516000 PUNTA GORDA FL 33951-6000



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Claim Name                             Address Information
CHARLOTTE HARBOR WATER ASSOC           2515 HIGHLANDS ROAD PUNTA GORDA FL 33983-3100
CHARTER                                P.O. BOX 742614 CINCINNATI OH 45274-2614
CHARTER TOWNSHIP OF MERIDIAN           ATTN: UTILITY BILLING DEPT P.O. BOX 1400 OKEMOS MI 48805-1400
CHATTANOOGA GAS                        6125 PRESERVATION DR CHATTANOOGA TN 37416
CHATTANOOGA GAS                        P.O. BOX 5408 CAROL STREAM IL 60197-5408
CHESAPEAKE UTILITIES                   P.O. BOX 826531 PHILADELPHIA PA 19182-6531
CHESTER WATER AUTHORITY                415 WELSH ST CHESTER PA 19013
CHESTER WATER AUTHORITY                P.O. BOX 71346 PHILADELPHIA PA 19176-1346
CHESTERFIELD COUNTY                    OFFICE OF COMMISSIONER OF REVENUE P.O. BOX 124 CHESTERFIELD VA 23832-0908
CHICAGO MATTRESS COMPANY               4107 W KINZIE ST CHICAGO IL 60624
CHICOPEE ELECTRIC LIGHT                725 FRONT ST. CHICOPEE MA 01020-1776
CHOICE WASTE OF FLORIDA INC            2805 E OAKLAND PARK BLVD SUITE 464 FORT LAUDERDALE FL 33306
CHOPTANK ELECTRIC COOP                 24820 MEETING HOUSE RD (ROUTES 404 & 328) DENTON MD 21629
CHOPTANK ELECTRIC COOP                 P.O. BOX 430 DENTON MD 21629-0430
CINCINNATI BELL                        221 E FOURTH ST CINCINNATI OH 45202
CINCINNATI BELL                        P.O. BOX 748003 CINCINNATI OH 45274
CINNAMINSON SEWER AUTHORITY            1621 RIVERTON RD CINNAMINSON NJ 08077-2335
CINNAMINSON SEWER AUTHORITY            UPDATED 1621 RIVERTON RD. CINNAMINSON NJ 08077-2335
CITIZENS ENERGY GROUP                  2020 N MERIDIAN ST INDIANAPOLIS IN 46202
CITIZENS ENERGY GROUP                  P.O. BOX 7056 INDIANAPOLIS IN 46207-7056
CITRUS COUNTY BOARD OF COUNTY          P.O. BOX 1870 LECANTO FL 34460
COMMISSION
CITRUS COUNTY UTILITIES                P.O. BOX 1870 LECANTO FL 34460
CITRUS HEIGHTS WATER DISTRICT          DEPT. LA 23168 PASADENA CA 91185-3168
CITY & COUNTY OF HONOLULU - TREASURY   DEPARTMENT OF ENVIRONMENTAL SERVICES REFUSE DIVISION 1000 ULUOHIA ST, STE 201
                                       KAPOLEI HI 96707
CITY & COUNTY OF HONOLULU - TREASURY   530 S. KING STREET ROOM 115 HONOLULU HI 96813
CITY AND COUNTY OF HONOLULU            P.O. BOX 135037 HONOLULU HI 96801-5037
CITY NEW SMYRNA BEACH                  210 SAMS AVE NEW SMYRNA BEACH FL 32168
CITY OF ABILENE                        WATER OFFICE 534 CYPRESS ST ABILENE TX 79601
CITY OF ABILENE                        P.O. BOX 3479 ABILENE TX 79604-3479
CITY OF AIKEN                          WATER, SEWER & STORMWATER 135 LAURENS ST SW AIKEN SC 29801
CITY OF AIKEN                          P.O. BOX 2458 AIKEN SC 29802-2458
CITY OF ALBEMARLE                      P.O. BOX 190 ALBEMARLE NC 28002
CITY OF ALCOA UTILITIES                P.O. BOX 9610 ALCOA TN 37701-9610
CITY OF ALEXANDRIA                     P.O. BOX 1925 LAKE CHARLES LA 70602-1925
CITY OF ALEXANDRIA                     ELECTRIC DISTRIBUTION PO BOX 71 ALEXANDRIA LA 71309
CITY OF ALEXANDRIA                     GAS DISTRIBUTION DEPT PO BOX 71 ALEXANDRIA LA 71309
CITY OF ALEXANDRIA                     WASTEWATER DEPT PO BOX 71 ALEXANDRIA LA 71309
CITY OF ALEXANDRIA                     WATER PRODUCTION & DISTRIBUTION PO BOX 71 ALEXANDRIA LA 71309
CITY OF AMMON                          2135 SOUTH AMMON RD AMMON ID 83406
CITY OF ANN ARBOR TREASURER MI         P.O. BOX 77000 DETROIT MI 48277-0610
CITY OF ASHEBORO                       PUBLIC WORKS DIVISION 1312 N FAYETTEVILLE ST ASHBORO NC 27203
CITY OF ASHEBORO                       WATER RESOURCES DIVISION CITY HALL, 146 N CHURCH ST ASHBORO NC 27204
CITY OF ASHEBORO                       P.O. BOX 2628 ASHEBORO NC 27204-2628
CITY OF ASHEVILLE                      P.O. BOX 733 ASHEVILLE NC 28802
CITY OF ASHTABULA                      P.O. BOX 2210 ASHTABULA OH 44005-2210
CITY OF ATLANTA                        CITY HALL SOUTH 55 TRINITY AVE SW ATLANTA GA 30303
CITY OF ATTLEBORO                      ATTN: OFFICE OF THE CITY COLLECTOR P.O. BOX 844514 BOSTON MA 02284-4514



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Claim Name                              Address Information
CITY OF AUBURN                          REVENUE OFFICE 144 TICHNER AVE 6 AUBURN AL 36830
CITY OF AURORA                          15151 E ALAMEDA PKWY AURORA CO 80012
CITY OF AURORA                          LICENSING OFFICE 1ST FLOOR 15151 E ALAMEDA PKY 1100 AURORA CO 80012
CITY OF AUSTIN                          SEWER DEPT 2006 E 4TH ST AUSTIN TX 78701
CITY OF AUSTIN                          WATER DEPT 2006 E 4TH ST AUSTIN TX 78701
CITY OF AUSTIN                          P.O. BOX 2267 AUSTIN TX 78783-2267
CITY OF BAKERSFIELD                     P.O. BOX 2057 BAKERSFIELD CA 93303-2057
CITY OF BALTIMORE DIR FINANCE           CITY HALL - ROOM 250 100 N HOLLIDAY ST BALTIMORE MD 21202
CITY OF BALTIMORE DIR FINANCE           ATTN: REVENUE COLLECTIONS P.O. BOX 17535 BALTIMORE MD 21297-1535
CITY OF BANGOR                          ATTN: TREASURY DEPARTMENT 73 HARLOW STREET BANGOR ME 04401
CITY OF BARTOW                          ELECTRIC DEPT CITY HALL, 450 N WILSON AVE BARTOW FL 33830
CITY OF BARTOW                          ATTN: CITY CLERKS OFFICE PO BOX 1069 BARTOW FL 33831
CITY OF BARTOW                          P.O. BOX 1069 BARTOW FL 33831-1069
CITY OF BARTOW                          WATER DEPT P.O. BOX 1069 BARTOW FL 33831-1069
CITY OF BATAVIA                         100 N ISLAND AVE BATAVIA IL 60510
CITY OF BAXTER                          P.O. BOX 2626 BAXTER MN 56425
CITY OF BAY CITY                        ATTN: TREASURERS OFFICE 301 WASHINGTON AVE BAY CITY MI 48708-5866
CITY OF BAYTOWN                         ATTN: SIGN INSPECTOR 2401 MARKET ST BAYTOWN TX 77520
CITY OF BAYTOWN                         PUBLIC WORKS 2401 MARKET ST BAYTOWN TX 77520
CITY OF BEAUMONT                        P.O. BOX 521 BEAUMONT TX 77704-0521
CITY OF BERWYN                          6700 26TH ST BERWYN IL 60402
CITY OF BERWYN                          WATER DEPT 6700 26TH ST BERWYN IL 60402
CITY OF BERWYN                          6700 W 26TH ST BERWYN IL 60402-0701
CITY OF BIDDEFORD                       205 MAIN ST BIDDEFORD ME 04005
CITY OF BIDDEFORD                       P.O. BOX 0235 BRATTLEBORO VT 05302-0235
CITY OF BLAINE UTILITIES                9380 CENTRAL AVE NE BLAINE MN 55434
CITY OF BLOOMINGTON UTILITIES           ATTN: ACCOUNTS RECEIVABLE P.O. BOX 2500 BLOOMINGTON IN 47402-2500
CITY OF BLUE SPRINGS- UTILITY BILLING   P.O. BOX 219253 KANSAS CITY MO 64121-9253
CITY OF BOCA RATON                      P.O. BOX 402053 ATLANTA GA 30384-2053
CITY OF BORDENTOWN                      ATTN: WATER DEPARTMENT 324 FARNSWORTH AVENUE BORDENTOWN NJ 08505
CITY OF BOULDER                         1777 BROADWAY B OULDER CO 80302
CITY OF BOULDER                         P.O. BOX 791 BOULDER CO 80302
CITY OF BOUNTIFUL UTILITIES             BOUNTIFUL CITY HALL 790 S 100 EAST BOUNTIFUL UT 84010
CITY OF BOUNTIFUL UTILITIES             P.O. BOX 140101 SALT LAKE CITY UT 84114-0101
CITY OF BOWIE                           ATTN: WATER & SEWER SYSTEM 15901 EXCALIBUR RD BOWIE MD 20716
CITY OF BOYNTON BEACH                   ATTN: CASHIERS-FIRE INSPECTION FEES P.O. BOX 310 BOYNTON BEACH FL 33425-0310
CITY OF BOYNTON BEACH                   WATER UTILITIES 3301 QUANTUM BLVD, STE 101 BOYNTON BEACH FL 33426
CITY OF BRANSON UTILITIES               110 W MADDUX SUITE 200 BRANSON MO 65616
CITY OF BRENTWOOD                       P.O. BOX 7194 PASADENA CA 91109-7194
CITY OF BRENTWOOD                       150 CITY PARK WAY BRENTWOOD CA 94513
CITY OF BRENTWOOD                       UTILITY BILLING CITY HALL, 150 CITY PARK WAY BRENTWOOD CA 94513
CITY OF BRISTOL TN FINANCE DPT          P.O. BOX 1348 BRISTOL TN 37621-1348
CITY OF BUDA                            405 E LOOP ST BUILDING 100 BUDA TX 78610
CITY OF BUDA                            P.O. BOX 1380 BUDA TX 78610-1380
CITY OF BUDA TX                         405 E LOOP ST BUILDING 100 BUDA TX 78610
CITY OF BUDA TX                         P.O. BOX 1380 BUDA TX 78610-1380
CITY OF BUFORD                          2300 BUFORD HWY BUFORD GA 30518
CITY OF BUFORD                          2300 BUFORD HWY BUFORD GA 30518-6144
CITY OF BULLHEAD CITY                   WATER RESOURCES DIVISION 2355 TRANE RD BULLHEAD CITY AZ 86429



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CITY OF BULLHEAD CITY               ATTN: FINANCE DEPT P.O. BOX 23189 BULLHEAD CITY AZ 86439
CITY OF BURLESON                    141 W RENFRO BURLESON TX 76028
CITY OF BURLINGTON                  UTILITIES SERVICES 237 W MAPLE AVE BURLINGTON NC 27215
CITY OF BURLINGTON                  P.O. BOX 1358 BURLINGTON NC 27216-1358
CITY OF CALLAWAY                    ATTN: BUSINESS TAX DEPARTMENT 6601 E HWY 22 CALLAWAY FL 32404
CITY OF CAPE CORAL                  P.O. BOX 31526 TAMPA FL 33631-3526
CITY OF CAPE CORAL                  UTILITIES DEPT 1015 CULTURAL PARK BLVD CAPE CORAL FL 33990
CITY OF CARROLLTON                  P.O. BOX 1949 CARROLLTON GA 30112
CITY OF CARTERSVILLE UTILITIES      1 N ERWIN ST CARTERSVILLE GA 30120
CITY OF CARTERSVILLE UTILITIES      P.O. BOX 1390 CARTERSVILLE GA 30120-1390
CITY OF CEDAR HILL                  ATTN: UTILITY BILLING 285 UPTOWN BLVD. BLDG 100 CEDAR HILL TX 75104-3526
CITY OF CHANDLER                    P.O. BOX 52158 PHOENIX AZ 85072-2158
CITY OF CHANDLER                    UTILITY ACCOUNT SERVICES 175 S ARIZONA AVE CHANDLER AZ 85225
CITY OF CHARLOTTE                   P.O. BOX 1316 CHARLOTTE NC 28201-1316
CITY OF CHARLOTTE                   CHARLOTTE WATER CHARLOTTE-MECKLENBURG GOVT CENTER, 600 E CHARLOTTE NC 28202
CITY OF CHARLOTTESVILLE             FINANCE DEPT-UTILITY BILLING OFFICE P.O. BOX 591 CHARLOTTESVILLE VA 22902
CITY OF CHATTANOOGA                 ATTN: OFFICE OF CITY TREASURY 101 E 11TH ST 100 CHATTANOOGA TN 37402
CITY OF CHATTANOOGA                 PUBLIC WORKS 1250 MARKET ST CHATANOOGA TN 37402
CITY OF CHINO                       ATTN: BUSINESS LICENSE DIVISION P.O. BOX 667 CHINO CA 91708-0667
CITY OF CHINO                       UTILITIES DEPT 13220 CENTRAL AVE CHINO CA 91710
CITY OF CLARKSTON                   829 5TH STREET CLARKSTON WA 99403
CITY OF CLARKSTON                   PUBLIC WORKS 829 5TH ST CLARKSTON WA 99403-2696
CITY OF CLEARWATER                  100 S MYRTLE AVE STE 210 CLEARWATER FL 33756
CITY OF CLERMONT                    CITY HALL 685 MONTROSE ST CLERMONT FL 34711
CITY OF CLERMONT                    P.O. BOX 120219 CLERMONT FL 34712-0219
CITY OF CLEVELAND DIV OF WATER      P.O. BOX 94540 CLEVELAND OH 44101-4540
CITY OF CLIFTON                     CLIFTON FIRE DEPT 900 CLIFTON AVE CLIFTON NJ 07013
CITY OF CLIFTON                     UPDATED 900 CLIFTON AVE CLIFTON NJ 07013
CITY OF COCOA                       P.O. BOX 1270 COCOA FL 32923-1270
CITY OF COCONUT CREEK               4800 W COPANS RD COCONUT CREEK FL 33063
CITY OF COCONUT CREEK               WATER DEPT CITY HALL, 4800 W COPANS RD COCONUT CREEK FL 33063
CITY OF COEUR D ALENE               701 EAST MULLAN AVE COEUR DE ALENE ID 83814-8964
CITY OF COLONIAL HEIGHTS            ATTN: BILLING & COLLECTIONS P.O. BOX 3401 COLONIAL HEIGHTS VA 23834-9001
CITY OF COLUMBIA                    WATER, SEWER & STORMWATER 1339 MAIN ST COLUMBIA SC 29202
CITY OF COLUMBIA                    ATTN: PROPERTY TAX DEPT. P.O. BOX 7997 COLUMBIA SC 29202-7997
CITY OF COLUMBIA MISSOURI           701 E BROADWAY P.O. BOX 1676 COLUMBIA MO 65205
CITY OF CONCORD                     ELECTRIC SYSTEMS 635 ALFRED BROWN JR COURT SW CONCORD NC 28025
CITY OF CONCORD                     WASTEWATER SERVICES 635 ALFRED BROWN JR COURT SW CONCORD NC 28025
CITY OF CONCORD                     WATER RESOURCES 635 ALFRED BROWN JR COURT SW CONCORD NC 28025
CITY OF CONCORD                     ATTN: TAX DEPT P.O. BOX 308 CONCORD NC 28026-0308
CITY OF CONROE                      PUBLIC WORKS 401 SGT ED HOLCOMB BLVD S CONROE TX 77304
CITY OF CONROE                      P.O. BOX 3066 CONROE TX 77305-3066
CITY OF CONWAY UTIL BILLG DEPT      P.O. BOX 1507 CONWAY SC 29258-1507
CITY OF CONWAY UTIL BILLG DEPT      1000 2ND AVE CONWAY SC 29526
CITY OF CONWAY UTIL BILLG DEPT      P.O. BOX 1507 CONWAY SC 29528-1507
CITY OF COOKEVILLE                  P.O. BOX 998 COOKEVILLE TN 38503-0998
CITY OF COOKEVILLE                  ELECTRIC DEPT 55 W DAVIS RD COOKEVILLE TN 38506
CITY OF COOKEVILLE                  WATER & SEWER DEPT 1860 S JEFFERSON AVE COOKEVILLE TN 38506
CITY OF COON RAPIDS                 11155 ROBINSON DR NW COON RAPIDS MN 55433-3761



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CITY OF CORONA                       ATTN: DEPARTMENT OF WATER & POWER P.O. BOX 6040 ARTESIA CA 90702-6040
CITY OF COUNTRYSIDE                  5550 EAST AVE COUNTRYSIDE IL 60525
CITY OF COVINGTON                    16720 SE 271ST ST. COVINGTON WA 98042
CITY OF CRYSTAL LAKE                 P.O. BOX 1139 CRYSTAL LAKE IL 60039-1139
CITY OF CRYSTAL RIVER                123 NORTHWEST HIGHWAY 19 CRYSTAL RIVER FL 34428
CITY OF CUYAHOGA FALLS               ATTN: INCOME TAX DEPT 2310 2ND ST CUYAHOGA FALLS OH 44221
CITY OF CUYAHOGA FALLS               SEWER 2310 SECOND ST CUYAHOGA FALLS OH 44221
CITY OF DALLAS                       WATER UTILITIES DALLAS CITY HALL, 1500 MARILLA ST, RM 4A DALLAS TX 75201
CITY OF DALLAS                       CITY HALL 2D SOUTH DALLAS TX 75277
CITY OF DANIA BEACH                  100 W DANIA BEACH BLVD DANIA BEACH FL 33004
CITY OF DANIA BEACH                  P.O. BOX 1708 DANIA BEACH FL 33004
CITY OF DANVILLE                     427 PATTON ST DANVILLE VA 24541
CITY OF DANVILLE                     P.O. BOX 480 DANVILLE VA 24543
CITY OF DEERFIELD BEACH              150 NE SECOND AVENUE DEERFIELD BEACH FL 33441-3598
CITY OF DEKALB                       P.O. BOX 787 DE KALB IL 60115-0787
CITY OF DELAND                       120 S FLORIDA AVE DELAND FL 32720
CITY OF DELAND                       P.O. BOX 2919 DELAND FL 32721-2919
CITY OF DENTON                       P.O. BOX 660150 DALLAS TX 75266-0150
CITY OF DENTON                       WASTE MANAGEMENT 1525 S MAYHILL RD DENTON TX 76208
CITY OF DENTON                       SEWER 901-B TEXAS ST DENTON TX 76209
CITY OF DENTON                       WATER 901-B TEXAS ST DENTON TX 76209
CITY OF DERBY UTILITIES              UTILITY BILLING 611 MULBERRY, STE 300 DERBY KS 67037
CITY OF DERBY UTILITIES              EL PASO WATER COMPANY INC 611 N MULBERRY RD STE 300 DERBY KS 67037-3591
CITY OF DOVER UTILITY                P.O. BOX 15040 WILMINGTON DE 19886-5040
CITY OF DUBLIN                       SANITATION 100 S CHURCH ST DUBLIN GA 31021
CITY OF DUBLIN                       WATER DEPT 100 S CHURCH ST DUBLIN GA 31021
CITY OF DUBLIN                       P.O. BOX 690 DUBLIN GA 31040-0690
CITY OF DURHAM                       BUSINESS LICENSE UNIT 101 CITY HALL PLAZA DURHAM NC 27701
CITY OF EAST POINT                   2777 EAST POINT STREET EAST POINT GA 30344-3240
CITY OF EDEN PRAIRIE                 8080 MITCHEL ROAD EDEN PRAIRIE MN 55344
CITY OF EDEN PRAIRIE                 PUBLIC WORKS 8080 MITCHELL RD EDEN PRAIRIE MN 55344
CITY OF EDINA UTILITY BILLING        4801 WEST 50TH STREET EDINA MN 55424-1330
CITY OF EDMOND                       P.O. BOX 268927 EDMOND OK 73126-8927
CITY OF EDWARDSVILLE                 118 HILLSBORO AVENUE EDWARDSVILLE IL 62025
CITY OF EDWARDSVILLE                 P.O. BOX 407 EDWARDSVILLE IL 62025
CITY OF EL CAMPO UTILITIES           315 E. JACKSON EL CAMPO TX 77437
CITY OF EL CAMPO UTILITIES           WASTE COLLECTION 618 E MONSERATTE EL CAMPO TX 77437
CITY OF ELIZABETH CITY               CUSTOMER SERVICE DEPT- CITY OF ELIZABETH P.O. BOX 347 ELIZABETH CITY NC
                                     27907-0347
CITY OF ELLENSBURG                   501 N. ANDERSON ST. ELLENSBURG WA 98926
CITY OF ELLENSBURG                   UTILITIES 501 N ANDERSON ST ELLENSBURG WA 98926
CITY OF ELYRIA                       WASTEWATER 1194 GULF RD ELYRIA OH 44101
CITY OF ELYRIA                       P.O. BOX 94594 CLEVELAND OH 44101-4594
CITY OF ENGLEWOOD                    P.O. BOX 2900 ENGLEWOOD CO 80150
CITY OF EUSTIS                       P.O. BOX 1946 EUSTIS FL 32727-1946
CITY OF FALL RIVER MA                P.O. BOX 844515 BOSTON MA 02284
CITY OF FAYETTEVILLE                 113 WEST MOUNTAIN ST FAYETTEVILLE AR 72701-6083
CITY OF FERNANDINA BEACH             WASTEWATER DEPT 204 ASH ST FERNANDINA BEACH FL 32034
CITY OF FERNANDINA BEACH             WATER DEPT 204 ASH ST FERNANDINA BEACH FL 32034



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CITY OF FERNANDINA BEACH             P.O. BOX 16115 FERNANDINA BEACH FL 32035
CITY OF FINDLAY                      ATTN: INCOME TAX DEPARTMENT P.O. BOX 862 FINDLAY OH 45839-0862
CITY OF FLAGSTAFF                    ATTN: SALES TAX DIVISION 211 W ASPEN AVE FLAGSTAFF AZ 86001
CITY OF FLINT MICHIGAN               P.O. BOX 1950 FLINT MI 48501
CITY OF FLINT MICHIGAN               SEWER DEPT P.O. BOX 1950 FLINT MI 48501
CITY OF FLINT MICHIGAN               WATER DEPT P.O. BOX 1950 FLINT MI 48501
CITY OF FLORENCE                     324 W EVANS ST FLORENCE SC 29501
CITY OF FLORENCE                     P.O. BOX 1327 FLORENCE KY 41022-1327
CITY OF FLORIDA CITY                 404 W PALM DR. BLDG. 4 FLORIDA CITY FL 33034
CITY OF FLORIDA CITY                 CITY HALL 404 WEST PALM DR FLORIDA CITY FL 33034
CITY OF FLOWERY BRANCH               5517 MAIN STREET P.O. BOX 757 FLOWERY BRANCH GA 30542
CITY OF FOND DU LAC                  P.O. BOX 830 FOND DU LAC WI 54936-0830
CITY OF FORT MYERS                   P.O. BOX 30185 TAMPA FL 33630-3185
CITY OF FORT MYERS                   PUBLIC WORKS 2200 SECOND ST FORT MYERS FL 33901
CITY OF FORT MYERS                   P.O. BOX 340 FORT MYERS FL 33902
CITY OF FORT MYERS FL                P.O. BOX 30185 TAMPA FL 33630-3185
CITY OF FORT MYERS FL                PUBLIC WORKS 2200 SECOND ST FORT MYERS FL 33901
CITY OF FORT WALTON BEACH            105 MIRACLE STRIP PKWY SW FORT WALTON BEACH FL 32548
CITY OF FORT WALTON BEACH            UPDATED 105 MIRACLE STRIP PKWY SW FORT WALTON BEACH FL 32548
CITY OF FREDERICKSBURG               126 W MAIN ST FREDERICKSBURG TX 78624
CITY OF FRESNO                       P.O. BOX 2069 FRESNO CA 93718
CITY OF FRESNO                       P.O. BOX 2069 FRESNO CA 93718-2069
CITY OF FRESNO                       PUBLIC UTILITIES 2600 FRESNO ST FRESNO CA 93721
CITY OF FRESNO                       SEWER & WASTEWATER 2600 FRESNO ST FRESNO CA 93721
CITY OF FRISCO                       P.O. BOX 2730 FRISCO TX 75034
CITY OF FRUITLAND                    506 W BERCKMAN ST FRUITLAND PARK FL 34731
CITY OF FRUITLAND                    PUBLIC WORKS 601 W FOUNTAIN ST FRUITLAND PARK FL 34731
CITY OF FRUITLAND PARK               ATTN: UTILITY DEPT 506 W BERCKMAN ST FRUITLAND PARK FL 34731
CITY OF FRUITLAND PK UTIL DEPT       PUBLIC WORKS 601 W FOUNTAIN ST FRUITLAND PARK FL 34731
CITY OF FT LAUDERDALE                P.O. BOX 31687 TAMPA FL 33631-3687
CITY OF FT LAUDERDALE                WATER & SEWER P.O. BOX 31687 TAMPA FL 33631-3687
CITY OF GAINESVILLE                  P.O. BOX 779 GAINESVILLE GA 30503
CITY OF GAINESVILLE                  200 E UNIVERSITY AVE GAINSVILLE FL 32601
CITY OF GARDEN CITY                  6015 N GLENWOOD ST GARDEN CITY ID 83714
CITY OF GARDEN CITY                  PUBLIC WORKS 6015 N GLENWOOD ST GARDEN CITY ID 83714-1347
CITY OF GARLAND                      ELECTRIC DEPT 200 N FIFTH ST GARLAND TX 75040
CITY OF GARLAND                      SEWER DEPT 200 N FIFTH ST GARLAND TX 75040
CITY OF GARLAND                      WATER DEPT 200 N FIFTH ST GARLAND TX 75040
CITY OF GARLAND                      P.O. BOX 461508 GARLAND TX 75046-1508
CITY OF GASTONIA                     P.O. BOX 1748 GASTONIA NC 28053-1748
CITY OF GENEVA                       15 S 1ST STREET GENEVA IL 60134
CITY OF GEORGETOWN                   ELECTRIC P.O. BOX 1430 GEORGETOWN TX 78627-1430
CITY OF GEORGETOWN                   P.O. BOX 1430 GEORGETOWN TX 78627-1430
CITY OF GEORGETOWN                   SEWER P.O. BOX 1430 GEORGETOWN TX 78627-1430
CITY OF GEORGETOWN                   TRASH P.O. BOX 1430 GEORGETOWN TX 78627-1430
CITY OF GEORGETOWN                   WATER P.O. BOX 1430 GEORGETOWN TX 78627-1430
CITY OF GOLDSBORO                    PUBLIC WORKS 200 N CENTER ST GOLDSBORO NC 27530
CITY OF GOLDSBORO                    PO DRAWER A GOLDSBORO NC 27533
CITY OF GONZALES                     120 SOUTH IRMA BLVD GONZALES LA 70737



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CITY OF GONZALES                     UTILITIES GONZALES MUNICIPAL BLDG, 820 ST JOSEPH S GONZALES TX 78629
CITY OF GOOSE CREEK                  PO DRAWER 1768 GOOSE CREEK SC 29445
CITY OF GRAND JUNCTION               ATTN: SALES & USE TAX RETURN 250 NORTH 5TH ST GRAND JUNCTION CO 81501-2668
CITY OF GRAND RAPIDS                 300 MONROE AVE NW GRAND RAPIDS MI 49503
CITY OF GRANTS PASS                  101 NW A ST GRANTS PASS OR 97526-2091
CITY OF GRAPEVINE WATER DEPT         P.O. BOX 2503 GRAPEVINE TX 76099-2503
CITY OF GREENSBORO                   P.O. BOX 26118 GREENSBORO NC 27402-6118
CITY OF GRESHAM                      ATTN: BUSINESS LICENSE SECTION 1333 NW EASTMAN PKWY GRESHAM OR 97030
CITY OF GRIFFIN                      100 S HILL STREET GRIFFIN GA 30224
CITY OF GULF BREEZE                  1070 SHORELINE DR GULF BREEZE FL 32561
CITY OF GULF BREEZE                  UTILITY SERVICES DEPT 1070 SHORELINE DR GULF BREEZE FL 32561
CITY OF GULF SHORES                  1905 W 1ST ST GULF SHORES AL 36547
CITY OF GULF SHORES                  P.O. BOX 4089 GULF SHORES AL 36547-4089
CITY OF HALLANDALE BEACH             ATTN: FINANCE DEPT 400 S FEDERAL HWY HALLANDALE BEACH FL 33009
CITY OF HALLANDALE BEACH             UPDATE 400 S FEDERAL HWY HALLANDALE BEACH FL 33009
CITY OF HAMMOND                      P.O. BOX 2788 HAMMOND LA 70404
CITY OF HAMMOND UTILITY DEPT         P.O. BOX 2788 HAMMOND LA 70404-2788
CITY OF HANFORD UTILITY SVC          315 N. DOUTY STREET HANFORD CA 93230
CITY OF HARKER HEIGHTS               305 MILLERS CROSSING HARKER HEIGHTS TX 76548
CITY OF HARKER HEIGHTS               WATER & UTILITY SERVICES 305 MILLERS CROSSING HARKER HEIGHTS TX 76548
CITY OF HARRISONBURG                 409 S MAIN ST HARRISONBURG VA 22801
CITY OF HARRISONBURG                 REFUSE & RECYCLING 2055 BEERY RD HARRISONBURG VA 22803
CITY OF HARRISONBURG VA              PUBLIC UTILITIES 409 S MAIN ST HARRISONBURG VA 22801
CITY OF HARRISONBURG VA              P.O. BOX 1007 HARRISONBURG VA 22803-1007
CITY OF HEATH UTILITIES DEPT         1287 HEBRON RD HEATH OH 43056-1096
CITY OF HENDERSONVILLE               101 MAPLE DR NORTH HENDERSONVILLE TN 37075
CITY OF HERMITAGE                    ATTN: BUSINESS LICENSE TAX RETURN 800 N HERMITAGE RD HERMITAGE PA 16148
CITY OF HERMITAGE                    WATER POLLUTION CONTROL ADMINISTRATION B 2133 BROADWAY ROAD HERMITAGE PA 16148
CITY OF HESPERIA WATER DIST          9700 SEVENTH AVE HESPERIA CA 92345
CITY OF HESPERIA WATER DIST          UPDATE 9700 SEVENTH AVE. HESPERIA CA 92345
CITY OF HICKORY                      P.O. BOX 398 HICKORY NC 28603
CITY OF HIGH POINT                   P.O. BOX 10039 211 S HAMILTON ST HIGH POINT NC 27261-3039
CITY OF HOLLYWOOD                    CASHIERS OFFICE CITY HALL, ROOM 103 2600 HOLLYWOOD BLVD HOLLYWOOD FL 33022
CITY OF HOLLYWOOD                    ATTN: UTILITY BILL PROCESSING CENTER P.O. BOX 229187 HOLLYWOOD FL 33022-9187
CITY OF HOMESTEAD                    100 CIVIC COURT HOMESTEAD FL 33030
CITY OF HOMESTEAD                    P.O. BOX 900430 HOMESTEAD FL 33090-0430
CITY OF HOUSTON                      PUBLIC WORKS 901 BAGBY HOUSTON TX 77002
CITY OF HOUSTON                      P.O. BOX 1560 HOUSTON TX 77251
CITY OF HUBER HEIGHTS                WATER & WASTEWATER 6244 CHAMBERBURG RD HUBER HEIGHTS OH 45424
CITY OF HUBER HEIGHTS                UNITED WATER P.O. BOX 24099 HUBER HEIGHTS OH 45424-0099
CITY OF HURST                        PUBLIC WORKS 1505 PRECINCT LINE RD HURST TX 76054
CITY OF HURST                        1505 PRECINT LINE RD. HURST TX 76054-3302
CITY OF INVERNESS                    212 W MAIN ST INVERNESS FL 34450
CITY OF INVERNESS                    UPDATE PUBLIC WORKS, 212 W MAIN ST INVERNESS FL 34450
CITY OF IRVING                       P.O. BOX 152288 IRVING TX 75015
CITY OF IRVING                       SOLID WASTE SERVICES 110 E HUNTER FERRELL RD IRVING TX 75060
CITY OF IRVING MUNICIPAL SVCS        P.O. BOX 152288 IRVING TX 75015-2288
CITY OF IRVING MUNICIPAL SVCS        SOLID WASTE SERVICES 110 E HUNTER FERRELL RD IRVING TX 75060
CITY OF JACKSONVILLE                 ATTN: PLANNING AND DEVELPOMENT DEPT 214 N HOGAN ST JACKSONVILLE FL 32202



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CITY OF JANESVILLE                   18 N JACKSON ST P.O. BOX 5005 JANESVILLE WI 53547-5005
CITY OF JASPER AL                    400 W 19TH ST JASPER AL 35501
CITY OF JASPER AL                    P.O. BOX 1669 JASPER AL 35502
CITY OF JOLIET                       P.O. BOX 5001 JOLIET IL 60434-5001
CITY OF KANNAPOLIS                   P.O. BOX 1190 KANNAPOLIS NC 28082-1190
CITY OF KEENE                        PUBLIC WORKS 350 MARLBORO ST KEENE NH 03431
CITY OF KEENE                        P.O. BOX 544 KEENE NH 03431-0544
CITY OF KELLER                       P.O. BOX 427 KELLER TX 76244
CITY OF KENNEWICK                    210 W 6TH AVE KENNEWICK WA 99336
CITY OF KILLEEN UTILITIES            P.O. BOX 549 KILLEEN TX 75640-0549
CITY OF KINGMAN                      310 N 4TH ST KINGMAN AZ 86401
CITY OF KINGSPORT                    225 W CENTER ST KINGSPORT TN 37660
CITY OF KIRKLAND                     123 5TH AVE KIRKLAND WA 98033-6189
CITY OF LAFAYETTE                    ATTN: UTILITY BILLING OFFICE P.O. BOX 1688 LAFAYETTE IN 47902-1688
CITY OF LAGRANGE                     200 RIDLEY AVE ROOM 202 LAGRANGE GA 30240
CITY OF LAGRANGE                     UPDATED 200 RIDLEY AVE ROOM 202 LAGRANGE GA 30240
CITY OF LAKE CHARLES                 ATTN: DEPARTMENT OF FINANCE P.O. BOX 3706 LAKE CHARLES LA 70602-3706
CITY OF LAKE CITY                    PUBLIC WORKS 180 NE GUM SWAMP RD LAKE CITY FL 32055
CITY OF LAKE CITY                    P.O. BOX 1687 LAKE CITY FL 32056-1687
CITY OF LAKE JACKSON                 25 OAK DR. LAKE JACKSON TX 77566
CITY OF LAKE JACKSON                 UPDATED 25 OAK DR. LAKE JACKSON TX 77566
CITY OF LAKE WALES                   201 W CENTRAL AVE LAKE WALES FL 33853
CITY OF LAKE WALES                   P.O. BOX 1320 LAKE WALES FL 33859-1320
CITY OF LAKES                        ATTN: MINNEAPOLIS - HEALTH DEPARTMENT P.O. BOX 857005 MINNEAPOLIS MN
                                     55485-7005
CITY OF LANCASTER PA                 120 N DUKE ST LANCASTER PA 17608
CITY OF LANCASTER PA                 P.O. BOX 1020 LANCASTER PA 17608-1020
CITY OF LAWRENCE                     P.O. BOX 1757 LAWRENCE KS 66044-8757
CITY OF LAWTON                       212 SW 9TH ST LAWTON OK 73501
CITY OF LAWTON                       212 SW 9TH ST LAWTON OK 73501-3944
CITY OF LEAGUE CITY                  300 W WALKER LEAGUE CITY TX 77573
CITY OF LEAGUE CITY                  P.O. BOX 2008 LEAGUE CITY TX 77574
CITY OF LEBANON AUTHORITY            2311 RIDGEVIEW RD LEBANON PA 17042
CITY OF LEBANON TN                   200 N CASTLE HEIGHTS AVE LEBANON TN 37087
CITY OF LEBANON TN                   ATTN: COMMISSIONER OF FINANCE 200 CASTLE HEIGHTS AVE N LEBANON TN 37087-2740
CITY OF LEWISTON                     C/O BUSINESS LICENSES P.O. BOX 617 LEWISTON ID 83501
CITY OF LEWISTON ID                  P.O. BOX 617 LEWISTON ID 83501
CITY OF LIMA UTILITIES               P.O. BOX 183199 COLUMBUS OH 43218-3199
CITY OF LIMA UTILITIES               50 TOWN SQ LIMA OH 45801
CITY OF LINCOLN                      P.O. BOX 541073 LOS ANGELES CA 90054-1073
CITY OF LOCKPORT                     ONE LOCKS PLAZA LOCKPORT NY 14094
CITY OF LOCKPORT                     222 E NINTH ST LOCKPORT IL 60441
CITY OF LODI                         221 W PINE ST LODI CA 95240
CITY OF LODI                         P.O. BOX 3006 LODI CA 95241-1910
CITY OF LOGAN UT                     290 N 100 W LOGAN UT 84321
CITY OF LOGAN UT                     P.O. BOX 328 LOGAN UT 84323-0328
CITY OF LONGMONT                     350 KIMBARK ST LONGMONT CO 80501
CITY OF LONGMONT                     UTILITY BILLING 350 KIMBARK ST LONGMONT CO 80501
CITY OF LONGVIEW                     300 W COTTON ST LONGVIEW TX 75601



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CITY OF LONGVIEW                   P.O. BOX 1952 LONGVIEW TX 75606
CITY OF LONGVIEW WATER UTIL        300 W COTTON ST LONGVIEW TX 75601
CITY OF LONGVIEW WATER UTIL        P.O. BOX 1952 LONGVIEW TX 75606-1952
CITY OF LORAIN WATER               UTILITIES 1106 FIRST ST LORAIN OH 44052
CITY OF LORAIN WATER               1106 W 1ST STREET LORAIN OH 44052-1434
CITY OF LOS BANOS                  520 J STREET LOS BANOS CA 93635
CITY OF LOS BANOS                  UPDATED 520 J STREET LOS BANOS CA 93635
CITY OF LOVELAND                   WATER & POWER 200 N WILSON AVE LOVELAND CO 80538
CITY OF LOVELAND                   P.O. BOX 3500 LOVELAND CO 80539-3500
CITY OF LUFKIN                     300 E SHEPHERD LUFKIN TX 75902
CITY OF LUFKIN                     P.O. BOX 190 LUFKIN TX 75902
CITY OF LUMBERTON                  ELECTRIC UTILITIES DEPT 500 N CEDAR ST LUMBERTON NC 28358
CITY OF LUMBERTON                  PUBLIC WORKS 215 S CEDAR ST LUMBERTON NC 28358
CITY OF LUMBERTON                  500 N CEDAR ST P.O. BOX 1388 LUMBERTON NC 28359-1388
CITY OF MANASSAS UTILITIES         P.O. BOX 192 MANASSAS VA 20108-0192
CITY OF MANHATTAN                  1101 POYNTZ AVE MANHATTAN KS 66502
CITY OF MANHATTAN                  CUSTOMER SERVICE P.O. BOX 309 MANHATTAN KS 66505-0309
CITY OF MANKATO                    P.O. BOX 3368 MANKATO MN 56002-3368
CITY OF MANTECA                    1001 W CENTER ST MANTECA CA 95337
CITY OF MANTECA                    CITY HALL 1001 W CENTER ST MANTECA CA 95337
CITY OF MAPLE GROVE                P.O. BOX 1180 MAPLE GROVE MN 55311-6180
CITY OF MAPLE GROVE                12800 ARBOR LAKES PKWY N MAPLE GROVE MN 55369-7064
CITY OF MARGATE                    P.O. BOX 30318 TAMPA FL 33630-3318
CITY OF MARION WATER & SEWER       1102 TOWER SQUARE PLAZA MARION IL 62959
CITY OF MARTINSVILLE               55 W CHURCH ST MARTINSVILLE VA 24112
CITY OF MARTINSVILLE               P.O. BOX 1023 MARTINSVILLE VA 24114-1023
CITY OF MEBANE                     106 E WASHINGTON STREET MEBANE NC 27302
CITY OF MEBANE                     106 E. WASHINGTON ST. MEBANE FL 27302
CITY OF MEBANE                     107 E WASHINGTON STREET MEBANE NC 27303
CITY OF MEBANE                     108 E WASHINGTON STREET MEBANE NC 27304
CITY OF MEBANE                     109 E WASHINGTON STREET MEBANE NC 27305
CITY OF MEBANE                     110 E WASHINGTON STREET MEBANE NC 27306
CITY OF MEBANE                     111 E WASHINGTON STREET MEBANE NC 27307
CITY OF MEBANE                     112 E WASHINGTON STREET MEBANE NC 27308
CITY OF MELBOURNE UTILITIES        900 E STRAWBRIDGE AVE MELBOURNE FL 32901
CITY OF MELBOURNE UTILITIES        901 E STRAWBRIDGE AVE MELBOURNE FL 32902
CITY OF MELBOURNE UTILITIES        P.O. BOX 17 MELBOURNE FL 32902-0017
CITY OF MERCED                     678 W. 18TH STREET MERCED CA 95340
CITY OF MERCED                     679 WEST 18TH STREET MERCED CA 95341
CITY OF MERCED                     680 WEST 18TH STREET MERCED CA 95342
CITY OF MERIDIAN                   P.O. BOX 670 CALDWELL ID 83606-0670
CITY OF MESQUITE                   1527 N GALLOWAY AVE MESQUITE TX 75149
CITY OF MESQUITE                   1528 N GALLOWAY AVE MESQUITE TX 75150
CITY OF MESQUITE                   1529 N GALLOWAY AVE MESQUITE TX 75151
CITY OF MESQUITE                   1530 N GALLOWAY AVE MESQUITE TX 75152
CITY OF MESQUITE                   1531 N GALLOWAY AVE MESQUITE TX 75153
CITY OF MESQUITE                   1532 N GALLOWAY AVE MESQUITE TX 75154
CITY OF MESQUITE                   P.O. BOX 850287 MESQUITE TX 75185-0287
CITY OF MIDDLETON                  INCOME TAX DEPT 1 DONHAM PLAZA MIDDLETOWN OH 45042



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CITY OF MIDDLETON                   7426 HUBBARD AVENUE MIDDLETON WI 53562
CITY OF MIDDLETON                   7427 HUBBARD AVENUE MIDDLETON WI 53563
CITY OF MIDDLETOWN                  245 DEKOVEN DRIVE MIDDLETOWN CT 06457
CITY OF MIDDLETOWN                  246 DEKOVEN DRIVE MIDDLETOWN CT 06458
CITY OF MIDDLETOWN                  P.O. BOX 740402 CINCINNATI OH 45274-0402
CITY OF MIDLAND                     WATER DEPARTMENT P.O. BOX 1647 MIDLAND MI 48641-1647
CITY OF MIDLAND                     300 N LORAINE MIDLAND TX 79701
CITY OF MIDLAND                     301 N LORAINE MIDLAND TX 79702
CITY OF MIDLAND                     P.O. BOX 1152 300 N. LORAINE MIDLAND TX 79702
CITY OF MIDLAND                     302 N LORAINE MIDLAND TX 79703
CITY OF MIDLAND                     303 N LORAINE MIDLAND TX 79704
CITY OF MIDLAND                     304 N LORAINE MIDLAND TX 79705
CITY OF MIDLAND                     305 N LORAINE MIDLAND TX 79706
CITY OF MIDWEST CITY                100 N MIDWEST BOULEVARD MIDWEST CITY OK 73110
CITY OF MIDWEST CITY                101 N MIDWEST BOULEVARD MIDWEST CITY OK 73111
CITY OF MIDWEST CITY                102 N MIDWEST BOULEVARD MIDWEST CITY OK 73112
CITY OF MIDWEST CITY                P.O. BOX 268896 OKLAHOMA CITY OK 73126-8896
CITY OF MILFORD                     70 WEST RIVER STREET MILFORD CT 06460
CITY OF MILFORD                     71 WEST RIVER STREET MILFORD CT 06461
CITY OF MILFORD                     72 WEST RIVER STREET MILFORD CT 06462
CITY OF MILFORD                     P.O. BOX 159 MILFORD DE 19963
CITY OF MILLEDGEVILLE               119 E HANCOCK ST MILLEDGEVILLE GA 31061
CITY OF MILLEDGEVILLE               119 E HANCOCK ST MILLEDGEVILLE GA 31061-3413
CITY OF MILLEDGEVILLE               120 E HANCOCK ST MILLEDGEVILLE GA 31062
CITY OF MILLEDGEVILLE               121 E HANCOCK ST MILLEDGEVILLE GA 31063
CITY OF MILLVILLE UTILITY DEPT      12 SOUTH HIGH ST MILLVILLE NJ 08332
CITY OF MILLVILLE UTILITY DEPT      12 SOUTH HIGH ST P.O. BOX 609 MILLVILLE NJ 08332-0609
CITY OF MILLVILLE UTILITY DEPT      13 SOUTH HIGH ST MILLVILLE NJ 08333
CITY OF MILLVILLE UTILITY DEPT      14 SOUTH HIGH ST MILLVILLE NJ 08334
CITY OF MIRAMAR                     2300 CIVIC CENTER PLACE MIRAMAR FL 33025
CITY OF MIRAMAR                     BUSINESS TAX OFFICE 2300 CIVIC CENTER PLACE MARIMAR FL 33025
CITY OF MIRAMAR                     2301 CIVIC CENTER PLACE MIRAMAR FL 33026
CITY OF MODESTO                     P.O. BOX 3442 MODESTO CA 95353
CITY OF MODESTO                     1010 10TH ST MODESTO CA 95354
CITY OF MODESTO                     1011 10TH ST MODESTO CA 95355
CITY OF MONROE                      P.O. BOX 69 MONROE NC 28111-0069
CITY OF MONROE                      300 W CROWELL STREET MONROE NC 28112
CITY OF MONROE                      301 W CROWELL STREET MONROE NC 28113
CITY OF MONROE                      302 W CROWELL STREET MONROE NC 28114
CITY OF MONROE                      303 W CROWELL STREET MONROE NC 28115
CITY OF MONROE                      304 W CROWELL STREET MONROE NC 28116
CITY OF MONTCLAIR                   5111 BENITO STREET MONTCLAIR CA 91763
CITY OF MONTCLAIR                   P.O. BOX 2308 MONTCLAIR CA 91763-0808
CITY OF MONTICELLO                  505 WALNUT ST STE 1 MONTICELLO MN 55362
CITY OF MONTPELIER                  39 MAIN STREET CITY HALL MONTPELIER VT 05602
CITY OF MONTPELIER                  39 MAIN ST MONTPELIER VT 05602-2950
CITY OF MONTPELIER                  40 MAIN ST MONTPELIER VT 05602-2951
CITY OF MONTROSE                    433 S 1ST ST MONTROSE CO 81401
CITY OF MONTROSE                    434 S 1ST ST MONTROSE CO 81402



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Claim Name                               Address Information
CITY OF MONTROSE                         ATTN: SALES & USE TAX DEPT. PO BOX 790 MONTROSE CO 81402-0790
CITY OF MONTROSE                         435 S 1ST ST MONTROSE CO 81403
CITY OF MOORE                            ATTN: PROPERTY TAX DEPT. P.O. BOX 6830 MOORE OK 73153-0830
CITY OF MOORE                            301 N BROADWAY MOORE OK 73160-5130
CITY OF MOORE                            302 N BROADWAY MOORE OK 73160-5131
CITY OF MOORE                            303 N BROADWAY MOORE OK 73160-5132
CITY OF MOORE OK                         304 N BROADWAY MOORE OK 73160-5133
CITY OF MORGANTON                        305 E UNION ST STE A100 MORGANTON NC 28655
CITY OF MORGANTON                        306 E UNION ST STE A101 MORGANTON NC 28656
CITY OF MORGANTON                        307 E UNION ST STE A102 MORGANTON NC 28657
CITY OF MORGANTON                        PO BOX 3448 MORGANTON NC 28680-3448
CITY OF MORROW PUBLIC WORKS-SANITATION   6311 C MURPHY DR MORROW GA 30260
CITY OF MOSES LAKE                       321 S BALSAM MOSES LAKE WA 98837
CITY OF MOUNTAIN VIEW                    P.O. BOX 743338 LOS ANGELES CA 90074-3338
CITY OF MOUNTAIN VIEW                    500 CASTRO ST MOUNTAIN VIEW CA 94041
CITY OF MOUNTAIN VIEW                    501 CASTRO ST MOUNTAIN VIEW CA 94042
CITY OF MOUNTAIN VIEW                    502 CASTRO ST MOUNTAIN VIEW CA 94043
CITY OF MOUNTAIN VIEW                    503 CASTRO ST MOUNTAIN VIEW CA 94044
CITY OF MT JULIET PROPERTY TAX OFFICE    FINANCE DIRECTOR PO BOX 679 MT. JULIET TN 37121-0679
CITY OF MURFREESBORO                     300 NW BROAD ST MURFREESBORO TN 37130
CITY OF MYRTLE BEACH                     937 BROADWAY ST PO BOX 2468 MYRTLE BEACH SC 29578
CITY OF MYRTLE BEACH                     BUSINESS LICENSE DIVISION P.O. BOX 2468 921 N OAK STREET MYRTLE BEACH SC
                                         29578-2468
CITY OF MYRTLE BEACH                     938 BROADWAY ST PO BOX 2469 MYRTLE BEACH SC 29579
CITY OF N CANTON PUBLIC UTIL             145 NORTH MAIN ST NORTH CANTON OH 44720
CITY OF N CANTON PUBLIC UTIL             145 N MAIN STREET NORTH CANTON OH 44720-2501
CITY OF N CANTON PUBLIC UTIL             146 NORTH MAIN ST NORTH CANTON OH 44721
CITY OF NACOGDOCHES                      202 EAST PILLAR STREET NACOGDOCHES TX 75961
CITY OF NACOGDOCHES                      203 EAST PILLAR STREET NACOGDOCHES TX 75962
CITY OF NACOGDOCHES                      204 EAST PILLAR STREET NACOGDOCHES TX 75963
CITY OF NACOGDOCHES                      P.O. BOX 635090 NACOGDOCHES TX 75963-5090
CITY OF NAMPA                            411 3RD ST S NAMPA ID 83651
CITY OF NAMPA                            401 3RD ST SO NAMPA ID 83651-3721
CITY OF NAMPA                            412 3RD ST S NAMPA ID 83652
CITY OF NAMPA                            413 3RD ST S NAMPA ID 83653
CITY OF NAMPA                            414 3RD ST S NAMPA ID 83654
CITY OF NAMPA                            415 3RD ST S NAMPA ID 83655
CITY OF NAMPA                            416 3RD ST S NAMPA ID 83656
CITY OF NAPERVILLE                       401 S EAGLE ST NAPERVILLE IL 60541
CITY OF NAPERVILLE                       402 S EAGLE ST NAPERVILLE IL 60542
CITY OF NAPERVILLE                       403 S EAGLE ST NAPERVILLE IL 60543
CITY OF NAPERVILLE                       404 S EAGLE ST NAPERVILLE IL 60544
CITY OF NAPERVILLE                       405 S EAGLE ST NAPERVILLE IL 60545
CITY OF NAPERVILLE                       406 S EAGLE ST NAPERVILLE IL 60546
CITY OF NAPERVILLE                       407 S EAGLE ST NAPERVILLE IL 60547
CITY OF NAPERVILLE                       408 S EAGLE ST NAPERVILLE IL 60548
CITY OF NAPERVILLE                       409 S EAGLE ST NAPERVILLE IL 60549
CITY OF NAPERVILLE                       400 S EAGLE ST PO BOX 3020 NAPERVILLE IL 60566-7020
CITY OF NAPLES                           P.O. BOX 12124 NAPLES FL 34101-2124



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CITY OF NAPLES                      735 8TH ST S NAPLES FL 34102
CITY OF NEDERLAND                   207 N 12TH ST NEDERLAND TX 77627
CITY OF NEDERLAND                   P.O. BOX 967 NEDERLAND TX 77627
CITY OF NEDERLAND                   208 N 12TH ST NEDERLAND TX 77628
CITY OF NEDERLAND                   209 N 12TH ST NEDERLAND TX 77629
CITY OF NEPTUNE BEACH               116 FIRST STREET NEPTUNE BEACH FL 32266
CITY OF NEW BERN PAYMENTS           P.O. BOX 63005 CHARLOTTE NC 28263-3005
CITY OF NEW BERN PAYMENTS           300 POLLOCK ST NEW BERN NC 28560
CITY OF NEW BERN PAYMENTS           301 POLLOCK ST NEW BERN NC 28561
CITY OF NEW BERN PAYMENTS           302 POLLOCK ST NEW BERN NC 28562
CITY OF NEW BERN PAYMENTS           303 POLLOCK ST NEW BERN NC 28563
CITY OF NEW BERN PAYMENTS           304 POLLOCK ST NEW BERN NC 28564
CITY OF NEW BERN PAYMENTS           305 POLLOCK ST NEW BERN NC 28565
CITY OF NEW BERN PAYMENTS           306 POLLOCK ST NEW BERN NC 28566
CITY OF NEW SMYRNA BEACH            210 SAMS AVE NEW SMYRNA BEACH FL 32168
CITY OF NEW SMYRNA BEACH            211 SAMS AVE NEW SMYRNA BEACH FL 32169
CITY OF NEW SMYRNA BEACH            212 SAMS AVE NEW SMYRNA BEACH FL 32170
CITY OF NEW SMYRNA BEACH            213 SAMS AVE NEW SMYRNA BEACH FL 32171
CITY OF NEWTON                      1000 COMMONWEALTH AVE NEWTON CENTRE MA 02459
CITY OF NEWTON                      1001 COMMONWEALTH AVE NEWTON CENTRE MA 02460
CITY OF NEWTON                      ATTN: PROPERTY TAX DEPT. PO BOX 9137 NEWTON MA 02460-9137
CITY OF NORMAN                      201 W GRAY ST NORMAN OK 73069
CITY OF NORMAN                      202 W GRAY ST NORMAN OK 73070
CITY OF NORMAN                      P.O. BOX 5599 NORMAN OK 73070-5599
CITY OF NORMAN                      203 W GRAY ST NORMAN OK 73071
CITY OF NORMAN                      204 W GRAY ST NORMAN OK 73072
CITY OF NORMAN                      205 W GRAY ST NORMAN OK 73073
CITY OF NORMAN                      206 W GRAY ST NORMAN OK 73074
CITY OF NORTH AUGUSTA               100 GEORGIA AVE NORTH AUGUSTA SC 29841
CITY OF NORTH AUGUSTA               101 GEORGIA AVE NORTH AUGUSTA SC 29842
CITY OF NORTH AUGUSTA               102 GEORGIA AVE NORTH AUGUSTA SC 29843
CITY OF NORTH AUGUSTA               100 GEORGIA AVE PO BOX 6400 NORTH AUGUSTA SC 29861
CITY OF NORTH LAS VEGAS             2250 LAS VEGAS BLVD NORTH STE 110 NORTH LAS VEGAS NV 89030
CITY OF NORTH LAS VEGAS             2250 LAS VEGAS BOULEVARD NORTH NORTH LAS VEGAS NV 89030
CITY OF NORTH LAS VEGAS             2251 LAS VEGAS BOULEVARD NORTH NORTH LAS VEGAS NV 89031
CITY OF NORTH LAUDERDALE            701 SOUTHWEST 71ST AVE NORTH LAUDERDALE FL 33068
CITY OF NORTH LAUDERDALE            ATTN: COMMUNITY DEVEL. DEPT 701 SW 71ST AVE NORTH LAUDERDALE FL 33068
CITY OF NORTH LAUDERDALE            704 SOUTHWEST 71ST AVE NORTH LAUDERDALE FL 33071
CITY OF NORTH MIAMI                 P.O. BOX 31489 TAMPA FL 33631-3489
CITY OF NORTH MIAMI                 776 NE 125 ST NORTH MIAMI FL 33161
CITY OF NORTH MIAMI                 777 NE 125 ST NORTH MIAMI FL 33162
CITY OF NORTH MIAMI BEACH           17011 NE 19TH AVE N MIAMI BEACH FL 33162
CITY OF NORTH MIAMI BEACH           TAX PROCESSING CENTER 17050 NE 19 AVE MIAMI FL 33162
CITY OF NORTH MIAMI BEACH           17012 NE 19TH AVE N MIAMI BEACH FL 33163
CITY OF NORTH MIAMI BEACH           17013 NE 19TH AVE N MIAMI BEACH FL 33164
CITY OF NORTH MIAMI BEACH           17014 NE 19TH AVE N MIAMI BEACH FL 33165
CITY OF NORTH MIAMI BEACH           17015 NE 19TH AVE N MIAMI BEACH FL 33166
CITY OF NORTH MYRTLE BEACH          1018 2ND AVE SOUTH NORTH MYRTLE BEACH SC 29582
CITY OF NORTH MYRTLE BEACH          UTILITY BILLING 1016 2ND AVE. SOUTH NORTH MYRTLE BEACH SC 29582



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CITY OF NORTH MYRTLE BEACH          1019 SECOND AVENUE SOUTH NORTH MYRTLE BEACH SC 29583
CITY OF NORTH MYRTLE BEACH          1020 SECOND AVENUE SOUTH NORTH MYRTLE BEACH SC 29584
CITY OF NORTH MYRTLE BEACH          1021 SECOND AVENUE SOUTH NORTH MYRTLE BEACH SC 29585
CITY OF NORTH MYRTLE BEACH          1022 SECOND AVENUE SOUTH NORTH MYRTLE BEACH SC 29586
CITY OF NORTH MYRTLE BEACH          1023 SECOND AVENUE SOUTH NORTH MYRTLE BEACH SC 29587
CITY OF NORTH MYRTLE BEACH          1024 SECOND AVENUE SOUTH NORTH MYRTLE BEACH SC 29588
CITY OF NORTHAMPTON                 PO BOX 4121 WOBURN MA 01888-4121
CITY OF NORTHLAKE                   55 E NORTH AVE NORTHLAKE IL 60164
CITY OF NORTHLAKE                   DEPT OF BUILDING & INSPECTIONAL SVCS 55 E NORTH AVE NORTHLAKE IL 60164
CITY OF NORTHLAKE                   56 E NORTH AVE NORTHLAKE IL 60165
CITY OF NORTON SHORES               4814 HENRY ST NORTON SHORES MI 49441
CITY OF NORTON SHORES               DEPT OF PUBLIC WORKS DIV OF WATER & SEWER 4814 HENRY ST NORTON SHORES MI
                                    49441-3509
CITY OF NORTON SHORES               4815 HENRY ST NORTON SHORES MI 49442
CITY OF OAK RIDGE                   P.O. BOX 4189 OAK RIDGE TN 37831-4189
CITY OF OAK RIDGE NORTH             ATTN: BUILDING DEPT 27424 ROBINSON RD CONROE TX 77385-8957
CITY OF OAKBROOK TERRACE            17 W 275 BUTTERFIELD RD OAKBROOK TERRACE IL 60181
CITY OF OCALA                       110 SE WATULA AVE OCALA FL 34471
CITY OF OCALA                       201 SE 3RD ST OCALA FL 34471-2174
CITY OF OCALA                       111 SE WATULA AVE OCALA FL 34472
CITY OF OCALA                       112 SE WATULA AVE OCALA FL 34473
CITY OF OCALA                       113 SE WATULA AVE OCALA FL 34474
CITY OF OCALA                       114 SE WATULA AVE OCALA FL 34475
CITY OF OCALA                       115 SE WATULA AVE OCALA FL 34476
CITY OF OCALA                       116 SE WATULA AVE OCALA FL 34477
CITY OF OCALA                       117 SE WATULA AVE OCALA FL 34478
CITY OF OCALA                       118 SE WATULA AVE OCALA FL 34479
CITY OF OCALA                       119 SE WATULA AVE OCALA FL 34480
CITY OF OCALA                       120 SE WATULA AVE OCALA FL 34481
CITY OF OCEANSIDE                   300 N. COAST HIGHWAY OCEANSIDE CA 92054
CITY OF OCEANSIDE                   300 NORTH COAST HWY OCEANSIDE CA 92054
CITY OF OCEANSIDE                   301 NORTH COAST HWY OCEANSIDE CA 92055
CITY OF OFALLON WATER DEPT          255 S LINCOLN AVE O FALLON IL 62269-2139
CITY OF OFALLON WATER DEPT          100 NORTH MAIN ST OFALLON MO 63366
CITY OF OFALLON WATER DEPT          101 NORTH MAIN ST OFALLON MO 63367
CITY OF OKLAHOMA CITY               POLICE DEPT- PERMIT & ID SECTION PO BOX 268837 OKLAHOMA CITY OK 73126-8837
CITY OF OLYMPIA                     OLYMPIA CITY HALL 601 4TH AVE EAST OLYMPIA WA 98507-1967
CITY OF OLYMPIA                     CITY TREASURER PO BOX 2009 OLYMPIA WA 98507-2009
CITY OF OLYMPIA                     ACCOUNTS RECEIVABLE PO BOX 7966 OLYMPIA WA 98507-7966
CITY OF OLYMPIA UTIL BILLING        OLYMPIA CITY HALL 602 4TH AVE EAST OLYMPIA WA 98507-1968
CITY OF OLYMPIA UTIL BILLING        OLYMPIA CITY HALL 603 4TH AVE EAST OLYMPIA WA 98507-1969
CITY OF OREGON DIV OF WATER         5330 SEAMAN ROAD OREGON OH 43616-2633
CITY OF OREM                        56 N STATE ST OREM UT 84057
CITY OF OREM                        ADMINISTRATIVE SERVICES DEPT 56 N STATE ST OREM UT 84057
CITY OF OREM                        58 N STATE ST OREM UT 84059
CITY OF ORMOND BEACH                22 S BEACH ST RM 104 ORMOND BEACH FL 32174
CITY OF ORMOND BEACH                22 SOUTH BEACH ST ORMOND BEACH FL 32174
CITY OF ORMOND BEACH                23 SOUTH BEACH ST ORMOND BEACH FL 32175
CITY OF ORMOND BEACH                24 SOUTH BEACH ST ORMOND BEACH FL 32176



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Claim Name                           Address Information
CITY OF OSHKOSH                      ATTN: PROPERTY TAX DEPT. P.O. BOX 1128 OSHKOSH WI 54903-1128
CITY OF OSHKOSH                      215 CHURCH AVE PO BOX 1130 OSHKOSH WI 54903-1130
CITY OF OXFORD                       107 COURTHOUSE SQUARE OXFORD MS 38655
CITY OF OXFORD                       ELECTRIC DEPARTMENT P.O. BOX 965 CITY OF OXFORD MS 38655
CITY OF OXFORD                       UTILITY DEPT MUNICIPAL BLDG, 15 S COLLEGE AVE OXFORD MS 38655
CITY OF PALM COAST                   UTILITY DEPT 2 UTILITY DRIVE PALM COAST FL 32137-7366
CITY OF PALO ALTO UTILITIES          P.O. BOX 7026 SAN FRANCISCO CA 94120-7026
CITY OF PANAMA CITY                  UTILITY SERVICE DEPARTMENT P.O. BOX 2487 PANAMA CITY FL 32402-2487
CITY OF PASADENA                     1114 DAVIS PASADENA TX 77056
CITY OF PEARLAND                     P.O. BOX 206022 DALLAS TX 75320-6022
CITY OF PEMBROKE PINES               P.O. BOX 269005 PEMBROKE PINES FL 33026
CITY OF PENSACOLA                    PO BOX 12910 PENSACOLA FL 32521-0015
CITY OF PERU                         PUBLIC WORKS DEPT 1901 4TH ST PERU IL 61354
CITY OF PERU                         P.O. BOX 299 PERU IL 61354-0299
CITY OF PHILADELPHIA                 DEPT OF REVENUE PO BOX 8409 PHILADELPHIA PA 19101-8409
CITY OF PHOENIX                      WATER SERVICES 200 W WASHINGTON ST PHOENIX AZ 85003
CITY OF PHOENIX                      P.O. BOX 29100 PHOENIX AZ 85038-9100
CITY OF PINELLAS PARK                6051 78TH AVE N PINELLAS PARK FL 33781
CITY OF PLANT CITY                   BUSINESS TAX DIVISION PO BOX C PLANT CITY FL 33564-9003
CITY OF POCATELLO                    P.O. BOX 4169 POCATELLO ID 83205
CITY OF POMPANO BEACH                P.O. BOX 1300 POMPANO BEACH FL 33061
CITY OF PORT ORANGE                  UTILITY CUSTOMER SERVICE 1000 CITY CENTER CIRCLE PORT ORANGE FL 32129-4144
CITY OF PORT RICHEY                  BUSINESS TAX RECPT DEPT 6333 RIDGE RD PORT RICHEY FL 34668
CITY OF PORT ST LUCIE                P.O. DRAWER 8987 PORT ST LUCIE FL 34985-8987
CITY OF PORTAGE                      7900 S WESTNEGE AVE PORTAGE MI 49002
CITY OF PORTERVILLE                  291 NORTH MAIN ST PORTERVILLE CA 93257-3737
CITY OF PORTLAND                     P.O. BOX 4216 PORTLAND OR 97208-4216
CITY OF PORTSMOUTH                   P.O. BOX 6660 PORTSMOUTH NH 03802-6660
CITY OF PRATTVILLE                   PRATTVILLE WATER WORKS 114 E MAIN ST PRATTVILLE AL 36067
CITY OF PRATTVILLE                   ATTN: SALES & USE TAX DEPT. PO BOX 680190 PRATTVILLE AL 36068
CITY OF PRESCOTT                     UTILITIES - SUNDOG WWTP 1500 SUNDOG RANCH RD PRESCOTT AZ 86302
CITY OF PRESCOTT                     UTILITIES - WATER OPERATIONS 1481 SUNDOG RANCH RD PRESCOTT AZ 86302
CITY OF PRESCOTT                     UTILITY BILLING 201 S CORTEZ PRESCOTT AZ 86302
CITY OF PRESCOTT                     SALES TAX DEPT PO BOX 2077 PRESCOTT AZ 86302-2077
CITY OF PRESCOTT                     SOLID WASTE ADMIN 201 S CORTEZ PRESCOTT AZ 86303
CITY OF PUYALLUP                     SEATTLE HILL ROAD P.O. BOX 35160 SEATTLE WA 98124-5160
CITY OF QUINCY                       DEPT OF UTILITIES 730 MAINE ST QUINCY IL 62301-4053
CITY OF RALEIGH                      PO BOX 590 RALEIGH NC 27602-0590
CITY OF RANCHO CUCAMONGA             10500 CIVIC CENTER DR RANCHO CUCAMONGA CA 91730
CITY OF REDDING                      PO BOX 496071 REDDING CA 96049
CITY OF REDMOND                      411 SW 9TH ST REDMOND OR 97756
CITY OF REDWOOD CITY                 PUBLIC WORKS DEPT 1017 MIDDLEFIELD RD REDWOOD CITY CA 94063
CITY OF REDWOOD CITY                 PO BOX 3629 REDWOOD CITY CA 94064-3629
CITY OF REVERE                       COLLECTOR OF TAXES 281 BROADWAY REVERE MA 02151-5027
CITY OF REVERE TAX COLLECTOR         UPDATED 281 BROADWAY REVERE MA 02151-5027
CITY OF RICHARDSON                   P.O. BOX 831907 411 W ARAPAHO RICHARDSON TX 50863
CITY OF RICHARDSON                   UPDATED 411 W ARAPAHO RICHARDSON TX 75080-4551
CITY OF RICHLAND                     505 SWIFT BLVD RICHLAND WA 50994-2739
CITY OF RICHLAND                     P.O. BOX 34811 SEATTLE WA 98124-1811



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Claim Name                         Address Information
CITY OF RICHMOND                   C/O FINANCE DEPARTMENT PO BOX 1268 RICHMOND KY 40476-1268
CITY OF RIFLE                      ATTN: SALES & USE TAX DEPT. PO BOX 1908 RIFLE CO 81650
CITY OF RIVERSIDE PUBLIC UTIL      3901 ORANGE ST RIVERSIDE CA 92501
CITY OF RIVERSIDE PUBLIC UTIL      3900 MAIN STREET RIVERSIDE CA 92522-0144
CITY OF ROCK HILL                  PO BOX 63039 CHARLOTTE NC 28263-3039
CITY OF ROCKY MOUNT                PUBLIC UTITLITIES 331 S FRANKLIN ST ROCKY MOUNT NC 27802
CITY OF ROCKY MOUNT                P.O. BOX 1180 ROCKY MOUNT NC 27802-1180
CITY OF ROHNERT PARK               UPDATED UTILITY DEPT, 130 AVRAM AVE ROHNERT PARK CA 94927
CITY OF ROHNERT PARK               UTILITY DEPT 130 AVRAM AVE ROHNERT PARK CA 94927
CITY OF ROSEVILLE                  2660 CIVIC CENTER DR ROSEVILLE MN 55113
CITY OF RUTLAND                    1 STRONGS AVE RUTLAND VT 05702
CITY OF RUTLAND                    CITY HALL PO BOX 969 RUTLAND VT 05702-0969
CITY OF SALISBURY                  132 N MAIN ST SALISBURY NC 28144
CITY OF SALISBURY                  UPDATED 132 N MAIN ST SALISBURY NC 28144
CITY OF SAN ANGELO WATER           P.O. BOX 5820 SAN ANGELO TX 76902-5820
CITY OF SAN ANGELO WATER           CITY HALL ANNEX, FIRST FL 301 W BEAUREGARD AVE SAN ANGELO TX 76903
CITY OF SAN BERNARDINO MUN WTR     P.O. BOX 710 SAN BERNARDINO CA 92402-0710
CITY OF SAN BERNARDINO MUN WTR     1350 SOUTH E STREET SAN BERNARDINO CA 92408
CITY OF SAN DIEGO CITY TREASUR     P.O. BOX 129020 SAN DIEGO CA 92112-9020
CITY OF SAN MARCOS                 UTILITY BILLING/ COLLECTIONS DE 636 E HOPKINS ST. SAN MARCOS TX 78666-6314
CITY OF SANFORD                    300 N PARK AVE SANFORD FL 32771
CITY OF SANFORD                    P.O. BOX 2847 SANFORD FL 32772
CITY OF SANTA CLARA                1500 WARBURTON AVE SANTA CLARA CA 95050
CITY OF SANTA CLARA                UPDATED 1500 WARBURTON AVE SANTA CLARA CA 95050
CITY OF SANTA CRUZ MUNIE UTIL      212 LOCUST ST STE D SANTA CRUZ CA 95060
CITY OF SANTA CRUZ MUNIE UTIL      P.O. BOX 682 SANTA CRUZ CA 95061-0682
CITY OF SANTA ROSA                 ALARM PERMITS 965 SONOMA AVE SANTA ROSA CA 95404
CITY OF SANTA ROSA                 WATER DEPT SANTA ROSA CITY HALL, 100 SANTA ROSA AVE SANTA ROSAA CA 95404
CITY OF SCHENECTADY                105 JAY STREET SCHENECTADY NY 12305
CITY OF SCHENECTADY                UPDATED 105 JAY STREET SCHENECTADY NY 12305
CITY OF SCOTTSDALE                 P.O. BOX 52799 PHOENIX AZ 85072-2799
CITY OF SEATTLE                    600 FOURTH AVE SEATTLE WA 98104
CITY OF SEATTLE                    PO BOX 35178 SEATTLE WA 98124-5178
CITY OF SEBRING                    LOCAL BUSINESS TAX 368 S. COMMERCE AVE. SEBRING FL 33870
CITY OF SEGUIN                     UPDATED UTILITIES BILLING,205 N RIVER SEGUIN TX 78155
CITY OF SEGUIN                     UTILITIES BILLING 205 N RIVER SEGUIN TX 78155
CITY OF SEVIERVILLE                120 GARY WADE BLVD SEVIERVILLE TN 37862
CITY OF SEVIERVILLE                UPDATED 120 GARY WADE BLVD SEVIERVILLE TN 37862
CITY OF SHENANDOAH                 29955- I-45 NORTH SHENANODOAH TX 77381-1195
CITY OF SHREVEPORT                 WATER & SEWERAGE 505 TRAVIS ST, STE 580 SHREVEPORT LA 71101
CITY OF SHREVEPORT                 P.O. BOX 30065 SHREVEPORT LA 71153-5510
CITY OF SIERRA VISTA               P.O. BOX 52413 PHOENIX AZ 85072-2413
CITY OF SIERRA VISTA               1011 N CORONADO DR SIERRA VISTA AZ 85635
CITY OF SIERRA VISTA               401 GIULIO CESARE AVE. SIERRA VISTA AZ 85635
CITY OF SLIDELL                    PUBLIC UTILITIES SLIDELL CITY HALL, 2055 SECOND ST SLIDELL LA 70458
CITY OF SLIDELL                    P.O. BOX 828 SLIDELL LA 70459
CITY OF SOUTH JORDAN               1600 W TOWNE CENTER DR SOUTH JORDAN UT 84095
CITY OF SOUTHAVEN                  8710 NORTHWEST DR SOUTHHAVEN MS 38671-2410
CITY OF SOUTHAVEN                  UPDATED 8710 NORTHWEST DR SOUTHHAVEN MS 38671-2410



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Claim Name                           Address Information
CITY OF SOUTHLAKE WATER UTIL         1400 MAINT ST SUITE 200 SOUTHLAKE TX 76092-7640
CITY OF SOUTHLAKE WATER UTIL         UPDATED 1400 MAINT ST SUITE 200 SOUTHLAKE TX 76092-7640
CITY OF SPARKS                       P.O. BOX 857 SPARKS NV 89432-0857
CITY OF SPARKS                       UPDATED 808 W SPOKANE FALLS BLVD SPOKANE WA 99256-0001
CITY OF SPOKANE                      808 W SPOKANE FALLS BLVD SPOKANE WA 99256-0001
CITY OF SPOKANE                      ATTN: PROPERTY TAX DEPT. 808 W SPOKANE FALLS BLVD SPOKANE WA 99256-0001
CITY OF SPOKANE                      UPDATED 808 W SPOKANE FALLS BLVD SPOKANE WA 99256-0001
CITY OF SPRING HILL                  BUSINESS TAX OFFICE PO BOX 789 SPRING HILL TN 37174-0789
CITY OF ST AUGUSTINE                 50 BRIDGE ST SAINT AUGUSTINE FL 32084-4334
CITY OF ST AUGUSTINE                 UPDATED 50 BRIDGE ST SAINT AUGUSTINE FL 32084-4334
CITY OF ST CHARLES                   200 N 2ND ST SAINT CHARLES MO 63301-2891
CITY OF ST CHARLES                   UPDATED 200 N 2ND ST SAINT CHARLES MO 63301-2891
CITY OF ST CHARLES MISSOURI          UPDATED 200 NORTH SECOND STREET ST. CHARLES MO 63301
CITY OF ST CLOUD                     P.O. BOX 31304 TAMPA FL 33631-3304
CITY OF ST GEORGE                    175 E 200 N ST GEORGE UT 84770
CITY OF ST JOSEPH UTIL BILLING       1100 FREDERICK AVE ST JOSEPH MO 64501
CITY OF ST JOSEPH UTILITY BILLING    P.O. BOX 411458 KANSAS CITY MO 64141-1458
CITY OF ST PETERS                    ONE ST PETERS CENTRE BLVD SAINT PETERS MO 63376
CITY OF ST PETERS                    UPDATED ONE ST PETERS CENTRE BLVD SAINT PETERS MO 63376
CITY OF ST PETERSBURG                SANITATION 175 FIFTH ST N ST PETERSBURG FL 33701
CITY OF ST PETERSBURG                P.O. BOX 33034 ST. PETERSBURG FL 33733-8034
CITY OF STAMFORD WPCA                111 HARBOR VIEW AVE, BLDG 11 STAMFORD CT 06902
CITY OF STAMFORD WPCA                P.O. BOX 8063 BRIDGEPORT CT 06601-4063
CITY OF STATESVILLE                  P.O. BOX 1111 STATESVILLE NC 28687
CITY OF STILLWATER                   P.O. BOX 1449 STILLWATER OK 61449
CITY OF STOCKTON                     P.O. BOX 2590 OMAHA NE 68103-2590
CITY OF SUMTER                       P.O. BOX 310 SUMTER SC 29151-0310
CITY OF SUNNYVALE                    456 W OLIVE AVE SUNNYVALE CA 94086
CITY OF SUNNYVALE                    PO BOX 3707 SUNNYVALE CA 94088-3707
CITY OF SUNRISE                      P.O. BOX 31432 TAMPA FL 33631-3432
CITY OF SURPRISE                     P.O. BOX 29078 PHOENIX AZ 85038-9078
CITY OF TACOMA                       747 MARKET ST TACOMA WA 98402
CITY OF TACOMA                       FINANCE DEPT/ TAX & LICENSE DIV PO BOX 11640 TACOMA WA 98411-6640
CITY OF TALLAHASSEE                  C/O REVENUE DIVISION BOX A-4 300 S ADAMS ST TALLAHASSEE FL 32301
CITY OF TAMPA UTILITIES              306 E JACKSON ST TAMPA FL 33602
CITY OF TAMPA UTILITIES              P.O. BOX 30191 TAMPA FL 33630-3191
CITY OF TARPON SPRINGS               324 E. PINE ST. TARPON SPRINGS FL 34689-4004
CITY OF TEMPE                        TAX & LICENSE DIVISION PO BOX 5002 TEMPE AZ 85280
CITY OF TEMPLE                       P.O. BOX 878 TEMPLE TX 76503-0878
CITY OF THE DALLES CITY HALL         THE DALLES CITY HALL 313 COURT ST THE DALLES OR 97058
CITY OF THE DALLES CITY HALL         P.O. BOX 1790 THE DALLES OR 97058-8008
CITY OF TITUSVILLE                   ATTN: BUSINESS TAX PO BOX 2806 TITUSVILLE FL 32781
CITY OF TOLEDO                       DEPT OF PUBLIC UTILITIES PO BOX 10017 TOLEDO OH 43699-0017
CITY OF TOMBALL                      501 JAMES TOMBALL TX 77375
CITY OF TOPEKA                       P.O. BOX 3566 TOPEKA KS 66601-3566
CITY OF TROY                         UTILITY BILLING 100 S MARKET ST TROY OH 45373-3376
CITY OF TUCSON                       LICENSE SECTION P.O. BOX 27210 TUCSON AZ 85726-7210
CITY OF TUKWILA                      6200 SOUTHCENTER BLVD. TUKWILA WA 98188
CITY OF TURLOCK                      BUSINESS LICENSE 156 S BROADWAY STE 114 TURLOCK CA 95380-5456



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Claim Name                           Address Information
CITY OF TWIN FALLS                   UTLILTY DEPT 103 MAIN AVE E TWIN FALLS ID 83301
CITY OF TWIN FALLS                   P.O. BOX 2469 TWIN FALLS ID 83303-2469
CITY OF TYLER                        WATER BUSINESS OFFICE 511 W LOCUST TYLER TX 75702
CITY OF TYLER                        P.O. BOX 336 TYLER TX 75710
CITY OF UNIVERSITY PARK              PO BOX 650823 DEP 41363 DALLAS TX 75265-0823
CITY OF VALDOSTA                     ATTN: BUSINESS LICENSE OFFICE P.O. BOX 1125 VALDOSTA GA 31603-1125
CITY OF VALLEJO                      555 SANTA CLARA ST VALLEJO CA 94590
CITY OF VERO BEACH                   1053 20TH PL VERO BEACH FL 32960
CITY OF VERO BEACH UTILITIES         1053 20TH PL VERO BEACH FL 32960
CITY OF VERO BEACH UTILITIES         P.O. BOX 1180 VERO BEACH FL 32961-1180
CITY OF VICTORVILLE                  PO BOX 5001 VICTORVILLE CA 92392
CITY OF VICTORVILLE                  14343 CIVIC DR VICTORVILLE CA 92393-5001
CITY OF VIRGINIA BEACH               MUNCIPAL CENTER-BLDG 1 2401 COURTHOUSE DR VIRGINIA BEACH VA 23456-9018
CITY OF VISALIA                      BUSINESS LICENSE DIVISION PO BOX 4002 VISALIA CA 93278
CITY OF WAITE PARK                   PO BOX 339 WAITE PARK MN 56387
CITY OF WARNER ROBINS                202 N. DAVIS DRIVE PMB 718 WARNER ROBINS GA 31093
CITY OF WARRENTON                    225 S MAIN ST WARRENTON OR 97146
CITY OF WARRENTON                    ATTN: UTILITIES RECEIVABLE P.O. BOX 250 WARRENTON OR 97146-0250
CITY OF WATSONVILLE UTILITIES        250 MAIN ST WATSONVILLE CA 95076
CITY OF WATSONVILLE UTILITIES        P.O. BOX 149 WATSONVILLE CA 95077-0149
CITY OF WAUWATOSA WATER              BIN 88445 MILWAUKEE WI 53288-0445
CITY OF WAYCROSS                     417 PENDLETON ST WAYCROSS GA 31502-0099
CITY OF WAYCROSS                     PO DRAWER 99 WAYCROSS GA 31502-0099
CITY OF WEATHERFORD                  303 PALO PINTO ST WEATHERFORD TX 76086
CITY OF WEATHERFORD                  P.O. BOX 255 WEATHERFORD TX 76086-0255
CITY OF WEBSTER                      101 PENNSYLVANIA AVE. WEBSTER TX 77598
CITY OF WEST ALLIS                   UPDATED WATER/SEWER UTILITY BILLING,7525 W GREEN WEST ALLIS WI 53214-4648
CITY OF WEST ALLIS                   WATER/SEWER UTILITY BILLING 7525 W GREENFIELD AVE WEST ALLIS WI 53214-4648
CITY OF WEST JORDAN                  8000 S REDWOOD RD WEST JORDAN UT 84088
CITY OF WEST JORDAN                  UPDATED UTILITY BILLING, 8000 S REDWOOD RD WEST JORDAN UT 84088
CITY OF WEST MELBOURNE               C/O BUSINESS TAX RECEIPTS PO BOX 120009 WEST MELBOURNE FL 32912-0009
CITY OF WEST PALM BEACH              401 CLEMATIS ST WEST PALM BEACH FL 33401
CITY OF WEST PALM BEACH              CONSTRUCTION SERVICE DEPT 401 CLEMATIS ST WEST PALM BEACH FL 33401
CITY OF WESTMINSTER                  4800 W 92ND AVE WESTMINSTER CO 80031
CITY OF WESTMINSTER                  ATTN: SALES & USE TAX DEPT. PO BOX 17107 DENVER CO 80217-7107
CITY OF WHEATON                      303 W WESLEY ST WHEATON IL 60187
CITY OF WHEATON                      PO BOX 727 WHEATON IL 60187
CITY OF WHITEVILLE                   P.O. BOX 607 WHITEVILLE NC 28472
CITY OF WICHITA                      P.O. BOX 2922 WICHITA KS 67201-2922
CITY OF WICHITA FALLS                1300 7TH ST WICHITA FALLS TX 76301
CITY OF WICHITA FALLS                P.O. BOX 1440 WICHITA FALLS TX 76307-7532
CITY OF WILDWOOD                     UTILITY DEPT 100 N MAIN STREET WILDWOOD FL 34785-4047
CITY OF WILDWOOD WATER UTILITY       4400 NEW JERSEY AVENUE WILDWOOD NJ 08260
CITY OF WILSON                       ELECTRIC 1800 HERRING AVE WILSON NC 27894
CITY OF WILSON                       GAS 1800 HERRING AVE WILSON NC 27894
CITY OF WILSON                       PO BOX 10 WILSON NC 27894
CITY OF WILSON                       WATER RESOURCES 208 NASH ST NE WILSON NC 27894
CITY OF WILSON                       WILSON ENERGY 1800 HERRING AVE WILSON NC 27894
CITY OF WILSONVILLE                  TRANSIT TAX DEPT PO BOX 765 WILSONVILLE OR 97070



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Claim Name                             Address Information
CITY OF WINDCREST                      8601 MIDCROWN WINDCREST TX 78239
CITY OF WINDCREST                      UPDATED 8601 MIDCROWN WINDCREST TX 78239
CITY OF WINDER                         35 E MIDLAND AVE WINDER GA 30680
CITY OF WINDER                         45 EAST ATHENS STREET P.O. BOX 568 WINDER GA 30680
CITY OF WINSTON SALEM                  UTILITIES 101 N MAIN ST WINSTON-SALEM NC 27102
CITY OF WINSTON-SALEM                  REVENUE DIV. 100 E FIRST ST, STE 121 WINSTON-SALEM NC 27101
CITY OF WINSTON-SALEM                  REVENUE DIV. P.O. BOX 580055 CHARLOTTE NC 28258-0055
CITY OF WINTER GARDEN                  300 W PLANT ST WINTER GARDEN FL 34787-2769
CITY OF WINTER GARDEN                  UPDATED 300 W PLANT ST WINTER GARDEN FL 34787-2769
CITY OF WINTER HAVEN                   490 THIRD STREET NW WINTER HAVEN FL 33881
CITY OF WINTER PARK                    TRASH 401 S PARK AVE WINTER PARK FL 32789
CITY OF WINTER PARK                    ATTN: SALES & USE TAX DEPT. P.O. BOX 1986 WINTER PARK FL 32790-1986
CITY OF WOOD VILLAGE                   2055 NE 238TH DRIVE WOOD VILLAGE OR 97060
CITY OF WOOD VILLAGE                   UPDATED 2055 NE 238TH DRIVE WOOD VILLAGE OR 97060
CITY OF WOODBURY                       8301 VALLEY CREEK RD. WOODBURY MN 55125
CITY OF WOODBURY                       PUBLIC WORKS 2301 TOWER DR WOODBURY MN 55125
CITY OF WOODSTOCK                      ATTN: WATER DEPARTMENT 12453 HIGHWAY 92 WOODSTOCK GA 30188-3698
CITY OF WORCESTER                      SEWER 76 E WORCESTER ST WORCESTER MA 01604
CITY OF WORCESTER                      PO BOX 15602 WORCESTER MA 01615-0602
CITY OF YAKIMA                         WASTEWATER DEPT 2220 E VIOLA YAKIMA WA 98901
CITY OF YAKIMA                         P.O. BOX 22720 YAKIMA WA 98907-2720
CITY OF YONKERS                        DEPT 116021 P.O. BOX 5211 BINGHAMTON NY 13902-5211
CITY OF YUKON                          TERRI PEAK- UTILITY BILLING DEPT. P.O. BOX 850500 YUKON OK 73085-0500
CITY OF YUKON                          PUBLIC WORKS 1035 INDUSTRIAL DR YUKON OK 73099
CITY OF YUKON                          SANITATION SERVICES 501 ASH AVE YUKON OK 73099
CITY OF ZILWAUKEE                      319 TITTABAWASEE SAGINAW MI 48604
CITY OF ZILWAUKEE                      UPDATED 319 TITTABAWASEE SAGINAW MI 48604
CITY TREASURER                         55 W CHURCH ST MARTINSVILLE VA 24112
CITY TREASURER                         P.O. BOX 1023 MARTINSVILLE VA 24114-1023
CITY UTILITIES                         505 E NORTH AVE CAROL STREAM IL 60188
CITY UTILITIES                         P.O. BOX 4632 CAROL STREAM IL 60197-4632
CITY UTILITIES                         301 E CENTRAL ST SPRINGFIELD MO 65802
CITY UTILITIES OF SPRINGFIELD          P.O. BOX 551 SPRINGFIELD MO 65801
CITY WATER & LIGHT                     400 E MONROE AVE JONESBORO AR 72401
CITY WATER & LIGHT                     P.O. BOX 1289 JONESBORO AR 72403-1289
CITY WATER LIGHT & POWER               CASHIERS OFFICE MUNICIPAL CENTER WEST SPRINGFIELD IL 62757-0001
CLACKAMAS RIVER WATER                  P.O. BOX 3277 PORTLAND OR 97208-3277
CLALLAM COUNTY PUD                     P.O. BOX 1000 CARLSBORG WA 98324-1000
CLALLAM COUNTY PUD                     104 HOOKER RD SEQUIM WA 98382
CLARK PUBLIC UTILITIES                 8600 NE 117TH AVE VANCOUVER WA 98668
CLARK PUBLIC UTILITIES                 P.O. BOX 8989 VANCOUVER WA 98668
CLARKSVILLE DEPT OF ELECTRIC           2021 WILMA RUDOLPH BLVD CLARKSVILLE TN 37040
CLARKSVILLE DEPT OF ELECTRIC           P.O. BOX 31449 CLARKSVILLE TN 37040-0025
CLARKSVILLE DISPOSAL LLC - DIST 6034   P.O. BOX 660177 DALLAS TX 75266-0177
CLARKSVILLE GAS & WATER                2215 MADISON ST CLARKSVILLE TN 37043
CLARKSVILLE GAS & WATER DEPT.          P.O. BOX 31329 CLARKSVILLE TN 37040-0023
CLAY COUNTY UTILITY AUTHORITY          3176 OLD JENNINGS RD. MIDDLEBURG FL 32068
CLAY COUNTY UTILITY AUTHORITY          UPDATED 3176 OLD JENNINGS RD. MIDDLEBURG FL 32068
CLAY ELECTRIC COOP INC                 P.O. BOX 308 KEYSTONE HEIGHTS FL 32656-0308



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Claim Name                         Address Information
CLAYTON COUNTY WATER AUTH          1600 BATTLE CREEK RD MORROW GA 30260-4302
CLAYTON COUNTY WATER AUTH          P.O. BOX 117195 ATLANTA GA 30368-7195
CLECO POWER LLC                    P.O. BOX 660228 DALLAS TX 75266-0228
CLERMONT COUNTY WTR RESOURCES      LOCATION 00515 CINCINNATI OH 45264-0001
CLEVELAND UTILITIES                2450 GUTHRIE AVE NW CLEVELAND TN 37311
CLEVELAND UTILITIES                P.O. BOX 2730 CLEVELAND TX 37320-2730
CLINTON CITY CORP                  ATTN: PROPERTY TAX DEPT. 2267 NORTH 1500 WEST CLINTON UT 84015
CLINTON CITY CORP                  PUBLIC WORKS DEPT - WATER 1711 W 1740 NORTH CLINTON UT 84015
CLINTON CITY CORP                  SEWER DEPT 2267 N 1500 W CLINTON CITY UT 84015
CLPF MARKETPLACE LLC               P.O. BOX 32038 NEW YORK NY 10087-9468
CLPF MARKETPLACE LLC               230 PARK AVE 12TH FL NEW YORK NY 10169
COACHELLA VALLEY WATER DISTRICT    P.O. BOX 5000 COACHELLA CA 92236-5000
COBB COUNTY WATER SYSTEM           PO BOX 580440 CHARLOTTE NC 28258-0440
COBB EMC                           P.O. BOX 105082 ATLANTA GA 30348-5082
COLGATE PAPER STOCK CO. INC.       12 INDUSTRIAL DRIVE NEW BRUNSWICK NJ 08901
COLLEGE STATION UTILITIES          ELECTRIC SERVICES 1101 TEXAS AVE COLLEGE STATION TX 77840
COLLEGE STATION UTILITIES          TRASH & RECYCLING 1101 TEXAS AVE COLLEGE STATION TX 77840
COLLEGE STATION UTILITIES          WATER SERVICES DEPT 1101 TEXAS AVE COLLEGE STATION TX 77840
COLLEGE STATION UTILITIES          P.O. BOX 10230 COLLEGE STATION TX 77842-0230
COLLIER COUNTY UTILITIES           P.O. BOX 11809 NAPLES FL 34101-1809
COLORADO SPRINGS UTILITIES         PO BOX 340 COLORADO SPRINGS CO 80901
COLTON PUBLIC UTILITIES            P.O. BOX 1367 COLTON CA 92324-0831
COLUMBIA GAS OF KENTUCKY           C/O CORPORATION SERVICE CO 421 W MAIN ST FRANKFORT KY 40601
COLUMBIA GAS OF KENTUCKY           P.O. BOX 742523 CINCINNATI OH 45274
COLUMBIA GAS OF MA                 C/O CORPORATION SERVICE CO 7 ST PAUL ST, STE 820 BALTIMORE MD 21202
COLUMBIA GAS OF MA                 P.O. BOX 742519 CINCINNATI OH 42574-2519
COLUMBIA GAS OF MARYLAND           P.O. BOX 742519 CINCINNATI OH 45274-2519
COLUMBIA GAS OF OHIO               C/O CSC - LAWYERS INCORPORATING SERVICE 50 W BROAD ST, STE 1800 COLUMBUS OH
                                   43215
COLUMBIA GAS OF OHIO               P.O. BOX 742510 CINICINNATI OH 45274-2510
COLUMBIA GAS OF PENNSYLVANIA       C/O CORPORATION SERVICE CO 2595 INTERSTATE DR, STE 103 HARRISBURG PA 17110
COLUMBIA GAS OF PENNSYLVANIA       P.O. BOX 742537 CINCINNATI OH 45274-2537
COLUMBIA GAS OF VIRGINIA           1111 E MAIN ST, 16TH FL RICHMOND VA 23219
COLUMBIA GAS OF VIRGINIA INC.      P.O. BOX 742529 CINCINNATI OH 45274-2529
COLUMBIA POWER & WATER SYSTEMS     201 PICKENS LN COLUMBIA TN 38401
COLUMBIA POWER & WATER SYSTEMS     P.O. BOX 379 COLUMBIA TN 38402
COLUMBUS CITY TREASURER            P.O. BOX 182882 COLUMBUS OH 43218-2882
COLUMBUS CITY UTILITIES            P.O. BOX 1987 COLUMBUS IN 47202-1987
COLUMBUS LIGHT AND WATER DEPT      420 4TH AVE S COLUMBUS MS 39703-0949
COLUMBUS LIGHT AND WATER DEPT      P.O. BOX 22806 JACKSON MS 39225-2806
COLUMBUS WATER WORKS               P.O. BOX 1600 COLUMBUS GA 31902-1600
COMCAST                            P.O. BOX 3001 SOUTHEASTERN PA 19398
COMCAST                            500 S GRAVERS RD STE 3000 PLYMOUTH MEETING PA 19462
COMCAST                            P.O. BOX 37601 PHILADELPHIA PA 19101
COMCAST                            P.O. BOX 530098 ATLANTA GA 30353-0098
COMCAST                            P.O. BOX 660618 DALLAS TX 75266-0618
COMED                              P.O. BOX 6111 CAROL STREAM IL 60197-6111
COMMERCIAL REFUSE SERVICE - CO     725 23 1/2 ROAD GRAND JUNCTION CO 81502
COMMERCIAL REFUSE SERVICE - CO     P.O. BOX 3268 GRAND JUNCTION CO 81505



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COMMISSIONERS OF PUBLIC WORKS           P.O. BOX 549 GREENWOOD SC 29648
COMMUNITY WASTE DISPOSAL INC            2010 CALIFORNIA CROSSING DALLAS TX 75220
COMMUNITY WATER GREEN VALLEY            1501 S LA CANADA DR GREEN VALLEY AZ 85622-1600
COMPLETE SOLUTIONS & SOURCING INC.      P.O. BOX 461 MONTROSE NY 10548
COMPORIUM                               330 EAST BLACK STREET ROCK HILL SC 29730
COMPORIUM                               P.O. BOX 1042 ROCK HILL SC 29731-7042
CONNECTICUT NATURAL GAS CORP            ATTN JULIETTE MORLE 76 MEADOW ST EAST HARTFORD CT 06108
CONNECTICUT NATURAL GAS CORP            P.O. BOX 9245 CHELSEA MA 02150-9245
CONNEXUS ENERGY                         14601 RAMSEY BLVD RAMSEY MN 55303
CONNEXUS ENERGY                         P.O. BOX 1808 MINNEAPOLIS MN 55480-1808
CONRADS DISPOSAL INC.                   5176 WATERLOO ROAD ATWATER OH 44201
CONSERVICE                              P.O. BOX 4718 LOGAN UT 84323-4718
CONSOLIDATED COMMUNICATIONS             P.O. BOX 66523 ST. LOUIS MO 63166-6523
CONSOLIDATED EDISON CO OF NY            ATTN BANKRUPTCY GROUP 4 IRVING PL, RM 1875-S NEW YORK NY 10003
CONSOLIDATED EDISON CO OF NY            JAF STATION P.O. BOX 1701 NEW YORK NY 10116-1701
CONSOLIDATED UTILITY DISTRICT           OF RUTHERFORD COUNTY P.O. BOX 249 MURFREESBORO TN 37133-0249
CONSTELLATION                           PO BOX 5472 CAROL STREAM IL 60197-5472
CONSTELLATION NEWENERGY GAS DV          C/O EXELON CORPORATION 10 S DEARBORN ST. 48TH FL CHICAGO IL 60680
CONSTELLATION NEWENERGY GAS DV          P.O. BOX 4911 HOUSTON TX 77210-4911
CONSTELLATION NEWENERGY INC             PO BOX 4640 CAROL STREAM IL 60197-4640
CONSUMERS ENERGY                        PAYMENT CENTER PO BOX 740309 CINCINNATI OH 45274-0309
CONWAY CORP                             P.O. BOX 99 CONWAY AR 72033-0099
COPLAY-WHITEHALL SEWER AUTH             3213 MACARTHUR ROAD WHITEHALL PA 18052-2921
CORAL SPRINGS IMPROVEMENT DIST          10300 NW MANOR CORAL CORAL SPRINGS FL 33071
CORPORATE SERVICES CONSULTANTS LLC      P.O. BOX 1048 DANDRIDGE TN 37725
COSERV                                  PO BOX 650785 DALLAS TX 75265-0785
COUNTY OF ADAMS                         4430 S ADAMS COUNTY PARKWAY SUITE W2000B BRIGHTON CO 80601-8212
COUNTY OF HAWAII - SOLID WASTE DIVISION 345 KEKUANAOA ST STE 41 HILO HI 96720
COUNTY OF HAWAII WASTEWATER DIV         COUNTY DIRECTOR OF FINANCE 25 AUPUNI ST RM 210 HILO HI 96720
COUNTY OF HENRICO                       4301 E PARHAM RD HENRICO VA 23228
COUNTY OF HENRICO                       PO BOX 3369 RICHMOND VA 23228-9769
COUNTY OF KAUAI FINANCE DEPT            4444 RICE ST A-466 LIHUE HI 96766
COUNTY OF MAUI - SOLID WASTE DIVISION   ONE MAIN PLAZA 2200 MAIN ST STE 200 WAILUKU HI 96793-1640
COUNTY OF YORK TREASURER                P.O. BOX 10 YORKTOWN VA 23690
COUNTY WASTE - 8010                     1927 ROUTE 9 CLIFTON PARK NY 12065
COUNTY WASTE - 8010                     P.O. BOX 8010 CLIFTON PARK NY 12065-8010
COWETA FAYETTE EMC                      807 COLLINSWORTH RD PALMETTO GA 30268
COWETA FAYETTE EMC                      SEDC P.O. BOX 530812 ATLANTA GA 30353-0812
COWLITZ COUNTY PUD                      961 12TH AVENUE LONGVIEW WA 98632
COX                                     P.O. BOX 66523 ST. LOUIS MO 63166-6523
CPL BUSINESS                            P.O. BOX 70220 PITTSBURGH PA 19176-0220
CPS ENERGY                              PO BOX 2678 SAN ANTONIO TX 78289-0001
CR&R INCORPORATED                       P.O. BOX 7183 PASADENA CA 91109-7183
CRES, INCORPORATED                      C/O COLLIERS INTERNATIONAL 666 FIFTH AVENUE, 4TH FLOOR NEW YORK NY 10103
CROMWELL FIRE DIST-WATER DIV            ONE WEST STREET CROMWELL CT 06416-2123
CROW WING POWER                         PO BOX 507 BRAINERD MN 56401-0507
CRWWD                                   P.O. BOX 3855 SEATTLE WA 98124-3855
CUCAMONGA VALLEY WTR DISTRICT           P.O. BOX 51788 LOS ANGELES CA 90051-6088
CULLMAN POWER BOARD                     PO BOX 1680 CULLMAN AL 35056-1680



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D.M. DISPOSAL CO INC - DISTRICT 2140   P.O. BOX 60248 LOS ANGELES CA 90060-0248
D.M. DISPOSAL CO INC - DISTRICT 2140   4822 70TH AVE E FIFE WA 98424
DAKOTA ELECTRIC ASSOC                  P.O. BOX 64427 ST PAUL MN 55164-0427
DALTON UTILITIES                       PO BOX 745147 ATLANTA GA 30374-5147
DALTON UTILITIES                       1200 VD PARROTT JR PKWY DALTON GA 30721
DANVILLE SANITARY DISTRICT             16161 GRAPE CREEK RD DANVILLE IL 61834
DANVILLE SANITARY DISTRICT             PO BOX 81 DANVILLE IL 61834-0081
DAPHNE UTILITES                        P.O. BOX 580051 CHARLOTTE NC 28258-0051
DARE COUNTY WATER DEPT                 P.O. BOX 538321 ATLANTA GA 30353-8321
DAVIS FORD CROSSING LLC                P.O. BOX 789530 PHILADELPHIA PA 19178-9530
DAVIS FORD CROSSING LLC                8405 GREENSBORO DR MCLEAN VA 22102
DAYTON POWER & LIGHT CO                P.O. BOX 740598 CINCINNATI OH 45274-0598
DAYTON POWER & LIGHT CO                1065 WOODMAN DR DAYTON OH 45432
DC WATER AND SEWER AUTHORITY           CUSTOMER SERVICE DEPT PO BOX 97200 WASHINGTON DC 20090
DEAD RIVER CO                          P.O. BOX 11000 LEWISTON ME 04243-9402
DEDHAM WESTWOOD WATER DISTRICT         P.O. BOX 240 READING MA 01867-0340
DEDHAM WESTWOOD WATER DISTRICT         50 ELM ST DEDHAM MA 02026
DEEP GREEN WASTE & RECYCLING INC       3225 SHALLOWFORD RD NE 400 STE 1020 MARIETTA GA 30062
DEEP GREEN WASTE & RECYCLING INC       P.O. BOX 530008 ATLANTA GA 30353-0008
DEKALB COUNTY FINANCE                  P.O. BOX 71224 CHARLOTTE NC 28272-1224
DEKALB COUNTY GA SANITATION            P.O. BOX 105942 ATLANTA GA 30348-5942
DEKALB COUNTY REMITTANCE               P.O. BOX 71224 CHARLOTTE NC 28272-1224
DELMARVA POWER                         P.O. BOX 13609 PHILADELPHIA PA 19101
DELMARVA POWER                         C/O EXELON CORPORATION 10 S DEARBORN ST. 48TH FL CHICAGO IL 60680
DELTA CHARTER TOWNSHIP                 TREASURERS OFFICE 7710 W SAGINAW HWY LANSING MI 48917-8974
DELTA MONTROSE ELECTRIC ASSN           11925 6300 RD MONTROSE CO 81401
DELTA MONTROSE ELECTRIC ASSN           P.O. BOX 1608 MONTROSE CO 81402-1608
DEMCO                                  DEPARTMENT 1340 PO BOX 2153 BIRMINGHAM AL 35287-1340
DEMCO                                  16262 WAX ROAD GREENWELL SPRINGS LA 70739
DENVER PUBL WORKS MGR FINANCE          201 W COLFAX AVE DEPT 608 DENVER CO 80202
DENVER PUBL WORKS MGR FINANCE          P.O. BOX 17827 DENVER CO 80217
DENVER WATER                           1600 W 12TH AVE DENVER CO 80204-3412
DENVER WATER                           PO BOX 173343 DENVER CO 80217-3343
DEPENDABILL SOLUTIONS LLC              P.O. BOX 935135 ATLANTA GA 31193-5135
DEPTFORD TOWNSHIP MUA                  1011 COOPER ST DEPTFORD NJ 08096
DEPTFORD TOWNSHIP MUA                  P.O. BOX 5428 DEPTFORD NJ 08096
DESERT WATER AGENCY                    PO BOX 1710 PALM SPRINGS CA 92263-1710
DESERT WATER AGENCY                    1200 S GENE AUTRY TRAIL PALM SPRINGS CA 92264
DESTIN WATER USERS INC                 PO BOX 308 DESTIN FL 32540-0308
DICKS/LAKEVILLE SANITATION INC.        P.O. BOX 769 LAKEVILLE MN 55044
DICKSON ELECTRIC SYSTEM                PO BOX 627 DICKSON TN 37056-0627
DIRECT ENERGY BUSINESS                 ATTN J. LOVE 1001 LIBERTY AVE FL 13 PITTSBURGH PA 15222
DIRECT ENERGY BUSINESS                 P.O. BOX 642665 PITTSBURGH PA 15264-2665
DIRECTV                                P.O. BOX 66523 ST. LOUIS MO 63166-6523
DISPOSALL                              P.O. BOX 161417 ALTAMONTE SPRINGS FL 32716
DISPOSALL                              3941 BRYN MAWR ST ORLANDO FL 32808
DIVERSE POWER                          PO BOX 160 LA GRANGE GA 30241-0003
DIXIE ELECTRIC COOPERATIVE             DEPARTMENT 1340 PO BOX 2153 BIRMINGHAM AL 35287-1340
DOMINION ENERGY                        120 TREDEGAR ST RICHMOND VA 23219



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DOMINION ENERGY                         P.O. BOX 26785 RICHMOND VA 23261-6785
DOMINION ENERGY OHIO                    120 TREDEGAR ST RICHMOND VA 23219
DOMINION ENERGY OHIO                    P.O. BOX 26785 RICHMOND VA 23261-6785
DOMINION ENERGY VIRGINIA                120 TREDEGAR ST RICHMOND VA 23219
DOMINION ENERGY VIRGINIA                P.O. BOX 26543 RICHMOND VA 23290-0001
DOMINION NORTH CAROLINA POWER           120 TREDEGAR ST RICHMOND VA 23219
DOMINION NORTH CAROLINA POWER           P.O. BOX 26543 RICHMOND VA 23290-0001
DOMINION VIRGINIA POWER                 PO BOX 26543 RICHMOND VA 23290-0001
DORCHESTER COUNTY WATER & SEWER         235 DEMING WAY SUMMERVILLE SC 29483-4753
DOTHAN UTILITIES                        PO BOX 6728 DOTHAN AL 36302
DOWNEAST ENERGY                         PO BOX 11016 LEWISTON ME 04243-9467
DOWNERS GROVE SANITARY DISTRICT         PO BOX 1412 DOWNERS GROVE IL 60515-0703
DOYLESTOWN TOWNSHIP MUNIE AUTH          425 WELLS ROAD DOYLESTOWN PA 18901
DPW WATER DIVISION                      P.O. BOX 1758 ALBANY NY 12201-1758
DRAGON DISPOSAL LLC                     P.O. BOX 25414 SCOTTSDALE AZ 85255
DRAPER CITY CORPORATION                 1020 E PIONEER RD DRAPER UT 84020
DRAPER CITY CORPORATION                 1020 E PIONEER RD (12400 SOUTH) DRAPER UT 84020
DTE ENERGY                              PO BOX 740786 CINCINNATI OH 45274-0786
DTE ENERGY                              414 S MAIN ST STE 200 ANN ARBOR MI 48104
DUKE ENERGY                             P.O. BOX 1326 CHARLOTTE NC 28201-1326
DUKE ENERGY PROGRESS                    PO BOX 1003 CHARLOTTE NC 28201
DUPAGE COUNTY PUBLIC WORKS              P.O. BOX 4751 CAROL STREAM IL 60197-4751
DUQUESNE LIGHT CO                       411 7TH AVE PITTSBURGH PA 15219
DYNEGY ENERGY SERVICES                  27679 NETWORK PLACE CHICAGO IL 60673
DYNEGY ENERGY SERVICES                  6555 SIERRA DR IRVING TX 75039
EAGLE DISPOSAL INC.                     21107 OMEGA CIRCLE FRANKSVILLE WI 53126
EAGLE ROCK SANITATION                   PO BOX 50405 IDAHO FALLS ID 83405
EARTHLINK                               P.O. BOX 2252 BIRMINGHAM AL 35246-1058
EASLEY COMBINED UTILITIES               PO BOX 619 EASLEY SC 29641
EAST BRUNSWICK TWP WATER SEWER          P.O. BOX 1081 EAST BRUNSWICK NJ 08816-1081
EAST CALN TOWNSHIP-SEWER ACCT           110 BELL TAVERN RD DOWNINGTOWN PA 19335
EAST CALN TOWNSHIP-SEWER ACCT           P.O. BOX 1004 DOWNINGTOWN PA 19335
EAST CENTRAL ENERGY                     412 MAIN AVE N BRAHAM MN 55006
EAST CENTRAL ENERGY                     PO BOX 39 BRAHAM MN 55006-0039
EAST RICHLAND COUNTY PSD                PO BOX 63051 CHARLOTTE NC 28263-3051
EAST RICHLAND COUNTY PSD                704 ROSS RD COLUMBIA SC 29223
EAST WINDSOR MUA                        7 WILTSHIRE DRIVE EAST WINDSOR NJ 08520-1248
EASTERN MUNICIPAL WATER DIST            P.O. BOX 845484 LOS ANGELES CA 90084-5484
EASTON SUBURBAN WATER AUTH              P.O. BOX 3819 EASTON PA 18043-3819
EASTON UTILITIES                        201 N WASHINGTON ST EASTON MD 21601
EASTON UTILITIES                        P.O. BOX 1189 EASTON MD 21601-8923
EBMUD                                   375 11TH ST OAKLAND CA 94607
EBMUD                                   P.O. BOX 1000 OAKLAND CA 94649-0001
ED BURRIS DISPOSAL SERVICE              P.O. BOX 638 CARBONDALE IL 62903
EDCO DISPOSAL CORPORATION - 6208        P.O. BOX 6208 BUENA PARK CA 90622-6208
EDCO DISPOSAL CORPORATION - 6887        P.O. BOX 6208 BUENA PARK CA 90622-6208
EDCO DISPOSAL CORPORATION - 6887        P.O. BOX 6887 BUENA PARK CA 90622-6887
EDCO WASTE & RECYCLING SERVICE - 5488   P.O. BOX 5488 BUENA PARK CA 90622-5488
ELECTRIC CITY UTILITIES                 CITY OF ANDERSON P.O. BOX 63061 CHARLOTTE NC 28263-3061



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ELECTRIC LIGHTWAVE                   P.O. BOX 2966 MILWAUKEE WI 53201-2966
ELECTRIC LIGHTWAVE                   18110 SE 34TH ST BUILDING ONE, STE 100 VANCOUVER WA 98683
ELECTRICAL DISTRICT 2                P.O. BOX 52790 PHOENIX AZ 85072-2790
ELIZABETHTOWN AREA WATER AUTH        211 W. HUMMELSTOWN STREET ELIZABETHTOWN PA 17022
ELIZABETHTOWN GAS                    10 PEACHTREE PLACE ATLANTA GA 30309
ELIZABETHTOWN UTILITES               P.O. BOX 550 ELIZABETHTOWN KY 42702
ELK RIVER PUBLIC UTILITY DIST        PO BOX 970 TULLAHOMA TN 37388-0970
ELMIRA UTILITY ASSOCIATES INC        P.O. BOX 438 WELLSBURG NY 14894
ELSINORE VALLEY MUNIE WTR DIST       31315 CHANEY ST LAKE ELSINORE CA 92530
ELSINORE VALLEY MUNIE WTR DIST       P.O. BOX 3000 LAKE ELSINORE CA 92531-3000
EMERA MAINE                          PO BOX 11008 LEWISTON ME 04243-9459
EMERALD COAST UTILITIES AUTH         9255 STURDEVANT ST PENSACOLA FL 32514
EMERALD COAST UTILITIES AUTH         P.O. BOX 18870 PENSACOLA FL 32523-8870
EMPIRE DISTRICT                      PO BOX 219239 KANSAS CITY MO 64121-9239
EMPIRE DISTRICT                      602 S JOPLIN AVE PO BOX 127 JOPLIN MO 64802
ENERGY UNITED                        PO BOX 1831 STATESVILLE NC 28687
ENGIE RESOURCES                      P.O. BOX 9001025 LOUISVILLE KY 40290-1025
ENGIE RESOURCES                      1990 POST OAK BLVD STE 1900 HOUSTON TX 77056-3831
ENTERGY                              C/O ALAN H KATZ 639 LOYOLA AVE, 26TH FL NEW ORLEANS LA 70113
ENTERGY                              PO BOX 8104 BATON ROUGE LA 70891-8104
ENTERGY ARKANSAS INC                 C/O ALAN H KATZ 639 LOYOLA AVE, 26TH FL NEW ORLEANS LA 70113
ENTERGY ARKANSAS INC                 P.O. BOX 8101 BATON ROUGE LA 70891-8101
ENTERGY GULF STATES LA INC           C/O ALAN H KATZ 639 LOYOLA AVE, 26TH FL NEW ORLEANS LA 70113
ENTERGY GULF STATES LA INC           P.O. BOX 8103 BATON ROUGE LA 70891-8103
ENTERGY LOUISIANA INC                C/O ALAN H KATZ 639 LOYOLA AVE, 26TH FL NEW ORLEANS LA 70113
ENTERGY LOUISIANA INC                P.O. BOX 8108 BATON ROUGE LA 70891-8108
ENTERGY NEW ORLEANS INC              C/O ALAN H KATZ 639 LOYOLA AVE, 26TH FL NEW ORLEANS LA 70113
ENTERGY NEW ORLEANS INC              P.O. BOX 8106 BATON ROUGE LA 70891-8106
ENTERGY TEXAS INC                    C/O ALAN H KATZ 639 LOYOLA AVE, 26TH FL NEW ORLEANS LA 70113
ENTERGY TEXAS INC                    P.O. BOX 8104 BATON ROUGE LA 70891-8104
ENVENTIS                             P.O. BOX 3188 MILWAUKEE WI 53201-3188
EPAX SYSTEMS INC.                    14641 ARMINTA ST PANORAMA CITY CA 91402-5901
EPB                                  10 WEST ML KING BLVD CHATTANOOGA TN 37402
EPB                                  P.O. BOX 182254 CHATTANOOGA TN 37422-7254
EPCOR WATER                          PO BOX 80036 PRESCOTT AZ 86304-8036
EPPING WATER & SEWER DEPT            157 MAIN ST EPPING NH 03042
ERIE COUNTY                          2900 COLUMBUS AVE SANDUSKY OH 44870
ERIE COUNTY                          PO BOX 549 SANDUSKY OH 44871-0549
ESCONDIDO DISPOSAL INC.              P.O. BOX 5608 BUENA PARK CA 90622-5608
EUGENE WATER & ELECTRIC BOARD        PO BOX 8990 VANCOUVER WA 98668-8990
EVANSVILLE WATER & SEWER UTIL        1 NW MARTIN LUTHER KING JR BLVD EVANSVILLE IN 47708
EVANSVILLE WATER & SEWER UTIL        1 N.W. ML KING JR BLVD ROOM 104 EVANSVILLE IN 47740
EVANSVILLE WATER & SEWER UTIL        P.O. BOX 19 EVANSVILLE IN 47740-0001
EVERSOURCE                           ATTN HONOR HEALTH, LEGAL DEPT 107 SELDEN ST BERLIN CT 06037
EVERSOURCE                           PO BOX 650047 DALLAS TX 75265
EXETER TOWNSHIP                      P.O. BOX 6188 HERMITAGE PA 16148-0922
FAIR LAKE PROMENADE RETAIL LLC       12225 FAIR LAKES PROMENADE DR FAIRFAX VA 22033
FAIR LAKES PROMENADE RETAIL LLC      PO BOX 417212 BOSTON MA 02241-7212
FAIRCHILD WASTE CONTROL              118 STORCH ST SAGINAW MI 48602



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FAIRCHILD WASTE CONTROL                 P.O. BOX 2041 SAGINAW MI 48605
FAIRCLOUGH PROPANE                      91 HAMPTON HOUSE RD. NEWTON NJ 07860
FAIRFAX WATER                           8570 EXECUTIVE PARK AVE FAIRFAX VA 22031
FAIRFAX WATER                           P.O. BOX 71076 CHARLOTTE NC 28272-1076
FAIRFIELD MUNICIPAL UTILITIES           1000 WEBSTER STREET FAIRFIELD CA 94533-4836
FAIRPOINT                               521 E MOREHEAD ST CHARLOTTE NC 28202
FAIRPOINT COMMUNICATIONS                PO BOX 11021 LEWISTON ME 04243-9472
FARMERS ELECTRIC COOPERATIVE            P.O. BOX 5800 GREENVILLE TX 75403-5800
FAYETTE COUNTY WATER SYSTEM             PO BOX 190 FAYETTEVILLE GA 30214
FCWRD                                   7001 NORTH FRONTAGE RD BURR RIDGE IL 60527
FEDERAL REALTY INVESTMENT TRUST         LOCKBOX 9320 P.O. BOX 8500 PHILADELPHIA PA 19178-9320
FEDERAL REALTY INVESTMENT TRUST         P.O. BOX 8500 PHILADELPHIA PA 19178-9320
FIRST PIEDMONT CORP                     P.O. DRAWER 1069 CHATHAM VA 24531
FIRST REAL EST INVSTMNT TRUST           C/O HEKEMIAN & CO 505 MAIN ST. HACKENSACK NJ 07601
FIRST UTILITY DISTRICT OF KNOX COUNTY   DEPT 1340 PO BOX 2153 BIRMINGHAM AL 35287-1340
FLINT EMC-SEDC                          P.O. BOX 530812 ATLANTA GA 30353-0812
FLINT TOWNSHIP                          1490 S DYE RD FLINT MI 48532-4121
FLOOD BROTHERS DISPOSAL & RECYCLING     P.O. BOX 4560 CAROL STREAM IL 60197-4560
FLORENCE UTILITIES                      PO BOX 877 FLORENCE AL 35631-0877
FLORENCE WATER & SEWER DEPT             PO BOX 368 FLORENCE KY 41022-0368
FLORIDA CITY GAS                        PO BOX 5410 CAROL STREAM IL 60197
FLORIDA CITY GAS                        4045 NW 97TH AVE DORAL FL 33178
FLORIDA KEYS AQUEDUCT AUTH              1100 KENNEDY DRIVE KEY WEST FL 33040-4021
FLORIDA KEYS ELEC COOP ASSOC            PO BOX 377 TAVERNIER FL 33070-0377
FLORIDA POWER & LIGHT                   GENERAL MAIL FACILITY MIAMI FL 33188-0001
FLORIDA PUBLIC UTILITIES                PO BOX 2137 SALISBURY MD 21802-2137
FOREST HILLS MUNICIPAL AUTH             PO BOX 337 ST. MICHAEL PA 15951
FORT COLLINS UTILITIES                  222 LAPORTE AVE FORT COLLINS CO 80522
FORT COLLINS UTILITIES                  PO BOX 1580 FORT COLLINS CO 80522-1580
FORT EVANS PLAZA LIMITED PARTNERSHIP    C/O UNIWEST COMMERCIAL REALTY 8191 STRAWBERRY LANE, SUITE 3 FALLS CHURCH VA
                                        22042
FORT HILL NATURAL GAS AUTH              PO BOX 189 EASLEY SC 29641
FORT PIERCE UTILITIES AUTH              206 S 6TH ST FT. PIERCE FL 34950
FORT PIERCE UTILITIES AUTH              PO BOX 13929 FORT PIERCE FL 34979-3929
FOX CHAPEL AUTHORITY                    255 ALPHA DR PITTSBURGH PA 15238-8905
FOX METRO                               P.O. BOX 160 AURORA IL 60507-0160
FOX METRO                               682 STATE ROUTE 31 OSWEGO IL 60543
FOX METRO WTR RECLAMATION DIST          682 STATE ROUTE 31 OSWEGO IL 60543
FR PIKE 7 LIMITED PARTNERSHIP           P.O. BOX 8500 PHILADELPHIA PA 19178-9320
FRANKFORT PLANT BOARD                   151 FLYNN AVE FRANKFORT KY 40601
FRANKFORT PLANT BOARD                   PO BOX 308 FRANKFORT KY 40602
FRANKLIN BOARD OF PUBLIC WORKS          46 MAIN STREET FRANKLIN NJ 07416
FRANKLIN DISPOSAL                       P.O. BOX 681627 FRANKLIN TN 37068-1627
FRANKLIN SQUARE WATER DISTRICT          P.O. BOX 177 FRANKLIN SQUARE NY 11010
FRIEND EQUIPMENT INC.                   P.O. BOX 560274 THE COLONY TX 75056
FRONTIER                                P.O. BOX 740407 CINCINNATI OH 45274-0407
FRONTIER NATURAL GAS                    110 PGW DRIVE ELKIN NC 28621-2105
FRUCHEYS TRASH SERVICE LLC              P.O. BOX 2097 CRIDERSVILLE OH 45806
FRUITLAND MUTUAL WATER CO               P.O. BOX 73759 PUYALLUP WA 98373



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GAINESVILLE REGIONAL UTILITIES       P.O. BOX 147051 GAINSVILLE FL 32614
GALLATIN DEPT OF ELECTRICITY         PO BOX 1555 GALLATIN TN 37066-1555
GALLATIN PUBLIC UTILITIES            239 HANCOCK STREET GALLATIN TN 37066
GALLEGOS SANITATION INC.             P.O. BOX 1986 FORT COLLINS CO 80522
GARDEN ISLE DISPOSAL INC.            2666 NIUMALU RD LIHUE HI 96766
GAS SOUTH                            P.O. BOX 530552 ATLANTA GA 30353-0552
GATEWAY KENTFIELD LOCKBOX            COOL SPRINGS FESTIVAL FILE 55855 LOS ANGELES CA 90074-5855
GCSED                                667 DAYTON XENIA RD XENIA OH 45385-2665
GEORGIA NATURAL GAS                  P.O. BOX 105445 ATLANTA GA 30348
GEORGIA POWER                        96 ANNEX ATLANTA GA 30396-0001
GILTON SOLID WASTE MANAGEMENT INC.   755 S YOSEMITE OAKDALE CA 95361
GOSHEN WATER & SEWER                 PO BOX 238 GOSHEN IN 46527-0238
GRAND CHUTE UTILITIES                1900 GRAND CHUTE BLVD GRAND CHUTE WI 54913
GRAND STRAND WATER & SEWER AUT       166 JACKSON BLUFF ROAD CONWAY SC 29526
GRAND STRAND WATER & SEWER AUT       P.O. BOX 2308 CONWAY SC 29528-2308
GRANDE                               401 CARLSON CIRCLE SAN MARCOS TX 78666
GRANDE COMMUNICATIONS                P.O. BOX 679367 DALLAS TX 75267-9367
GRANGER                              P.O. BOX 22213 LANSING MI 48909-2213
GRANITE                              CLIENT ID 311 P.O. BOX 98311 BOSTON MA 02298-3119
GRANT COUNTY PUBLIC UTIL DIST        CUSTUMER SERVICE P.O. BOX 878 EPHRATA WA 98823
GREATER AUGUSTA UTILITY DISTRICT     12 WILLIAMS STREET AUGUSTA ME 04330-5225
GREATER CINCINNATI WATER WORKS       P.O. BOX 5487 CAROL STREAM IL 60197-5487
GREATER DICKSON GAS AUTHORITY        605 E WALNUT ST DICKSON TN 37055-2505
GREEN LIFE WASTE SOLUTIONS           P.O. BOX 2156 BURLINGTON NC 27216-2156
GREEN MOUNTAIN ENERGY                1303 SAN ANTONIO ST STE 700 AUSTIN TX 78701
GREEN MOUNTAIN ENERGY COMPANY        DEPT 1233 PO BOX 121233 DALLAS TX 75312-1233
GREEN MOUNTAIN POWER CORP            P.O. BOX 1611 BRATTLEBORO VT 05302-1611
GREEN MOUNTAIN POWER CORP            163 ACORN LANE COLCHESTER VT 05446
GREEN WASTE MALL SERVICES            PO BOX 94258 LAS VEGAS NV 89193
GREENLAWN WATER DISTRICT             45 RAILROAD STREET GREENLAWN NY 11740-1297
GREENLEAF COMPACTION INC.            P.O. BOX 29661 PHOENIX AZ 85038-2008
GREENVILLE UTILITIES COMMISSN        P.O. BOX 1847 GREENVILLE NC 27835-1847
GREENVILLE WATER                     P.O. BOX 687 GREENVILLE SC 29602-0687
GREENVILLE WATER DISTRICT            P.O. BOX 595 GREENVILLE RI 02828
GREENWASTE RECOVERY INC.             P.O. BOX 11089 SAN JOSE CA 95103-1089
GREENWOOD SANITATION                 PO BOX 1206 INDIANAPOLIS IN 46206-1206
GREER CPW                            P.O. BOX 216 GREER SC 29652
GRESHAM SANITARY SERVICE INC.        P.O. BOX 1560 GRESHAM OR 97030-0515
GREYSTONE POWER CORP                 P.O. BOX 6071 DOUGLASVILLE GA 30154-6071
GROOT INC - DIST 3107                2500 LANDMEIER RD ELK GROVE VILLAGE IL 60007-2627
GROOT INC - DIST 3107                P.O. BOX 660177 DALLAS TX 75266-0177
GROOT INDUSTRIES INC. - 1305         2500 LANDMEIER RD ELK GROVE VILLAGE IL 60007-2627
GROOT INDUSTRIES INC. - 1305         P.O. BOX 660177 DALLAS TX 75266-0177
GROOT INDUSTRIES INC. - 92257        2500 LANDMEIER RD ELK GROVE VILLAGE IL 60007-2627
GROOT INDUSTRIES INC. - 92257        P.O. BOX 660177 DALLAS TX 75266-0177
GROOT INDUSTRIES INC. - 92317        2500 LANDMEIER RD ELK GROVE VILLAGE IL 60007-2627
GROOT INDUSTRIES INC. - 92317        P.O. BOX 660177 DALLAS TX 75266-0177
GROTON UTILITIES                     295 MERIDIAN ST GROTON CT 06340
GTT                                  DEPT 111023 P.O. BOX 150421 HARTFORD CT 06115-0421



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GTT                                  3379 PEACHTREE ROAD NE SUITE 925 ATLANTA GA 30326
GUARDIAN 002323                      1160 GOODALE BLVD COLUMBUS OH 43212
GUILDERLAND WATER DISTRICT           P.O. BOX 339 GUILDERLAND NY 12084-0339
GULF POWER                           PO BOX 830660 BIRMINGHAM AL 35283-0660
GULF POWER CO                        ONE ENERGY PLACE PENSACOLA FL 32520-0714
GWINNETT COUNTY DEPT WTR RSRS        P.O. BOX 71225 CHARLOTTE NC 28272-1225
HACKETTSTOWN MUA                     P.O. BOX 450 HACKETTSTOWN NJ 07840-0450
HALLSDALE POWELL UTILITY DIST        3745 CUNNINGHAM RD KNOXVILLE TN 37918
HALLSDALE POWELL UTILITY DIST        P.O. BOX 306091 NASHVILLLE TN 37230-6000
HANOVER TOWNSHIP LEHIGH COUNTY       2202 GROVE ROAD ALLENTOWN PA 18109
HARDIN COUNTY WATER DISTRCT 2        P.O. BOX 950149 LOUISVILLE KY 40295-0149
HARDIN COUNTY WATER DISTRCT 2        360 RING ROAD ELIZABETHTOWN KY 42701
HARRIS CO MUD 130                    1621 MILAM ST FL 3 HOUSTON TX 77002-8059
HARRIS CO MUD 130                    P.O. BOX 1689 SPRING TX 77383
HARRIS CO WCID 110                   P.O. BOX 3264 HOUSTON TX 77253-3264
HARRIS COUNTY MUD 186                5870 HIGHWAY 6 NORTH STE 215 HOUSTON TX 77084
HARRIS COUNTY MUD 186                P.O. BOX 842115 HOUSTON TX 77284-2115
HARRIS COUNTY MUD 191                5300 MEMORIAL DR STE 1070 HOUSTON TX 77007
HARRIS COUNTY MUD 191                P.O. BOX 2569 SPRING TX 77383-2569
HARRISONBURG ELEC COMMISSION         89 W. BRUCE ST. HARRISONBURG VA 22801
HARRISONBURG ELEC COMMISSION         89 WEST BRUCE ST HARRISONBURG VA 22801-3699
HASKINS GAS SERVICE INC              1791 ROUTE 30 DORSET VT 05251
HASKINS GAS SERVICE INC              1791 ROUTE 30 DORSET VT 05251-9650
HAWAII ELECTRIC LIGHT CO             P.O. BOX 29570 HONOLULU HI 96820-1970
HAWAIIAN ELECTRIC COMPANY            P.O. BOX 3978 HONOLULU HI 96812-3978
HAWAIIAN ELECTRIC COMPANY            900 RICHARDS STREET HONOLULU HI 96813
HAWAIIAN TELCOM                      1177 BISHOP ST HONOLULU HI 96813
HAWAIIAN TELCOM                      P.O. BOX 30770 HONOLULU HI 96820
HAYWARD WATER SYSTEM                 P.O. BOX 6004 HAYWARD CA 94540
HAYWARD WATER SYSTEM                 777 B STREET HAYWARD CA 94541
HAZARDVILLE WATER CO                 281 HAZARD AVE. ENFIELD CT 06082-4647
HAZLETON CITY AUTHORITY              P.O. BOX 3898 SCRANTON PA 18505-0898
HC BIRMINGHAM INDUSTRIAL LLC         9225 LAKE HEFNER PKWY STE 200 OKLAHOMA CITY OK 73120
HELIX WATER DISTRICT                 P.O. BOX 513597 LOS ANGELES CA 90051-3597
HENRY COUNTY WATER AUTHORITY         1695 HWY 20 WEST MCDONOUGH GA 30253
HENRY COUNTY WATER AUTHORITY         1695 HIGHWAY 20 WEST MCDONOUGH GA 30253-7311
HENSON DISPOSAL INC                  705 N EAST ST BLOOMINGTON IL 61701
HENSON DISPOSAL INC                  P.O. BOX 1058 BLOOMINGTON IL 61702
HERNANDO CNTY UTILITIES DEPT         P.O. BOX 30384 TAMPA FL 33630-3384
HICKSVILLE WATER DISTRICT            P.O. BOX 9064 HICKSVILLE NY 11802-9064
HIGHLAND SEWER & WATER AUTH          120 TANK DR JOHNSTOWN PA 15904-3252
HILLSBOROUGH CO PUBL UTIL DEPT       925 E TWIGGS ST TAMPA FL 33602
HILLSBOROUGH CO PUBL UTIL DEPT       P.O. BOX 342456 TAMPA FL 33694-2456
HINGHAM MUNIE LIGHTING PLANT         P.O. BOX 4132 WOBURN MA 01888-4132
HIXSON UTILITY DISTRICT              5201 HIXSON PIKE HIXSON TN 37343
HIXSON UTILITY DISTRICT              P.O. BOX 1598 HIXSON TN 37343-5598
HOBOKEN WATER SERVICES               P.O. BOX 371804 PITTSBURGH PA 15250-7804
HOCON GAS GUILFORD                   736 BOSTON POST ROAD GUILFORD CT 06437
HOLLAND BOARD OF PUBLIC WORKS        625 HASTINGS AVENUE HOLLAND MI 49423



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HOLLAND BOARD OF PUBLIC WORKS        625 HASTINGS AVE HOLLAND MI 49423-5475
HOLLAND CHARTER TOWNSHIP             P.O. BOX 8127 HOLLAND MI 49422-8127
HOLY CROSS ENERGY                    3799 HIGHWAY 82 GLENWOOD SPRINGS CO 81602
HOLY CROSS ENERGY                    P.O. BOX 2150 GLENWOOD SPRINGS CO 81602-2150
HOLYOKE GAS & ELECTRIC DEPT          99 SUFFOLK ST HOLYOKE MA 01040
HOLYOKE GAS & ELECTRIC DEPT          P.O. BOX 4165 WOBURN MA 01888-4165
HOMEWOOD DISPOSAL SERVICE INC.       1501 175TH STREET HOMEWOOD IL 60430-4608
HONOLULU DISPOSAL SERVICE            P.O. BOX 30490 HONOLULU HI 96820-0490
HOPEWELL TC MANAGEMENT               416 SOUTH BETHLEHEM PIKE 3 FORT WASHINGTON PA 19034
HOPEWELL TC MANAGEMENT               C/O GELCOR REALTY 416 BETHLEHEM PIKE FORT WASHINGTON PA 19034
HOPKINSVILLE WATER ENVIRONMENT       P.O. BOX 628 HOPKINSVILLE KY 42241-0628
AUTHORITY
HORRY COUNTY                         P.O. BOX 9001013 LOUISVILLE KY 40290-1013
HORRY ELECTRIC COOPERATIVE INC       2774 CULTRA ROAD CONWAY SC 29526
HORRY ELECTRIC COOPERATIVE INC       P.O. BOX 119 CONWAY SC 29528-0119
HOT SPRINGS MUNICIPAL UTILITIE       P.O. BOX 66743 SAINT LOUIS MO 63166-6743
HOT SPRINGS MUNICIPAL UTILITIE       133 CONVENTION BLVD HOT SPRINGS NATIONAL PARK AR 71901
HOT SPRINGS MUNICIPAL UTILITIE       517 AIRPORT ROAD SUITE C HOT SPRINGS AR 71913-4065
HOWIES TRASH SERVICE                 625 SOUTH 10TH ST MANHATTAN KS 66502
HRSD                                 1434 AIR RAIL AVENUE VIRGINIA BEACH VA 23455
HRSD                                 PO BOX 71092 CHARLOTTE NC 28272-1092
HRUBS                                1434 AIR RAIL AVENUE VIRGINIA BEACH VA 23455
HRUBS                                P.O. BOX 37097 BOONE IA 50037-0097
HUDSON LIGHT & POWER DEPT            P.O. BOX 844568 BOSTON MA 02284
HUMMELS WHARF MUNIC AUTH             P.O. BOX 165 HUMMELS WHARF PA 17831
HUMMELS WHARF MUNIC AUTH             39 MUNICIPAL DR SELINSGROVE PA 17870
HUNTSVILLE UTILITIES                 112 SPRAGINS ST HUNTSVILLE AL 35801
HUNTSVILLE UTILITIES                 112 SPRAGINS STREET HUNTSVILLE AL 35895
HYANNIS WATER SYSTEM                 P.O. BOX 731 READING PA 01867-0405
IA MATTHEWS SYCAMORE, LLC            C/O INVENTRUST PROPERTY MANAGEMENT, LLC 2809 BUTTERFIELD ROAD OAK BROOK IL
                                     60523
IA MATTHEWS SYCAMORE, LLC            16158 COLLECTION CENTER DR CHICAGO IL 60693-0161
IDAHO POWER                          1221 WEST IDAHO ST BOISE ID 83702
IDAHO POWER                          PROCESSING CENTER P.O. BOX 34966 SEATTLE WA 98124-1966
IESI OF MARYLAND                     1701 OLIVE ST CAPITAL HEIGHTS MD 20743
IESI OF MARYLAND                     2911 52ND AVE HYATTSVILLE MD 20781-1134
ILLINOIS AMERICAN WATER              1025 LAUREL OAK RD VOORHEES NJ 08043
ILLINOIS AMERICAN WATER              P.O. BOX 94551 PALATINE IL 60094
IMPERIAL IRRIGATION DISTRICT         PO BOX 937 333 E BARIONI BLVD IMPERIAL CA 92251
INDEPENDENCE UTILITIES               17221 E. 23RD ST. S. INDEPENDENCE MO 64057
INDIAN RIVER COUNTY UTILITIES        DEPT 0067 P.O. BOX 850001 ORLANDO FL 32885-0067
INDIANA AMERICAN WATER               1025 LAUREL OAK RD VOORHEES NJ 08043
INDIANA AMERICAN WATER               PO BOX 3027 MILWAUKEE WI 53201-3027
INDIANA MICHIGAN POWER               1 RIVERSIDE PLAZA COLUMBUS OH 43215
INDIANA MICHIGAN POWER               P.O. BOX 24412 CANTON OH 44701-4412
INDIANAPOLIS POWER & LIGHT CO        2102 N ILLINOIS ST INDIANAPOLIS IN 46202
INDIANAPOLIS POWER & LIGHT CO        P.O. BOX 110 INDIANAPOLIS IN 46206-0110
INDUSTRIAL SERVICES INC.             6201 N 70TH ST LINCOLN NE 68507
INFINITE ENERGY                      P.O. BOX 71247 CHARLOTTE NC 28272-1247



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INTERMOUNTAIN GAS COMPANY                P.O. BOX 7608 BOISE ID 83707-1608
INTERMOUNTAIN RURAL ELEC ASSOC           P.O. DRAWER A SEDALIA CO 80135
INTERNATIONAL ENVIRONMENTAL MANAGEMENT   24516 NETWORK PL CHICAGO IL 60673-1245
INTERNATIONAL PAPER-AZ                   6400 POPLAR AVE MEMPHIS TN 38197
INTERNATIONAL PAPER-AZ                   P.O. BOX 31001-0780 PASADENA CA 91110-0780
INTERNATIONAL PAPER-IL                   1689 SOLUTIONS CENTER CHICAGO IL 60677-1006
IRC RETAIL CENTERS                       814 COMMERCE DR OAK BROOK IL 60523
IRC RETAIL CENTERS                       LEASE 30697 75 REMITTANCE DR DEPT 3128 CHICAGO IL 60675-3128
IRVING ENERGY                            P.O. BOX 11013 LEWISTON ME 04243
ISUSTAIN INC                             P.O. BOX 700 SODDY DAISY TN 37384
JACKSON COUNTY PUBLIC WATER              13015 15TH ST P.O. BOX 650 GRANDVIEW MO 64030-0650
JACKSON EMC                              850 COMMERCE RD PO BOX 38 JEFFERSON GA 30549
JACKSON EMC                              P.O. BOX 100 JEFFERSON GA 30549-0100
JACKSON ENERGY AUTHORITY                 P.O. BOX 2288 JACKSON TN 38302-2288
JACKSON TWP MUA                          135 MANHATTAN STREET JACKSON TOWNSHIP NJ 08527
JASPER WATERWORKS & SWR BOARD            1620 ALABAMA AVE JASPER AL 35501
JASPER WATERWORKS & SWR BOARD            P.O. BOX 1348 JASPER AL 35502-1348
JCP&L                                    76 SOUTH MAIN ST AKRON OH 44308-1890
JCP&L                                    P.O. BOX 3687 AKRON OH 44309-3687
JEA                                      P.O. BOX 45047 JACKSONVILLE FL 32232-5047
JEFFERSON CITY UTILITIES                 P.O. BOX 1278 JEFFERSON CITY MO 65102
JEFFERSON CO BIRMINGHAM WATER            3600 1ST AVE N BIRMINGHAM AL 35222
JEFFERSON CO BIRMINGHAM WATER            P.O. BOX 830269 BIRMINGHAM AL 35283-0269
JEFFERSON PARISH DEPT OF WATER           P.O. BOX 10007 JEFFERSON LA 70181-0007
JEFFERSON UTILITIES INC                  270 INDUSTRIAL BLVD KEARNEYSVILLE WV 25430
JENKINTOWN BOROUGH                       P.O. BOX 22350 LEHIGH VALLEY PA 18002-2350
JENKINTOWN BOROUGH                       700 SUMMIT AVENUE JENKINTOWN PA 19046
JERSEY CENTRAL PWR & LGT                 76 SOUTH MAIN ST AKRON OH 44308
JERSEY CENTRAL PWR & LGT                 P.O. BOX 3615 AKRON OH 44309-3615
JOHNSON CITY UTILITY SYSTEM              601 E MAIN ST PO BOX 2150 JOHNSON CITY TN 37605
JOHNSON CITY UTILITY SYSTEM              PO BOX 2386 JOHNSON CITY TN 37605-2386
JOHNSON COUNTY WASTEWATER                P.O. BOX 219948 KANSAS CITY MO 64121-9948
JOHNSON COUNTY WASTEWATER                111 S CHERRY ST OLATHE KS 66061
JORDAN TAX SERVICE INC                   ROSS TOWNSHIP P.O. BOX 645124 PITTSBURGH PA 15264-5124
JORDAN TAX SERVICE INC                   102 RAHWAY ROAD MCMURRAY PA 15317
KANSAS CITY BOARD OF PUBLIC UTILITIES    P.O. BOX 219661 KANSAS CITY MO 64121-9661
KANSAS CITY BOARD OF PUBLIC UTILITIES    540 MINNESOTA AVENUE KANSAS CITY KS 66101
KANSAS GAS SERVICE                       P.O. BOX 219046 KANSAS CITY MO 64121-0946
KAUAI ISLAND UTILITY COOP                4463 PAHEE ST STE 1 LIHUE HI 96766-2000
KAUAI ISLAND UTILITY COOP                P.O. BOX 29440 HONOLULU HI 96820-1840
KC WATER                                 4800 E 63RD ST KANSAS CITY MO 64130
KC WATER                                 P.O. BOX 807045 KANSAS CITY MO 64180-7045
KCP&L                                    P.O. BOX 219330 KANSAS CITY MO 64121-9330
KEENE GAS 7635                           583 SAWYERS CROSSING ROAD SWANZEY NH 03446
KEENE GAS 7635                           P.O. BOX 371473 PITTSBURGH PA 15250-7473
KENERGY CORP                             P.O. BOX 1389 OWENSBORO KY 42302-1389
KENERGY CORP                             6402 OLD HENDERSON CORYDON ROA HENDERSON KY 42419-0018
KENOSHA WATER UTILITY                    4401 GREEN BAY RD KENOSHA WI 53144
KENTUCKY AMERICAN WATER                  1025 LAUREL OAK ROAD VOORHEES NJ 08043



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KENTUCKY AMERICAN WATER               PO BOX 790247 SAINT LOUIS MO 63179-0247
KETER ENVIRONMENTAL SERVICES INC      1177 HIGH RIDGE ROAD STAMFORD CT 06905
KETER ENVIRONMENTAL SERVICES INC      P.O. BOX 417468 BOSTON MA 02241-7468
KEYS ENERGY SERVICES                  P.O. BOX 6048 KEY WEST FL 33041
KIMBLE RECYCLING & DISPOSAL           3596 STATE ROUTE 39 NW DOVER OH 44622
KIMBLE RECYCLING & DISPOSAL           P.O. BOX 448 DOVER OH 44622
KING PALLET INC                       112 HENGEMIHLE AVE BALTIMORE MD 21221
KING PALLET INC                       239 SOUTH 8TH AVENUE CITY OF INDUSTRY CA 91746
KINGS MALL PARTNERS LLC               C/O BLUEJAY MANAGEMENT LLC 301 MILL RD STE L6 HEWLETT NY 11557
KINGSBRIDGE MUD                       P.O. BOX 4824 HOUSTON TX 77210-4824
KISSIMMEE UTILITY AUTHORITY           P.O. BOX 850001 ORLANDO FL 32825-0096
KISSIMMEE UTILITY AUTHORITY           1701 WEST CARROLL ST KISSIMMEE FL 34741
KNG ENERGY                            1700 WESTFIELD DR FINDLAY OH 45840
KOOTENAI ELECTRIC COOP                2451 W DAKOTA AVE HAYDEN ID 83835-7402
KU                                    A PPLCO P.O. BOX 9001954 LOUISVILLE KY 40290-1954
KU                                    1450 JAYHAWK BLVD LAWRENCE KS 66045
KUB                                   4428 WESTERN AVE KNOXVILLE TN 37921
KUB                                   P.O. BOX 59017 KNOXVILLE TN 37950-9017
LACKAWANNA RVR BASIN SWR AUTH         101 BOULEVARD AVE OLYPHANT PA 18447
LACKAWANNA RVR BASIN SWR AUTH         P.O. BOX 280 OLYPHANT PA 18447-0280
LAKE APOPKA NATURAL GAS DIST          P.O. BOX 850001 ORLANDO FL 32885-0023
LAKE COUNTY DEPT OF UTILITIES         P.O. BOX 8005 PAINESVILLE OH 44077-8005
LAKE COUNTY DEPT PUBLIC WORKS         PO BOX 547 BEDFORD PARK IL 60499-0547
LAKE HAVASU CITY                      2330 MCCULLOCH BLVD N LAKE HAVASU CITY AZ 86403
LAKELAND ELECTRIC                     501 EAST LEMON STREET LAKELAND FL 33801-5079
LAKELAND ELECTRIC                     P.O. BOX 32006 LAKELAND FL 33822-0060
LAKESHORE RECYCLING SYSTEMS           P.O. BOX 554884 DETROIT MI 48255-4884
LAKESHORE RECYCLING SYSTEMS           6132 OAKTON STREET MORTON GROVE IL 60053
LAKESIDE TOWN SHOPS                   5800 S UNIVERSITY DR DAVIE FL 33328
LAKESIDE TOWN SHOPS                   P.O. BOX 4717 LOGAN UT 84323-4717
LAKEVIEW LIGHT & POWER                11509 BRIDGEPORT WAY SW LAKEWOOD WA 98499-3041
LANCASTER CO NATURAL GAS AUTH         1010 KERSHAW CAMDEN HIGHWAY LANCASTER SC 29720
LANCASTER CO NATURAL GAS AUTH         P.O. BOX 949 LANCASTER SC 29721-0949
LANCASTER UTILITIES COL OFFICE        104 E MAIN ST ROOM 105 LANCASTER OH 43130
LANCASTER UTILITIES COL OFFICE        104 E MAIN STREET P.O. BOX 1099 LANCASTER OH 43130-0819
LANDIS SEWERAGE AUTHORITY             1776 S. MILL ROAD VINELAND NJ 08360
LANSING BOARD OF WATER & LIGHT        P.O. BOX 13007 LANSING MI 48901-3007
LANSING BOARD OF WATER & LIGHT        1201 S WASHINGTON AVE LANSING MI 48910
LAURENS ELECTRIC COOP                 P.O. BOX 967 LAURENS SC 29360-0967
LAWRENCE TWP TAX COLLECTOR            P.O. BOX 6006 LAWRENCE TWP. NJ 08648
LAYTON CITY                           437 N WASATCH DR LAYTON UT 84041
LAYTON CITY                           434 N WASATCH DR LAYTON UT 84041-3254
LCEC                                  P.O. BOX 31477 TAMPA FL 33631-3477
LCEC                                  4980 BAYLINE DRIVE NORTH FORT MYERS FL 33917
LCWSA                                 380 OLD CEMENT ROAD MONTOURSVILLE PA 17754
LCWSA                                 P.O. BOX 186 MONTOURSVILLE PA 17754
LE MAY - LEWIS COUNTY REFUSE - 2188   P.O. BOX 60248 LOS ANGELES CA 90060-0248
LEE COUNTY UTILITIES                  PO BOX 60045 PRESCOTT AZ 86304-6045
LEES SUMMIT WATER UTILITIES           P.O. BOX 219306 KANSAS MO 64121-9306



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LEMAY-PACIFIC DISPOSAL - DISTRICT 2183   P.O. BOX 60248 LOS ANGELES CA 90060-0248
LENOIR CITY UTILITIES BOARD              7698 CREEKWOOD PARK BLVD LENOIR CITY TN 37771
LENOIR CITY UTILITIES BOARD              P.O. BOX 449 LENOIR CITY TN 37771-0449
LEVEL 3                                  1025 ELDORADO BLVD BROOMFIELD CO 80021
LEVEL 3                                  P.O. BOX 910182 DENVER CO 80291-0182
LEWIS CO PUBLIC UTIL DISTRICT            P.O. BOX 239 CHEHALIS WA 98532
LEXINGTON FAYETTE URBAN CO GOV           200 E MAIN ST LEXINGTON KY 40507
LEXINGTON FAYETTE URBAN CO GOV           P.O. BOX 34090 LEXINGTON KY 40588-4090
LEXINGTON-FAYETTE URBAN COUNTY GOVT      200 E MAIN ST LEXINGTON KY 40507
LEXINGTON-FAYETTE URBAN COUNTY GOVT      P.O. BOX 34090 LEXINGTON KY 40588-4090
LGE                                      430 COMMERCE PARK DR MARIETTA GA 30060
LGE                                      P.O. BOX 9001960 LOUISVILLE KY 40290-1960
LIBERTY UTILITIES                        11 NORTHEASTERN BLVD SALEM NH 03079
LIBERTY UTILITIES                        P.O. BOX 52607 DEPT. 8500 PHOENIX AZ 85072
LIBERTY UTILITIES GEORGIA                11 NORTHEASTERN BLVD SALEM NH 03079
LIBERTY UTILITIES GEORGIA                75 REMITTANCE DR. STE. 1918 CHICAGO IL 60675-1918
LIBERTY UTILITIES NH                     75 REMITTANCE DR STE 1032 CHICAGO IL 60675-1032
LIGHTOWER                                P.O. BOX 28730 NEW YORK NY 10087-8730
LIGHTOWER                                80 CENTRAL ST STE 240 BOXBOROUGH MA 01719
LINCOLN ELECTRIC SYSTEM                  P.O. BOX 2986 OMAHA NE 68103
LINCOLN ELECTRIC SYSTEM                  P.O. BOX 2986 OMAHA NE 68103-2986
LINCOLN WATER & WSTWTR SYSTEM            555 S 10TH ST STE 203 LINCOLN NE 68508
LINCOLN WATER & WSTWTR SYSTEM            555 SOUTH 10TH STREET ROOM 203 LINCOLN NE 68508-2872
LIQUID WASTE SOLUTIONS                   650 W BOUGH LN STE 150-204 HOUSTON TX 77024
LIQUID WASTE SOLUTIONS                   1330 SHERWOODFOREST 104 HOUSTON TX 77043
LITTLE THOMPSON WATER DIST               835 E. STATE HWY 56 BERTHOUD CO 80513-9237
LOCAL WASTE SERVICES LLC                 P.O. BOX 554747 DETROIT MI 48255-4747
LOGAN                                    290 NORTH 100 WEST P.O. BOX 328 LOGAN UT 84323-0328
LOUDOUN WATER                            P.O. BOX 4000 ASHBURN VA 20146-2591
LOUDOUN WATER                            44865 LOUDOUN WATER WAY ASHBURN VA 20147
LOUISVILLE WATER CO                      550 SOUTH THIRD STREET LOUISVILLE KY 40202
LOUISVILLE WATER CO                      P.O. BOX 32460 LOUISVILLE KY 40232-2460
LOXAHATCHEE RIVER DISTRICT               P.O. BOX 8800 JUPITER FL 33468-8800
LRM-COM                                  6140 K-6 S GUN CLUB RD 238 AURORA CO 80016
LRM-COM                                  6140-K6 S GUN CLUB RD AURORA CO 80016
LSSA                                     984 OLD MILL RUN THE VILLAGES FL 32162-1675
LSSA                                     995 NORTHWEST 72ND ST MIAMI FL 33150
LUBBOCK POWER & LIGHT                    1301 BROADWAY LUBBOCK TX 79401
LUBBOCK POWER & LIGHT                    P.O. BOX 10541 LUBBOCK TX 79408-3541
LUS                                      LAFAYETTE UTILITIES SYSTEM P.O. BOX 4024 LAFAYETTE LA 70502-4024
LUS                                      1875 W PINHOOK RD STE B LAFAYETTE LA 70508
LVVWD                                    P.O. BOX 2921 PHOENIX AZ 85062-2921
MACON WATER AUTHORITY                    P.O. BOX 108 MACON GA 31202-0108
MADISON GAS & ELECTRIC                   P.O. BOX 1231 MADISON WI 53701-1231
MADISON GAS & ELECTRIC                   623 RAILROAD ST MADISON WI 53703
MADISON SUBURBAN UTILITY DIST            P.O. BOX 306140 NASHVILLE TN 37230-6140
MADISON UTILITIES                        101 RAY SANDERSON DR MADISON AL 35758
MAHONING TOWNSHIP MUNICPL AUTH           P.O. BOX 609 LEHIGHTON PA 18235
MAINE NATURAL GAS                        9 INDUSTRIAL PARKWAY BRUNSWICK ME 04011



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MAINE NATURAL GAS                    P.O. BOX 99 BRUNSWICK ME 04011
MAINE WATER CO                       93 INDUSTRIAL PARK RD SACO ME 04072
MAJOR WASTE DISPOSAL SERVICE INC.    6430 VROOMAN RD PAINESVILLE OH 44077
MALCOMSON ROAD UD                    TAX ASSESSOR COLLECTOR PO BOX 1819 HOUSTON TX 77251
MANATEE CO UTILITIES DEPT            P.O. BOX 25350 BRADENTON FL 34206-5350
MANCHESTER WATER WORKS               PO BOX 9677 MANCHESTER NH 03108-9677
MANITOWOC PUBLIC UTILITIES           1303 SOUTH 8TH ST PO BOX 1090 MANITOWOC WI 54221
MANITOWOC PUBLIC UTILITIES           PAYMENT PROCESSING CNTR PO BOX 41 MANITOWOC WI 54221-0041
MANSFIELD ELECTRIC                   125 HIGH STREET UNIT 1 MANSFIELD MA 02048
MANSFIELD ELECTRIC                   P.O. BOX 9192 CHELSEA MA 02150-9192
MANSFIELD WATER SEWER                P.O. BOX 9192 CHELSEA MA 02150-9192
MANSFIELD WATER SEWER                99 PARK AVENUE EAST MANSFIELD OH 44902
MARATHON GARBAGE SERVICE INC.        4290 OVERSEAS HWY MARATHON FL 33050
MARIETTA POWER WATER                 675 N MARIETTA PARKWAY MARIETTA GA 30060
MARIETTA POWER WATER                 P.O. BOX 609 MARIETTA GA 30061-0609
MARINA COAST WATER DISTRICT          DEPT LA23031 PASADENA CA 91185-3031
MARINA COAST WATER DISTRICT          11 RESERVATION ROAD MARINA CA 93933-2099
MARION MUNICIPAL UTILITIES           1540 N WASHINGTON STREET MARION IN 46952
MARION MUNICIPAL UTILITIES           P.O. BOX 718 MARION IN 46952-0718
MARITIME ENERGY                      PO BOX 485 ROCKLAND ME 04841
MARK DUNNING INDUSTRIES INC          P.O. BOX 2046 DOTHAN AL 36302
MARPAN SUPPLY CO. INC.               P.O. BOX 2068 TALLAHASSEE FL 32316-2068
MARSHFIELD UTILITIES                 2000 SOUTH CENTRAL AVE MARSHFIELD WI 54449
MARSHFIELD UTILITIES                 2000 S CENTRAL AVE. P.O. BOX 670 MARSHFIELD WI 54449-0670
MARTIN COUNTY UTILITIES              P.O. BOX 9000 STUART FL 34995-9000
MARTIN COUNTY UTILITIES              2378 SE OCEAN BLVD STUART FL 34996-3310
MARYLAND AMERICAN WATER              1025 LAUREL OAK ROAD VOORHEES NJ 08043
MARYLAND AMERICAN WATER              P.O. BOX 790247 ST. LOUIS MO 31790
MASSAPEQUA WATER DISTRICT            84 GRAND AVENUE MASSAPEQUA NY 11758
MASSAPEQUA WATER DISTRICT            84 GRAND AVENUE MASSAPEQUA NY 11758-4990
MAUI DISPOSAL CO. INC                P.O. BOX 30490 HONOLULU HI 96820-0490
MAUI ELECTRIC CO                     210 W KAMEHAMEHA AVE KAHULUI, MAUI HI 96732
MAUI ELECTRIC CO                     P.O. BOX 310040 HONOLULU HI 96820-1040
MAWC                                 P.O. BOX 800 GREENSBURG PA 15601
MAYOR & COUNCIL OF MIDDLETOWN        19 W GREEN STREET MIDDLETOWN DE 19709
MAYOR & COUNCIL OF MIDDLETOWN        19 W. GREEN ST. MIDDLETOWN DE 19709-1315
MCCANDLESS TWP SANITARY AUTH         418 ARCADIA DR PITTSBURGH PA 15237
MCCANDLESS TWP SANITARY AUTH         P.O. BOX 640803 PITTSBURGH PA 15264-0803
MCP VOA II LLC                       10 PARK AVE MORRISTOWN NJ 07960
MCUD-MANATEE COUNTY UTILITIES        P.O. BOX 25350 BRADENTON FL 34206-5350
DEPARTMENT
MCUD-MANATEE COUNTY UTILITIES        4410 66TH STREET WEST BRADENTON FL 34210
DEPARTMENT
MDC                                  745 5TH AVENUE 19TH FL NEW YORK NY 10151
MDC                                  P.O. BOX 990092 HARTFORD CT 06199-0092
MEDINA CO SANITARY ENGINEERS         791 W SMITH RD MEDINA OH 44256
MEDINA CO SANITARY ENGINEERS         P.O. BOX 542 MEDINA OH 44258
MEMPHIS LIGHT GAS & WATER            220 SOUTH MAIN ST MEMPHIS TN 38103
MEMPHIS LIGHT GAS & WATER DIV        220 SOUTH MAIN ST MEMPHIS TN 38103



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MEMPHIS LIGHT GAS & WATER DIV        P.O. BOX 388 MEMPHIS TN 38145
MEMPHIS LIGHT GAS & WATER DIV        P.O. BOX 388 MEMPHIS TN 38145-0388
MEMPHIS RECYCLING SERVICES           2401 S. LAFLIN ST. CHICAGO IL 60680
MENARD INC                           ATTN: PROPERTIES DIVISION 5101 MENARD DR EAU CLAIRE WI 54703
MERIDIAN TRANSFER                    P.O. BOX 677839 DALLAS TX 75267-7839
MERRILLVILLE CONSERVANCY DIST        6251 BROADWAY MERRILLVILLE IN 46410-3004
MESA AZ                              P.O. BOX 1878 MESA AZ 85211-1878
MET ED                               C/O FIRSTENERGY CORP 331 NEWMAN SPRINGS RD BLDG 3 RED BANK NJ 07701
MET ED                               P.O. BOX 3687 AKRON OH 44309-3687
METRO WATER DISTRICT                 P.O. BOX 36870 TUCSON AZ 85740-6870
METRO WATER SERVICES                 1600 2ND AVE NORTH NASHVILLE TN 37208
METRO WATER SERVICES                 P.O. BOX 305225 NASHVILLE TN 37230-5225
METROPLEX PLAZA LP                   C/O WEITZMAN 3102 MAPLE AVE STE 350 DALLAS TX 75201
METROPOLITAN ST LOUIS SWR DIST       P.O. BOX 437 ST. LOUIS MO 63166-0437
METROPOLITAN UTILITIES DIST          1723 HARNEY ST OMAHA NE 68102-1960
METROPOLITAN UTILITIES DIST          P.O. BOX 3600 OMAHA NE 68103-0600
MGP X PROPERTIES LLC                 P.O. BOX 511231 LOS ANGELES CA 90051-3029
MGP X PROPERTIES LLC                 425 CALIFORNIA STREET 10TH FL SAN FRANCISCO CA 94104
MIAMI DADE WATER SEWER DEPT          P.O. BOX 026055 MIAMI FL 33102-6055
MIAMI DADE WATER SEWER DEPT          3071 SW 38TH AVENUE MIAMI FL 33146
MICHIGAN CITY DEPT WATER WORKS       P.O. BOX 888 MICHIGAN CITY IN 46361
MICHIGAN GAS UTILITIES               PO BOX 19000 GREEN BAY WI 54307-9000
MID VALLEY DISPOSAL INC.             P.O. BOX 12385 FRESNO CA 93777
MIDAMERICAN ENERGY CO                666 GRAND AVENUE STE 500 DES MOINES IA 50309
MIDAMERICAN ENERGY CO                P.O. BOX 8020 DAVENPORT IA 52808-8020
MIDDLE TENNESSEE EMC                 555 NEW SALEM HIGHWAY MURFREESBORO TN 37129
MIDDLE TENNESSEE EMC                 P.O. BOX 330008 MURFREESBORO TN 37133-0008
MIDDLESEX WATER CO                   1500 RONSON RD ISELIN NJ 08850
MIDDLESEX WATER CO                   P.O. BOX 826538 PHILADELPHIA PA 19182-6538
MIDDLETOWN SEWER AUTHORITY           100 BEVERLY WAY PO BOX 205 BELFORD NJ 07718
MIDDLETOWN SEWER AUTHORITY           P.O. BOX 9 LIMA PA 19037
MIDWAY UTILITY SERVICES INC          4685 118TH AVENUE CLEARWATER FL 33762
MIDWAY WATER SYSTEM INC              4971 GULF BREEZE PKWY GULF BREEZE FL 32563
MILFORD SEWER DEPARTMENT             230 S MAIN ST HOPEDALE MA 01747
MILFORD SEWER DEPARTMENT             P.O. BOX 644 MILFORD MA 01757-0644
MILFORD WATER COMPANY                P.O. BOX 1343 BRATTLEBORO VT 05302-1343
MILLER RECYCLING CORPORATION         73 PLYMOUTH ST MANSFIELD MA 02048
MILLER RECYCLING CORPORATION         P.O. BOX 74 MANSFIELD MA 02048
MILPITAS SANITATION INC              P.O. BOX 1738 SAN LEANDRO CA 94577-0173
MINNEAPOLIS FINANCE DEPT             P.O. BOX 77028 MINNEAPOLIS MN 55480-7728
MINNESOTA ENERGY RESOURCES           C/O WEC ENERGY GROUP 231 W. MICHIGAN ST MILWAUKEE WI 53203
MINNESOTA ENERGY RESOURCES           P.O. BOX 19002 GREEN BAY WI 54307-9002
MISHAWAKA UTILITIES                  126 N CHURCH ST P.O. BOX 363 MISHAWAKA IN 46546-0363
MISSISSIPPI POWER CO                 P.O. BOX 245 BIRMINGHAM AL 35201-0245
MISSISSIPPI POWER CO                 2992 WEST BEACH BLVD GULFPORT MS 39501
MISSOURI AMERICAN WATER              1025 LAUREL OAK ROAD VOORHEES NJ 08043
MISSOURI AMERICAN WATER              P.O. BOX 94551 PALATINE IL 60094-4551
MOBILE AREA WATER & SWR SYSTEM       P.O. BOX 830130 BIRMINGHAM AL 35283-0130
MOBILE AREA WATER & SWR SYSTEM       4725 MOFFETT ROAD MOBILE AL 36618



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MODESTO IRRIGATION DISTRICT              1231 11TH STREET MODESTO CA 95352
MODESTO IRRIGATION DISTRICT              P.O. BOX 5355 MODESTO CA 95352-5355
MOHAVE ELECTRIC COOPERATIVE              P.O. BOX 52091 PHOENIX AZ 85072-2091
MOHAVE ELECTRIC COOPERATIVE              928 HANCOCK RD BULLHEAD CITY AZ 86442
MONROEVILLE MUNICIPAL AUTH               P.O. BOX 6163 HERMITAGE PA 16148-0922
MONROEVILLE MUNICIPAL AUTH               219 SPEELMAN LANE MONROEVILLE PA 15146
MONTE VISTA WATER DISTRICT               P.O. BOX 50000 ONTARIO CA 91761-1077
MONTGOMERY COUNTY                        350 PAGEANT LN STE 502 CLARKSVILLE TN 37040
MONTGOMERY WATER WRKS SEWER BD           P.O. BOX 1631 MONTGOMERY AL 36102-1631
MONUMENT WASTE SERVICES                  P.O. BOX 3387 GRAND JUNCTION CO 81502
MONUMENT WASTE SERVICES                  2295 SOUTH HIGHWAY 191 MOAB UT 84532
MORRIS PLAINS HOLDING UE LLC             1711 STATE ROUTE 10 EAST MORRIS PLAINS NJ 07950
MORRISTOWN UTILITY COMMISSION            441 WEST MAIN STREET MORRISTOWN TN 37814
MORRISTOWN UTILITY COMMISSION            P.O. BOX 59012 KNOXVILLE TN 37950-9012
MOUNT LAUREL TWP MUA                     1201 S CHURCH ST MT LAUREL NJ 08054
MOUNT LAUREL TWP MUA                     1201 SOUTH CHURCH STREET MOUNT LAUREL NJ 08054
MOUNT PLEASANT SWR UTIL DIST 1           P.O. BOX 88105 MILWAUKEE WI 53288-0105
MOUNT PLEASANT WATERWORKS                P.O. BOX 602832 CHARLOTTE NC 28260-2832
MOUNT PLEASANT WATERWORKS                1619 RIFLE RANGE ROAD MOUNT PLEASANT SC 29464
MOUNT PROSPECT PUBL WORKS DEPT           1700 W CENTRAL RD MOUNT PROSPECT IL 60056-2229
MOUNTAIN WASTE & RECYCLING               1058 COUNTY RD 100 CARBONDALE CO 81623
MOUNTAIN WASTE & RECYCLING               P.O. BOX 999 CARBONDALE CO 81623-0999
MOUNTAINEER GAS CO                       414 SUMMERS ST CHARLESTON WV 25301
MOUNTAINEER GAS CO                       P.O. BOX 5656 CHARLESTON WV 25361-0656
MR. TRASH                                1108 SCHOOL AVE PANAMA CITY FL 32401
MTMSA                                    1001 STUMP RD MONTGOMERY PA 18936
MTMSA                                    P.O. BOX 618 SOUDERTON PA 18964-0618
MUHLENBERG TOWNSHIP AUTHORITY            2840 KUTZTOWN ROAD READING PA 19605
MUNCIE SANITARY DISTRICT                 P.O. BOX 2605 FORT WAYNE IN 46801-2605
MUNCIE SANITARY DISTRICT                 300 NORTH HIGH ST MUNCIE IN 47305
MUNIE AUTH OF TWP OF ROBINSON            4200 CAMPBELLA RUN ROAD PITTSBURGH PA 15205
MUNIE AUTH OF TWP OF ROBINSON            P.O. BOX 642715 PITTSBURGH PA 15264-2715
MURFREESBORO ELECTRIC DEPT               205 N WALNUT ST MURFREESBORO TN 37130
MURFREESBORO ELECTRIC DEPT               P.O. BOX 9 MURFREESBORO TN 37133-0009
MURFREESBORO WTR RESOURCES DPT           P.O. BOX 897 MURFREESBORO TN 37133-0897
MURRAY CITY CORP                         5025 SOUTH STATE STREET; P.O. BOX 57919 MURRAY UT 84157-0919
MURREYS DISPOSAL INC - DISTRICT 2111     P.O. BOX 60248 LOS ANGELES CA 90060-0248
MURREYS DISPOSAL INC - DISTRICT 2111     4822 70TH AVE E FIFE WA 98424
MUSKINGUM COUNTY UTILITIES               375 RICHARDS RD ZANESVILLE OH 43701-6605
NAPA COUNTY RECYCLING & WASTE SERVICES   1195 THIRD ST STE 108 NAPA CA 94559
NASHUA WASTE WATER SYSTEM                P.O. BOX 3840 NASHUA NH 03061-3840
NASHVILLE ELECTRIC SERVICE               P.O. BOX 305099 NASHVILLE TN 37230-5099
NASHVILLE ELECTRIC SERVICE               1214 CHURCH ST NASHVILLE TN 37246
NATIONAL EXEMPTION SERVICE               PO BOX 9020 CLEARWATER FL 33758-9020
NATIONAL FUEL                            6363 MAIN ST WILLAMSVILLE NY 14421
NATIONAL FUEL                            PO BOX 371835 PITTSBURGH PA 15250-7835
NATIONAL GRID                            PO BOX 11735 NEWARK NJ 07101-4735
NATIONAL PROJECT RESOURCES LP            C/O PMC BANK NATIONAL ASSOC PO BOX 822624 PHILADELPHIA PA 19182-2624
NATIONAL REALTY & DEVELOP CORP           325 NORTH MAIN STREET MANVILLE NJ 08835



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NATIONAL RETAIL PROPERTIES LP        P.O. BOX 5407 CAROL STREAM IL 60197-5407
NEVADA IRRIGATION DISTRICT           1036 W MAIN STREET GRASS VALLEY CA 95945-5424
NEW BRAUNFELS UTILITIES              P.O. BOX 660 SAN ANTONIO TX 78293-0660
NEW HAMPSHIRE ELECTRIC COOP          P.O. BOX 9612 MANCHESTER NH 03108-9612
NEW JERSEY AMERICAN WATER            1025 LAUREL OAK RD VOORHEES NJ 08043
NEW JERSEY AMERICAN WATER            P.O. BOX 371331 PITTSBURGH PA 15250-7331
NEW PLAN CINNAMINSON URBAN           P.O. BOX 645324 CINCINNATI OH 45264-5324
NEW RIVER LIGHT & POWER CO           P.O. BOX 1130 BOONE NC 28607
NEW YORK AMERICAN WATER              60 BROOKLYN AVE MERRICK NY 11566
NEW YORK AMERICAN WATER              P.O. BOX 371332 PITTSBURGH PA 15250-7332
NEW YORK POWER AUTHORITY             P.O.BOX 5211 BINGHAMTON NY 13902-5211
NEWNAN UTILITIES                     ATTN LEGAL COUNSEL 70 SEWELL RD NEWMAN GA 30263
NEWNAN UTILITIES                     P.O. BOX 931808 ATLANTA GA 31193-1808
NEWPORT NEWS WATERWORKS              P.O. BOX 979 NEWPORT NEWS VA 23607-0979
NEWTOWN CENTER ASSOCIATES            550 MAMARONECK AVE STE 411 HARRISON NY 10528-1634
NEWTOWN SEWER AUTHORITY              15 S CONGRESS ST NEWTON PA 18940
NEWTOWN SEWER AUTHORITY              P.O. BOX 329 NEWTOWN PA 18940-0329
NEWTOWN TWSP MUNIC AUTHORITY         P.O. BOX 464 PLEASANT GROVE UT 84062
NFT ENVIRONMENTAL SERVICES           400 NORTH BRANCH RD OAKDALE PA 15071
NICOR GAS                            P.O. BOX 5407 CAROL STREAM IL 60197-5407
NIEDERHAUS BROS. REFUSE INC.         1905 YOLANDE LINCOLN NE 68521
NIEDERHAUS BROS. REFUSE INC.         1905 YOLANDE AVE LINCOLN NE 68521
NIPSCO                               C/O CORPORATION SERVICE COMPANY 135 N PENNSYLVANIA ST, STE 1610 INDIANAPOLIS
                                     IN 46204
NIPSCO                               P.O. BOX 13007 MERRILLVILLE IN 46411-3007
NJ NATURAL GAS CO                    P.O. BOX 11743 NEWARK NJ 07101-4743
NJ NATURAL GAS CO                    201 ROUNDHILL DR ROUNDHILL CORPORATE CENTER ROCKAWAY NJ 07866
NORDIC ENERGY SERVICES LLC           2999 MOMENTUM PLACE CHICAGO IL 60689
NORTH BERGEN MUA                     6200 TONNELLE AVENUE NORTH BERGEN NJ 07047
NORTH FLORIDA WASTE MANAGEMENT       3633 LENOX AVE JACKSONVILLE FL 32254
NORTH GEORGIA EMC                    SEDC P.O. BOX 530812 ATLANTA GA 30353-0812
NORTH GEORGIA EMC                    1850 CLEVELAND HWY DALTON GA 30721
NORTH HAVEN HOLDINGS LP              C/O NATIONAL REALTY & DEVEL. CORP 3 MANHATTANVILLE RD STE 202 PURCHASE NY
                                     10577
NORTH HUDSON SEWERAGE AUTH           P.O. BOX 71352 PHILADELPHIA PA 19176-1352
NORTH LITTLE ROCK ELECTRIC           120 MAIN ST NORTH LITTLE ROCK AR 72114
NORTH LITTLE ROCK ELECTRIC           P.O. BOX 936 NORTH LITTLE ROCK AR 72115
NORTH MARIN WATER DISTRICT           P.O. BOX 511529 LOS ANGELES CA 90051-8084
NORTH PARK PUBLIC WATER DIST         1350 TURRET DR MACHESNEY PARK IL 61115-1485
NORTH PECOS WATER & SANITATION       6900 N PECOS ST DENVER CO 80221
NORTH PENN WATER AUTHORITY           P.O. BOX 667 SOUDERTON PA 18964-0667
NORTH PORT SOLID WASTE DISTRICT      4970 CITY HALL BLVD. NORTH PORT FL 34286-4100
NORTH PORT UTILITIES                 4970 CITY HALL BLVD NORTH PORT FL 34286
NORTH PORT UTILITIES                 P.O. BOX 511130 PUNTA GORDA FL 33951-1130
NORTH RICHLAND HILLS                 P.O. BOX 961092 FORT WORTH TX 76161-0092
NORTH RICHLAND HILLS                 P.O. BOX 820609 NORTH RICHLAND HILLS TX 76182-0609
NORTH SHORE GAS                      PO BOX 2968 MILWAUKEE WI 53201-2968
NORTH SHORE GAS                      130 E RANDOLPH ST STE 18 CHICAGO IL 60601
NORTH SPRINGS IMPROVEMENT DISTRICT   9700 NW 52ND ST CORAL SPRINGS FL 33076-2656



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NORTH WALES WATER AUTHORITY              200 W WALNUT ST NORTH WALES PA 19454
NORTH WALES WATER AUTHORITY              P.O. BOX 95000-1138 PHILADELPHIA PA 19195-1138
NORTHAMPTON BOROUGH MUNI AUTH            P.O. BOX 156 NORTHAMPTON PA 18067
NORTHCENTRAL ELEC POWER ASSOC            P.O. BOX 405 BYHALIA MS 38611-0405
NORTHCENTRAL ELEC POWER ASSOC            4600 NORTHCENTRAL WAY OLIVE BRANCH MS 38654
NORTHEAST OH NATURAL GAS CORP            P.O. BOX 74008596 CHICAGO IL 60674-8596
NORTHEAST OHIO REGIONAL SEWER DISTRICT   P.O. BOX 94550 CLEVELAND OH 44101-4550
NORTHEAST OHIO REGIONAL SEWER DISTRICT   3900 EUCLID AVE CLEVELAND OH 44115
NORTHEASTERN REMC                        4901 EAST PARK 30 DRIVE COLUMBIA CITY IN 46725
NORTHEASTERN REMC                        PO BOX 291 COLUMBIA CITY IN 46725-0291
NORTHERN ARIZONA WASTE SYSTEMS           P.O. BOX 3477 FLAGSTAFF AZ 86003
NORTHERN COLORADO DISPOSAL INC.          337 E 8TH ST GREELEY CO 80631
NORTHERN COLORADO DISPOSAL INC.          P.O. BOX 2146 GREELEY CO 80632
NORTHERN VIRGINIA ELEC COOP              C/O LUTHER L HAJEK MARTIN BERCOVIVICI, DOUGLAS BEHR, KELLER AND HECKMAN, LLP
                                         1001 G ST NW WASHINGTON DC 20001
NORTHERN VIRGINIA ELEC COOP              P.O. BOX 34795 ALEXANDRIA VA 22334-0795
NORTHERN WASCO COUNTY                    2345 RIVER RD THE DALLES OR 97058-3551
NORTHWESTERN WATER & SWR DIST            P.O. BOX 348 BOWLING GREEN OH 43402-0348
NUWAY DISPOSAL                           P.O. BOX 9 MOKENA IL 60448
NV ENERGY                                P.O. BOX 30086 RENO NV 89520-3086
NW HARRIS CO MUD 21                      P.O. BOX 2569 SPRING TX 77383-2569
NW NATURAL                               220 NW 2ND AVE PORTLAND OR 97209
NW NATURAL                               P.O. BOX 6017 PORTLAND OR 97228-6017
NYC WATER BOARD                          P.O. BOX 11863 NEWARK NJ 07101-8163
NYSEG                                    18 LINK DR BINGHAMTON NY 13904
NYSEG                                    P.O. BOX 847812 BOSTON MA 02284-7812
OAK CREEK WATER & SEWER                  P.O. BOX 673115 CHICAGO IL 60695-3215
OATES ENERGY INC                         P.O. BOX 51268 JACKSONVILLE BEACH FL 32240-1268
OATES ENERGY INC                         14286 BEACH BLVD STE 12 JACKSONVILLE FL 32250
OCONEE COUNTY UTILITY DEPT               P.O. BOX 88 WATKINSVILLE GA 30677
OCONOMOWOC UTILITIES                     174 E WISCONSIN AVE. PO BOX 27 OCONOMOWOC WI 53066
OCONOMOWOC UTILITIES                     UPDATED 174 E WISCONSIN AVENUE OCONOMOWOC WI 53066
OFALLON WATER & SEWER DEPT               255 S LINCOLN AVE OFALLON IL 62269-2139
OFALLON WATER & SEWER DEPT               UPDATED 255 S LINCOLN AVE OFALLON IL 62269-2139
OFS SOLID WASTE SVCS. INC.               15002 SOUTH DR CHANNELVIEW TX 77530
OFS SOLID WASTE SVCS. INC.               P.O. BOX 2258 CHANNELVIEW TX 77530
OGE                                      321 NORTH HARVEY OKLAHOMA CITY OK 73101
OGE                                      P.O. BOX 24990 OKLAHOMA CITY OK 73124-0990
OHIO CO PUBL SERVICE DISTRICT            411 NATIONAL RD WHEELING WV 26003
OHIO CO PUBL SERVICE DISTRICT            P.O. BOX 216 TRIADELPHIA WV 26059
OHIO EDISON                              76 SOUTH MAIN ST AKRON OH 44308
OHIO EDISON                              P.O. BOX 3637 AKRON OH 44309-3637
OKALOOSA GAS DISTRICT                    P.O. BOX 548 VALPARAISO FL 32580-0548
OKLAHOMA NATURAL GAS                     P.O. BOX 219296 KANSAS CITY MO 64121-9296
OKLAHOMA NATURAL GAS                     401 NORTH HARVEY AVENUE OKLAHOMA CITY OK 73101-0401
OLD BRIDGE MUNICIPAL UTIL AUTH           SEWER DIVISION 71 BOULEVARD WEST CLIFFWOOD BEACH NJ 07735
OLD BRIDGE MUNICIPAL UTIL AUTH           WATER DIVISION 71 BOULEVARD WEST CLIFFWOOD BEACH NJ 07735
OLD BRIDGE MUNICIPAL UTIL AUTH           P.O. BOX 1006 LAURENCE HARBOR NJ 08879-4006
OLD BRIDGE MUNICIPAL UTIL AUTH           P.O. BOX 14444 NEW BRUNSWICK NJ 08906-4444



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Claim Name                             Address Information
OLEARY GROUP WASTE SYSTEMS - NC        1928 SOUTH BLVD SUITE 310 CHARLOTTE NC 28203
OLYMPIC IV MALL SERVICES               P.O. BOX 96383 LAS VEGAS NV 89193
OLYMPIC MALL SERVICES                  P.O. BOX 800336 HOUSTON TX 77280-0336
OMAHA PUBLIC POWER DISTRICT            P.O. BOX 3995 OMAHA NE 68103-0995
ONE SOURCE                             4800 KELLER HICKS RD FORT WORTH TX 76244-9643
ONE SOURCE                             UPDATED 4800 KELLER HICKS RD FORT WORTH TX 76244-9643
ONEPOINT                               P.O. BOX 1849 WOODSTOCK GA 30188-1369
ONTARIO MUNICIPAL UTILITIES CO         P.O. BOX 8000 ONTARIO CA 91761-1076
ONTARIO MUNICIPAL UTILITIES CO         CITY HALL 303 EAST B STREET ONTARIO CA 91764
OPELIKA POWER SERVICES                 600 FOX RUN PARKWAY OPELIKA AL 36801
OPELIKA POWER SERVICES                 P.O. BOX 2168 OPELIKA AL 36803-2168
OPELIKA UTILITIES                      4055 WATER STREET OPELIKA AL 36803
OPELIKA UTILITIES                      P.O. BOX 2587 OPELIKA AL 36803-2587
OPPD                                   P.O. BOX 3995 OMAHA NE 68103-0995
ORANGE & ROCKLAND                      P.O. BOX 1005 SPRING VALLEY NY 10977
ORANGE CITY UTILITIES                  205 E GRAVES AVE ORANGE CITY FL 32763
ORANGE CITY UTILITIES                  UPDATED 205 E GRAVES AVE ORANGE CITY FL 32763
ORANGE COUNTY UTILITIES                9150 CURRY FORD ROAD ORLANDO FL 32825
ORANGE COUNTY UTILITIES                P.O. BOX 628068 ORLANDO FL 32862-8068
ORLANDO UTILITIES COMMISSION           100 WEST ANDERSON ST ORLANDO FL 32801
ORLANDO UTILITIES COMMISSION           P.O. BOX 4901 ORLANDO FL 32802-4901
ORLANDO WASTE PAPER CO INC             2715 STATEN AVE ORLANDO FL 32804
ORLANDO WASTE PAPER CO INC             P.O. BOX 547874 ORLANDO FL 32854-7874
ORO VALLEY WATER UTILITY               P.O. BOX 53272 PHOENIX AZ 85072-3272
ORO VALLEY WATER UTILITY               11000 N LA CANADA DRIVE ORO VALLEY AZ 85737
ORWELL NATURAL GAS                     P.O. BOX 73139 CLEVELAND OH 44193-3139
OSTERMAN PROPANE                       P.O. BOX 150 WHITINSVILLE MA 01588
OSTERMAN PROPANE                       1 MEMORIAL SQ WHITINSVILLE MA 01588-3010
OXFORD AREA SEWER AUTHORITY            P.O. BOX 379 OXFORD PA 19363
OZARKS ELECTRIC COOPERATIVE            P.O. BOX 22114 TULSA OK 74121-9948
OZELLO WATER ASSOCIATION INC           P.O. BOX 546 CRYSTAL RIVER FL 34423-0546
PACE WATER SYSTEMS INC                 4401 WOODBINE RD PACE FL 32571
PACIFIC POWER                          P.O. BOX 26000 PORTLAND OR 97256-0001
PACIFIC WASTE INC.                     74-5610 ALAPA ST KAILUA KONA HI 96740
PACIFIC WASTE INC.                     74-5610 ALAPA STREET KAILUA-KONA HI 96740-3184
PACIFICORP                             P.O. BOX 400 PORTLAND OR 97207-0400
PALM BEACH COUNTY WTR UTIL DPT         P.O. BOX 330008 MURFREESBORO TN 37133-0008
PALM BEACH COUNTY WTR UTIL DPT         301 N OLIVE AVE WEST PALM BEACH FL 33401
PALM BEACH COUNTY WTR UTIL DPT         P.O. BOX 24740 WEST PALM BEACH FL 33416-4740
PANAMA CITY BEACH VENTURE II, LLC      C/O CASTO PO BOX 1450 COLUMBUS OH 43216
PAPILLION SANITATION - DISTRICT 3050   P.O. BOX 660177 DALLAS TX 75266-0177
PARACO GAS                             2926 ROUTE 32 NORTH SAUGERTIES NY 12477-5120
PARAMOUNT NEWCO REALTY LLC             C/O UPLAND 1195 ROUTE 70 STE 2000 LAKEWOOD NJ 08701
PARAMOUNT NEWCO REALTY LLC             UPDATED 1195 HIGHWAY 70, STE 2000 LAKEWOOD NJ 08701
PARKER WATER & SANITATION DIST         18100 E WOODMAN DR PARKER CO 80134
PARKER WATER & SANITATION DISTRICT     P.O. BOX 5250 DENVER CO 80217-5250
PASSAIC VALLEY WATER COMM              P.O. BOX 11393 NEWARK NJ 07101-4393
PATRIOT COMMUNICATIONS                 P.O. BOX 92899 LOS ANGELES CA 90009
PAUL RIGDA DUMPSTERS/EXCAVATING        5425 CANADA ROAD BIRCH RUN MI 48415



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Claim Name                           Address Information
PAUL RIGDA DUMPSTERS/EXCAVATING      UPDATED 5425 CANADA ROAD BIRCH RUN MI 48415
PDQ ISRAEL FAMILY NRTHTWN CMNS       P.O. BOX 10017 TOLEDO OH 43699-0017
PEABODY MUNICIPAL LIGHT PLANT        201 WARREN STREET EXTENSION PEABODY MA 01960
PEABODY MUNICIPAL LIGHT PLANT        P.O. BOX 3199 PEABODY MA 01961-3199
PECO ENERGY                          P.O. BOX 37629 PHILADELPHIA PA 19101
PECO ENERGY                          2301 MARKET STREET PHILADELPHIA PA 19103
PECO PAYMENT PROCESSING              2301 MARKET ST PHILADELPHIA PA 19103
PECO PAYMENT PROCESSING              UPDATED 2301 MARKET STREET PHILADELPHIA PA 19103
PEDERNALES ELECTRIC COOP INC         201 S AVENUE F JOHNSON CITY TX 78636
PEDERNALES ELECTRIC COOP INC         P.O. BOX 1 JOHNSON CITY TX 78636
PENELEC                              76 SOUTH MAIN ST AKRON OH 44308
PENELEC                              P.O. BOX 3687 AKRON OH 44309
PENINSULA LIGHT COMPANY              13315 GOODNOUGH DR NW GIG HARBOR WA 98332-8640
PENN POWER                           76 SOUTH MAIN ST AKRON OH 44308
PENN POWER                           P.O. BOX 3687 AKRON OH 44309-3687
PENNICHUCK                           P.O. BOX 1947 25 MANCHESTER ST MERRIMACK NH 03054-1947
PENNSYLVANIA AMERICAN WATER          800 W HERSHEY PARK DR HERSHEY PA 17033
PENNSYLVANIA AMERICAN WATER          P.O. BOX 371412 PITTSBURGH PA 15250-7412
PENNYRILE RURAL ELEC COOP CORP       P.O. BOX 2900 HOPKINSVILLE KY 42241-2900
PEOPLES GAS                          PO BOX 2968 MILWAUKEE WI 53201-2968
PEOPLES GAS CO                       P.O. BOX 747105 PITTSBURGH PA 15274-7105
PEOPLES GAS CO                       200 E RANDOLPH ST CHICAGO IL 60601-6436
PEPCO                                PO BOX 13608 PHILADELPHIA PA 19101
PETRO COMMERCIAL SERVICES            P.O. BOX 28335 NEWARK NJ 07101-3116
PETRO COMMERCIAL SERVICES            P.O. BOX 140246 BROOKLYN NY 11214-0246
PETRO COMMERCIAL SERVICES            55-60 58TH ST MASPETH NY 11378
PETRO COMMERCIAL SVC                 55-60 58TH ST MASPETH NY 11378
PG&E                                 77 BEALE STREET SAN FRANCISCO CA 94105
PG&E                                 P.O. BOX 997300 SACRAMENTO CA 95899-7300
PGE                                  P.O. BOX 4438 PORTLAND OR 97208-4438
PHILADELPHIA GAS WORKS               P.O. BOX 11700 NEWARK NJ 07101-4700
PIEDMONT ASSOCIATES LLC              P.O. BOX 384 SHORT HILLS NJ 07078-0384
PIEDMONT NATURAL GAS                 1915 REXFORD RD CHARLOTTE NC 28211
PIEDMONT NATURAL GAS                 P.O. BOX 660920 DALLAS TX 75266-0920
PIERCE COUNTY SEWER                  P.O. BOX 11620 TACOMA WA 98411-6620
PIKE COUNTY LIGHT & POWER CO         105 SCHNEIDER LANE MILFORD PA 18337
PIKE COUNTY LIGHT & POWER CO         P.O. BOX 1109 MILFORD PA 18337
PINARD WASTE SYSTEMS INC             32 W RIVER RD HOOKSETT NH 03106
PINARD WASTE SYSTEMS INC             P.O. BOX 5048 MANCHESTER NH 03108
PINELLAS COUNTY UTILITIES            PO BOX 1780 CLEARWATER FL 33757-1780
PINEVILLE ELEC & COMMUN SYSTEM       P.O. BOX 249 PINEVILLE NC 28134
PLACER COUNTY WATER AGENCY           P.O. BOX 45808 SAN FRANCISCO CA 94145-0808
PLACER COUNTY WATER AGENCY           144 FERGUSON ROAD AUBURN CA 95603
PLAINFIELD CHARTER TOWNSHIP          6161 BELMONT AVE NE BELMONT MI 49306
PLAINVIEW WATER DISTRICT             P.O. BOX 9113 PLAINVIEW NY 11803-9013
PLEASANT PRAIRIE UTILITIES           9915 39TH AVE PLEASANT PRAIRIE WI 53158
PLEASANTON GARBAGE SERVICE           P.O. BOX 399 PLEASANTON CA 94566
POLK COUNTY UTILITIES                P.O. BOX 2019 BARTOW FL 33831-3019
POLO TOWNE CROSSING PLANO TX LP      CREST COMMERCIAL REAL ESTATE 9330 LBJ FREEWAY STE 1080 DALLAS TX 75243



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Claim Name                           Address Information
PORTAGE CO WATER RESOURCES           449 S MERIDIAN ST 3RD FL RAVENNA OH 44266
PORTAGE CO WATER RESOURCES           P.O. BOX 812 RAVENNA OH 44266-0812
PORTLAND DISPOSAL & RECYCLING        7202 NE 42ND PORTLAND OR 97218
PORTLAND GENERAL ELECTRIC            121 SW SALMON ST PORTLAND OR 97204
PORTLAND GENERAL ELECTRIC            P.O. BOX 4438 PORTLAND OR 97208-4438
POTOMAC EDISON                       76 SOUTH MAIN STREET AKRON OH 44308
POTOMAC EDISON                       P.O. BOX 3615 AKRON OH 44309-3615
POTOMAC FESTIVAL LLC                 8405 GREENSBORO DR FL 8 MCLEAN VA 22102
POTOMAC FESTIVAL, LLC                P.O. BOX 310339 DES MOINES IA 50331-0339
PPL ELECTRIC UTILITIES               2 NORTH 9TH ST CPC-GENN1 ALLENTOWN PA 18101-1175
PPL ELECTRIC UTILITIES               UPDATED 2 NORTH 9TH ST, CPC-GENN1 ALLENTOWN PA 18101-1175
PRDB SPRINGFIELD LP                  1604 WALNUT ST 4TH FLOOR PHILADELPHIA PA 19103
PRICE DISPOSAL INC.                  8665 SOUTH UNION AVENUE BAKERSFIELD CA 93307
PRIDE DISPOSAL COMPANY               P.O. BOX 820 SHERWOOD OR 97140
PRIDE DISPOSAL COMPANY               13980 SW TUALATIN SHERWOOD RD SHERWOOD OR 97140-9726
PROFILE ENERGY INC                   P.O. BOX 860 CANFIELD OH 44406
PROFILE ENERGY SERVICES LLC          P.O. BOX 635356 CINCINNATI OH 45263-5356
PROVIDENCE TOWN CENTER LP            10 TOWN CENTER DR COLLEGEVILLE PA 19426
PROVIDENCE TOWN CENTER, LP           P.O. BOX 785052 PHILADELPHIA PA 19178-5052
PROVO CITY UTILITIES                 CITY CENTER BUILDING 351 W CENTER ST PROVO UT 84601
PROVO CITY UTILITIES                 P.O. BOX 1849 PROVO UT 84603-1849
PSE&G CO                             80 PARK PLAZA NEWARK NJ 07102
PSE&G CO                             P.O. BOX 14444 NEW BRUNSWICK NJ 08906-4444
PSEGLI                               175 E OLD COUNTRY RD HICKSVILLE NY 11801
PSEGLI                               P.O. BOX 9039 HICKSVILLE NY 11802-9039
PSI ENVIRONMENTAL - DISTRICT 2211    P.O. BOX 60248 LOS ANGELES CA 90060-0248
PSNC ENERGY                          800 GASTON ROAD GASTONIA NC 28056
PSNC ENERGY                          P.O. BOX 100256 COLUMBIA SC 29202-3256
PTR BALER AND COMPACTOR CO           2207 EAST ONTARIO ST PHILADELPHIA PA 19134
PTR BALER AND COMPACTOR COMPANY      UPDATED 2207 E ONTARIO ST PHILADELPHIA PA 19134
PTS INC. POWELLS TRASH SERVICE       518 FLATWOOD RD HODGES SC 29653
PUBLIC SERVICE CO OF OKLAHOMA        P.O. BOX 371496 PITTSBURGH PA 71496
PUBLIC SERVICE CO OF OKLAHOMA        212 E 6TH ST TULSA OK 74119
PUBLIC WATER SUPPLY DIST 3           507 RINEHART RD. BRANSON MO 65616
PUBLIC WORKS COMMISSION              P.O. BOX 7000 FAYETTEVILLE NC 28302-7000
PUGET SOUND ENERGY                   10885 NE 4TH ST BELLEVUE WA 98004
PUGET SOUND ENERGY                   P.O. BOX 91269 BELLEVUE WA 98009-9269
QUEEN CITY DISPOSAL                  P.O. BOX 30812 CLARKSVILLE TN 37040
RACE RECYCLING                       19904 DES MOINES MEMORIAL DR S SEATAC WA 98148-2265
RACINE WATER & WASTEWTR UTIL         P.O. BOX 080948 RACINE WI 53408-0948
RAMSEY BOARD OF PUBLIC WORKS         WATER & SEWER DEPT 33 NORTH CENTRAL AVE RAMSEY NJ 07446
RANDOLPH EMC                         879 MCDOWELL RD ASHEBORO NC 27204
RANDOLPH EMC                         P.O. BOX 405 ASHEBORO NC 27204-0040
RAPIDAN SERVICE AUTHORITY            11235 SPOTSWOOD TRL RUCKERSVILLE VA 22968
RAPIDAN SERVICE AUTHORITY            PO BOX 148 RUCKERSVILLE VA 22968
RAPPAHANNOCK ELECTRIC COOP           P.O. BOX 34757 ALEXANDRIA VA 22334-0757
RAYS TRASH SERVICE, INC.             P.O. BOX 6468 INDIANAPOLIS IN 46206-6468
RCWD                                 P.O. BOX 51267 LOS ANGELES CA 90051-0687
RCWD                                 42135 WINCHESTER RD TEMECULA CA 92590



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Claim Name                           Address Information
READING MUNICIPAL LIGHT DEPT         P.O. BOX 30 READING MA 01867-0030
READING MUNICIPAL LIGHT DEPT         230 ASH ST READING MA 01867-0250
RECEIVER OF TAXES                    TOWN OF SOUTHAMPTON 116 HAMPTON RD SOUTHAMPTON NY 11968-4998
RECOLOGY CLEANSCAPES                 P.O. BOX 34260 SEATTLE WA 98124-1260
RECOLOGY GOLDEN GATE                 250 EXECUTIVE PARK BLVD STE 2100 SAN FRANCISCO CA 94134-3306
RECOLOGY SAN MATEO COUNTY            P.O. BOX 514230 LOS ANGELES CA 90051-4230
RECOLOGY SONOMA MARIN                P.O. BOX 7349 SANTA ROSA CA 95407-0349
RECOLOGY SOUTH BAY                   P.O. BOX 512268 LOS ANGELES CA 90051-0268
RECOLOGY SOUTH VALLEY                P.O. BOX 60648 LOS ANGELES CA 90060-0648
RECOLOGY SUNSET SCAVENGER/60846      P.O. BOX 60846 LOS ANGELES CA 90060-0846
RECOLOGY VALLEJO                     P.O. BOX 60759 LOS ANGELES CA 90060-0759
RED ROCK RECYCLING LLC               1600 N. KING STREET SEGUIN TX 78155
REGIONAL WATER AUTHORITY             90 SARGENT DR NEW HAVEN CT 06511
REGIONAL WATER AUTHORITY             P.O. BOX 981102 BOSTON MA 02298-1102
RELIANT                              DEPT 650475 1501 N PLANO RD RICHARDSON TX 75081
RELIANT                              P.O. BOX 650475 DALLAS TX 75265-0475
REPUBLIC SERVICES 035                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 035                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 046                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 046                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 070                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 070                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 091                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 091                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 172                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 172                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 175                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 175                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 210                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 210                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 224                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 224                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 240                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 240                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 259                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 259                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 262                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 262                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 264                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 264                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 388                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 388                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 394                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 394                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 454                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 454                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 455                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 455                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 468                P.O. BOX 9001099 LOUISVILLE KY 40290-1099



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REPUBLIC SERVICES 468               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 471               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 471               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 472               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 472               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 493               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 493               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 527               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 527               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 535               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 535               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 551               P.O. BOX 9001154 LOUISVILLE KY 40290-1154
REPUBLIC SERVICES 551               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 603               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 603               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 620               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 620               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 654               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 654               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 684               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 684               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 685               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 685               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 687               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 687               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 691               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 691               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 692               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 692               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 693               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 693               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 694               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 694               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 695               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 695               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 719               P.O. BOX 9001154 LOUISVILLE KY 40290-1154
REPUBLIC SERVICES 719               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 728 - BRUNSWICK   P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 728 - BRUNSWICK   ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 732               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 732               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 742               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 742               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 744               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 744               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 753               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 753               P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 759               P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 759               ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054



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REPUBLIC SERVICES 761                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 761                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 770                P.O. BOX 9001154 LOUISVILLE KY 40290-1154
REPUBLIC SERVICES 770                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 785                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 785                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 794 - ARLINGTON    ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 794 - ARLINGTON    P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 794 - FORT WORTH   ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 794 - FORT WORTH   P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 794 - HUTCHINS     ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 794 - HUTCHINS     P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 794 - PLANO        ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 794 - PLANO        P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 798                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 798                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 800                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 800                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 802                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 802                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 820                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 820                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 840                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 840                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 841                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 841                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 842                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 842                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 845                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 845                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 846                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 846                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 851                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 851                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 852                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 852                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 853                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 855                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 855                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 858                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 858                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 864                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 864                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 870                P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 870                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 893                ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 893                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 902                P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 902                3953 N MUCATEL AVENUE ROSEMEAD CA 91770



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REPUBLIC SERVICES 915                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 915                 P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 916                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 916                 P.O. BOX 78829 PHOENIX AZ 85062
REPUBLIC SERVICES 917                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 917                 P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 922                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 922                 P.O. BOX 78829 PHOENIX AZ 85062-8829
REPUBLIC SERVICES 939                 P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 939                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 959                 P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 959                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 960                 P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 960                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 973                 P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 973                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 974                 P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 974                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES 997                 P.O. BOX 9001099 LOUISVILLE KY 40290-1009
REPUBLIC SERVICES 997                 P.O. BOX 9001099 LOUISVILLE KY 40290-1099
REPUBLIC SERVICES 997                 ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
REPUBLIC SERVICES RECYCLING NORTH -   P.O. BOX 99822 CHICAGO IL 60696-7622
3013
REPUBLIC SERVICES RECYCLING NORTH -   ATTN GENERAL COUNSEL 18500 N ALLIED WAY PHOENIX AZ 85054
3013
RICE LAKE SQUARE, LP                  DIVISION 29 P.O. BOX 823523 PHILADELPHIA PA 19182-3523
RICHMOND POWER & LIGHT                P.O. BOX 908 44 S 8TH STREET RICHMOND IN 47375
RICHMOND SANITARY DISTRICT            2380 LIBERTY AVE RICHMOND IN 47374
RICHMOND SANITARY DISTRICT            PO BOX 308 RICHMOND IN 47375
RICHMOND UTILITIES                    P.O. BOX 700 RICHMOND KY 40476-0700
RIDGEWOOD WATER                       131 N MAPLE AVE RIDGEWOOD NJ 07451
RIDGEWOOD WATER                       P.O. BOX 1304 BRATTEBORO VT 05302-1304
RIGHT AWAY DISPOSAL                   3755 S ROYAL PALM RD APACHE JUNCTION AZ 85119
RIGHT AWAY DISPOSAL                   P.O. BOX 52768 MESA AZ 85208
RIVERSIDE DISPOSAL AND RECYCLING      700 RIVER RD CHELSEA ME 04330
RIVIERA UTILITIES                     PAYMENT PROCESSING CENTER P.O. BOX 580052 CHARLOTTE NC 28258-0052
RLCWA                                 ATTN: ACCTS RECEIVABLE 42401 ST. RT 303 LA GRANGE OH 44050-9717
ROANOKE GAS COMPANY                   P.O. BOX 70848 CHARLOTTE NC 28272-0848
ROANOKE RAPIDS SANITARY DIST          P.O. BOX 63016 CHAROLETTE NC 28263-3016
ROCHESTER PUBLIC UTILITIES            P.O. BOX 77074 MINNEAPOLIS MN 55480-7774
ROCHESTER PUBLIC UTILITIES            4000 EAST RIVER RD NE ROCHESTER MN 55906
ROCK RIVER WATER RECLAMATION          P.O. BOX 34757 ALEXANDRIA VA 22334-0757
ROCKAWAY TWSP MUNICIPAL UTIL          65 MOUNT HOPE ROAD ROCKAWAY NJ 07866
ROCKDALE COUNTY STORMWTR UTIL         P.O. BOX 1495 CONYERS GA 30012
ROCKDALE WATER RESOURCES              P.O. BOX 34757 ALEXANDRIA VA 22334-0757
ROCKLAND ELECTRIC CO                  P.O. BOX 1009 SPRING VALLEY NY 10977
ROCKY MOUNTAIN POWER                  P.O. BOX 26000 PORTLAND OR 97256-0001
ROCKY MTN POWER                       P.O. BOX 400 PORTLAND OR 64121-0400
ROGERS WATER UTILITIES                601 SOUTH 2ND ST P.O. BOX 338 ROGERS AR 72757-0338



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ROGUE DISPOSAL & RECYCLING INC.        ONE W MAIN ST, STE 401 MEDFORD OR 97501
ROGUE DISPOSAL & RECYCLING INC.        P.O. BOX 3187 CENTRAL POINT OR 97502-0007
ROSLYN WATER DISTRICT                  24 WEST SHORE ROAD ROSLYN NY 11576
RTMAAC WATER                           2012 KRAMER RD GIBSONIA PA 15044-9632
RUMPKE                                 10795 HUGHES RD CINCINNATI OH 45251
RUMPKE                                 P.O. BOX 538710 CINCINNATI OH 45253
SAC VAL DISPOSAL                       P.O. BOX 541065 LOS ANGELES CA 90054-1065
SADDLEBACK                             P.O. BOX 171230 SAN ANTONIO TX 78217-8230
SAGINAW CHARTER TWP WATER DEPT         4870 SHATTUCK RD SAGINAW MI 48603
SAGINAW CHARTER TWP WATER DEPT         P.O. BOX 6400 SAGINAW MI 48608
SALT LAKE CITY CORPORATION             PUBLIC UTILITIES 1530 S WEST TEMPLE SALT LAKE CITY UT 84115
SALT LAKE CITY CORPORATION             PUBLIC UTILITIES P.O. BOX 30881 SALT LAKE CITY UT 84130-0881
SAN ANTONIO WATER SYSTEM               2800 US HWY 281 N SAN ANTONIO TX 78212
SAN ANTONIO WATER SYSTEM               P.O. BOX 2990 SAN ANTONIO TX 78299-2290
SAN DIEGO GAS & ELECTRIC               P.O. BOX 25111 SANTA ANA CA 92799-5111
SAN FRANCISCO WTR PWR & SWR            P.O. BOX 7369 SAN FRANCISCO CA 94120-7369
SAN JOSE WATER CO                      110 W. TAYLOR ST SAN JOSE CA 95110-2131
SANDPIPER ENERGY INC                   P.O. BOX 826531 PHILADELPHIA PA 19182-6531
SANDPIPER ENERGY INC                   32145 BEAVER RUN DR SALISBURY MD 21804
SANITARY DIST 4 TOB                    P.O. BOX 1296 BROOKFIELD WI 53008-1296
SANITARY SERVICE COMPANY INC.          P.O. BOX 35008 SEATTLE WA 98124-3408
SANTEE COOPER                          1 RIVERWOOD DR MONCKS CORNER SC 29461
SANTEE COOPER                          P.O. BOX 188 MONCKS CORNER SC 29461-0188
SARASOTA COUNTY PUBL UTILITIES         P.O. BOX 31320 TAMPA FL 33631-3320
SAUL HOLDINGS LTD PARTNERSHIP          TMATTDI0-LMATTDI00 PO BOX 38042 BALTIMORE MD 21297-8042
SAUL SUBSIDIARY I L.P.                 P.O. BOX 38042 BALTIMORE MD 21297-8042
SAWNEE ELECTRIC MEMBERSHIP             543 ATLANTA HWY CUMMING GA 30040
SAWNEE ELECTRIC MEMBERSHIP             P.O. BOX 2252 BIRMINGHAM AL 35246-1204
SCANA ENERGY                           220 OPERATION WAY CAYCE SC 29033-3701
SCANA ENERGY                           P.O. BOX 100157 COLUMBIA SC 29202-3157
SCE&G                                  220 OPERATION WAY CAYCE SC 29033-3701
SCE&G                                  P.O. BOX 100255 COLUMBIA SC 29202-0325
SCOTT WASTE SERVICES LLC - DIST 6052   1212 EASTLAND ST BOWLING GREEN KY 42102-0447
SCOTT WASTE SERVICES LLC - DIST 6052   P.O. BOX 660177 DALLAS TX 75266-0177
SD1                                    P.O. BOX 12112 COVINGTON KY 41012-0112
SEACOAST UTILITY AUTHORITY             4200 HOOD ROAD PALM BEACH GARDENS FL 33410-2174
SECO ENERGY                            330 S US HWY 301 SUMTERVILLE FL 33585
SECO ENERGY                            P.O. BOX 31634 TAMPA FL 33631-3634
SEMCO ENERGY GAS CO                    P.O. BOX 5004 PORT HURON MI 48061-5004
SEMINOLE MALL LP                       400 CLEMATIS ST STE 201 WEST PALM BEACH FL 33401
SENECA LIGHT & WATER PLANT             250 E N 2ND ST SENECA SC 29678
SENECA LIGHT & WATER PLANT             PO BOX 4773 SENECA SC 29679-4773
SEVIER COUNTY ELECTRIC SYSTEM          P.O. BOX 4870 SEVIERVILLE TN 37864-4870
SEVIER COUNTY UTILITY DISTRICT         P.O. BOX 6519 SEVIERVILLE TN 37864-6519
SEWERAGE & WTR BD NEW ORLEANS          625 SAINT JOSEPH ST. RM. 154 NEW ORLEANS LA 70165-6501
SF WATER                               P.O. BOX 7369 SAN FRANCISCO CA 94120-7369
SHAKOPEE PUBLIC UTILITES COMMISSION    255 SARAZIN ST PO BOX 470 SHAKOPEE MN 55379-0470
SHAWNEE COUNTY REFUSE DEPARTMENT       1515 NW SALINE ST. STE. 150 TOPEKA KS 66618
SHELBY COUNTY WATER SERVICES           P.O. BOX 37 WESTOVER AL 35185-0037



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Claim Name                           Address Information
SHENANDOAH VALLEY ELEC COOP          P.O. BOX 49001 BALTIMORE MD 21297-4901
SHOPPES AT CORNERSTONE II, LTD.      C/O OBERER REALTY SERVICES 3445 NEWMARK DRIVE, BUILDING 2 MIAMISBURG OH 45342
SHOPPES AT NOTTINGHAM SQ BUS         P.O. BOX 8500 PHILADELPHIA PA 19178-9320
SHOREWOOD MUNICIPAL UTILITIES        ONE TOWNE CENTER BLVD SHOREWOOD IL 60404
SKAGIT PUD                           P.O. BOX 1436 MOUNT VERNON WA 98273
SMUD                                 6301 S ST SACRAMENTO CA 95817
SMUD                                 P.O. BOX 15555 SACRAMENTO CA 95852
SMYRNA UTILITIES                     UTILITY DEPT 315 S LOWRY ST SMYRNA TN 37167
SMYRNA UTILITIES                     P.O. BOX 290009 NASHVILLE TN 37229
SNAPPING SHOALS EMC                  P.O. BOX 73 COVINGTON GA 30015-0073
SNAPPING SHOALS EMC                  14750 BROWN BRIDGE RD COVINGTON GA 30016
SNELL TOLL PARTNERS LLC              THE HARLEM IRVING COMPANIES 4104 N HARLEM AVE NORRIGE IL 60706-1205
SNOHOMISH COUNTY PUD                 2320 CALIFORNIA ST EVERETT WA 98201
SNOHOMISH COUNTY PUD                 P.O. BOX 1100 EVERETT WA 98206
SNYDERVILLE BASIN                    WATER RECLAMATION DISTRICT P.O. BOX 981420 PARK CITY UT 84098
SOCALGAS                             PO BOX C MONTEREY PARK CA 91756-5111
SOUTH BEND WATER WORKS               731 S LAFAYETTE BLVD SOUTH BEND IN 46601
SOUTH BEND WATER WORKS               P.O. BOX 7125 SOUTH BEND IN 46634-7125
SOUTH CAROLINA ELECTRIC & GAS        P.O. BOX 100255 CAYCE SC 29033
SOUTH CAROLINA ELECTRIC & GAS        220 OPERATION WAY CAYCE SC 29033-3701
SOUTH DAVIS SEWER DISTRICT           P.O. BOX 140111 SALT LAKE CITY UT 84114-0111
SOUTH HUNTINGTON WATER DIST          P.O. BOX 71458 PHILADELPHIA PA 19176-9903
SOUTH JERSEY GAS                     1648 12TH STREET FOLSOM NJ 08037
SOUTH JERSEY GAS                     P.O. BOX 6091 BELLMAWR NJ 08099-6091
SOUTH LYONS TWP SANITARY DIST        475 W. 55TH ST. COUNTRYSIDE IL 60525
SOUTH UNION TWP SEWAGE AUTH          DOWNTOWN STA P.O. BOX 2047 UNIONTOWN PA 15401
SOUTH VALLEY SEWER DISTRICT          P.O. BOX 498 PLEASANT GROVE UT 84062
SOUTH WALTON UTILITY CO INC          369 MIRAMAR BEACH DR MIRAMAR BEACH FL 32550
SOUTHEAST GAS                        715 MLK JR EXPY ANDALUSIA AL 36420
SOUTHEAST GAS                        P.O. BOX 1298 ANDALUSIA AL 36420-1223
SOUTHERN CALIFORNIA EDISON           1551 W SAN BERNARDINO RD COVINA CA 91722
SOUTHERN CALIFORNIA EDISON           P.O. BOX 300 ROSEMEAD CA 91772-0001
SOUTHERN CALIFORNIA GAS CO           P.O. BOX C MONTEREY PARK CA 17546-0001
SOUTHERN CONNECTICUT GAS CO          60 MARSH HILL RD ORANGE CT 06477
SOUTHERN CONNECTICUT GAS CO          P.O. BOX 9112 CHELSEA MA 02150-9112
SOUTHERN MARYLAND ELEC COOP          P.O. BOX 62261 BALTIMORE MD 21264-2261
SOUTHERN MARYLAND ELEC COOP          14950 COOPERATIVE PL HUGHESVILLE MD 20637
SOUTHERN MONTGOMERY COUNTY           MUNICIPAL UTILITY DISTRICT 25212 I-45 NORTH SPRING TX 77386
SOUTHERN WATER MANAGEMENT            695 CENTRAL AVENUE ST. PETERBURG FL 33701
SOUTHERN WATER MANAGEMENT            P.O. BOX 14067 ST. PETERSBURG FL 33733
SOUTHINGTON BOARD WATER COMM         P.O. BOX 111 SOUTHINGTON CT 06489
SOUTHWEST GAS CORP                   5241 SPRING MOUNTAIN RD LAS VEGAS NV 89150-0002
SOUTHWEST GAS CORP                   P.O. BOX 98890 LAS VEGAS NV 89193-8890
SOUTHWESTERN ELECTRIC POWER          1 RIVERSIDE PLAZA COLUMBUS OH 43215
SOUTHWESTERN ELECTRIC POWER          P.O. BOX 24422 CANTON OH 44701-4422
SPANISH FORK CITY UTILITIES          40 SOUTH MAIN SPANISH FORK UT 84660
SPARTANBURG SANITARY SWR DIST        200 COMMERCE ST SPARTANBURG SC 29306
SPARTANBURG SANITARY SWR DIST        P.O. BOX 251 SPARTANBURG SC 96304-0251
SPARTANBURG WATER SYSTEM             P.O. BOX 251 SPARTANBURG SC 29304-0251



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Claim Name                              Address Information
SPARTANBURG WATER SYSTEM                200 COMMERCE ST SPARTANBURG SC 29306
SPECTRA RECYCLING INC                   P.O. BOX 5898 MARYVILLE TN 37802
SPECTRUM UTILITIES SOLUTIONS            P.O. BOX 158 BALTIMORE OH 43105
SPEEDWAY WATERWORKS                     P.O. BOX 6485 INDIANAPOLIS IN 46206
SPEEDWAY WATERWORKS                     5700 W 10TH ST SPEEDWAY IN 46224
SPIRE                                   700 MARKET ST ST LOUIS MO 63101
SPIRE                                   DRAWER 2 ST LOUIS MO 63171
SPOKANE COUNTY ENVIRONMNTL SVC          P.O. BOX 2355 SPOKANE WA 99210-2355
SPOKANE COUNTY SOLID WASTE              P.O. BOX 2355 SPOKANE WA 99210-2355
SPOKANE COUNTY UTILITIES                P.O. BOX 2355 SPOKANE WA 99210-2355
SPOKANE COUNTY WATER DISTRICT 3         1225 N YARDLEY ST SPOKANE VALLEY WA 99212-7001
SPRING CYPRESS UTILITY                  114 FM 115 PO BOX 591 MT VERNON TX 75457
SPRING CYPRESS UTILITY                  P.O. BOX 279 NEW WAVERLY TX 77358
SPRINGFIELD UTILITY BOARD               P.O. BOX 300 SPRINGFIELD OR 97477-0077
SPRINGFIELD WATER & SEWER COM           36 COURT ST SPRINGFIELD MA 01101
SPRINGFIELD WATER & SEWER COM           P.O. BOX 3688 SPRINGFIELD MA 01101-3688
SPRINT                                  P.O. BOX 4181 CAROL STREAM IL 60197-4181
SPRINT                                  ATTN BANKRUPTCY DEPT PO BOX 7949 OVERLAND PARK KS 66207-0949
SRP                                     C/O W. GARY HULL PAB 207, 1521 N PROJECT DR TEMPE AZ 85281
SRP                                     P.O. BOX 80062 PRESCOTT AZ 86304-8062
SSI                                     PO BOX 580500 CHARLOTTE NC 28258-0500
ST JOHNS COUNTY UTILITY DEPT            P.O. DRAWER 3006 SAINT AUGUSTINE FL 32085-3006
ST LUCIE WEST SERVICES DISTRICT         450 SW UTILITY DRIVE PORT ST. LUCIE FL 34986
ST MARYS CO METROPOLITAN COMM           23121 CAMDEN WAY CALIFORNIA MD 20619-2448
STARK CO METROPOLTN SEWER DIST          P.O. BOX 9972 CANTON OH 44711-0972
STATION LANDING LLC                     2310 WASHINGTON ST NEWTON MA 02462
STATION LANDINGS LLC                    STATION LANDING LLC PO BOX 847104 BOSTON MA 02284-7104
STEELYARD WEST LLC                      THE OFFICES OF LEGACY VILLAGE 25333 CEDAR RD STE 300 LYNDHURST OH 44124
STROUD TOWNSHIP SEWER AUTH              1211 NORTH 5TH STREET STROUDSBURG PA 18360
STUTZMAN REFUSE DISPOSAL INC            315 WEST BLANCHARD AVE SOUTH HUTCHINSON KS 67505-1531
SUBURBAN NATURAL GAS CO.                P.O. BOX 183035 COLUMBUS OH 43218-3035
SUBURBAN PROPANE ANY DIV                P.O. BOX 160 WHIPPANY NJ 07981-0160
SUBURBAN PROPANE ANY DIV                240 ROUTE 10 WEST PO BOX 206 WHIPPANY NJ 07981-0206
SUBURBAN PROPANE ANY DIV                P.O. BOX 300 WHIPPANY NJ 07981-0300
SUBURBAN PROPANE ANY DIV                P.O. BOX F WHIPPANY NJ 07981-0405
SUEZ WATER DELAWARE                     P.O. BOX 371804 PITTSBURGH PA 15250-7804
SUEZ WATER IDAHO                        PAYMENT CENTER PO BOX 60519 CITY OF INDUSTRY CA 91716-0519
SUEZ WATER NEW JERSEY                   PAYMENT CENTER PO BOX 371804 PITTSBURGH PA 15250-7804
SUEZ WATER NEW YORK                     P.O. BOX 371804 PITTSBURGH PA 15250-7804
SUEZ WATER PENNSYLVANIA                 P.O. BOX 371804 PITTSBURGH PA 15250-7804
SUEZ WATER TOMS RIVER                   P.O. BOX 371804 PITTSBURGH PA 15250-7804
SUFFOLK COUNTY SEWER DISTRICTS          335 YAPHANK AVE YAPHANK NY 11980-9608
SUFFOLK COUNTY WATER AUTHORITY          4060 SUNRISE HWY STE 1000 OAKDALE NY 11769
SUFFOLK COUNTY WATER AUTHORITY          P.O. BOX 3147 HICKSVILLE NY 11802-3147
SULPHUR SPRINGS VALLEY                  350 NORTH HASKELL WILLCOX AZ 85643
SULPHUR SPRINGS VALLEY ELECTRIC CO-OP   P.O. BOX 52788 PHOENIX AZ 85072-2788
SUMMERVILLE COMM OF PUBL WORKS          215 N CEDAR ST SUMMERVILLE SC 29483
SUMMERVILLE COMM OF PUBL WORKS          P.O. BOX 817 SUMMERVILLE SC 29484-0817
SUNRAY POWER OPCO II LLC                545 MADISON AVE NEW YORK NY 10022



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SUNSHINE RECYCLING SERVICES OF SWFL   3547 NW 49TH ST MIAMI FL 33142
SUNSHINE RECYCLING SERVICES OF SWFL   P.O. BOX 348 ESTERO FL 33929
SUSTAINABLE SOLUTIONS GROUP           DEPT 40299 P.O. BOX 740209 ATLANTA GA 30374-0209
SWWC UTILITIES INC                    2086A VALLEYDALE TERRACE BIRMINGHAM AL 35244
SYDNOR HYDRO GOLDCREST                P.O. BOX 27181 RICHMOND VA 23261
T PENINSULA LMJ LLC                   16600 DALLAS PKWY, STE 300 DALLAS TX 75248-2610
T PENINSULA LMJ LLC                   P.O. BOX 209277 AUSTIN TX 78720-9277
T. FARESE & SONS                      217 POINIER ST NEWARK NJ 07114
T. FARESE & SONS                      P.O. BOX 384 EAST HANOVER NJ 07936-0384
TALISMARK                             1000 PRIMERA BLVD STE 2150 LAKE MARY FL 32746
TAMPA ELECTRIC                        C/O RUTH OBRIEN, MGR CLAIMS LITIGATION S 702 N FRANKLIN ST TAMPA FL 33602
TAMPA ELECTRIC                        P.O. BOX 31318 TAMPA FL 33631-3318
TDS                                   P.O. BOX 94510 PALATINE IL 60094-4510
TECO                                  C/O RUTH OBRIEN, MGR CLAIMS LITIGATION S 702 N FRANKLIN ST TAMPA FL 33602
TECO                                  P.O. BOX 31318 TAMPA FL 33631-3318
TEDS TRASH SERVICE INC                10736 E TRUMAN RD INDEPENDENCE MO 64052
TEDS TRASH SERVICE INC                P.O. BOX 520230 INDEPENDENCE MO 64052
TELEPACIFIC                           515 S FLOWER ST, 45TH FL LOS ANGELES CA 90071
TELEPACIFIC                           P.O. BOX 509013 SAN DIEGO CA 92150-9013
TEMUA                                 100 SHARP RD MARLTON NJ 08005
TEMUA                                 P.O. BOX 467 MARLTON NJ 08053
TENNESSEE AMERICAN WATER              P.O. BOX 371880 PITTSBURGH PA 15250-7880
TEXAS DISPOSAL SYSTEMS INC.           P.O. BOX 660816 DALLAS TX 75266-0816
TEXAS GAS SERVICE                     P.O. BOX 219913 KANSAS CITY MO 64121-9913
THE BEACON OF GROVETON RETAIL         6870 RICHMOND HWY ALEXANDRIA VA 22306
THE CITY OF DAYTONA BEACH             ATTN UTILITIES 301 S RIDGEWOOD AVE DAYTONA BEACH FL 32114
THE CITY OF DAYTONA BEACH             P.O. BOX 2455 DAYTONA BEACH FL 32115
THE CITY OF FORT SMITH                P.O. BOX 1907 FORT SMITH AR 72902
THE CITY OF LEESBURG                  P.O. BOX 25858 TAMPA FL 33622-5858
THE CITY OF LEESBURG                  501 W MEADOW ST LEESBURG FL 34748
THE CITY OF NILES                     34 WEST STATE ST NILES OH 44446-5036
THE CITY OF ROSEVILLE                 2660 CIVIC CENTER DR ROSEVILLE MN 55113-1815
THE CITY OF THE COLONY                P.O. BOX 560008 THE COLONY TX 75056-0008
THE CONNECTICUT WATER CO              93 W MAIN ST CLINTON CT 06413
THE CONNECTICUT WATER CO              P.O. BOX 981015 BOSTON MA 02298-1015
THE DALLES DISPOSAL - DISTRICT 2044   P.O. BOX 60248 LOS ANGELES CA 90060-0248
THE DALLES DISPOSAL - DISTRICT 2044   1317 WEST 1ST STREET THE DALLES OR 97058
THE ENERGY COOPERATIVE                1500 GRANVILLE RD NEWARK OH 43058
THE ENERGY COOPERATIVE                P.O. BOX 740467 CINCINNATI OH 45274-0467
THE ILLUMINATING CO                   76 SOUTH MAIN ST AKRON OH 44308
THE ILLUMINATING CO                   P.O. BOX 3638 AKRON OH 44309-3638
THE RICHLAND TWSP SEWER ACCT          4019 DICKEY ROAD GIBSONIA PA 15044-0126
THE TORRINGTON WATER CO               P.O. BOX 867 TORRINGTON CT 06790
THE UNITED ILLUMINATING CO            100 MARSH HILL RD ORANGE CT 06477
THE UNITED ILLUMINATING CO            P.O. BOX 9230 CHELSEA MA 02150-9230
THE UNITED ILLUMINATING CO            P.O. BOX 580055 CHARLOTTE NC 28258-0055
THE UPS STORE 0264                    102 COLLEGE STATION DR STE 3 BREVARD NC 28712-3195
THE VILLAGE OF GURNEE                 325 N. OPLAINE GURNEE IL 60031
THE VILLAGE OF GURNEE                 P.O. BOX 2804 BEDFORD PARK IL 60499-2804



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THE VILLAGE OF OAK PARK                P.O. BOX 4583 CAROL STREAM IL 60197-4583
THE WATER WORKS & SEWER BOARD          OF THE CITY OF GADSDEN PO BOX 800 GADSDEN AL 35902-0800
THE WOODLANDS WJPA MUD 21              2455 LAKE ROBBINS DRIVE THE WOODLANDS TX 77380
THE WOODLANDS WJPA MUD 21              P.O. BOX 7580 SPRING TX 77387-7580
THE YORK WATER CO                      P.O. BOX 15089 YORK PA 17405-7089
THINK UTILITY SERVICES INC             4685 118TH AVENUE NORTH CLEARWATER FL 33762
THOMASTON POLLUTION CONTRL DPT         170 MAIN ST THOMASTON MI 04851
THOMASTON POLLUTION CONTROL            ATTN: PROPERTY TAX DEPT. PO BOX 299 THOMASTON ME 04861-0299
THOMASVILLE UTILITIES                  111 VICTORIA PLACE THOMASVILLE GA 31799
THOMASVILLE UTILITIES                  P.O. BOX 1397 THOMASVILLE GA 31799-1397
THOMPSON GAS                           5260 WESTVIEW DRIVE, STE 200 FREDERICK MD 21703
THOMPSON GAS                           P.O. BOX 240 FREDERICK MD 21705-0240
THRESHOLD                              P.O. BOX 9001013 LOUISVILLE KY 40290-1013
TIDEWATER UTILITIES INC                P.O. BOX 826538 PHILADELPHIA PA 19182-6538
TIGER SANITATION INC                   P.O. BOX 200143 SAN ANTONIO TX 78220-0143
TIME WARNER                            P.O. BOX 910182 DENVER CO 80291-0182
TMGN 121 LLC                           15907 RANCHITA DR DALLAS TX 75248
TMGN 121, LLC                          ATTN: RON AVNERI P.O. BOX 795743 DALLAS TX 75379
TMLP                                   33 WEIR ST TAUNTON MA 02780
TMLP                                   P.O. BOX 870 TAUNTON MA 02780-0870
TOG WEST                               P.O. BOX 1240 ATTLEBORO MA 02703
TOHO WATER AUTHORITY                   P.O. BOX 30527 TAMPA FL 33630-3527
TOHO WATER AUTHORITY                   951 MARTIN LUTHER KING BLVD KISSIMMEE FL 34741
TOLEDO EDISON CO                       C/O FIRST EVERGY GROUP 76 SOUTH MAIN ST AKRON OH 44308
TOLEDO EDISON CO                       P.O. BOX 3687 AKRON OH 44309-3687
TOMBIGBEE ELECTRIC POWER ASSOCIATION   P.O. BOX 1789 TUPELO MS 38802-1789
TOWN OF APEX                           73 HUNTER ST APEX NC 27502
TOWN OF APEX                           P.O. BOX 580398 CHARLOTTE NC 28258-0398
TOWN OF BARGERSVILLE                   24 NORTH MAIN ST BARGERSVILLE IN 46106
TOWN OF BARGERSVILLE                   BARGERSVILLE UTILITIES P.O. BOX 7215 INDIANAPOLIS IN 46207-7215
TOWN OF BARNSTABLE                     PO BOX 742 READING MA 01867-0405
TOWN OF BERLIN                         108 SHED RD BERLIN VT 05602
TOWN OF BRATTLEBORO                    ASSESSORS OFFICE 230 MAIN ST STE 109 BRATTLEBORO VT 05301
TOWN OF BURLINGTON                     29 CENTER ST BURLINGTON MO 01803
TOWN OF BURLINGTON                     ATTN: PROPERTY TAX DEPT. PO BOX 376 BURLINGTON MA 01803
TOWN OF CARY                           COLLECTIONS DIVISION PO BOX 8049 CARY NC 27512-8049
TOWN OF CARY                           316 N ACADEMY ST CARY NC 27513
TOWN OF CHRISTIANSBURG                 100 EAST MAIN ST CHRISTIANSBURG VA 24073
TOWN OF CULPEPER                       400 S MAIN ST STE 105 CULPEPER VA 22701
TOWN OF DARTMOUTH                      PO BOX 981003 BOSTON MA 02298-1003
TOWN OF DARTMOUTH                      400 SLOCUM RD DARTMOUTH MA 02747
TOWN OF DELMAR                         100 S PENNSYLVANIA AVE DELMAR MD 21875-1636
TOWN OF DENTON                         TAX COLLECTOR 4 N 2ND ST DENTON MD 21629-1004
TOWN OF EAST WINDSOR WPCA              11 RYE ST BROAD BROOK CT 06016
TOWN OF EAST WINDSOR WPCA              P.O. BOX 359 EAST WINDSOR CT 06088
TOWN OF FAIRHAVEN                      TOWN COLLECTOR 40 CENTER STREET FAIRHAVEN MA 02719
TOWN OF FDL SANITARY DIST 3            P.O. BOX 1686 FON DU LAC WI 54396
TOWN OF FOND DU LAC SD 3               100 CAMELOT DR FOND DU LAC WI 54935
TOWN OF FOXBOROUGH                     40 SOUTH STREET FOXBORO MA 02035



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TOWN OF FRANKLIN                     355 EAST CENTRAL ST FRANKLIN MA 02038
TOWN OF FRANKLIN                     THE COLLECTOR OF TAXES PO BOX 986 MEDFORD MA 02155-0010
TOWN OF FRONT ROYAL                  414 EAST MAIN ST FRONT ROYAL VA 22630
TOWN OF FRONT ROYAL                  P.O. BOX 1560 FRONT ROYAL VA 22630-1560
TOWN OF FUQUAY-VARINA                401 OLD HONEYCUTT RD FUQUAY-VARINA NC 27526
TOWN OF GILBERT                      UTILITY DEPARTMENT P.O. BOX 52653 PHOENIX AZ 85072-2653
TOWN OF GILBERT                      50E CIVIC CENTER DRIVW GILBERT AZ 85296
TOWN OF GREENBURGH WATER             P.O. BOX 205 ELMSFORD NY 10523
TOWN OF GROTON                       45 FORT HILL RD. TOWN OF GROTON CT 06340-4370
TOWN OF HADLEY                       100 MIDDLE ST. HADLEY MA 01035
TOWN OF HAMMONTON                    100 CENTRAL AVE HAMMONTON NJ 08037
TOWN OF HANOVER WATER                P.O. BOX 424 READING MA 01867-0624
TOWN OF HEMPSTEAD DEPT OF WTR        1995 PROSPECT AVE EAST MEADOW NY 11554
TOWN OF HIGHLAND                     3333 RIDGE RD HIGHLAND IN 46322
TOWN OF HOLLY SPRINGS                128 SOUTH MAIN ST PO BOX 8 HOLLY SPRINGS NC 27540
TOWN OF JUPITER                      P.O. BOX 8900 JUPITER FL 33468-8900
TOWN OF KERNERSVILLE NC              P.O. BOX 728 FINANCE DEPT KERNERSVILLE NC 27285
TOWN OF LADY LAKE                    409 FENNELL BLVD LADY LAKE FL 32159-3158
TOWN OF LEESBURG VIRGINIA            25 WEST MARKET ST LEESBURGH VA 20176
TOWN OF LEESBURG VIRGINIA            P.O. BOX 9000 LEESBURG VA 20177-0900
TOWN OF LEXINGTON                    1625 MASSACHUSETTS AVE LEXINGTON MA 02420
TOWN OF LEXINGTON                    P.O. BOX 397 LEXINGTON SC 29071
TOWN OF MANCHESTER                   COLLECTOR OF REVENUE PO BOX 191 MANCHESTER CT 06045-0191
TOWN OF MILTON                       525 CANTON AVE MILTON MA 02186
TOWN OF MILTON                       PO BOX 350 MILTON MA 02186
TOWN OF MOORESVILLE                  413 NORTH MAIN ST MOORESVILLE NC 28115
TOWN OF MOORESVILLE                  P.O. BOX 602113 CHARLOTTE NC 28260-2113
TOWN OF MOREHEAD CITY                706 ARENDELL ST PO BOX 4009 MOREHEAD CITY NC 28557-4234
TOWN OF MOUNT AIRY                   PO BOX 50 MOUNT AIRY MD 21771-0050
TOWN OF MUNSTER                      UTILITIES DEPARTMENT 1005 RIDGE RD MUNSTER IN 46321
TOWN OF PLAINFIELD                   206 W MAIN ST PLAINFIELD IN 46168
TOWN OF PLAINFIELD                   P.O. BOX 6012 INDIANAPOLIS IN 46206
TOWN OF PLYMOUTH                     PO BOX 4181 WOBURN MA 01888-4181
TOWN OF SALEM NH                     UTILITY SERVICES DEPT. 33 GEREMONTY DR SALEM NH 03079-3390
TOWN OF SCHERERVILLE                 10 E JOLIET ST SCHERERVILLE IN 46375
TOWN OF SMITHFIELD                   P.O. BOX 63027 CHARLOTTE NC 28263-3027
TOWN OF SOUTHERN PINES               125 SE BROAD ST SOUTHERN PINES NC 28387
TOWN OF SOUTHERN PINES               P.O. BOX 600 SOUTHERN PINES NC 28387
TOWN OF SOUTHERN PINES               P.O. BOX 600 SOUTHERN PINES NC 28388-0600
TOWN OF SOUTHINGTON                  75 MAIN ST SOUTHINGTON CT 06489
TOWN OF SOUTHINGTON                  TAX COLLECTOR PO BOX 1036 SOUTHINGTON CT 06489-1036
TOWN OF STURBRIDGE-COLLECTOR         FINANCE DEPT 308 MAIN ST STURBRIDGE MA 01566-1078
TOWN OF SWAMPSCOTT                   22 MONUMENT AVE SWAMPSCOTT MA 01907
TOWN OF TOLLAND                      21 TOLLAND GREEN TOLLAND CT 06084
TOWN OF TOLLAND                      21 TOLLAND GREEN TOLLAND CT 06084-3028
TOWN OF TOLLAND WATER FUND           21 TOLLAND GREEN TOLLAND CT 06084
TOWN OF TOLLAND WATER FUND           P.O. BOX 981015 BOSTON MA 02298-1015
TOWN OF ULSTER                       1 TOWN HALL DRIVE LAKE KATRINE NY 12449
TOWN OF VIENNA VIRGINIA              127 CENTER ST S VIENNA VA 22180



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TOWN OF VIENNA VIRGINIA              P.O. BOX 549 VIENNA VA 22183-0549
TOWN OF WAKE FOREST                  FINANCE DEPARTMENT A/R 301 S. BROOKS ST. WAKE FOREST NC 27587
TOWN OF WALLKILL                     PO BOX 5924 HICKSVILLE NY 11802-5924
TOWN OF WALPOLE                      PO BOX 30 MEDFORD MA 02155-0001
TOWN OF WAYNESVILLE                  16 SOUTH MAIN ST WAYNESVILLE NC 28786
TOWN OF WAYNESVILLE                  PO BOX 100 WAYNESVILLE NC 28786
TOWN OF WELLESLEY UTILITY SVCS       P.O. BOX 9187 WELLESLEY MA 02481-9187
TOWN OF WELLESLEY UTILITY SVCS       525 WASHINGTON ST WELLESLEY MA 02482
TOWN OF WESTERLY                     45 BRIAD ST WESTERLY RI 02891
TOWN OF WESTERLY                     PO BOX 9900 DEPT 101 PROVIDENCE RI 02940-4000
TOWN OF WYTHEVILLE                   150 E MONROE ST WYTHEVILLE VA 24382
TOWN OF WYTHEVILLE                   PO BOX 533 WYTHEVILLE VA 24382-0533
TOWNSHIP OF BURLINGTON               851 OLD YORK ROAD BURLINGTON NJ 08016
TOWNSHIP OF FREEHOLD                 ONE MUNICIPAL PLAZA FREEHOLD NJ 07728
TOWNSHIP OF HADDON                   MUNICIPAL BUILDING 135 HADDON AVE WESTMONT NJ 08108
TOWNSHIP OF LIVINGSTON WTR/SWR       357 SO. LIVINGSTON AVE LIVINGSTON NJ 07039
TOWNSHIP OF PALMER UTILITY BIL       3 WELLER PLACE PALMER PA 18045-1975
TOWNSHIP OF PENNSVILLE               BUREAU OF FIRE PREVENTION 90 NORTH BROADWAY PENNSVILLE NJ 08070
TOWNSHIP OF ROXBURY                  BUREAU OF FIRE PREVENTION 1715 ROUTE 46 LEDGEWOOD NJ 07852
TOWNSHIP OF SADDLE BROOK             93 MARKET ST. SADDLE BROOK NJ 07663-4899
TOWNSHIP OF SPRING                   P.O. BOX 4548 LANCASTER PA 17604-4548
TOWNSHIP OF TILDEN                   874 HEX HIGHWAY HAMBURG PA 19526
TOWNSHIP OF VERONA                   VERONA FIRE PREVENTION BUREAU 880 BLOOMFIELD AVE VERONA NJ 07044
TOWNSHIP OF WAYNE                    FIRE BUREAU 475 VALLEY RD WAYNE NJ 07470
TPX COMMUNICATIONS                   P.O. BOX 509013 SAN DIEGO CA 92150-9013
TRASH TAXI - AL                      656 STUART LANE PELHAM AL 35124
TREASURER SPOTSYLVANIA COUNTY        450 TV DRIVE FREDERICKSBURG VA 22408
TREASURER SPOTSYLVANIA COUNTY        PO BOX 9000 SPOTSYLVANIA VA 22553
TRI COUNTY ELEC COOP INC             3906 BROADWAY MOUNT VERNON IL 62864
TRI COUNTY ELEC COOP INC             P.O. BOX 961032 FORT WORTH TX 76161-0032
TRI-COUNTY INDUSTRIES INC            P.O. BOX 858 MARS PA 16046
TRI-COUNTY INDUSTRIES INC            159 TCI PARK DRIVE GROVE CITY PA 16127
TRUCKEE MEADOWS WATER AUTH           P.O. BOX 70002 PRESCOTT AZ 86304-7002
TRUCKEE MEADOWS WATER AUTH           1355 CAPITAL BLVD RENO NV 89502
TRUE NATURAL GAS                     SEDC P.O. BOX 530812 ATLANTA GA 30353-0812
TRUSSVILLE GAS AND WATER             127 MIAN ST TRUNSSVILLE AL 35173
TRUSSVILLE GAS AND WATER             P.O. BOX 836 TRUSSVILLE AL 35173-0836
TSCA 245 LIMITED PARTNERSHIP         301 S SHERMAN STE 100 RICHARDSON TX 75051
TUCSON ELECTRIC POWER CO             P.O. BOX 80077 PRESCOTT AZ 86304-8077
TULLAHOMA UTILITIES AUTHORITY        901 S JACKSON ST TULLAHOMA TN 37388
TULLAHOMA UTILITIES AUTHORITY        P.O. BOX 788 TULLAHOMA TN 78888
TURLOCK IRRIGATION DISTRICT          333 E CANAL DRIVE TURLOCK CA 95380
TURLOCK IRRIGATION DISTRICT          P.O. BOX 819007 TURLOCK CA 95381-9007
TVWD CWS                             P.O. BOX 8996 VANCOUVER WA 98668-8996
TWO RIVERS WTR RECLAMATIN AUTH       14 GULL POINT ROAD MONMOUTH BEACH NJ 07750
TWP OF WALL UTLITY                   2700 ALLAIRE RD. WALL NJ 07719
TXU ENERGY                           6555 SIERRA DR IRVING TX 75039
TXU ENERGY                           P.O. BOX 650638 DALLAS TX 75265-0638
TYLERS SANITATION INC.               P.O. BOX 675 AIKEN SC 29802



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UGI CENTRAL PENN GAS INC             ATTN DONALD BROWN 2525 N 12TH ST, STE 360 READING PA 19605
UGI CENTRAL PENN GAS INC             P.O. BOX 15503 WILMINGTON DE 19886-5503
UGI PENN NATURAL GAS INC             P.O. BOX 15503 WILMINGTON DE 19886-5503
UGI UTILITIES INC                    ATTN DONALD BROWN 2525 N 12TH ST, STE 360 READING PA 19605
UGI UTILITIES INC                    P.O. BOX 15503 WILMINGTON DE 19886-5503
UMC                                  PMB 500 605 W HUNTINGTON DR MONROVIA CA 91016-3205
UNION COUNTY                         500 N MAIN ST MONROE NC 28258-0365
UNION COUNTY                         PO BOX 580365 CHARLOTTE NC 28258-0365
UNION POWER COOPERATIVE              1525 N ROCKY RIVER RD MONROE NC 28110
UNION POWER COOPERATIVE              P.O. BOX 63047 CHARLOTTE NC 28263-3047
UNITED COOPERATIVE SVC               P.O. BOX 961079 FORT WORTH TX 76161-0079
UNITIL                               P.O. BOX 981010 BOSTON MA 02298-1010
UNITIL                               6 LIBERTY LANE W HAMPTON NH 03842
UNIVERSAL NATURAL GAS INC            9750 FM 1488 RD. MAGNOLIA TX 77354-1619
UNS ELECTRIC INC                     P.O. BOX 80078 PRESCOTT AZ 86304-8078
UNS ELECTRIC INC                     P.O. BOX 80079 PRESCOTT AZ 86304-8079
UNS GAS INC                          P.O. BOX 80078 PRESCOTT AZ 86304-8078
UPPER MORELAND HATBORO JOINT         2875 TERWOOD ROAD WILLOW GROVE PA 19090-1434
UTILITIES INC OF LOUISIANA           P.O. BOX 11025 LEWISTON ME 04243-9476
UTILITIES INC OF LOUISIANA           201 HOLIDAY BLVD 150 COVINGTON LA 70433
UTILITY BILLING SERVICES             P.O. BOX 31569 CLARKSVILLE TN 37040-0027
UTILITY BILLING SOLUTIONS LLC        P.O. BOX 105 SOCIAL CIRCLE GA 30025
UTILITY BILLING SOLUTIONS LLC        241 B BROOKSTONE PLACE SOCIAL CIRCLE PA 30026
UTILITY RECOVERY SYSTEMS INC         1721 S FRANKLIN RD STE 200 INDIANAPOLIS IN 46239-2170
UTILITY SUBMETERING SYSTEMS LLC      3120 N. 19TH AVE. SUITE 220 PHOENIX AZ 85015-6054
V. GAROFALO CARTING INC.             P.O. BOX 283 COMMACK NY 11725
VALLEY RECYCLING AND DISPOSAL        2515 SALEM-DALLAS HWY, NW PO BOX 5700 SALEM OR 97304
VALLEY RECYCLING AND DISPOSAL        P.O. BOX 5700 SALEM OR 97304-0700
VALLEY WATER SYSTEMS                 37 NORTHWEST DRIVE PLAINVILLE CT 06062
VANS WASTE INC.                      2061 N VANDENBROEK RD KAUKAUNA WI 54130-9351
VAQUERO SAN ANTONIO                  P.O. BOX 660177 DALLAS TX 75266-0177
VAQUERO SAN ANTONIO                  1296 FARM TO MARKET 1516 SAN ANTONIO TX 78263
VCSA                                 984 OLD MILL RUN THE VILLAGES FL 32162-1675
VECTOR                               300 MT LEBANON BLVD. STE 2200 PITTSBURGH PA 15234
VECTOR                               P.O. BOX 645096 PITTSBURGH PA 15264-5096
VECTREN ENERGY DELIVERY              P.O. BOX 6248 INDIANAPOLIS IN 46206-6248
VECTREN ENERGY DELIVERY              ONE VECTREN SQUARE EVANSVILLE IN 47708
VERA WATER & POWER                   P.O. BOX 630 SPOKANE VALLEY WA 99037-0630
VERIZON                              1095 AVENUE OF THE AMERICAS 8TH FLOOR NEW YORK NY 10036
VERIZON                              P.O. BOX 15043 ALBANY NY 12212-5043
VERIZON                              P.O. BOX 15124 ALBANY NY 12212-5124
VERIZON                              BANKRUPTCY ADMIN 500 TECHNOLOGY DR, STE 550 WELDON SPRING MO 63304
VERIZON WIRELESS                     P.O. BOX 408 NEWARK NJ 07101-0408
VERIZON WIRELESS                     BANKRUPTCY ADMIN 500 TECHNOLOGY DR, STE 550 WELDON SPRING MO 63304
VERMONT GAS SYSTEMS                  P.O. BOX 22082 ALBANY NY 12201-2082
VETERANS ROAD HOLDINGS LLC           ATTN: DAVID BERMAN 362 ST. MARKS PLACE STATEN ISLAND NY 10301
VILLAGE OF ADDISON                   1 FRIENDSHIP PLAZA ADDISON IL 60101
VILLAGE OF ALGONQUIN                 P.O. BOX 7369 ALGONQUIN IL 60102-7369
VILLAGE OF ARLINGTON HEIGHTS         33 S ARLINGTON HEIGHTS RD ARLINGTON HEIGHTS IL 60005



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VILLAGE OF BRADLEY                   147 S MICHIGAN AVE BRADLEY IL 60915
VILLAGE OF BROADVIEW                 2350 S 25TH AVE BROADVIEW IL 60155
VILLAGE OF CRESTWOOD                 13840 S CICERO AVE CRESTWOOD IL 60418
VILLAGE OF DEERFIELD                 PUBLIC WORKS 465 ELM ST DEERFIELD IL 60015
VILLAGE OF DEERFIELD                 850 WAUKEGAN RD DEERFIELD IL 60015-3206
VILLAGE OF DOWNERS GROVE             PUBLIC WORKS 5101 WALNUT AVE DOWNERS GROVE IL 60501
VILLAGE OF DOWNERS GROVE             801 BURLINGTON AVE DOWNERS GROVE IL 60515
VILLAGE OF EVERGREEN PARK            9418 S KEDZIE AVE EVERGREEN PARK IL 30805-2324
VILLAGE OF FISHKILL                  1095 MAIN STREET FISHKILL NY 12524
VILLAGE OF GLEN CARBON               P.O. BOX 757 GLEN CARBON IL 62034
VILLAGE OF GLEN ELLYN                535 DUANE ST GLEN ELLYN IL 60137
VILLAGE OF GLENVIEW                  2500 EAST LAKE AVENUE GLENVIEW IL 60026-2600
VILLAGE OF HANOVER PARK              2121 W LAKE ST HANOVER PARK IL 60133
VILLAGE OF HOFFMAN ESTATES           1900 HASSEL ROAD HOFFMAN ESTATES IL 60169
VILLAGE OF HOMEWOOD                  2020 CHESTNUT HOMEWOOD IL 60430
VILLAGE OF HUNTLEY                   DEVELOPMENT SERVICES DEPT 10987 MAIN ST HUNTLEY IL 60142
VILLAGE OF LAKE BLUFF                40 E. CENTER AVE. LAKE BLUFF IL 60044
VILLAGE OF LAKE BLUFF                PUBLIC WORKS DEPT 640 ROCKLAND RD LAKE BLUFF IL 60044
VILLAGE OF LAKE ZURICH               70 EAST MAIN STREET LAKE ZURICH IL 60047-4216
VILLAGE OF LOMBARD                   P.O. BOX 5610 CAROL STREAM IL 60197-5610
VILLAGE OF MATTESON                  4900 VILLAGE COMMONS MATTESON IL 60443-2666
VILLAGE OF MELROSE PARK              1000 N 25TH AVE MELROSE PARK IL 60160
VILLAGE OF MONTGOMERY                200 N RIVER ST MONTGOMERY IL 60538-1317
VILLAGE OF MOUNT PROSPECT            P.O. BOX 4297 CAROL STREAM IL 60197-4297
VILLAGE OF MUNDELEIN                 300 PLAZA CIRCLE MUNDELEIN IL 60060
VILLAGE OF NILES                     1000 CIVIC CENTER DRIVE NILES IL 60714
VILLAGE OF NORRIDGE WATER DEPT       4000 N OLCOTT AVE NORRIDGE IL 60706
VILLAGE OF NORTH FOND DU LAC         16 GARFIELD ST. NORTH FOND DU LAC WI 54937
VILLAGE OF OAK LAWN                  9446 S RAYMOND AVE OAK LAWN IL 60453
VILLAGE OF OAK LAWN                  PUBLIC WORKS DEPT 5532 W 98TH ST OAK LAWN IL 60453
VILLAGE OF ORLAND PARK               14700 RAVINIA AVE ORLAND PARK IL 60462
VILLAGE OF OSSINING WATER FUND       P.O. BOX 5084 WHITE PLAINS NY 10602-5084
VILLAGE OF OSWEGO                    100 PARKERS MILL OSWEGO IL 60543
VILLAGE OF PALATINE                  200 E WOOD ST PALATINE IL 60067
VILLAGE OF PLOVER                    P.O. BOX 37 PLOVER WI 54467
VILLAGE OF ROCKVILLE CENTRE          P.O. BOX 950 1 COLLEGE PLACE ROCKVILLE CENTRE NY 11571-0950
VILLAGE OF ROMEOVILLE                ACCOUNTS RECEIVABLE 1050 W ROMEO RD ROMEOVILLE IL 60446
VILLAGE OF SCHAUMBURG                101 SCHAUMBURG CT SCHAUMBURG IL 60193
VILLAGE OF SCHAUMBURG                ENGINEERING & PUBLIC WORKS DEPT 714 S PLUM GROVE RD SCHAUMBURG IL 60193-1899
VILLAGE OF SKOKIE                    5127 OAKTON ST SKOKIE IL 60077
VILLAGE OF SOUTH ELGIN               10 N WATER ST SOUTH ELGIN IL 60177
VILLAGE OF TINLEY PARK               16250 S OAK PARK AVE TINLEY PARK IL 60477
VILLAGE OF WESTCHESTER               10300 ROOSEVELT RD WESTCHESTER IL 60154
VILLAGE OF WILMETTE                  1200 WILMETTE WILMETTE IL 60091-0040
VIRGINIA AMERICAN WATER              2223 DUKE ST ALEXANDRIA VA 22314
VIRGINIA AMERICAN WATER              P.O. BOX 790247 ST LOUIS MO 63179-0247
VIRGINIA NATURAL GAS                 P.O. BOX 5409 CAROL STREAM IL 60197-5409
VOGEL DISPOSAL SERVICE INC.          121 BRICKYARD RD MARS PA 16046
VOGEL DISPOSAL SERVICE INC.          P.O. BOX 847 MARS PA 16046



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VONAGE                                   23 MAIN STREET HOLMDEL NJ 07733
VONAGE                                   P.O. BOX 9001013 LOUISVILLE KY 40290-1013
WADSWORTH UTILITIES                      120 MAPLE ST WADSWORTH OH 44281-1865
WALLINGFORD ELECTRIC DIVISION            P.O. BOX 5003 WALLINGFORD CT 06492
WALTON EMC                               842 HWY 78 NW MONROE GA 30655
WALTON EMC                               P.O. BOX 1347 MONROE GA 30655-1347
WALTON GAS                               842 HWY 78 NW MONROE GA 30655
WALTON GAS                               P.O. BOX 1347 MONROE GA 30655-1347
WARMINSTER MUNICIPAL AUTH                P.O. BOX 2279 WARMINSTER PA 18974
WARRINGTON TWP WTR SEWER DEPT            852 EASTON ROAD WARRINGTON PA 18976
WASHINGTON GAS                           101 CONSTITUTION AVE NW WASHINGTON DC 20080
WASHINGTON SUBURBAN SANITARY C           14501 SWEITZER LANE LAUREL MD 20707-5901
WASTE CONNECTIONS INC. - DISTRICT 2010   P.O. BOX 60248 LOS ANGELES CA 90060-0248
WASTE CONNECTIONS INC. - DISTRICT 5025   P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF COLO INC - 5311     P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF FLORIDA - MIAMI     P.O. BOX 660389 DALLAS TX 75266-0389
WASTE CONNECTIONS OF FLORIDA - PASCO     P.O. BOX 660389 DALLAS TX 75266-0389
WASTE CONNECTIONS OF FLORIDA - PINELLAS P.O. BOX 660389 DALLAS TX 75266-0389
WASTE CONNECTIONS OF FLORIDA - POMPANO   P.O. BOX 660389 DALLAS TX 75266-0389
WASTE CONNECTIONS OF FLORIDA - TAMPA     P.O. BOX 660389 DALLAS TX 75266-0389
WASTE CONNECTIONS OF KS INC - DIST 5025 2745 N OHIO ST WICHITA KS 67219
WASTE CONNECTIONS OF KS INC - DIST 5025 P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF NC - DISTRICT 6111 5516 ROZZELLES FERRY RD CHARLOTTE NC 28214-1871
WASTE CONNECTIONS OF NC - DISTRICT 6111 P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF OK - DISTRICT 5013 4625 SOUTH ROCKWELL OKLAHOMA CITY OK 73179-6415
WASTE CONNECTIONS OF TEXAS - DIST 5120   P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF TEXAS - DIST 5120   2010 WILSON RD HUMBLE TX 77396
WASTE CONNECTIONS OF TN - DISTRICT 6010 2400 CHIPMAN ST KNOXVILLE TN 37917
WASTE CONNECTIONS OF TN - DISTRICT 6010 P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF TN - DISTRICT 6061 2400 CHIPMAN ST KNOXVILLE TN 37917
WASTE CONNECTIONS OF TN - DISTRICT 6061 P.O. BOX 660177 DALLAS TX 75266-0177
WASTE CONNECTIONS OF TN INC - DIST 6032 2400 CHIPMAN ST KNOXVILLE TN 37917
WASTE CONNECTIONS OF TN INC - DIST 6032 P.O. BOX 660177 DALLAS TX 75266-0177
WASTE DISPOSAL LLC                       14747 N NORTHSIGHT BLVD SUITE 111-344 SCOTTSDALE AZ 85260
WASTE INDUSTRIES - CHESAPEAKE VA         P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - CHESAPEAKE VA         3821 COOK BLVD CHEASAPEAKE VA 23323
WASTE INDUSTRIES - CLARKSVILLE TN        P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - CLARKSVILLE TN        699 JACK MILLER BLVD CLARKSVILLE TN 37042
WASTE INDUSTRIES - CONWAY SC             P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - CONWAY SC             3010 HWY 378 CONWAY SC 29527
WASTE INDUSTRIES - DURHAM NC             P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - DURHAM NC             148 STONE PARK COURT DURHAM NC 27703
WASTE INDUSTRIES - GARNER NC             P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - GARNER NC             3741 CONQUEST DR GARNER NC 27529
WASTE INDUSTRIES - GRAHAM NC             P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - GRAHAM NC             703 E GILBREATH ST GRAHAM NC 27253
WASTE INDUSTRIES - GREENSBORO NC         P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - GREENSBORO NC         302 GRUMMAN RD GREENSBORO NC 27409
WASTE INDUSTRIES - HOPE MILLS NC         P.O. BOX 791519 BALTIMORE MD 21279-1519



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                                                 Mattress Firm, Inc.
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Claim Name                               Address Information
WASTE INDUSTRIES - HOPE MILLS NC         4621 MARRACCO DR HOPE MILLS NC 28348
WASTE INDUSTRIES - MORRISTOWN TN         P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - MORRISTOWN TN         415 RYDER LN MORRISTOWN TN 37816
WASTE INDUSTRIES - NEW BERN              P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - NEW BERN              705 AIRPORT RD NEW BERN NC 28560
WASTE INDUSTRIES - PIEDMONT SC           P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - PIEDMONT SC           1635 ANTIOCH CHURCH RD PIEDMONT SC 29673
WASTE INDUSTRIES - WILMINGTON NC         P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - WILMINGTON NC         3618 US HWY 421 N WILMINGTON NC 28401
WASTE INDUSTRIES - WILSON NC             P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - WILSON NC             2810 CONTENTNEA RD WILSON NC 27893
WASTE INDUSTRIES - WYTHEVILLE VA         P.O. BOX 791519 BALTIMORE MD 21279-1519
WASTE INDUSTRIES - WYTHEVILLE VA         1803 GRAYSON TPKE WYTHEVILLE VA 24382
WASTE MANAGEMENT                         P.O. BOX 660345 DALLAS TX 75266-0345
WASTE MANAGEMENT - 105430                P.O. BOX 4648 CAROL STREAM IL 60197-4648
WASTE MANAGEMENT - 105453                P.O. BOX 4648 CAROL STREAM IL 60197-4648
WASTE MANAGEMENT - 13648                 P.O. BOX 13648 PHILADELPHIA PA 19101-3648
WASTE MANAGEMENT - 4648                  P.O. BOX 4648 CAROL STREAM IL 60197-4648
WASTE MANAGEMENT - 541065                P.O. BOX 541065 LOS ANGELES CA 90054-1065
WASTE MANAGEMENT - 660345                P.O. BOX 660345 DALLAS TX 75266-0345
WASTE MANAGEMENT - 9001054               P.O. BOX 9001054 LOUISVILLE KY 40290-1054
WASTE MANAGEMENT NATIONAL SERVICES INC. P.O. BOX 13648 PHILADELPHIA PA 19101-3648
WASTE MANAGEMENT NATIONAL SERVICES INC. 1001 FANNIN, STE 4000 HOUSTON TX 77002
WASTE MGMT INC OF FLORIDA                P.O. BOX 42930 PHOENIX AZ 85080
WASTE PARTNERS ENVIRONMENTAL SERVICES I P.O. BOX 677 PINE RIVER MN 56474
WASTE SERVICES LLC                       P.O. BOX 71574 NORTH CHARLESTON SC 29415
WASTE SERVICES OF GEORGIA                P.O. BOX 180600 CHATTANOOGA TN 37406-1749
WASTE SERVICES OF TENNESSEE              P.O. BOX 180600 CHATTANOOGA TN 37406-7600
WATER ENVIRONMENT SERVICES               P.O. BOX 6940 PORTLAND OR 97228-6940
WATER SUPPLY DISTRICT OF ACTON           P.O. BOX 953 ACTON MA 01720-0953
WATER WATCH CORP                         67 WAREHOUSE STREET ROCHESTER NY 14608
WATER WORKS & LIGHTING COMMISION         P.O. BOX 399 WISCONSIN RAPIDS WI 54495-0399
WATERFORD UTILITY COMMISSION             P.O. BOX 310 WATERFORD CT 06385
WATERONE                                 P.O. BOX 808007 KANSAS CITY MO 64180-8007
WATERPRO INC                             P.O. BOX 25297 SALT LAKE CITY UT 84125
WAUSAU WATER WORKS                       P.O. BOX 3051 MILWAUKEE WI 53201-3051
WC OF LOUISIANA                          P.O. BOX 660177 DALLAS TX 72566-0177
WC OF LOUISIANA - DIST 6170              P.O. BOX 660389 DALLAS TX 75266-0389
WC OF TEXAS - AUSTIN - DISTRICT 5151     P.O. BOX 660389 DALLAS TX 75266-0389
WC OF TEXAS - AUSTIN - DISTRICT 5155     P.O. BOX 660177 DALLAS TX 75266-0177
WC OF TEXAS - DALLAS - DIST 5180/5181    P.O. BOX 660389 DALLAS TX 75266-0389
WC OF TEXAS - FORT WORTH - DISTRICT      P.O. BOX 162479 DALLAS TX 76161-2479
5190
WC OF TEXAS - IOWA PARK - DIST           P.O. BOX 660389 DALLAS TX 75266-0389
5186/5187
WC OF TEXAS - MCKINNEY - DISTRICT 5183   P.O. BOX 660389 DALLAS TX 75266-0389
WCA WASTE CORP - HOUSTON EAST HAULING    P.O. BOX 553166 DETROIT MI 48255-3166
WCA WASTE CORP - SPRINGFIELD HAULING     P.O. BOX 553166 DETROIT MI 48255-3166
WCA WASTE CORP - SPRINGFIELD HAULING     2120 W BENNETT ST SPRINGFIELD MO 65807



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                                                 Mattress Firm, Inc.
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Claim Name                               Address Information
WCA WASTE CORP TX - HOUSTON EAST         P.O. BOX 553166 DETROIT MI 48255-3166
HAULING
WCA WASTE CORP TX - HOUSTON EAST         6730 JOHN RALSTON RD HOUSTON TX 77049
HAULING
WCA WASTE CORPORATION - JOPLIN HAULING   P.O. BOX 553166 DETROIT MI 48255-3166
WCA WASTE CORPORATION - JOPLIN HAULING   3700 W 7TH ST JOPLIN MO 64801
WCI OF COLORADO SPRINGS - DISTRICT 5315 P.O. BOX 660177 DALLAS TX 75266-0177
WCI OF COLORADO SPRINGS - DISTRICT 5315 7770 PALMER PARK DR COLORADO SPRINGS CO 80951
WCI TN - KNOXVILLE - DISTRICT 6032       2400 CHIPMAN ST KNOXVILLE TN 37917
WCI TN - KNOXVILLE - DISTRICT 6032       P.O. BOX 660177 DALLAS TX 75266-0177
WE ENERGIES                              ATTN BANKRUPTCY 333 W EVERETT ST MILWAUKEE WI 53203
WE ENERGIES                              P.O. BOX 90001 MILWAUKEE WI 53290-0001
WELLINGTON UTILITIES                     P.O. BOX 31632 TAMPA FL 33631-3632
WELLINGTON UTILITIES                     12300 FOREST HILL BLVD WELLINGTON FL 33414-5785
WEST BOISE SEWER DISTRICT                7608 USTICK ROAD BOISE ID 83704
WEST CENTRAL SANITATION INC              P.O. BOX 796 WILLMAR MN 56201
WEST PENN POWER                          76 S MAIN ST AKRON OH 44038
WEST PENN POWER                          PO BOX 3687 AKRON OH 44309-3687
WEST TEX DISPOSAL                        P.O. BOX 69161 ODESSA TX 79769-0161
WEST VIEW WATER AUTHORITY                210 PERRY HIGHWAY PITTSBURGH PA 15229-1895
WEST WILSON UTILITY DISTRICT             P.O. BOX 97 MOUNT JULIET TN 37121-0097
WESTAR ENERGY                            818 S KANSAS AVE TOPEKA KS 66601-0889
WESTAR ENERGY                            P.O. BOX 758500 TOPEKA KS 66675-8500
WESTCHESTER JOINT WATER WORKS            P.O. BOX 5069 WHITE PLAINS NY 10602-5069
WESTERN ALLEGHENY CO MUNI AUTH           403 VIRGINIA DR OAKDALE PA 15071
WESTERN DISPOSAL SERVICES                P.O. BOX 174466 DENVER CO 80217-4466
WESTERN VIRGINIA WTR AUTH                P.O. BOX 17381 BALTIMORE MD 21297-1381
WESTFIELD GAS & ELECTRIC                 WESTERN FLYER EXPRESS INC WESTFIELD MA 01085
WESTFORD WATER DEPARTMENT                60 FORGE VILLAGE ROAD WESTFORD MA 01886
WESTROCK - TAMPA                         5111 N. 26TH ST. TAMPA FL 33610
WESTVIEW VILLAGE CENTER, LLC             P.O. BOX 38042 BALTIMORE MD 21297-8042
WHARTON CO ELECTRIC COOP INC             P.O. BOX 31 EL CAMPO TX 77437-0031
WHCEA                                    P.O. BOX 77027 MINNEAPOLIS MN 55480-7727
WHITWORTH WATER DISTRICT 2               P.O. BOX 28008 10828 N. WAIKIKI SPOKANE WA 99228-8008
WILLMAR MUNICIPAL UTILITIES              P.O. BOX 937 WILMAR MN 56201-0937
WILTON WATER & SEWER AUTHORITY           20 TRAVER RD. GANSEVOORT NY 12831
WINDSTREAM                               P.O. BOX 9001013 LOUISVILLE KY 40290-1013
WINDSTREAM                               P.O. BOX 9001908 LOUISVILLE KY 40290-1908
WINDSTREAM                               4001 N RODNEY PARHAM RD LITTLE ROCK AR 72212
WINTER EQUIPMENT CORPORATION             614 FLORENCE ST COLUMBIA PA 17512
WISCONSIN PUBLIC SERVICE                 PO BOX 3140 MILWAUKEE WI 53201-3140
WITHLACOOCHEE RIVER ELEC COOP            P.O. BOX 278 DADE CITY FL 33526-0278
WOODBRIDGE CROSSING LP                   DEPT 48802 P.O. BOX 677813 DALLAS TX 75267-7813
WOOSTER CITY SERVICES                    DEPT. 781300 P.O. BOX 78000 DETROIT MI 48278-1300
WTCPUA BEE CAVE                          12117 BEE CAVE ROAD BLDG 3, STE 120 AUSTIN TX 78738
WTCPUA BEE CAVE                          11805 BEE CAVE RD STE 200 BEE CAVE TX 78738-5561
WTMUA                                    P.O. BOX 127 GRENLOCH NJ 08032
WYOMING VALLEY SANITARY AUTH             P.O. BOX 33 A WILKES BARRE PA 18703-1333
XCEL ENERGY                              414 NICOLLET MALL MINNEAPOLIS MN 55401



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                                               Mattress Firm, Inc.
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Claim Name                             Address Information
XCEL ENERGY                            P.O. BOX 9477 MINNEAPOLIS MN 55484-9477
XO                                     13865 SUNRISE VALLEY DR HERNDON VA 20171
XO                                     FILE 50550 LOS ANGELES CA 90074-0550
YAKIMA WASTE SYSTEMS INC - DIST 2195   P.O. BOX 60248 LOS ANGELES CA 90060-0248
YAKIMA WASTE SYSTEMS INC - DIST 2195   2812 1/2 TERRACE HEIGHTS DR YAKIMA WA 98901
YES ENERGY MANAGEMENT                  P.O. BOX 660901 DALLAS TX 75266-0901
YORK COUNTY NATURAL GAS AUTHORITY      979 W MAIN ST ROCKHILL SC 29730
YORK COUNTY NATURAL GAS AUTHORITY      P.O. BOX 11907 ROCK HILL SC 29731-1907
YOUNGSTOWN WATER DEPT                  P.O. BOX 6219 YOUNGSTOWN OH 44501




                               Total Creditor count 2878




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                            MATTRESS FIRM, INC.
                              Email Service List



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customerservice@londonlux.com
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ellen.slights@usdoj.gov
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info@purple.com
info@superdumps.com
Jack.Cain@malinusa.com
legal@leggett.com
madron@rlf.com
marc.leduc@morganlewis.com
newyork@sec.gov
sales@elitefoam.com
service@corsicanamattress.com
service@springairgso.com
solutions@fabritec.com
statetreasurer@state.de.us
WBowden@ashbygeddes.com
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                               MATTRESS FIRM, INC.
                                 Email Service List

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mark.minuti@saul.com
mcclambc@ballardspahr.com
mheld@jw.com
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nathan.rugg@bfkn.com
NBates@springair.com
osonik@pbfcm.com
pollack@ballardspahr.com
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vanaya@jw.com
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william.barrett@bfkn.com
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                                MATTRESS FIRM, INC.

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                                   Mattress Firm, Inc.
 

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Utilities
311ccc@dekalbcountyga.gov                        broberts@carrollton-ga.gov
311ccc@dekalbcountyga.gov                        carolyn.magaha@rms-iqor.com
311ccc@dekalbcountyga.gov                        ccu@columbusutilities.org
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aeastman@midamericagrp.com                       cityhall@.meridianms.org
amfisher@fdl.wi.gov                              cityhall@.meridianms.org
aresek@crystallake.org                           cityhall@.meridianms.org
aresek@crystallake.org                           cityhall@.meridianms.org
arussell@burlesontx.com                          cityhall@.meridianms.org
askus@csu.org                                    cityhall@.meridianms.org
aurorawater@auroragov.org                        cityhall@.meridianms.org
bankruptcy@cpsenergy.com                         cityhall@.meridianms.org
bankruptcyfilings@cmsenergy.com                  cityhall@.meridianms.org
bankruptcynotifications@frontiercorp.com         cityhall@.meridianms.org
bcasarella@southingtonwater.org                  cityhall@.meridianms.org
bcooper@chpk.com                                 cityhall@baxtermn.gov
bcra@ptd.net                                     cityhall@baxtermn.gov
bernadine.flood@citrusbocc.com                   cityhall@lawrenceks.org
billing@whitworthwater.com                       citymgt.info@mesaaz.gov
billing_collections@fayetteville-ar.gov          citysanitation@baycitymi.org
bkeene@crystalriverfl.org                        citywaterdist@baycitymi.org
bkeller@cityofgriffin.com                        cjimenez@ci.colton.ca.us
bnkrptdprt@aglresources.com                      cknight@stillwater.org
bobby.masterson@edmondok.com                     clerk@nbfl.us
bradley.burton@constellation.com                 clerk@nbfl.us
                                                 clerk@townoffdl.com
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cmc@chicagomattresscompany.com                customerservice1010@wcnx.org
comments@conwaycorp.net                       customerservice2tiger-tx.com
contact@wcamerica.com                         customerservice5150@wcnx.org
contact@westerndisposal.com                   customerservice5150@wcnx.org
contactus@arrowaste.com                       customerservice5180@wcnx.org
contactus@brightridge.com                     customerservice5180@wcnx.org
copbilling@ci.puyallup.wa.us                  customerservice5183@wcnx.org
credit-collections@eweb.org                   customerservice5187@wcnx.org
cs@deerfield-beach.com                        customerservice5190@wcnx.org
custcare@gcww.cincinnati-oh.gov               customerservice6034@wcnx.org
customer.service@faypwc.com                   customerservice6160@wcnx.org
customer_servicesngco.com                     customerservice6160@wcnx.org
customercare@carolinawaste.com                customerservice6410@wcnx.org
customercare@mwwssb.com                       customerservice6416@wcnx.org
customercare@texasdisposal.com                customerservice6425@wcnx.org
customerservice@blackriver.coop               customerservice6440@wcnx.org
customerservice@ci.eustis.fl.us               customerservice6440@wcnx.org
customerservice@dakotaelectric.com            customersvc@stlmsd.com
customerservice@easleyutilities.com           custserv@chwd.org
customerservice@fruitlandwater.com            custserv@hmua.com
customerservice@gdetn.com                     custserv@torringtonwater.com
customerservice@greenvillewater.com           custsrv@pinellascounty.org
customerservice@greenwaste.com                cwlp.customer@cwlp.com
customerservice@greenwaste.com                david.brown@yakimawa.gov
customerservice@hbws.org                      descustomerservice@dicksonelectric.com
customer-service@pennichuck.com               district@nwwsd.org
customerservice@westviewwater.org             dlgaines@southernco.com
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dmargraf@cityofwinterpark.org                 haddocgc@guc.com
dmartin@ci.montgomery.il.us                   haileng.xiao@hoffmanestates.org
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dzusi@cityofwinterpark.org                    info@basindisposal.com
e3386@ameren.com                              info@blossmangas.com
eaglerocksan@aol.com                          info@burrisdisposal.com
ebjork@romeoville.org                         info@captainhook.com
eingram@auburnalabama.org                     info@ci.monticello.mn.us
electric@cityofalcoa-tn.gov                   info@ci.monticello.mn.us
electricdept@cityofcf.com                     info@cinnaminsonnj.org
executiveoffice@emwd.org                      info@cityofbuford.com
feijamee@yahoo.com                            info@cityofbuford.com
finance@minneapolismn.gov                     info@dcwater.com
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frederic.backfield@dupageco.org               info@doylestownpa.org
fwb@vniles.com                                info@dragondisposal.com
general.manger@bluebonnet.coop                info@escondidodisposal.com
gholm@cityofbatavia.net                       info@eswater.net
gholm@cityofbatavia.net                       info@ganorgas.com
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green@meridian.mi.us                          info@greercpw.com
gus@georgetown.org                            info@greshamsanitary.com
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info@hudsonlight.com                            ir@federalrealty.com
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info@metrowater.com                             jcanady@grantspassoregon.gov
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info@millerrecycling.com                        jhughes@oswegoil.org
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info@nypa.gov                                   jlewis@cityofelcampo.org
info@olearywaste.com                            jmitchell@springhilltn.org
info@pleasantongarbageservice.com               johnstonb@ci.eustis.fl.us
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info@queencitydisposal.com                      jpwater@jeffparish.net
info@sd1.org                                    jstirland@sjc.utah.gov
info@sltsd.com                                  julio.torrado@keysenergy.com
info@verawaterandpower.com                      jwalsh@cocoafl.org
info@wacmawater.com                             kathy.storla@windstream.com
info@walpolema.gov                              kenf@darenc.com
info@westernvawater.org                         kenoshawater@kenosha.org
info@westtexdisposal.com                        km1426@att.com
information2@recology.com                       km1426@att.com
information2@recology.com                       kris.neifing@edmondok.com
information2@recology.com                       lcamara@ci.hanford.ca.us
information2@recology.com                       lsmith@stillwater.org
information2@recology.com                       lspivey@plantcitygov.com
information2@recology.com                       lstevens@port-orange.org
information2@recology.com                       mail@edinamn.gov
information2@recology.com                       mcbankruptcy@wm.com
infotn@amwater.com                              mcbankruptcy@wm.com
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mcbankruptcy@wm.com                             patrick.flood@floodbrothersdisposal.com
mcbankruptcy@wm.com                             paul@powellstrash.com
mcbankruptcy@wm.com                             paymentcenter@granitenet.com
mcbankruptcy@wm.com                             penlight@penlight.org
mcbankruptcy@wm.com                             pfeist@wichita.gov
mcbankruptcy@wm.com                             pflood@woodstockga.gov
mcovington@greenlifewaste.com                   pmcgowan@cityofbordentown.com
memberservices@greystonepower.com               pr@dixie.coop
mhorning@a2gov.org                              publicservicesdepartment@ctsfl.us
mike.brown@lakezurich.org                       publicservicesdepartment@ctsfl.us
mkaplenski@baycitymi.org                        publicutilities@jolietcity.org
mleonas@ci.albemarle.nc.us                      publicworks@cityoflewiston.org
mokeefe@theokeefegroupinc.com                   publicworks@cityoflewiston.org
mokeefe@theokeefegroupinc.com                   publicworks@mysebring.com
morgan_rm@hammond.org                           publicworks@orlandpark.org
mross@cityofalcoa-tn.gov                        publicworks@palatine.il.us
msaloun@ploverwi.gov                            publicworks@villageoflombard.org
municipalservices@turlock.ca.us                 publicworksdept@mountprospect.org
mwalters@wrga.gov                               pubworksdis@oakridgetn.gov
mwarden@nvenergy.com                            pud@skagitpud.org
nelson.nelson@coronaca.gov                      pw@blainemn.gov
newwaterservice@rockdalecountyga.gov            pw@blainemn.gov
nfravel@pcgov.org                               pw@mundelein.org
och2o@water.oak-creek.wi.us                     pw_san@bakersfieldcity.us
office@marathongarbageservice.com               pwadmin@homewoodil.gov
office@wcid110.com                              pwbcustomerservice@portlandoregon.gov
olppapillion@wasteconnections.com               pwd@cityofpaloalto.org
palermo_gl@hammond.org                          pwinfo@ci.kennewick.wa.us
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quafishehn@wilmette.com                        solidwaste@cityofbartow.net
rbailey@cityofredding.org                      solutions@nhec.com
rboden@ploverwi.gov                            ssc@ssc-in.com
rcswu@rockdalecountyga.gov                     suezdecustserv@suez-na.com
rellis@cityofammon.us                          suezidcustserv@suez-na.com
revenuerecovery@coserv.com                     sueznjcustserv@suez-na.com
rismith@ppines.com                             sueznjcustserv@suez-na.com
rneely@oxfordms.net                            support@juiwater.net
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rsample@topeka.org                             tax-license@tucsonaz.gov
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sales@greenleafcompaction.com                  tbono@cityofammon.us
sales@mauiwaste.com                            tellus@mymanatee.org
sanitation@ctsfl.us                            tfarrell@huntley.il.us
sanitation@sunrisefl.gov                       tfaulk@ci.whiteville.nc.us
sbaker@chwh2o.com                              thartye@msdbc.org
scse@starkcountyohio.gov                       tkiernan@southamptontownny.gov
sdowe@eastpointcity.org                        tkilburn@baycitymi.org
service@conservice.com                         tkloetzke@fdl.wi.gov
service@nbma.org                               tmusick@bristoltn.org
service@ssgwaste.com                           tppw@tinleypark.org
servicebilling@ashtabulacity.com               treas@yorkcounty.gov
serviceorders@auburnalabama.org                trobinson@brask.com
sewer@como.gov                                 tylers@tylerssanitation.com
sewer@fallriverma.org                          ubilling@cedarhilltx.com
sewers@findlayohio.com                         ubquestions@lafayette.in.gov
shicks@cityofwebster.com                       user58@draperchamber.com
skana@killeentexas.gov                         utilities@bellevuewa.gov
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utilities@cityofandersonsc.com                    water@gjcity.org
utilities@greenwood.in.gov                        water@grcity.us
utilities@leegov.com                              waterandsewer@dorchestercountysc.gov
utilities@mysebring.com                           waterbilling@cityofdekalb.com
utilities@pocatello.us                            waterbills@margatefl.com
utilities@polk-county.net                         waterinfo@phila.gov
utilities@templetx.gov                            watersewer@clermontcountyohio.gov
utilitiescommunications@cityofpaloalto.org        watersewer@goshencity.com
utilitiesdirector@sunrisefl.gov                   waterwise@friscotexas.gov
utilitiesdirector@sunrisefl.gov                   waterworks@ci.wausau.wi.us
utility@cityofpsl.com                             wcs@woosteroh.com
utilityadmin@thecolonytx.gov                      web.solidwaste@deerfield-beach.com
utilitybill@colliergov.net                        webmaster@englewoodgov.org
utilitybill@plprairie.com                         website@wcsanitation.com
utilitybill@scgov.net                             websiteinquiries@clevelandwater.com
utilitybilling@fredericksburgva.gov               weldonm@plainfieldmi.org
utilitybilling@friscotexas.gov                    wescustomerservice@clackamas.us
utilityleadrep@columbus.gov                       williamstw@charlestoncpw.com
vbriggs@gwwsb.com                                 wlmac@actionwater.com
veronica.showalter@troyohio.gov                   wlmail@como.gov
village@oak-part.us                               wmelton@kannapolisnc.gov
waste-mgmt@como.gov                               wmillis@stillwater.org
wastewater@gjcity.org                             wmu@wmu.willmar.mn.us
water@albanyny.gov                                wwsa@townofwilton.com
water@cityofcf.com                                wwtp@bangormaine.gov
water@countryside-il.org
water@fallriverma.org
water@findlayohio.com
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                            MATTRESS FIRM, INC.

Core/Top 30

                     NAME                        FAX
    ADVANCED COMFORT TECHNOLOGIES INC       801-438-0161
    CLASSIC BRANDS LLC                      888-637-1943
    CORSICANA BEDDING INC                   903-872-9138
    CVB INC DBA MALOUF                      800-517-7179
    DELAWARE SECRETARY OF STATE             302-739-5831
    DELAWARE SECRETARY OF TREASURY          302-739-5635
    ELITE FOAM INC                          770-683-8277
    FABRITECH 2000 LLC                      859-781-8280
    GOODWAY GROUP INC                       215-881-2239
    INFINITY MASSAGE CHAIRS                 603-642-9291
    INTERNAL REVENUE SERVICE                855-235-6787
    KINGSDOWN INC                           919-563-6730
    LEGGETT & PLATT, INC.                   417-358-8449
    LINKLATERS LLP                          212-903-9100
    MANTUA MFG CO                           800-929-8014
    MORGAN, LEWIS & BOCKIUS LLP             617-341-7701
    OFFICE OF THE UNITED STATES TRUSTEE     302-573-6497
    OFFICE OF THE US ATTORNEY               302-573-6220
    PAUL HASTINGS LLP                       212-230-7699
    PROTECT A BED                           847-998-6919
    SERTA MATTRESS COMPANY                  847-645-0205
    SIMMONS MANUFACTURING CO LLC            770-613-8575
    SINOMAX USA INC                         225-201-1596
    STARCOM MEDIAVEST GROUP                 312-220-6530
    STRONG INDUSTRIES INC                   281-448-9315
    U.S. DEPARTMENT OF JUSTICE              302-573-6431
    VALASSIS DIRECT MAIL INC.               860-285-6412
    VISIONET SYSTEMS INC                    609-655-8232


Customer Program Parties

                  NAME                           FAX
    WELLS FARGO MERCHANT SERVICES           866-348-0138
    WELLS FARGO MERCHANT SERVICES           866-512-7321
 
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Banks 

                  NAME                           FAX
    BANK OF AMERICA, N.A.                   704-409-0702
    BANK OF HAWAII CORP.                    808-694-4726
    BANK OF HAWAII CORP.                    808-694-4726
    BANK OF HAWAII CORP.                    808-694-4726
    BANK OF HAWAII CORP.                    808-694-4726
    JPMORGAN CHASE BANK, N.A.               214-965-2861
    PNC BANK N.A.                           717-735-4646
    REGIONS BANK                            832-532-8703
    TD BANK, N.A.                           856-745-6954
    TD BANK, N.A.                           631-962-2974
    WELLS FARGO BANK, N.A.                  866-359-8371
    WELLS FARGO BANK, N.A.                  844-879-6857
    WELLS FARGO BANK, N.A.                  877-623-6254
    WELLS FARGO BANK, N.A.                  866-348-0138
    WELLS FARGO BANK, N.A.                  866-512-7321
 

 

 
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                                MATTRESS FIRM, INC.
                                   Fax Service List

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Nellis Corp Attn: Leslie Heilman                         (302)252-4466
Ballard Spahr Attn: David Pollack                        (215)864-9473
Ballard Spahr Attn: Leslie Heilman                       (302)252-4466
Lane & Nash P.C. Attn: Adam B. Nach                      (602)258-6003
Jackson Walker LLP Attn: Michael S Held                  (214)953-5822
Timothy Mitchell C/O Eqyinvest                           (972)503-9611
Latham & Watkins Attn: Mitchell A. Seider                (212)751-4864
Ashby & Geddes, P.A. Attn: William P. Bowden, Esq.       (302)654-2067
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                 NAME                             FAX
ALASKA DEPT OF REVENUE                   907-269-6644
ALASKA DEPT OF REVENUE                   907-465-2375
AR. DEPT OF FINANCE AND
ADMINISTRATION                           501-682-7094
ARIZONA DEPT OF REVENUE                  602-716-7981
CALIFORNIA FRANCHISE TAX BOARD           916-845-9799
CONNECTICUT DEPT OF REVENUE
SERVICES                                 860-297-5916
DELAWARE DIVISION OF REVENUE             302-856-5697
DELAWARE DIVISION OF REVENUE             302-744-1095
DELAWARE DIVISION OF REVENUE             302-577-8202
DISTRICT OF COLUMBIA                     202-442-6890
INDIANA DEPT OF REVENUE                  765-448-2760
INDIANA DEPT OF REVENUE                  317-232-1021
INDIANA DEPT OF REVENUE                  574-291-8658
INDIANA DEPT OF REVENUE                  765-452-0559
INDIANA DEPT OF REVENUE                  812-282-0574
INDIANA DEPT OF REVENUE                  219-769-9363
INDIANA DEPT OF REVENUE                  260-434-1380
INDIANA DEPT OF REVENUE                  812-235-2352
INDIANA DEPT OF REVENUE                  812-372-7368
INDIANA DEPT OF REVENUE                  765-286-7346
INDIANA DEPT OF REVENUE                  812-330-1804
INDIANA DEPT OF REVENUE                  812-471-8189
IOWA DEPT OF REVENUE                     515-281-3756
KENTUCKY DEPARTMENT OF REVENUE           502-564-8946
MAINE REVENUE SERVICES                   207-624-9694
MASSACHUSETTS DEPT OF REVENUE            617-626-2330
MICHIGAN DEPT OF TREASURY                517-636-4520
MINNESOTA DEPT OF REVENUE                651-282-2817
MISSISSIPPI STATE TAX COMMISSION         601-923-7423
MISSISSIPPI STATE TAX COMMISSION         601-923-7344
MISSOURI DEPT OF REVENUE                 573-522-1722
MONTANA DEPT OF REVENUE                  406-444-3696
NEVADA DEPT OF TAXATION                  775-684-2020
NEVADA DEPT OF TAXATION                  702-486-3377
NEVADA DEPT OF TAXATION                  775-688-1303
NEVADA DEPT OF TAXATION                  702-486-2373
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NEW HAMPSHIRE DEPT OF REVENUE
ADMIN                                            603-230-5945
NEW JERSEY DEPT OF THE TREASURY                  609-292-6160
OHIO DEPT OF TAXATION                            614-466-7979
OHIO DEPT OF TAXATION                            614-387-2165
PENNSYLVANIA DEPT OF STATE                       717-783-4331
TENNESSEE DEPT OF REVENUE                        615-741-3334
UTAH STATE TAX COMMISSION                        801-297-3709
VIRGINIA DEPT OF TAXATION                        804-786-2806
WISCONSIN DEPT OF REVENUE                        608-267-0834




            NAME                        FAX

ACE American Insurance Company    215-640-5529
Beazley Insurance Company, Inc.   646-378-4039
Swiss Re                          914-828-7000




NAME                                  FAX
103 - WASTE PRO - FT. PIERCE          7724646690
107 - WASTE PRO - JACKSONVILLE        9043891998
109 - WASTE PRO - FT MYERS            2392252758
111 - WASTE PRO - LAKE CITY           3867549700
115 - WASTE PRO - PALM BEACH          5616888914
116 - WASTE PRO - PENSACOLA           8503650183
119 - WASTE PRO - POMPANO             9546236041
121 - WASTE PRO - CLEARWATER          7274715999
401 - WASTE PRO - BIRMINGHAM          2053808989
501 - WASTE PRO - ASHEVILLE           8286847792
502 - WASTE PRO - CONCORD             7047920810
604 - WASTE PRO - NEW ORLEANS         5049040810
613 - WASTE PRO - BATON ROUGE         2257746401
ADAMS ELECTRIC COOPERATIVE            2175937120
ADVANCED CONTAINER SERVICE            7136707898
ADVANCED DISPOSAL                     9047377900
ALBANY UTILITES                       2294303868
AMERIGAS                              6107687647
ANDERSON CITY UTILITIES               7656485929
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                           MATTRESS FIRM, INC.
                              Fax Service List 

AOG                               4797821881
AQUA ILLINOIS INC                 8159358809
AQUARION WATER CO OF CT           2034457308
ARLINGTON COUNTY TREASURER        7032287436
ARROWASTE INC.                    6167481958
ASHWAUBENON WATER & SEWER
UTIL                              9204922311
ASOTIN COUNTY PUD 1               5097581958
ASPEN WASTE SYSTEMS INC. MN       6128848010
AUGUSTA UTILITIES DEPT            7068211859
AUM                               6032181401
BANGOR WATER DISTRICT             2079475707
BEST WAY DISPOSAL INC -
BURLINGTON KY                     8593724909
BEST WAY DISPOSAL INC -
KALAMAZOO MI                      2693883342
BEST WAY DISPOSAL INC - MODOC
IN                                7658535145
BEST WAY DISPOSAL INC -
WATERVLIET MI                     2694633718
BLACK RIVER ELECTRIC COOP         8034698320
BOARD OF PUBLIC WORKS             8644888835
BOISE CITY UTILITY BILLING        2083957861
BORDENTOWN SEWERAGE
AUTHORITY                         6092919079
BOROUGH OF BUTLER ELECTRIC        9738383762
BOROUGH OF GLASSBORO              8568814248
BOROUGH OF HANOVER                7176372805
BOROUGH OF QUAKERTOWN             2155368830
BOROUGH OF TOTOWA                 9739595668
BRAINTREE ELECTRIC LIGHT DEPT     7813481001
BRISTOL TENNESSEE ESSENTIAL
SV                                4237935520
BRODHEAD CREEK REGIONAL
AUTH                              5704212322
BRUNSWICK ELEC MEMBERSHIP
CORP                              9107554299
BRUNSWICK GLYNN COUNTY
JOINT                             9122617178
BRUNSWICK GLYNN COUNTY
JOINT                             9122617179
BURLINGTON ELECTRIC
DEPARTMENT                        8028657500
CABLEVISION                       5168033134
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                           MATTRESS FIRM, INC.
                              Fax Service List 

CAERNARVON TOWNSHIP
AUTHORITY                         6102861001
CALVERT COUNTY TREASURER          4104142498
CAMDEN-WYOMING SWR & WTR
AUTH                              3026972735
CANTON CITY UTILITIES             3306498109
CAPE FEAR PUBLIC UTILITY AUTH     9103326352
CAPITAL WASTE SERVICES            8038140478
CARAUSTAR RECOVERED FIBER
GROUP                             7707323390
CARBONDALE WATER & SEWER          6184570632
CAROLINA WASTE & RECYCLING
LLC                               8435760684
CASCADE NATURAL GAS               8886499912
CASEYVILLE TOWNSHIP SEWER         6186321477
CATOOSA UTILITY DISTRICT
AUTH                              7069376500
CENTRAL TEXAS REFUSE              5122432283
CHAMPION WASTE SERVICES LLC.      2146382945
CHESAPEAKE UTILITIES              3027346750
CHESTERFIELD COUNTY               8047514607
CHICAGO MATTRESS COMPANY          7732657648
CHICOPEE ELECTRIC LIGHT           4135945507
CITRUS COUNTY BOARD OF
COUNTY COMMISSION                 3525277672
CITRUS COUNTY UTILITIES           3525277644
CITRUS HEIGHTS WATER DISTRICT     9167250345
CITY AND COUNTY OF HONOLULU       8087683487
CITY NEW SMYRNA BEACH             3864242198
CITY OF ALBEMARLE                 7049849445
CITY OF ALCOA UTILITIES           8653804797
CITY OF ALCOA UTILITIES           8659814134
CITY OF ASHEVILLE                 8282543299
CITY OF ASHEVILLE                 8282595710
CITY OF ASHTABULA                 4409929306
CITY OF ATLANTA                   4046587552
CITY OF ATLANTA                   4049796787
CITY OF ATTLEBORO                 5082223046
CITY OF BANGOR                    2079473537
CITY OF BARTOW                    8635346814
CITY OF BARTOW                    8635347088
CITY OF BATAVIA                   6304542351
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                           MATTRESS FIRM, INC.
                              Fax Service List 

CITY OF BAXTER                    2184545103
CITY OF BAY CITY                  9898948362
CITY OF BEAUMONT                  4098323621
CITY OF BEAUMONT                  4098610026
CITY OF BLAINE UTILITIES          7637856160
CITY OF BLOOMINGTON UTILITIES     8123315407
CITY OF BLUE SPRINGS UTIL BILL    8162204513
CITY OF BORDENTOWN                6092988467
CITY OF BOWIE                     3018092302
CITY OF BRISTOL TN FINANCE DPT    4239895719
CITY OF BUFORD                    6788894649
CITY OF BURLESON                  8174269377
CITY OF CARROLLTON                7708302043
CITY OF CEDAR HILL                9722915110
CITY OF CLEARWATER                7275624961
CITY OF COCOA                     3214338708
CITY OF COON RAPIDS               7637676491
CITY OF COVINGTON                 2534802401
CITY OF CRYSTAL LAKE              8153563697
CITY OF CRYSTAL RIVER             3527956245
CITY OF DEERFIELD BEACH           9544804277
CITY OF DEERFIELD BEACH           9544804393
CITY OF DEKALB                    8157482304
CITY OF DOVER UTILITY             3027364217
CITY OF DOVER UTILITY             3027367081
CITY OF DURHAM                    9195604827
CITY OF EDMOND                    4052167619
CITY OF ELIZABETH CITY            2523381946
CITY OF ELYRIA                    4403232224
CITY OF EUSTIS                    3523571121
CITY OF EUSTIS                    3525894274
CITY OF FINDLAY                   4194247193
CITY OF FINDLAY                   4194247823
CITY OF FLAGSTAFF                 9282132409
CITY OF FLORENCE                  8436653110
CITY OF FREDERICKSBURG            5403721215
CITY OF FRISCO                    9722925585
CITY OF FRISCO                    9722925891
CITY OF GASTONIA                  7048691055
CITY OF GOOSE CREEK               8438635208
CITY OF GRAND RAPIDS              6164564466
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CITY OF GRANTS PASS              5414796765
CITY OF GRAPEVINE WATER DEPT     8174103051
CITY OF GRIFFIN                  6786920392
CITY OF HEATH UTILITIES DEPT     9729614932
CITY OF HENDERSONVILLE           6158243797
CITY OF JANESVILLE               6087553196
CITY OF KELLER                   8177434194
CITY OF KINGMAN                  9287536867
CITY OF KIRKLAND                 4255873902
CITY OF LAKE CHARLES             3374919187
CITY OF LEWISTON                 8883978634
CITY OF MANASSAS UTILITIES       2024562461
CITY OF MARGATE                  9549355258
CITY OF MONTICELLO               7632954404
CITY OF MOSES LAKE               5097643758
CITY OF MT JULIET                6157545742
CITY OF OAK RIDGE                8654251843
CITY OF OAK RIDGE NORTH TX       2813677729
CITY OF OAKBROOK TERRACE         6306170036
CITY OF OREGON DIV OF WATER      4196987158
CITY OF PEMBROKE PINES           9545188900
CITY OF PENSACOLA                8504351611
CITY OF PENSACOLA                8505951012
CITY OF PERU                     8152233142
CITY OF PINELLAS PARK            7273697872
CITY OF PLANT CITY               8137579049
CITY OF PLANT CITY - C           8137579192
CITY OF POCATELLO                2082346577
CITY OF POMPANO BEACH            9545457046
CITY OF PORT ORANGE              3867565365
CITY OF PORT ORANGE              3867565370
CITY OF PORTAGE                  2693249240
CITY OF PORTSMOUTH               6034271539
CITY OF PUYALLUP                 2537703335
CITY OF RICHMOND                 8596237618
CITY OF ROCK HILL                8033295616
CITY OF SAN DIEGO CITY
TREASUR                          6192367134
CITY OF SAN MARCOS               8552469100
CITY OF SCOTTSDALE               4803122888
CITY OF SEBRING                  8634715148
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CITY OF SEBRING                   8634715169
CITY OF SPRING HILL               9314860516
CITY OF ST CLOUD                  4079577170
CITY OF ST GEORGE                 4356274731
CITY OF STATESVILLE               7048783514
CITY OF SUMTER                    8034362615
CITY OF SUNRISE                   9545722479
CITY OF SUNRISE                   9548467404
CITY OF TEMPLE                    2542985263
CITY OF TITUSVILLE                3213835704
CITY OF TOMBALL                   2813514735
CITY OF TROY                      9374401352
CITY OF TUCSON                    5207915082
CITY OF VALDOSTA                  2292418285
CITY OF VALLEJO                   7076484060
CITY OF VISALIA                   5597134800
CITY OF WAITE PARK                3202526955
CITY OF WARNER ROBINS             4789291957
CITY OF WAUWATOSA WATER           4144793588
CITY OF WEST MELBOURNE            3217682390
CITY OF WILDWOOD                  3523301338
CITY OF WILSONVILLE               5036821015
CITY OF WINTER HAVEN              8632987870
CITY OF WORCESTER                 5087994118
CITY OF YONKERS                   9143776273
CITY WATER LIGHT & POWER          2177892026
CLACKAMAS RIVER WATER             5036567086
CLAY ELECTRIC COOP INC            3524731403
COACHELLA VALLEY WATER DIST       7603983190
COBB COUNTY WATER SYSTEM          7704196224
COLGATE PAPER STOCK CO. INC.      7322472728
COLLIER COUNTY UTILITIES          2392526699
COLUMBUS WATER WORKS              7064945223
COMMISSIONERS OF PUBLIC
WORKS                             8649428114
CONSOLIDATED UTILITY DISTRICT     6152253341
CORPORATE SERVICES
CONSULTANTS LLC                   8653973044
CR&R INCORPORATED                 7148906347
CRWWD                             3607507570
CULLMAN POWER BOARD               2567340540
DAPHNE UTILITES                   2516213052
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DC WATER                          2027872333
DEPENDABILL SOLUTIONS LLC         6788047381
DESTIN WATER USERS INC            8506545173
DICKS/LAKEVILLE SANITATION
INC.                              9524691146
DIRECTV                           3105355225
DIVERSE POWER                     7068452020
DOTHAN UTILITIES                  3346154119
DOWNEAST ENERGY                   2077254333
DOWNERS GROVE SANITARY DIST       6309690827
DOYLESTOWN TOWNSHIP MUNIE
AUTH                              2153488729
DPW WATER DIVISION                5184345332
DRAGON DISPOSAL LLC               4805134064
EAST BRUNSWICK TWP WATER
SEWER                             7322570605
EASTERN MUNICIPAL WATER DIST      9519286177
EASTON SUBURBAN WATER AUTH        6102587780
ED BURRIS DISPOSAL SERVICE        6185495048
EDCO DISPOSAL CORPORATION -
6208                              6192874073
ELECTRIC CITY UTILITIES           8642606357
ELECTRICAL DISTRICT 2             5207235252
ELK RIVER PUBLIC UTILITY DIST     9314553187
ESCONDIDO DISPOSAL INC.           7607459740
EXETER TOWNSHIP                   6107795950
FARMERS ELECTRIC
COOPERATIVE                       9034558125
FIRST PIEDMONT CORP               4344320278
FIRST UTILITY DIST OF KNOX CO     8656754955
FLINT EMC                         4788475181
FLORIDA KEYS ELEC COOP ASSOC      3058535381
FOREST HILLS MUNICIPAL AUTH       8144953206
FORT HILL NATURAL GAS AUTH        8648593584
FRANKLIN SQUARE WATER
DISTRICT                          5167752748
FRIEND EQUIPMENT INC.             9724920773
FRUITLAND MUTUAL WATER CO         2538455464
GAINESVILLE REGIONAL
UTILITIES                         3523343149
GALLEGOS SANITATION INC.          9704840662
GAS SOUTH                         6783553330
GOSHEN WATER & SEWER              5745336961
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GREENLEAF COMPACTION INC.         4804574890
GREENVILLE WATER DISTRICT         4012311435
GREENWOOD SANITATION              3178875718
GREER CPW                         8649682162
GRESHAM SANITARY SERVICE
INC.                              5036660917
GREYSTONE POWER CORP              7703702048
GUILDERLAND WATER DISTRICT        5184564508
GWINNETT COUNTY DEPT WTR
RSRS                              6783767162
HACKETTSTOWN MUA                  9088522681
HANOVER TOWNSHIP LEHIGH
COUNTY                            6102642773
HAZARDVILLE WATER CO              8607495381
HAZLETON CITY AUTHORITY           5704531849
HERNANDO CNTY UTILITIES DEPT      3527544485
HICKSVILLE WATER DISTRICT         5169316506
HIGHLAND SEWER & WATER
AUTH                              8142668149
HOCON GAS GUILFORD                2034584021
HOLLAND CHARTER TOWNSHIP          6163962537
HOPKINSVL WTR ENVIRONMENT
AUTH                              2708872798
HUDSON LIGHT & POWER DEPT         9785621389
HYANNIS WATER SYSTEM              5087901313
IMPERIAL IRRIGATION DISTRICT      7603353640
INDEPENDENCE UTILITIES            8163257684
INDIAN RIVER COUNTY UTILITIES     7727705143
INFINITE ENERGY                   3523327961
INTERMOUNTAIN GAS COMPANY         2083776081
JACKSON COUNTY PUBLIC WTR
SUP                               8169660551
JACKSON ENERGY AUTHORITY          7314227241
JACKSON TWP MUA                   7329285171
JEA                               9046657990
JEFFERSON UTILITIES INC           3047287326
KENOSHA WATER UTILITY             2626534320
KEYS ENERGY SERVICES              3052951085
LAKE COUNTY DEPT OF UTILITIES     4403502064
LAKE COUNTY DEPT PUBLIC
WORKS                             8479845665
LAKEVIEW LIGHT & POWER            2535889682
LANDIS SEWERAGE AUTHORITY         8566911407
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LEES SUMMIT WATER UTILITIES       8169691935
LEWIS CO PUBLIC UTIL DISTRICT     3607402455
LINCOLN ELECTRIC SYSTEM           4027424891
LITTLE THOMPSON WATER DIST        9705323734
LOCAL WASTE SERVICES LLC          6144099379
LOXAHATCHEE RIVER DISTRICT        5617479929
LVVWD                             8002522011
MACON WATER AUTHORITY             4787419146
MAINE WATER CO                    2072821544
MALCOMSON ROAD UD                 8324671599
MARATHON GARBAGE SERVICE
INC.                              3057430799
MARITIME ENERGY                   2075944486
MARK DUNNING INDUSTRIES INC       3349831627
MARPAN SUPPLY CO. INC.            8502241790
MAWC                              7247555924
MERRILLVILLE CONSERVANCY
DIST                              2199808035
METRO WATER DISTRICT              5205758454
MICHIGAN CITY DEPT WATER
WORKS                             2198741433
MID VALLEY DISPOSAL INC.          5598429437
MIDWAY WATER SYSTEM INC           8509325612
MILFORD WATER COMPANY             5084787997
MILLER RECYCLING
CORPORATION                       5088091601
MILPITAS SANITATION INC           4083307199
MISHAWAKA UTILITIES               5742581710
MONTE VISTA WATER DISTRICT        9096244725
MONTGOMERY COUNTY                 2407772517
MONTGOMERY WATER WRKS
SEWER BD                          3343805919
MOUNT PROSPECT PUBL WORKS
DEPT                              8472539377
NASHUA WASTE WATER SYSTEM         6035943474
NEW BRAUNFELS UTILITIES           8306292119
NEW RIVER LIGHT & POWER CO        8282626726
NEWPORT NEWS WATERWORKS           7579261164
NEWTOWN TWSP MUNIC
AUTHORITY                         6103568722
NORTH HUDSON SEWERAGE AUTH        2019633782
NORTH PENN WATER AUTHORITY        2158552756
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NORTHAMPTON BOROUGH MUNI
AUTH                             6102626796
NORTHEAST OH NATURAL GAS
CORP                             7408626330
NORTHWESTERN WATER & SWR
DIST                             4193549344
NUWAY DISPOSAL                   7084794844
OAK CREEK WATER & SEWER          4145708215
OCONEE COUNTY UTILITY DEPT       7067693997
OKALOOSA GAS DISTRICT            8002393878
OLEARY GROUP WASTE SYSTEMS
- NC                             7043440694
OMAHA PUBLIC POWER DIST          4026363955
ORWELL NATURAL GAS               4404378600
OXFORD AREA SEWER
AUTHORITY                        6109322001
OZARKS ELECTRIC COOPERATIVE      4796844685
OZELLO WATER ASSOCIATION INC     3527952488
PACIFIC POWER                    8008834162
PARACO GAS                       9142519444
PASSAIC VALLEY WATER COMM        9733405598
PENNICHUCK                       6039132362
PENNYRILE RURAL ELEC COOP
CORP                             2708856469
PIERCE COUNTY SEWER              2537984695
PLEASANTON GARBAGE SERVICE       9258469323
PORTLAND DISPOSAL &
RECYCLING                        5032810480
PRICE DISPOSAL INC.              6618312336
PROFILE ENERGY INC               3307028571
PUBLIC WATER SUPPLY DIST 3       4173347206
PUBLIC WORKS COMMISSION          9104835402
QUEEN CITY DISPOSAL              9315514866
RAMSEY BOARD OF PUBLIC
WORKS                            2018251745
RAPPAHANNOCK ELECTRIC COOP       8005523904
RAYS TRASH SERVICE INC.          3175395962
RECEIVER OF TAXES                6312875732
RECOLOGY VALLEJO                 2068596701
RICHMOND UTILITIES               8596240805
ROANOKE RAPIDS SANITARY DIST     2525373064
ROCKDALE WATER RESOURCES         7709186514
ROCKLAND ELECTRIC CO             2013274521
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ROCKY MOUNTAIN POWER             8012203116
SAC VAL DISPOSAL                 9162310598
SADDLEBACK                       4803627010
SAN FRANCISCO WTR PWR & SWR      4155513050
SANITARY DIST 4 TOB              2627960339
SANITARY SERVICE COMPANY
INC.                             3606710239
SARASOTA COUNTY PUBL
UTILITIES                        9418610603
SAUL HOLDINGS LTD
PARTNERSHIP                      3019866079
SEACOAST UTILITY AUTHORITY       5616242839
SEMCO ENERGY GAS CO              8109894098
SEVIER COUNTY ELECTRIC SYS       8654284536
SEVIER COUNTY UTILITY
DISTRICT                         8654285055
SHELBY COUNTY WATER
SERVICES                         2056786754
SHENANDOAH VALLEY ELEC
COOP                             5404323014
SKAGIT PUD                       3604248764
SNYDERVILLE BASIN                4356498040
SOCALGAS                         9093058261
SOUTH DAVIS SEWER DISTRICT       8012953486
SOUTH LYONS TWP SANITARY
DIST                             7083540807
SOUTH VALLEY SEWER DISTRICT      8015715339
SOUTHINGTON BOARD WATER
COMM                             8606210491
SPECTRA RECYCLING INC            8659702074
SPECTRUM UTILITIES SOLUTIONS     5133210837
SPOKANE COUNTY ENVIRONMNTL
SVC                              5094774715
ST JOHNS COUNTY UTILITY DEPT     9042092718
STARK CO METROPOLTN SEWER
DIST                             3304539044
SUBURBAN NATURAL GAS CO          7405494939
SUEZ WATER DELAWARE              3026335921
SUEZ WATER IDAHO                 2083621479
SUEZ WATER TOMS RIVER            2014870011
SUSTAINABLE SOLUTIONS GROUP      7707200088
TENNESSEE AMERICAN WATER         6184334499
THE CITY OF FORT SMITH           4797842404
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THE TORRINGTON WATER CO          8604967889
THE YORK WATER CO                7178453792
TIGER SANITATION INC             2103336287
TOMBIGBEE ELECTRIC POWER
ASSN                             6627954261
TOWN OF BARNSTABLE               5087906326
TOWN OF FDL SANITARY DIST 3      9209231728
TOWN OF HANOVER WATER            6036430736
TOWN OF KERNERSVILLE NC          3369964822
TOWN OF MOUNT AIRY               3018291259
TOWN OF PLYMOUTH                 5088304062
TOWN OF SMITHFIELD               4012331080
TOWN OF WALLKILL                 8456922546
TOWNSHIP OF SPRING               6106784571
TRUE NATURAL GAS                 6784236832
UTILITY BILLING SERVICES         6156271981
V. GAROFALO CARTING INC.         6312311024
VERMONT GAS SYSTEMS              8028638872
VILLAGE OF ADDISON               6307051669
VILLAGE OF ALGONQUIN             8476582759
VILLAGE OF GLEN CARBON           6182881238
VILLAGE OF GLENVIEW              8477241345
VILLAGE OF HOFFMAN ESTATES       8474906868
VILLAGE OF HUNTLEY               8476692034
VILLAGE OF LAKE ZURICH           8477262182
VILLAGE OF LOMBARD               6306205982
VILLAGE OF MONTGOMERY            6308965203
VILLAGE OF NILES                 8475887950
VILLAGE OF ORLAND PARK           7084038798
VILLAGE OF OSSINING WATER
FUND                             9149413812
VILLAGE OF PALATINE              8473584242
VILLAGE OF ROCKVILLE CENTRE      5166789220
VILLAGE OF SKOKIE                8476739389
VILLAGE OF SOUTH ELGIN           8476953497
WALLINGFORD ELECTRIC
DIVISION                         2032942027
WARMINSTER MUNICIPAL AUTH        2156749991
WASTE CONNECTIONS OF COLO
INC - 5311                       3032861915
WASTE MGMT INC OF FLORIDA        5615477181
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WATER SUPPLY DISTRICT OF
ACTON                            9782640148
WATER WORKS & LIGHTING
COMMISION                        7154232831
WATERFORD UTILITY
COMMISSION                       8604429037
WATERPRO INC                     8015718054
WAUSAU WATER WORKS               7152616535
WEST BOISE SEWER DISTRICT        2084335650
WEST TEX DISPOSAL                2144521576
WEST VIEW WATER AUTHORITY        4123641257
WEST WILSON UTILITY DISTRICT     6157584957
WESTCHESTER JOINT WATER
WORKS                            9143810349
WESTERN ALLEGHENY CO MUNI
AUTH                             4127880788
WESTERN VIRGINIA WTR AUTH        5402838217
WESTFORD WATER DEPARTMENT        9786925530
WHARTON CO ELECTRIC COOP INC     8004606271
WHCEA                            7634773054
WHITWORTH WATER DISTRICT 2       5094671830
WILLMAR MUNICIPAL UTILITIES      3202353980
WILTON WATER & SEWER
AUTHORITY                        5185843843
WINTER EQUIPMENT
CORPORATION                      7176810055
WITHLACOOCHEE RIVER ELEC
COOP                             3525215971
WOOSTER CITY SERVICES            3302635262
WTMUA                            8562270758
WYOMING VALLEY SANITARY
AUTH                             5708255039
YES ENERGY MANAGEMENT            7196324526
YOUNGSTOWN WATER DEPT            3307428751
